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                          EXHIBIT 2
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Transaction
Date          Attorney         Time Spent           Billing Status   Description
                                                                     Correspond with Rebecca Livingood from ACLU NJ to set up time to speak about education for
 12/15/2015 Seth Packrone                   0:06:00 Billable         juveniles with disabilities in juvenile and adult facilities

 12/16/2015 Seth Packrone                   0:18:00 Billable         Correspond with M. Smith re: further contacts about NJ prison system

 12/16/2015 Seth Packrone                   0:06:00 Billable         Correspond with impacted organization re: setting up a time to meet

 12/17/2015 Seth Packrone                   0:06:00 Billable         Strategy session re: next steps for investigation in NJ with M. Caiola

 12/18/2015 Seth Packrone                   0:06:00 Billable         Schedule meeting with Director of impacted organization

 12/18/2015 Seth Packrone                   0:06:00 Billable         Follow up and prepare for call with Rebecca Livengood from ACLU NJ
                                                                     Teleconference with Rebecca Livengood from ACLU NJ re: juveniles in adult prison receiving
 12/18/2015 Seth Packrone                   0:42:00 Billable         special education services

 12/18/2015 Seth Packrone                   0:30:00 Billable         Summarize and analyze notes from Rebecca Livengood call for M. Smith

 12/18/2015 Seth Packrone                   0:12:00 Billable         Strategy session with M. Caiola re: NJ investigation

 12/21/2015 Seth Packrone                   0:18:00 Billable         Correspond with Rebeccan Livengood re: litigation strategy and juvenile public defender

 12/22/2015 Seth Packrone                   0:06:00 Billable         Prepare for call with Director of impacted organization

 12/22/2015 Seth Packrone                   0:30:00 Billable         Teleconference with Director of impacted organization

 12/22/2015 Seth Packrone                   0:06:00 Billable         Review and analyze materials from impacted organization

 12/23/2015 Seth Packrone                   0:30:00 Billable         Summarize and enter notes from call with Rebecca Livengood into issue memo

 12/23/2015 Seth Packrone                   0:30:00 Billable         Summarize and enter notes from call with impacted organization into ongoing issue memo

    1/4/2016 Michelle Caiola                0:12:00 Billable         update from SP re special education meetings with NJ groups and next steps

    1/4/2016 Seth Packrone                  0:12:00 Billable         Strategy session with M. Caiola re: next steps in investigation
                                                                     Correspond and send updated special education documents to M. Smith to set up conference to
    1/4/2016 Seth Packrone                  0:12:00 Billable         discuss next steps

    1/5/2016 Seth Packrone                  0:06:00 Billable         Correspond with M. Smith re: discussing next steps in investigation

    1/8/2016 Mary-Lee Smith                 0:30:00 Billable         Work session with S.Packrone re possibility of DOC issue for youth
                                                                     Review notes on NJ state prision and prepare for call with M. Smith re: next steps in prison
    1/8/2016 Seth Packrone                  0:18:00 Billable         investigation

    1/8/2016 Seth Packrone                  0:30:00 Billable         Teleconference with M. Smith re: next steps in prison investigation

    1/8/2016 Seth Packrone                  0:12:00 Billable         Strategy session with M. Caiola re: next steps in investigation
                                                                     Email exchange w/ S.Packrone re next steps re NJ prison investigation; instructions re potential
  1/11/2016 Mary-Lee Smith                  0:30:00 Billable         co-counsel and impacted organization

  1/11/2016 Seth Packrone                   0:18:00 Billable         Background research and compile information on impacted organization

  1/11/2016 Seth Packrone                   0:06:00 Billable         Draft litigation plan for week for investigation next steps

  1/11/2016 Seth Packrone                   0:36:00 Billable         Read and take notes on impacted organization's relevant data collection

  1/11/2016 Seth Packrone                   0:06:00 Billable         Read and take notes on NJ Bill to Reform Waiver System for juveniles
                                                                     Review and take notes on intake form for relevant organization's outreach to potential class
  1/11/2016 Seth Packrone                   0:06:00 Billable         members

  1/11/2016 Seth Packrone                   0:36:00 Billable         Draft and send investigation next steps to M. Smith
                                                                     Correspond with Director of impacted organization re: meeting to discuss juveniles in NJ adult
  1/11/2016 Seth Packrone                   0:06:00 Billable         facilities

  1/12/2016 Mary-Lee Smith                  0:18:00 Billable         Call with S.Packrone re NJ prison investigation and potential co-counsel

  1/12/2016 Michelle Caiola                 0:18:00 Billable         T/C with MLK and SP re next steps on investigation

  1/12/2016 Michelle Caiola                 0:06:00 Billable         follow up check in with SP re next steps

  1/12/2016 Seth Packrone                   0:06:00 Billable         Follow up with M. Smith re: next steps in prison investigation

  1/13/2016 Seth Packrone                   0:24:00 Billable         Draft responses to Rebecca Livengood and Kathy Wright and send to M. Smith

  1/15/2016 Seth Packrone                   0:06:00 Billable         Correspond with Rebecca Livengood from ACLU NJ re: time to meet with impacted organization
                                                                     Teleconference with Rebecca Livengood re: meeting with impacted organization and represent
  1/20/2016 Seth Packrone                   0:12:00 Billable         students in due process hearings in prison
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1/20/2016 Seth Packrone     0:12:00 Billable   Review and analyze NJ special education law and guidelines

1/20/2016 Seth Packrone     0:06:00 Billable   Build timeline for investigation and next steps

1/22/2016 Michelle Caiola   0:06:00 Billable   Update from SP re next steps for investigation

1/22/2016 Seth Packrone     0:18:00 Billable   Follow up with ACLU-NJ re: potential client and co-counsel agreement

1/26/2016 Seth Packrone     0:12:00 Billable   Correspond with Rebecca Livengood from ACLU NJ re: meeting with impacted organization

1/26/2016 Seth Packrone     0:06:00 Billable   Confirm meeting with impacted organization tomorrow
                                               Review documents on NJ special education and prepare agenda for tomorrow's meeting with
1/26/2016 Seth Packrone     0:42:00 Billable   ACLU-NJ and impacted organization
                                               Correspond with M. Smith re: agenda for tomorrow's meeting with ACLU-NJ and impacted
1/26/2016 Seth Packrone     0:06:00 Billable   organization

1/27/2016 Michelle Caiola   0:06:00 Billable   discuss agenda for ACLU/impacted group meeting
                                               Review documents on impacted organization's relevant data and prepare for meeting with ACLU-
1/27/2016 Seth Packrone     0:24:00 Billable   NJ and impacted organization

1/27/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: plan for meeting with ACLU-NJ and impacted organization

1/27/2016 Seth Packrone     0:30:00 Billable   Travel to and from impacted group's offices in Elizabeth, NJ (total travel time was 1 hour)
                                               Meeting with Rebecca Livengood from ACLU-NJ and Director of impacted organization re:
1/27/2016 Seth Packrone     3:00:00 Billable   investigation next steps

1/27/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: meeting with impacted organization and ACLU-NJ

1/28/2016 Michelle Caiola   0:24:00 Billable   t/c with SP re post ACLU and impacted organzation meeting and end results

1/28/2016 Seth Packrone     0:06:00 Billable   Check in with M. Smith re: update on ACLU-NJ and impacted organzation meeting

1/28/2016 Seth Packrone     0:24:00 Billable   Strategy session with M. Caiola re: next steps for investigation and impacted organzation
                                               Correspond with impacted organzation representative about potential intakes for NJ prisons
1/29/2016 Seth Packrone     0:18:00 Billable   case

 2/2/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: next steps for impacted organization
                                               Follow up with impacted organization re: information about members with special needs in
 2/2/2016 Seth Packrone     0:12:00 Billable   prison

 2/2/2016 Seth Packrone     0:06:00 Billable   Review and analyze information about impacted organization's members in prison

 2/2/2016 Seth Packrone     0:06:00 Billable   Review and analyze NJ state special education law
                                               Teleconference with C. Molholm re: requirements for representing students at due process
 2/3/2016 Seth Packrone     0:12:00 Billable   hearings in NJ

 2/3/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: research question about due process hearings in NJ
                                               Strategy session with M. Caiola re: representing youths with disabilities in prison involved with
 2/3/2016 Seth Packrone     0:06:00 Billable   impacted organization
                                               Correspond with impacted organization re: representing students with disabilities in prison in
 2/3/2016 Seth Packrone     0:06:00 Billable   due process hearing
                                               Review and analyze documents on requirements for representing students with disabilities in
 2/3/2016 Seth Packrone     0:12:00 Billable   due process hearings in NJ

 2/3/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: further research on due process hearings in NJ

 2/4/2016 Seth Packrone     0:18:00 Billable   Analyze and take notes on legal claims in Contra Costa case to update ACLU's litigation strategy

 2/4/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Molholm re: NJ law around representation in a due process hearing

 2/5/2016 Seth Packrone     0:06:00 Billable   Strategy session with S. Seaborn re: exhausting administrative remedies in NJ investigation

 2/5/2016 Seth Packrone     0:12:00 Billable   Send ACLU-NJ litigation strategy memo to M. Smith and update her on strategy

 2/8/2016 Mary-Lee Smith    0:30:00 Billable   Work session w/ S.Packrone re intake and PLRA

 2/8/2016 Seth Packrone     0:12:00 Billable   Correspond with Kathy Wright re: intake's history of disability status

 2/8/2016 Seth Packrone     0:30:00 Billable   Summarize and analyze notes from meeting with -NJ and impacted organization

 2/8/2016 Seth Packrone     0:24:00 Billable   Teleconference with impacted organization's potential client's education records

 2/8/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Molholm re: NJ law around special education due process hearings

 2/8/2016 Seth Packrone     0:18:00 Billable   Teleconference with impacted organization re: follow up on potential client's education records

 2/8/2016 Seth Packrone     0:18:00 Billable   Update M. Smith re: investigation next steps and intakes
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 2/8/2016 Seth Packrone     0:12:00 Billable   Review and analyze potential client's records from NJPC

 2/8/2016 Seth Packrone     0:30:00 Billable   Conference with M. Smith re: next steps for prison investigation and PLRA

 2/8/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: research on NJ special education law

 2/8/2016 Seth Packrone     0:06:00 Billable   Review and analyze NJ law on Pro hac vice

 2/9/2016 Seth Packrone     0:06:00 Billable   Review and analyze prison visitation rules at DOC facility

 2/9/2016 Seth Packrone     0:06:00 Billable   Review and analyze NJ pro hac vice rules

 2/9/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: follow-up research on NJ special education law

 2/9/2016 Seth Packrone     0:06:00 Billable   Teleconference with impacted organization re: potential intake

2/11/2016 Seth Packrone     0:12:00 Billable   Correspond with R Livengood re: intake at DOC facility

2/11/2016 Seth Packrone     0:12:00 Billable   Teleconference and follow up with impacted organization re: intake at DOC facility

2/16/2016 Seth Packrone     1:06:00 Billable   Legal research on NJ special education law and 18-21 in correctional facilities

2/16/2016 Seth Packrone     0:18:00 Billable   Send NJ legal research re: 18-21 year-olds in prison to M. Smith

2/17/2016 Michelle Caiola   0:12:00 Billable   strategy/direction with SP re research question

2/17/2016 Seth Packrone     0:06:00 Billable   Research and analyze NJ State law re: special education in correctional facilities

2/17/2016 Seth Packrone     0:24:00 Billable   Draft and send NJ research on state special education law to M. Smith

2/17/2016 Seth Packrone     0:18:00 Billable   Follow up with M. Smith re: updates on NJ prison investigation

2/17/2016 Seth Packrone     0:06:00 Billable   Teleconference with R. Livengood re: intake at DOC facility

2/17/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: plan for prison investigation moving forward

2/17/2016 Seth Packrone     0:18:00 Billable   Prep for intake at DOC facility

2/17/2016 Seth Packrone     0:12:00 Billable   Teleconference with Administrative office at DOC facility to set up intake

2/18/2016 Michelle Caiola   0:06:00 Billable   update from SP re intake at DOC facility

2/18/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: investigation next steps

2/25/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: next steps for investigation

2/25/2016 Seth Packrone     0:30:00 Billable   Draft follow-up correspondence with ACLU re: outstanding issues for investigation

2/26/2016 Michelle Caiola   0:24:00 Billable   Update and strategy with SP re: prison and intake

2/26/2016 Seth Packrone     0:18:00 Billable   Strategy session with M. Caiola re: next steps for investigation

2/26/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility re: update on status of intake

 3/1/2016 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: next steps for investigation

 3/4/2016 Seth Packrone     0:06:00 Billable   Teleconference with impacted organization re: status of DOC facility visit

 3/4/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith to update on visitation status at DOC facility

 3/7/2016 Mary-Lee Smith    0:12:00 Billable   Review email for NJ prison visit from S.Packrone

 3/7/2016 Seth Packrone     0:06:00 Billable   Finalize plan for ACLU meeting

 3/7/2016 Seth Packrone     0:06:00 Billable   Create agenda to prepare for intake and ACLU strategy meeting

 3/7/2016 Seth Packrone     0:06:00 Billable   Research attorney visitation rules on DOC facility website

 3/7/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility staff re: status of intake

 3/7/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization to update on status of intake

 3/7/2016 Seth Packrone     0:24:00 Billable   Draft letter to DOC facility to request intake

 3/7/2016 Seth Packrone     0:12:00 Billable   Follow up with M. Smith re: editing letter to DOC facility

 3/7/2016 Seth Packrone     0:42:00 Billable   Fianlize and send letter re: intake request
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 3/7/2016 Seth Packrone     0:06:00 Billable   Teleconference with C. Molholm re: sending attorney visit request to DOC facility

 3/7/2016 Seth Packrone     0:24:00 Billable   Outline memo on NJ special education law

 3/7/2016 Seth Packrone     0:24:00 Billable   Background research on the NJ Department of Corrections regulations

 3/7/2016 Seth Packrone     0:12:00 Billable   Legal research on NJ special education law

 3/7/2016 Seth Packrone     0:30:00 Billable   Read and analyze Third circuit special education case: Buckley v. State Correctional Institution

 3/7/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: next intakes
                                               Read and take notes on Elizabeth Cate article re: special education services for youths in
 3/7/2016 Seth Packrone     0:18:00 Billable   correctional facilities
                                               Read and take notes on case law around special education" and "department of corrections" in
 3/7/2016 Seth Packrone     0:48:00 Billable   third circuit and NJ"

 3/8/2016 Seth Packrone     0:12:00 Billable   Research and take notes on applicable IDEA segs

 3/8/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility staff re: client visit

 3/8/2016 Seth Packrone     0:06:00 Billable   Prepare for intake at DOC facility on Thursday

 3/8/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: intake at DOC facility

 3/8/2016 Seth Packrone     0:24:00 Billable   Prepare logistics for intake at DOC facility

 3/9/2016 Michelle Caiola   0:06:00 Billable   Direct SP re: approach for intake in prison

 3/9/2016 Seth Packrone     0:12:00 Billable   Read old intake notes with DOC facility intake

 3/9/2016 Seth Packrone     0:18:00 Billable   Teleconference with impacted organization re: other potential intakes in DOC custody

 3/9/2016 Seth Packrone     0:06:00 Billable   Read other intake notes from DOC facility intake

 3/9/2016 Seth Packrone     0:54:00 Billable   Draft and revise intake questions for young people in DOC custody

 3/9/2016 Seth Packrone     0:06:00 Billable   Send intake questions and update on investigation to M. Smith

 3/9/2016 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: potential clients for outreach

 3/9/2016 Seth Packrone     0:30:00 Billable   Prepare for intake at DOC facility and send M. Smith questions and concerns

 3/9/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: follow up with potential client after intake

 3/9/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: logistics for visit

 3/9/2016 Seth Packrone     0:12:00 Billable   Prepare for intake at DOC facility

 3/9/2016 Seth Packrone     0:36:00 Billable   Draft preliminary task list for NJ prison investigation

 3/9/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: assisting with investigation

 3/9/2016 Seth Packrone     0:06:00 Billable   Review NJ special education law

3/10/2016 Seth Packrone     0:30:00 Billable   Prepare for intake at DOC facility

3/10/2016 Seth Packrone     1:24:00 Billable   Travel to and from DOC facility for intake (overall it took 2.9; bill half)

3/10/2016 Seth Packrone     2:36:00 Billable   Conduct intake with potential client at DOC facility

3/10/2016 Seth Packrone     0:48:00 Billable   Summarize and analyze notes from intake at DOC facility

3/10/2016 Seth Packrone     0:18:00 Billable   Update notes and agenda to prepare for call with ACLU

3/11/2016 Mary-Lee Smith    0:24:00 Billable   Review notes from S.Packrone re prison visit

3/11/2016 Michelle Caiola   0:12:00 Billable   Update re prison visit/potential client

3/11/2016 Michelle Caiola   0:12:00 Billable   Review SP memo on status of investigation

3/11/2016 Seth Packrone     0:48:00 Billable   Update intake memo on DOC facility intake and task list

3/11/2016 Seth Packrone     0:06:00 Billable   Update stats on young people held in DOC

3/11/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: intake update

3/11/2016 Seth Packrone     0:30:00 Billable   Teleconference with M. Smith to prepare for call with ACLU
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3/11/2016 Seth Packrone   0:06:00 Billable   Follow up with ACLU re: logistics for call

3/11/2016 Seth Packrone   0:06:00 Billable   Prepare for call with ACLU

3/12/2016 Seth Packrone   0:06:00 Billable   Review and analyze email with updates on potential intakes from impacted organization

3/14/2016 Seth Packrone   0:06:00 Billable   Correspond with impacted organization re: DOC facility intake

3/14/2016 Seth Packrone   0:06:00 Billable   Teleconference with impacted organization re: upcoming intakes

3/14/2016 Seth Packrone   0:36:00 Billable   Compile list of potential intakes from DOC facility's publicly available info

3/14/2016 Seth Packrone   0:18:00 Billable   Teleconference with impacted organization re: school records and more intakes

3/14/2016 Seth Packrone   0:06:00 Billable   Update M. Smith on school records and potential intakes

3/14/2016 Seth Packrone   0:12:00 Billable   Follow up with impacted organization representatives re: potential intakes

3/15/2016 Seth Packrone   0:12:00 Billable   Give directions to J. Mukherjee re: NJ prison research

3/15/2016 Seth Packrone   0:06:00 Billable   Correspond with assignment directions re: prison research with J. Mukherjee

3/15/2016 Seth Packrone   0:30:00 Billable   Redraft and revise work plan for investigation in NJ prisons

3/15/2016 Seth Packrone   0:12:00 Billable   Review and analyze potential client's school records

3/15/2016 Seth Packrone   0:12:00 Billable   Review potential client's school records and respond to impacted organization

3/15/2016 Seth Packrone   0:24:00 Billable   Draft update to M. Smith re: investigation next steps

3/16/2016 Seth Packrone   0:06:00 Billable   Conference with J. Mukherjee re: attorney visit rules at NJ prisons

3/16/2016 Seth Packrone   0:54:00 Billable   Create chronology for potential client based on school records

3/16/2016 Seth Packrone   0:06:00 Billable   Give directions to J. Mukherjee re: information on NJ state prisons

3/16/2016 Seth Packrone   0:12:00 Billable   Schedule intake with potential client

3/16/2016 Seth Packrone   0:06:00 Billable   Give directions to Janet re: prison policies for attorney-client mail

3/17/2016 Seth Packrone   0:06:00 Billable   Follow up with impacted organization re: scheduling an intake with potential client

3/17/2016 Seth Packrone   0:06:00 Billable   Strategy session with M. Caiola re: next steps in investigation

3/17/2016 Seth Packrone   0:42:00 Billable   Draft chronology of potential client and reviewed records

3/17/2016 Seth Packrone   0:06:00 Billable   Review and analyze Pro Hac Vice procedures in NJ

3/17/2016 Seth Packrone   0:12:00 Billable   Draft records release for intakes

3/17/2016 Seth Packrone   0:12:00 Billable   Draft request for records for intakes

3/17/2016 Seth Packrone   0:48:00 Billable   Draft follow-up letter for potential client

3/17/2016 Seth Packrone   0:18:00 Billable   Teleconference with impacted organization re: potential client's records

3/17/2016 Seth Packrone   0:42:00 Billable   Begin to draft memo on IDEA protections for children, 18-21, in adult correctional facilities

3/18/2016 Seth Packrone   0:30:00 Billable   Take notes on legal research about relevant IDEA provisions

3/18/2016 Seth Packrone   0:36:00 Billable   Draft Section II of legal claim memo on 20 USC 1412(b)

3/18/2016 Seth Packrone   0:48:00 Billable   Research and draft Section III of legal claims memo on 20 USC 1412(b)
                                             Read and analyze Tunstall case and law review article for legal claims memo on relevant
3/18/2016 Seth Packrone   0:30:00 Billable   provisions

3/18/2016 Seth Packrone   0:06:00 Billable   Read and analyze NJAC special education for legal claims memo

3/18/2016 Seth Packrone   0:24:00 Billable   Draft section III(A) of legal claims memo on IDEA

3/18/2016 Seth Packrone   0:24:00 Billable   Draft section III(B) of legal claims memo on IDEA

3/18/2016 Seth Packrone   0:30:00 Billable   Revise and finalize legal claims memo on IDEA

3/18/2016 Seth Packrone   0:12:00 Billable   Send legal claims memo with comments to M. Smith

3/18/2016 Seth Packrone   0:12:00 Billable   Correspond and follow up with R Livengood re: records request from DOC facilities
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3/18/2016 Seth Packrone     0:12:00 Billable   Edit and revise letter to potential intake based on R Livengood feedback

3/18/2016 Seth Packrone     0:18:00 Billable   Draft update for M. Smith on records request and intakes

3/21/2016 Mary-Lee Smith    0:18:00 Billable   Review memo re legal claims for 18-21 yo inmates with IEP from S.Packrone

3/21/2016 Mary-Lee Smith    0:18:00 Billable   Review and revise record release document

3/21/2016 Seth Packrone     0:12:00 Billable   Follow up with M. Smith re: documents for intakes and memo on NJ special education law

3/21/2016 Seth Packrone     0:36:00 Billable   Draft memo on NJ DOC Statistics about potential clients
                                               Email exchange w/ S.Packrone re potential client in DOC custody and legal requirements under
3/22/2016 Mary-Lee Smith    0:24:00 Billable   IDEA

3/22/2016 Seth Packrone     0:24:00 Billable   Edit and send letter to potential client to M. Smith for review

3/22/2016 Seth Packrone     0:06:00 Billable   Finalize blank release and follow up with M. Smith about it
                                               Teleconference with school official re: school records from school district for potential client
3/22/2016 Seth Packrone     0:06:00 Billable

3/22/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: letter for release from potential client

3/22/2016 Seth Packrone     0:12:00 Billable   Give directions to J. Mukherjee about letter to potential client

3/22/2016 Seth Packrone     0:24:00 Billable   Finalize letter and release to send to potential client

3/22/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: letter to potential client

3/22/2016 Seth Packrone     0:12:00 Billable   Teleconference with school official re: retrieving public schools' client records

3/22/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: update meeting with the ACLU

3/23/2016 Mary-Lee Smith    0:06:00 Billable   Prep for call with ACLU re: S 2003 bill

3/23/2016 Mary-Lee Smith    0:12:00 Billable   Call with ACLU re S2003

3/23/2016 Mary-Lee Smith    0:18:00 Billable   Review memo from S.Packrone re S2003

3/23/2016 Michelle Caiola   0:18:00 Billable   SP apprise me of recent NJ law and relevance to going forward

3/23/2016 Seth Packrone     0:12:00 Billable   Schedule and confirm phone call with M. Smith and R Livengood from the ACLU re: S2003

3/23/2016 Seth Packrone     0:12:00 Billable   Prepare for call with M. Smith and Rebecca Livengood from the ACLU re: S2003

3/23/2016 Seth Packrone     0:12:00 Billable   Teleconference with R Livengood and M. Smith re: S 2003 bill and impact on investigation

3/23/2016 Seth Packrone     0:06:00 Billable   Follow up call with M. Smith re: next steps in NJ prison investigation

3/23/2016 Seth Packrone     1:30:00 Billable   Research and analyze S 2003 bill in NJ and its impact on potential class members

3/23/2016 Seth Packrone     0:24:00 Billable   Write up and send analysis on S 2003 bill to M. Smith

3/23/2016 Seth Packrone     0:18:00 Billable   Strategy session with M. Caiola re: next steps in NJ prison investigation

3/23/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: S 2003 bill and potential impact on class members

3/23/2016 Seth Packrone     0:06:00 Billable   Schedule follow-up call with M. Smith to discuss S 2003 bill's impact on investigation

3/24/2016 Mary-Lee Smith    0:30:00 Billable   Call w/ S.Packrone re NJ DOC and impact of S2003

3/24/2016 Mary-Lee Smith    0:18:00 Billable   Call w/ S.Seaborn re NJ DOC and impact of S2003 on investigation

3/24/2016 Seth Packrone     0:24:00 Billable   Teleconference with M. Smith re: S 2003

3/24/2016 Seth Packrone     0:12:00 Billable   Correspond with R. Livengood re: text of S 2003

3/24/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps in prison investigation

3/25/2016 Mary-Lee Smith    0:54:00 Billable   Work on review of S2003 and interpretation there of

3/25/2016 Seth Packrone     0:18:00 Billable   Correspond with M. Smith re: S 2003 text

3/25/2016 Seth Packrone     0:06:00 Billable   Follow up with R Livengood re: S 2003 text

3/28/2016 Michelle Caiola   0:06:00 Billable   update from SP re: status of investigation
                                               Read, analyze, and respond to M. Smith's interpretationof S 2003 and its impact on potential
3/28/2016 Seth Packrone     0:24:00 Billable   class
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3/28/2016 Seth Packrone     0:06:00 Billable   Follow up with R Livengood re: S 2003 text and impact on potential class

3/28/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Caiola re: update on S 2003 text and impact on potential class

3/28/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: edits to co-counsel agreement

3/28/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: intakes at DOC facilities

3/29/2016 Seth Packrone     0:06:00 Billable   Prepare for call with DOC facility re: intake

3/29/2016 Seth Packrone     0:12:00 Billable   Teleconference with DOC facility staff re: scheduling an intake

3/29/2016 Seth Packrone     0:06:00 Billable   Draft letter to DOC facility re: intakes and sent to M. Smith

3/29/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: sending letter to DOC facility
                                               Teleconference with impacted organization re: updates and getting more information on
3/29/2016 Seth Packrone     0:42:00 Billable   potential intakes

3/29/2016 Seth Packrone     0:06:00 Billable   Update staff re: NJ DOC investigation status and input on next steps

3/29/2016 Seth Packrone     0:06:00 Billable   Update M. Smith on intakes and S 2003 after call with impacted organization

3/29/2016 Seth Packrone     0:06:00 Billable   Edit intake letter for student in DOC facility

3/29/2016 Seth Packrone     0:06:00 Billable   Review and sort S 2003 legal research and responses

3/30/2016 Mary-Lee Smith    0:18:00 Billable   Receive and review work plan for investigation from ACLU; make edits to timeline and add tasks

3/30/2016 Seth Packrone     0:12:00 Billable   Edits to letter to OC Facility and prepare to send

3/30/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: sending letter to DOC Facility

3/30/2016 Seth Packrone     0:18:00 Billable   Redraft work plan based on call with ACLU-NJ

3/30/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: intakes with members of organization

3/30/2016 Seth Packrone     0:06:00 Billable   Follow up with RR Livengood re: edits to work plan in preparation for teleconference

3/30/2016 Seth Packrone     0:30:00 Billable   Review and analyze work plan for investigation

3/30/2016 Seth Packrone     0:12:00 Billable   Prepare for call with ACLU-NJ

3/30/2016 Seth Packrone     0:06:00 Billable   Send modified work plan in preparation for call with ACLU-NJ to R Livengood

 4/4/2016 Seth Packrone     0:06:00 Billable   Read letter from DOC facility intake

 4/4/2016 Seth Packrone     0:12:00 Billable   Conference with M. Caiola re: next steps for NJ prison investigation

 4/4/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility staff about intake

 4/4/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: upcoming intakes

 4/4/2016 Seth Packrone     0:06:00 Billable   Schedule logistics for intake at DOC facility

 4/5/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: records release signed from intake

 4/5/2016 Seth Packrone     0:12:00 Billable   Review and edit intake questionnaire for DOC facility intake

 4/5/2016 Seth Packrone     0:30:00 Billable   Prepare for intake at DOC facility on 4/6/16

 4/5/2016 Seth Packrone     0:06:00 Billable   Prepare release form for intake

 4/6/2016 Mary-Lee Smith    0:06:00 Billable   Instructions to S.Packrone re public records request

 4/6/2016 Seth Packrone     1:54:00 Billable   Conduct intake at DOC facility

 4/6/2016 Seth Packrone     0:06:00 Billable   Prepare for intake at DOC facility
                                               Travel to and from DOC facility to conduct intake (total 2 hr and 58 minutes, bill for half)
 4/6/2016 Seth Packrone     1:30:00 Billable

 4/6/2016 Seth Packrone     0:06:00 Billable   Correspond with Rebecca Livengood from ACLU-NJ re: litigation committee approval

 4/6/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization records for impacted students

 4/6/2016 Seth Packrone     0:06:00 Billable   Create task list for next steps in investigation

 4/7/2016 Michelle Caiola   0:18:00 Billable   Update from SP re 2nd prison visit and facts of case
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 4/7/2016 Seth Packrone    0:06:00 Billable   Correspond with impacted organization re: updates on various students

 4/7/2016 Seth Packrone    0:30:00 Billable   Draft intake summary for DOC facility intake re: elementary school

 4/7/2016 Seth Packrone    0:18:00 Billable   Draft intake summary for DOC facility intake re: recent events

 4/7/2016 Seth Packrone    0:18:00 Billable   Strategy session with M. Caiola re: DOC facility intake and potential assigments for summer interns

 4/7/2016 Seth Packrone    0:12:00 Billable   Draft section of DOC facility intake re: time at DOC facility

 4/7/2016 Seth Packrone    0:48:00 Billable   Draft section of DOC facility intake summary on other DOC facility and disability status

 4/7/2016 Seth Packrone    0:24:00 Billable   Draft legal theories section of DOC facility intake events

 4/7/2016 Seth Packrone    0:06:00 Billable   Send M. Smith intake summary and update on case

 4/8/2016 Seth Packrone    0:18:00 Billable   Update M. Smith on next steps for DOC facility intake

 4/8/2016 Seth Packrone    0:18:00 Billable   Research and write Public Records Request to NJ DOC for grievance forms

 4/8/2016 Seth Packrone    0:24:00 Billable   Teleconference with impacted organization re: next intakes

 4/8/2016 Seth Packrone    0:18:00 Billable   Read and analyze records received from DOC facility intake

 4/8/2016 Seth Packrone    0:06:00 Billable   Update M. Smith on DOC facility records

 4/8/2016 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: docs for intakes

 4/8/2016 Seth Packrone    0:06:00 Billable   Read and analzye DOC facility response to grievance

4/11/2016 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ S.Packrone re intakes

4/11/2016 Mary-Lee Smith   0:06:00 Billable   Review/revise letter to intake re release

4/12/2016 Mary-Lee Smith   0:18:00 Billable   Review and revise OPRA form re grievance process and forms

4/12/2016 Mary-Lee Smith   0:24:00 Billable   Review intakes from NJ DOC from S.Packrone; follow up with questions

4/12/2016 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: public records request for grievance procedures

4/12/2016 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: plan for meeting

4/13/2016 Seth Packrone    0:12:00 Billable   Read intake forms with various students

4/13/2016 Seth Packrone    0:30:00 Billable   Teleconference with M. Smith re: next steps in NJDOC investigation

4/13/2016 Seth Packrone    0:06:00 Billable   Prepare for call with ACLU-NJ

4/13/2016 Seth Packrone    0:30:00 Billable   Teleconference with R Livengood, ACLU-NJ re: next intakes

4/13/2016 Seth Packrone    0:12:00 Billable   Send update to M. Smith re: call with ACLU-NJ

4/13/2016 Seth Packrone    0:06:00 Billable   Send follow up information on intakes to R Livengood

4/13/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: records requests

4/13/2016 Seth Packrone    0:06:00 Billable   Prepare records requests for DOC facility intake

4/14/2016 Mary-Lee Smith   0:18:00 Billable   Review records requests for potential client #1 from S.Packrone

4/14/2016 Mary-Lee Smith   0:12:00 Billable   Review records requests for potential client #2 from S.Packrone

4/14/2016 Seth Packrone    0:06:00 Billable   Call with impacted organization to update on intakes

4/14/2016 Seth Packrone    0:12:00 Billable   Draft follow up letter to DOC facility intake

4/14/2016 Seth Packrone    0:18:00 Billable   Draft update letter to DOC facility intake

4/14/2016 Seth Packrone    0:24:00 Billable   Draft records request for DOC facility

4/14/2016 Seth Packrone    0:18:00 Billable   Draft records request for school district for intake

4/14/2016 Seth Packrone    0:06:00 Billable   Update M. Smith on progress with records requests letters

4/14/2016 Seth Packrone    0:24:00 Billable   Telconference with impacted organization re: next steps in investigation

4/14/2016 Seth Packrone    0:18:00 Billable   Edit and finalize DOC facility records request for intake
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4/14/2016 Seth Packrone     0:12:00 Billable   Follow up on Open Public Records Request Act for NJ DOC with M. Smith and ACLU-NJ

4/15/2016 Michelle Caiola   0:06:00 Billable   Discuss claims with SP

4/15/2016 Michelle Caiola   0:06:00 Billable   Update SW re claims

4/15/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: records request letters

4/15/2016 Seth Packrone     0:06:00 Billable   Draft records request letters for DOC facility for intake

4/15/2016 Seth Packrone     0:18:00 Billable   Draft records request letter for DOC facility for intake
                                               Give directions to J. Mukherjee re: sending records request letters and letters to potential
4/15/2016 Seth Packrone     0:12:00 Billable   clients

4/15/2016 Seth Packrone     0:30:00 Billable   Draft records request letters for DOC facility and hospital for intake

4/15/2016 Seth Packrone     0:12:00 Billable   Edit update letter to send to DOC facility intake

4/15/2016 Seth Packrone     0:36:00 Billable   Finalize records request and update letters to send to potential clients

4/15/2016 Seth Packrone     0:12:00 Billable   Send records request letters and update letters to M. Smith

4/16/2016 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: next intakes

4/18/2016 Mary-Lee Smith    0:18:00 Billable   Email exchange and review visitation letter for new intake w/ S.Packrone

4/18/2016 Mary-Lee Smith    0:36:00 Billable   Review records release letters from S.Packrone for various potnetial clients.

4/18/2016 Michelle Caiola   0:06:00 Billable   update from SP re prison visit

4/18/2016 Michelle Caiola   0:12:00 Billable   update post meeting with parent's advocacy group (SP and SW)

4/18/2016 Seth Packrone     0:24:00 Billable   Teleconference with impacted organization re: information for next intakes

4/18/2016 Seth Packrone     0:12:00 Billable   Draft intake letter for new intake

4/18/2016 Seth Packrone     0:06:00 Billable   Send update on intakes to M. Smith with intake letter

4/18/2016 Seth Packrone     0:06:00 Billable   Correspond re: potential expert consultant

4/18/2016 Seth Packrone     0:18:00 Billable   Send intake letter to DOC facility for new intake
                                               Legal research and take notes on interactions between NJ DOC and school districts for student
4/19/2016 Seth Packrone     0:24:00 Billable   records

4/19/2016 Seth Packrone     0:06:00 Billable   Follow up about potential expert consultant

4/19/2016 Seth Packrone     0:18:00 Billable   Finalize letter to send to intake re: updating him on investigation progress

4/19/2016 Seth Packrone     0:24:00 Billable   Prepare records requests to be sent NJ DOC facilities for 2 potential clients

4/20/2016 Mary-Lee Smith    0:30:00 Billable   Work session with S.Packrone re NJ OPRA and intake questionnaire

4/20/2016 Seth Packrone     0:18:00 Billable   Draft next steps for investigation and actions items for this week

4/20/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: status of investigation

4/20/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: records requests and documents to send to ACLU-NJ

4/20/2016 Seth Packrone     0:06:00 Billable   Follow up with R Livengood from ACLU re: next meeting

4/20/2016 Seth Packrone     0:06:00 Billable   Correspond with R Livengood from ACLU-NJ re: public records request to send to NJ DOC

4/20/2016 Seth Packrone     0:30:00 Billable   Prepare documents to send to ACLU.NJ based on work plan

4/20/2016 Seth Packrone     0:06:00 Billable   Finalize records requests to send to school district

4/21/2016 Mary-Lee Smith    0:42:00 Billable   Call w/ S.Packrone and R.Livengood re due process jx and intakes

4/21/2016 Mary-Lee Smith    0:18:00 Billable   Work session with S.Packrone re intakes and next steps

4/21/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re: records requests moving forward

4/21/2016 Seth Packrone     0:36:00 Billable   Check in call with R Livengood and M. Smith re: next steps in NJ DOC investigation

4/21/2016 Seth Packrone     0:12:00 Billable   Follow up call with M. Smith re: next steps in NJ DOC investigation

4/21/2016 Seth Packrone     0:24:00 Billable   Finalize records request letters and releases to send to NJ DOC facilities
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4/21/2016 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: records requests

4/21/2016 Seth Packrone    0:18:00 Billable   Prepare for intake at DOC facility

4/22/2016 Seth Packrone    0:12:00 Billable   Prepare for next intake at DOC facility
                                              Travel to and from DOC facility to conduct intake (total 2 hr and 40 minutes, bill for half)
4/22/2016 Seth Packrone    1:24:00 Billable

4/22/2016 Seth Packrone    0:42:00 Billable   Intake at DOC facility

4/22/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: documents from potential client

4/22/2016 Seth Packrone    0:48:00 Billable   Draft litigation memo for NJ DOC matter

4/22/2016 Seth Packrone    0:12:00 Billable   Review and analyze records from potential client

4/22/2016 Seth Packrone    0:06:00 Billable   Follow up research on new intake

4/22/2016 Seth Packrone    0:12:00 Billable   Update M. Smith re: records received from potential client

4/22/2016 Seth Packrone    0:36:00 Billable   Draft intake memo on new intake

4/22/2016 Seth Packrone    0:12:00 Billable   Research next intakes for investigation

4/23/2016 Seth Packrone    0:06:00 Billable   Read and analyze information from impacted organization potential claims

4/25/2016 Seth Packrone    0:30:00 Billable   Draft background research section of litigation committee memo

4/25/2016 Seth Packrone    0:30:00 Billable   Draft factual allegations section of litigation committee memo

4/25/2016 Seth Packrone    0:36:00 Billable   Draft legal violations section of litigation committee memo

4/25/2016 Seth Packrone    0:36:00 Billable   Draft causes of action section of litigation committee memo

4/25/2016 Seth Packrone    0:06:00 Billable   Read and analyze regulatory violations briefing from ACLU-NJ

4/25/2016 Seth Packrone    0:30:00 Billable   Edit, proofread, and send litigation committee memo to M. Smith

4/25/2016 Seth Packrone    0:06:00 Billable   Follow up with R Livengood from ACLU re: memo on jurisdiction of NJ OAL

4/25/2016 Seth Packrone    0:06:00 Billable   Update M. Smith re: OAL jurisdiction research and OPRA requests

4/26/2016 Mary-Lee Smith   0:30:00 Billable   Review lit committee memo and edit for S.Packrone

4/26/2016 Mary-Lee Smith   0:18:00 Billable   Review/revise OPRA re grievance from S.Packrone

4/26/2016 Seth Packrone    0:06:00 Billable   Read and analyze potential client's records

4/26/2016 Seth Packrone    0:12:00 Billable   Read and analyze impacted organization's studies and statistics and respond re: next intakes

4/26/2016 Seth Packrone    0:18:00 Billable   Research and take notes on NJ DOC facility

4/26/2016 Seth Packrone    0:18:00 Billable   Revise and edit OPRA request based on ACLU-NJ's feedback

4/26/2016 Seth Packrone    0:18:00 Billable   Give directions to J. Mukherjee and update her on investigation strategy

4/26/2016 Seth Packrone    0:18:00 Billable   Edit OPRA and send to ACLU-NJ for final approval

4/26/2016 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: details on the NJ DOC facilities

4/26/2016 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: research for jurisdictional issue for NJ OAL

4/26/2016 Seth Packrone    0:12:00 Billable   Submit OPRA request for NJDOC grievance procedures

4/26/2016 Seth Packrone    0:42:00 Billable   Edit Litigation Committee Memo based on M. Smith's comments

4/27/2016 Mary-Lee Smith   0:12:00 Billable   Review/revise lit committee memo for NJ DOC

4/27/2016 Mary-Lee Smith   0:30:00 Billable   Work session with S.Packrone re new intakes and OAL jx issues

4/27/2016 Mary-Lee Smith   0:36:00 Billable   Research jurisdiction of OAL to hear class claims

4/27/2016 Seth Packrone    0:18:00 Billable   Read and analyze data from impacted organization re: new intakes

4/27/2016 Seth Packrone    0:24:00 Billable   Research jurisdiction of NJ OAL

4/27/2016 Seth Packrone    0:24:00 Billable   Teleconference with M. Smith re: next steps for NJ DOC investigation
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4/27/2016 Seth Packrone     0:36:00 Billable   Finalize and send litigation committee memo to litigation committee

4/27/2016 Seth Packrone     0:18:00 Billable   Review and analyze ACLU NJ's memo on OAL jurisdiction

4/27/2016 Seth Packrone     0:18:00 Billable   Update ACLU-NJ on next intakes

4/27/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: public testimony from students

4/28/2016 Mary-Lee Smith    0:12:00 Billable   Review agenda for co-counsel meeting from S.Packrone

4/28/2016 Mary-Lee Smith    0:12:00 Billable   Review revised workplan for co-counsel meeting from S.Packrone

4/28/2016 Mary-Lee Smith    0:36:00 Billable   Further research into OAL decisions re ADA/504 claims

4/28/2016 Seth Packrone     0:12:00 Billable   Respond to ACLU re: tracking data in spreadsheets for investigation

4/28/2016 Seth Packrone     0:12:00 Billable   Draft agenda for 4.29.16 co-counsel meeting

4/28/2016 Seth Packrone     0:18:00 Billable   Draft updated work plan for NJ DOC investigation

4/28/2016 Seth Packrone     0:06:00 Billable   Send agenda/work plan to M. Smith with update

4/28/2016 Seth Packrone     0:12:00 Billable   Finalize potential client records request to hospital

4/28/2016 Seth Packrone     0:06:00 Billable   Send agenda/work plan to ACLU-NJ for meeting

4/28/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: materials for 4/29 co-counsel meeting

4/29/2016 Mary-Lee Smith    0:42:00 Billable   Call w/ S.Packrone and R.Livengood re intakes, doc requests and OAL jurisdiction

4/29/2016 Seth Packrone     0:12:00 Billable   Read and analyze research on jurisdiction of NJ OAL

4/29/2016 Seth Packrone     0:30:00 Billable   Teleconference with R Livengood, ACLU-NJ re: progress in investigation with M. Smith

4/29/2016 Seth Packrone     0:06:00 Billable   Follow up conference with M. Smith re: upcoming deadlines for NJ DOC investigation

 5/2/2016 Michelle Caiola   0:12:00 Billable   update from SP re next steps for investigation

 5/2/2016 Seth Packrone     0:06:00 Billable   Conference with C. Molholm re: next steps in investigation

 5/2/2016 Seth Packrone     0:12:00 Billable   Respond to R Livengood from ACLU-NJ re: next steps for relevant docs

 5/3/2016 Seth Packrone     0:12:00 Billable   Read and analyze research on exhausting admin remedies in NJ

 5/3/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: exhausting admin remedies in NJ
                                               Strategy session with J. Mukherjee re: update on NJDOC investigation and next steps for tracking
 5/3/2016 Seth Packrone     0:12:00 Billable   information

 5/3/2016 Seth Packrone     0:30:00 Billable   Draft and send new intake request letter to DOC facility

 5/3/2016 Seth Packrone     0:48:00 Billable   Analyze and incorporate ACLU-NJ's changes to general intake forms

 5/3/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re: spreadsheets to track information about intakes

 5/3/2016 Seth Packrone     0:18:00 Billable   Send intake general form to ACLU-NJ with changes noted

 5/4/2016 Mary-Lee Smith    0:24:00 Billable   Revise retainer for this case; send to S.Packrone

 5/4/2016 Mary-Lee Smith    0:18:00 Billable   Discuss retainer revisions with S.Packrone

 5/4/2016 Michelle Caiola   0:06:00 Billable   update from SP

 5/4/2016 Seth Packrone     0:12:00 Billable   Create NJDOC task list for next steps in investigation

 5/4/2016 Seth Packrone     0:12:00 Billable   Review and finalize intake questionnaire

 5/4/2016 Seth Packrone     0:06:00 Billable   Confirm visit to DOC facility for next intake

 5/4/2016 Seth Packrone     0:12:00 Billable   Draft letter to potential client to update him on next steps

 5/4/2016 Seth Packrone     0:06:00 Billable   Update team at DRA on NJDOC investigation

 5/4/2016 Seth Packrone     0:12:00 Billable   Conference with M. Caiola re: update her on investigation progress

 5/4/2016 Seth Packrone     0:36:00 Billable   Revise retainer for NJDOC clients

 5/4/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: scope of retainer
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 5/4/2016 Seth Packrone     0:12:00 Billable   Draft letter to potential client to update him on next steps

 5/4/2016 Seth Packrone     0:18:00 Billable   Revise and edit spreadsheet about intake process
                                               Follow up with the ACLU re: scheduling meeting with NJ special education advocates and
 5/4/2016 Seth Packrone     0:18:00 Billable   spreadsheet

 5/4/2016 Seth Packrone     0:12:00 Billable   Finalize letters to send to potential clients

 5/4/2016 Seth Packrone     0:12:00 Billable   Prepare for new intake at DOC facility

 5/5/2016 Mary-Lee Smith    0:48:00 Billable   Revised joint retainer

 5/5/2016 Mary-Lee Smith    0:18:00 Billable   Review spreadsheet for intakes for NJ DOC

 5/5/2016 Michelle Caiola   0:24:00 Billable   T/c with SP re retainer, changes, law

 5/5/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: new intake

 5/5/2016 Seth Packrone     0:36:00 Billable   Update and revise spreadsheet tracking intakes for investigation

 5/5/2016 Seth Packrone     1:18:00 Billable   Prepare retainer for NJDOC clients
                                               Travel to and from DOC facility for student intakes (2.7 total - bill half)
 5/5/2016 Seth Packrone     1:24:00 Billable

 5/5/2016 Seth Packrone     1:12:00 Billable   Intake with potential client at DOC facility

 5/5/2016 Seth Packrone     0:06:00 Billable   Plan meeting with NJ special education advocate re: education class actions in NJ

 5/5/2016 Seth Packrone     0:12:00 Billable   Finalize letters to send to potential clients

 5/5/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel meeting

 5/5/2016 Seth Packrone     0:06:00 Billable   Send agenda and spreadsheet to ACLU-NJ

 5/5/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: meeting with potential expert consultant

 5/5/2016 Seth Packrone     0:12:00 Billable   Strategy session with F. Pitts re: update on investigation

 5/6/2016 Mary-Lee Smith    0:48:00 Billable   Revise retainer agreement for DOC clients

 5/6/2016 Seth Packrone     0:06:00 Billable   Follow up with Bill Silverman re: meeting with M. Smith to discuss pro bono support

 5/6/2016 Seth Packrone     0:12:00 Billable   Strategy session with J. Mukherjee and R. Rodgers re: update on intakes
                                               Teleconference with impacted organization re: next intakes to conduct and call from potential
 5/6/2016 Seth Packrone     1:12:00 Billable   client

 5/6/2016 Seth Packrone     0:12:00 Billable   Revise and edit retainer for NJ DOC clients

 5/6/2016 Seth Packrone     0:06:00 Billable   Conference with J. Mukherjee re: next intake

 5/6/2016 Seth Packrone     0:06:00 Billable   Update letter to send to potential client to update him on status of investigation

 5/6/2016 Seth Packrone     0:06:00 Billable   Follow up with Bill Silverman re: meeting with M. Smith to discuss pro bono support

 5/6/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: retainer and intakes progress

 5/6/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: agenda for call with ACLU and next intakes

 5/6/2016 Seth Packrone     0:24:00 Billable   Co-counsel call with ACLU and M. Smith re: NJ DOC investigation

 5/9/2016 Michelle Caiola   0:18:00 Billable   update from SP and MLK re meeting with Proskauer and next steps

 5/9/2016 Seth Packrone     0:18:00 Billable   Draft plan for meeting with Proskauer

5/10/2016 Mary-Lee Smith    0:42:00 Billable   Meeting w/ B.Silverman re pro bono support for NJ DOC

5/10/2016 Seth Packrone     0:42:00 Billable   Conference with Bill Silverman and M. Smith re: potential co-counsel on NJ DOC matter
                                               Travel to and from Proskauer Rose to meet with Bill Silverman (total was 40 minutes, bill for
5/10/2016 Seth Packrone     0:18:00 Billable   half)

5/10/2016 Seth Packrone     0:18:00 Billable   Follow up strategy session with M. Smith re: next steps in NJ DOC investigation

5/10/2016 Seth Packrone     0:06:00 Billable   Read and analyze ACLU's changes to intake spreadsheet

5/10/2016 Seth Packrone     0:06:00 Billable   Draft and send follow up email to Bill Silverman re: next meeting to discuss NJ DOC matter

5/10/2016 Seth Packrone     0:06:00 Billable   Read and analyze response to OPRA request from NJ DOC
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5/10/2016 Seth Packrone    0:06:00 Billable   Follow up with ACLU re: next steps for OPRA requests

5/10/2016 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood from ACLU re: edits to spreadsheet tracking intakes

5/10/2016 Seth Packrone    0:06:00 Billable   Follow up about Bill Silverman re: pro bono support
                                              Work session with NJ special education advocates and ACLU-NJ re strategy for bringing
5/11/2016 Mary-Lee Smith   0:48:00 Billable   education claims against NJ DOC

5/11/2016 Seth Packrone    0:12:00 Billable   Read and edit joint retainer to send to ACLU.NJ
                                              Teleconference with NJ special education advocates re: strategy for bringing claims against NJ
5/11/2016 Seth Packrone    0:36:00 Billable   DOC (with ACLU-NJ and M. Smith)
                                              Teleconference with R. Livengood and J. LoCicero and M. Smith re: call with NJ special education
5/11/2016 Seth Packrone    0:12:00 Billable   advocate

5/11/2016 Seth Packrone    0:06:00 Billable   Follow up strategy session with M. Smith re: next steps in jurisdictional research

5/11/2016 Seth Packrone    0:30:00 Billable   Strategy session with M. Smith re: next steps in investigation for intakes and researach

5/12/2016 Seth Packrone    0:06:00 Billable   Send IDEA exhaustion case law to M. Smith

5/12/2016 Seth Packrone    0:24:00 Billable   Analyze M. Smith's litigation strategy based on exhaustion case law in the Third Circuit

5/12/2016 Seth Packrone    0:48:00 Billable   Conduct legal research on exhaustion in the Third Circuit

5/12/2016 Seth Packrone    0:18:00 Billable   Write up and analyze exhaustion case law in Third Circuit for M. Smith

5/12/2016 Seth Packrone    0:18:00 Billable   Analyze ACLU.NJ's OPRA responses from NJ DOC

5/12/2016 Seth Packrone    0:30:00 Billable   Draft OPRA request for NJ DOC policies/procedures for special education

5/12/2016 Seth Packrone    0:18:00 Billable   Draft agenda and list next intakes for ACLU.NJ co-counsel meeting

5/13/2016 Mary-Lee Smith   0:18:00 Billable   Work session w/ S.Packrone re exhausting clients' claims

5/13/2016 Mary-Lee Smith   0:36:00 Billable   Work session w/ ACLU re intakes, exhaustion and retainer with clients

5/13/2016 Seth Packrone    0:12:00 Billable   Send retainer and agenda to ACLU for co-counsel meeting

5/13/2016 Seth Packrone    0:06:00 Billable   Review updated agenda and respond to ACLU.NJ re: co-counsel meeting

5/13/2016 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: plan for co-counsel meeting

5/13/2016 Seth Packrone    0:18:00 Billable   Teleconference with M. Smith re: strategy for filing class complaint against NJDOC
                                              Conference call with R. Livengood (ACLU-NJ) and M. Smith re: updates on intakes and
5/13/2016 Seth Packrone    0:30:00 Billable   investigation strategy moving forward

5/13/2016 Seth Packrone    0:12:00 Billable   Follow up strategy session with M. Smith re: next steps in work plan for NJ DOC investigation

5/13/2016 Seth Packrone    0:06:00 Billable   Update M. Caiola on strategy for filing class complaint

5/13/2016 Seth Packrone    0:12:00 Billable   Edit joint retainer based on ACLU.NJ's feedback

5/13/2016 Seth Packrone    0:18:00 Billable   Draft and send letter request to conduct new intakes at DOC facility

5/13/2016 Seth Packrone    0:12:00 Billable   Edit and revise OPRA request for special education policies at NJDOC

5/13/2016 Seth Packrone    0:12:00 Billable   Send documents to ACLU.NJ re: records requests

5/13/2016 Seth Packrone    0:06:00 Billable   Correspond re: follow up on strategy based on call with NJ special education advocate

5/16/2016 Seth Packrone    0:18:00 Billable   Revise OPRA request for NJ DOC special education policies and send to ACLU.NJ

5/16/2016 Seth Packrone    0:06:00 Billable   Read and analyze exhaustion materials in Third Circuit

5/16/2016 Seth Packrone    0:06:00 Billable   Draft work plan for week based on next steps for investigation

5/16/2016 Seth Packrone    0:06:00 Billable   Strategy session with M. Caiola re: division of work

5/16/2016 Seth Packrone    0:06:00 Billable   Correspond with C. Molholm and J. Mukherjee re: assignments for investigation
                                              Read and analyze ACLU.NJ's OPRA responses from NJ DOC re: special education policies and
5/16/2016 Seth Packrone    0:30:00 Billable   teacher qualifications

5/16/2016 Seth Packrone    0:24:00 Billable   Give directions to C. Molholm re: assignments for NJ DOC investigation to track intakes

5/16/2016 Seth Packrone    0:06:00 Billable   Send relevant intake documents to C. Molholm re: tracking intake information

5/16/2016 Seth Packrone    0:30:00 Billable   Read, analyze, and take notes on exhaustion language in DNJ case law
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5/16/2016 Seth Packrone     0:06:00 Billable   Finalize for intake at DOC facility

5/16/2016 Seth Packrone     0:06:00 Billable   Strategy session on what to request through OPRA process with M. Caiola

5/16/2016 Seth Packrone     0:12:00 Billable   Finalize and send proposed joint retainer to ACLU.NJ

5/17/2016 Mary-Lee Smith    0:24:00 Billable   Work session with S.Packrone re OPRA and case plan

5/17/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: grievance OPRA request response from NJ DOC

5/17/2016 Seth Packrone     0:06:00 Billable   Analyze and edit spreadsheet tracking NJ DOC intakes

5/17/2016 Seth Packrone     0:12:00 Billable   Strategy session with C. Molholm re: editing the spreadsheet tracking NJ DOC intakes

5/17/2016 Seth Packrone     0:06:00 Billable   Respond to NJ DOC records custodian re: format of OPRA request

5/17/2016 Seth Packrone     0:12:00 Billable   Draft update letter to send to new intake at DOC facility

5/17/2016 Seth Packrone     0:06:00 Billable   Follow up with C. Molholm re: edits to spreadsheet tracking intakes

5/17/2016 Seth Packrone     0:30:00 Billable   Strategy session with M. Smith re: next steps in NJ DOC investigation

5/17/2016 Seth Packrone     0:06:00 Billable   Send potential client letter to M. Smith and ask for input

5/17/2016 Seth Packrone     0:06:00 Billable   Finalize letter to send to potential client

5/17/2016 Seth Packrone     0:18:00 Billable   Give directions to J. Mukherjee re: tracking NJ DOC records requests

5/17/2016 Seth Packrone     0:42:00 Billable   Edit OPRA request based on ACLU's comments and send back to ACLU

5/17/2016 Seth Packrone     0:12:00 Billable   Prepare for next intake at DOC facility

5/18/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: potential client update

5/18/2016 Seth Packrone     0:24:00 Billable   Write up background information and criminal background from intake at DOC facility
                                               Travel to and from DOC facility to conduct new intake (2.6 total - bill half)
5/18/2016 Seth Packrone     1:18:00 Billable
                                               Teleconference with impacted organization re: following up on records requests with schools
5/18/2016 Seth Packrone     0:18:00 Billable   and prisons

5/18/2016 Seth Packrone     1:18:00 Billable   Intake at DOC facility with student

5/18/2016 Seth Packrone     0:36:00 Billable   Draft educational history section of student intake summary
                                               Send DOC facility intake summary to C. Molholm with instructions about adding it to the
5/18/2016 Seth Packrone     0:06:00 Billable   spreadsheet

5/18/2016 Seth Packrone     0:42:00 Billable   Redraft work plan based on exhaustion strategy
                                               Teleconference with J. Mukherjee re: records requests information and drafting an intake
5/18/2016 Seth Packrone     0:06:00 Billable   request letter

5/18/2016 Seth Packrone     0:06:00 Billable   Read and analyze C. Molholm's edits to spreadsheet tracking intakes

5/18/2016 Seth Packrone     0:06:00 Billable   Send information about Mountainview intakes to J. Mukherjee for her to request visits

5/18/2016 Seth Packrone     0:06:00 Billable   Draft task list for NJ DOC investigation next steps

5/18/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: edits to OPRA request and submitting it
                                               Teleconference with J. Mukherjee re: logistics for intakes at DOC facility
5/18/2016 Seth Packrone     0:06:00 Billable

5/18/2016 Seth Packrone     0:36:00 Billable   Revise and edit OPRA request for NJ DOC special education policies

5/19/2016 Mary-Lee Smith    0:48:00 Billable   Review/revise work plan for NJ DOC case

5/19/2016 Michelle Caiola   0:06:00 Billable   update from SP re intakes at NJ DOC

5/19/2016 Seth Packrone     0:12:00 Billable   Strategy session with C. Molholm re: status of intakes and another intake at DOC facility

5/19/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: udpate NJ DOC intakes

5/19/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: next steps in records requests

5/19/2016 Seth Packrone     0:06:00 Billable   Finalize follow up records requests to hospital for potential intake

5/19/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel meeting

5/19/2016 Seth Packrone     0:18:00 Billable   Finalize spreadsheet tracking intakes to send to ACLU.NJ
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5/19/2016 Seth Packrone    0:12:00 Billable   Send update with spreadsheet and agenda to M. Smith with comments

5/19/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: next steps in records requests to NJ DOC facilities

5/19/2016 Seth Packrone    0:18:00 Billable   Finalize records requests to send to DOC facility

5/19/2016 Seth Packrone    0:06:00 Billable   Conference with J. Mukherjee re: following up with school district

5/19/2016 Seth Packrone    0:12:00 Billable   Send agenda and spreadsheet with update to ACLU.NJ

5/20/2016 Mary-Lee Smith   0:36:00 Billable   Call w/ ACLU re intakes and filing complaint

5/20/2016 Mary-Lee Smith   0:12:00 Billable   Call w/ S.Packrone re intakes

5/20/2016 Seth Packrone    0:36:00 Billable   Incorporate M. Smith's comments into new work plan for filing strategy

5/20/2016 Seth Packrone    0:06:00 Billable   Send updated work plan to co-counsel in preparation for co-counsel meeting

5/20/2016 Seth Packrone    0:30:00 Billable   Teleconference with ACLU.NJ re: case strategy check-in

5/20/2016 Seth Packrone    0:12:00 Billable   Strategy session with M. Smith re: case memo

5/20/2016 Seth Packrone    0:12:00 Billable   Strategy session with J. Mukherjee re: next records requests and intakes

5/20/2016 Seth Packrone    0:06:00 Billable   Strategy session with M. Caiola re: update on case strategy
                                              Follow up with ACLU.NJ re: in-person meeting and status of intakes and outreach message to
5/23/2016 Seth Packrone    0:18:00 Billable   concered organization

5/23/2016 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: co-counsel meetings and strategy sessions

5/24/2016 Mary-Lee Smith   1:00:00 Billable   Review outreach docs from ACLU

5/24/2016 Seth Packrone    0:06:00 Billable   Strategy session with J. Mukherjee re: following up with school district records

5/24/2016 Seth Packrone    0:12:00 Billable   Update M. Caiola re: status of investigation

5/24/2016 Seth Packrone    0:06:00 Billable   Read and analyze potential client's educational records

5/24/2016 Seth Packrone    0:06:00 Billable   Follow up with school district re: potential client's school reocords

5/24/2016 Seth Packrone    0:12:00 Billable   Edit and revise ACLU.NJ's Dear Colleague letter to impacted students

5/24/2016 Seth Packrone    0:12:00 Billable   Edit and revise ACLU.NJ's outreach letter to potential clients
                                              Teleconference with impacted organization re: updates on next intakes and status of current
5/24/2016 Seth Packrone    0:42:00 Billable   intakes

5/24/2016 Seth Packrone    0:06:00 Billable   Send ACLU.NJ's letters to M. Smith re: outreach to concerned organizations

5/24/2016 Seth Packrone    0:12:00 Billable   Strategy session with J. Mukherjee re: next records requests

5/24/2016 Seth Packrone    0:06:00 Billable   Edit and finalize records request to school for potential client

5/24/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: tracking NJ DOC records in the spreadsheet

5/25/2016 Mary-Lee Smith   0:24:00 Billable   Final revisions to outreach docs for DOC investigation; email exchanges re same

5/25/2016 Seth Packrone    0:06:00 Billable   Read and analyze M. Smith's comments on outreach documents

5/25/2016 Seth Packrone    1:00:00 Billable   Edit and revise outreach docs based on M. Smith's comments

5/25/2016 Seth Packrone    0:18:00 Billable   Draft follow up email for ACLU with comments on outreach docs

5/25/2016 Seth Packrone    0:06:00 Billable   Send updated outreachdocs to co-counsel

5/25/2016 Seth Packrone    0:06:00 Billable   Read and analyze NJ DOC response to OPRA request for grievance policies

5/25/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: filing OPRA request

5/25/2016 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: outreach

5/25/2016 Seth Packrone    0:12:00 Billable   Finalize documents requests for potential client to send to DOC facility

5/25/2016 Seth Packrone    0:06:00 Billable   Give directions J. Mukherjee re: requesting records from DOC facility

5/25/2016 Seth Packrone    0:12:00 Billable   Revise and edit outreach letter to concerned organizations

5/25/2016 Seth Packrone    0:18:00 Billable   Correspond with ACLU.NJ and M. Smith re: outreach letter
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5/26/2016 Mary-Lee Smith    1:06:00 Billable   Review OPRA grievance documents; take notes

5/26/2016 Michelle Caiola   0:12:00 Billable   position on intake strategy with SP

5/26/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: identifying clients and declarants

5/26/2016 Seth Packrone     0:30:00 Billable   Read and analyze response to OPRA request re: grievance policies from NJ DOC

5/26/2016 Seth Packrone     0:30:00 Billable   Write up initial analysis of NJ DOC response to OPRA request and send to M. Smith

5/26/2016 Seth Packrone     0:06:00 Billable   Read and analyze classification procedures at DOC facility

5/26/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: sending OPRA response to ACLU.NJ

5/26/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: directions for reviewing OPRA request response

5/26/2016 Seth Packrone     0:12:00 Billable   Draft follow up letter to send to DOC facility intake

5/26/2016 Seth Packrone     0:06:00 Billable   Update M. Smith on school recordsreceived for potential client

5/27/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re: response from hospital for potential client records

5/27/2016 Seth Packrone     0:18:00 Billable   Read and analyze OPRA denials from NJDOC

5/27/2016 Seth Packrone     0:06:00 Billable   Research and analyze NJ DOC statistics for young offenders

5/27/2016 Seth Packrone     0:06:00 Billable   Read and analyze NJ DOC's denial of OPRA requests for special educaiton policies

5/27/2016 Seth Packrone     0:06:00 Billable   Teleconference with attorney from school district about potential client's records

5/31/2016 Seth Packrone     0:12:00 Billable   Correspond with ACLU.NJ re: next intakes and OPRA response

5/31/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re; next intakes for NJ DOC

5/31/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re: sending intake request to DOC facility

5/31/2016 Seth Packrone     0:12:00 Billable   Finalize letter to DOC facility re: visits with students

 6/1/2016 Michelle Caiola   0:12:00 Billable   Check in with SP re complaint/memo assignment for questions

 6/1/2016 Seth Packrone     0:42:00 Billable   Read, analyze, and take notes on ADA claims about ad seg.

 6/1/2016 Seth Packrone     1:30:00 Billable   Draft section of case memo re: IDEA and ad seg policies

 6/1/2016 Seth Packrone     0:12:00 Billable   Read, analyze, and take notes on NJ DOC handbook for administrative segregation

 6/1/2016 Seth Packrone     0:06:00 Billable   Give direction to J. Mukherjee re: sending OPRA response to ACLU.NJ

 6/1/2016 Seth Packrone     0:48:00 Billable   Draft section of case memo re: ADA and ad seg policies/practices

 6/1/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: next steps in NJ DOC investigation

 6/1/2016 Seth Packrone     0:06:00 Billable   Review and finalize update to ACLU re: OPRA response

 6/1/2016 Seth Packrone     0:06:00 Billable   Teleconference with administrator at DOC facility re: vistation request

 6/1/2016 Seth Packrone     0:48:00 Billable   Draft section of case memo re: educational violations per the IDEA and ADA

 6/1/2016 Seth Packrone     0:18:00 Billable   Draft and research section of case memo re: ADA's integration mandate

 6/1/2016 Seth Packrone     0:24:00 Billable   Send NJ DOC update to M. Smith re: case memo and agenda for discussion tomorrow

 6/1/2016 Seth Packrone     0:12:00 Billable   Update J. Mukherjee re: status of records requests letters

 6/2/2016 Mary-Lee Smith    0:42:00 Billable   Work session w/ S.Packrone re case memo and intakes

 6/2/2016 Seth Packrone     0:06:00 Billable   Call with DOC facility re: upcoming student intakes

 6/2/2016 Seth Packrone     0:06:00 Billable   Send documents to B. Kitchelt re: NJ DOC legal memos

 6/2/2016 Seth Packrone     0:12:00 Billable   Read and analyze NJ DOC policies on grievances filed by inmates

 6/2/2016 Seth Packrone     0:30:00 Billable   Teleconference with M. Smith re: edits to case memo and legal theories for case

 6/2/2016 Seth Packrone     0:12:00 Billable   Draft agenda for ACLU.NJ co-counsel meeting on 6.3.16

 6/2/2016 Seth Packrone     0:06:00 Billable   Send agenda/update to M. Smith
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6/2/2016 Seth Packrone    0:06:00 Billable   Teleconference with M. Smith re: process for reviewing NJ DOC handbooks

6/2/2016 Seth Packrone    0:18:00 Billable   Send agenda and update to litigation team re: co-counsel call 6.3.16

6/2/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: intake release and records requests

6/2/2016 Seth Packrone    0:12:00 Billable   Prepare for intakes with DOC facility students

6/3/2016 Mary-Lee Smith   0:30:00 Billable   Call w/ ACLU and S.Packrone re intakes, outreach and research needed

6/3/2016 Seth Packrone    0:06:00 Billable   Finalize and edit letter to next intake

6/3/2016 Seth Packrone    0:48:00 Billable   Draft and analyze notes from new student's intake

6/3/2016 Seth Packrone    0:12:00 Billable   Draft and analyze new student intake's potential legal claims based on intake

6/3/2016 Seth Packrone    0:06:00 Billable   Follow up with B. Kitchelt and R. Livengood re: third circuit exhaustion case law

6/3/2016 Seth Packrone    0:12:00 Billable   Prepare for intakes at DOC facility

6/3/2016 Seth Packrone    0:24:00 Billable   Read, analyze, and take notes on NJ DOC Inmate Procedure 002.IRS.00 document

6/3/2016 Seth Packrone    0:06:00 Billable   Read, analyze, and take notes on NJ DOC procedure document 002.001

6/3/2016 Seth Packrone    0:06:00 Billable   Read, analyze, and take notes on NJ DOC procedure document on ADA grievances

6/3/2016 Seth Packrone    1:36:00 Billable   Intakes at DOC facility

6/3/2016 Seth Packrone    1:12:00 Billable   Travel to and from DOC facility (2.4 total, bill half)

6/3/2016 Seth Packrone    0:42:00 Billable   Strategy session with ACLU.NJ and M. Smith re: next steps in NJ DOC investigation

6/6/2016 Mary-Lee Smith   0:24:00 Billable   Call w/ S.Packrone re DOC issues

6/6/2016 Seth Packrone    0:06:00 Billable   Read and analyze school records for potential client

6/6/2016 Seth Packrone    0:06:00 Billable   Read and analyze potential client's ADA complaints

6/6/2016 Seth Packrone    0:12:00 Billable   Update M. Smith re: status of potential client's education complaints

6/6/2016 Seth Packrone    0:24:00 Billable   Strategy session with M. Caiola re: upcoming intakes at NJ DOC facilities

6/6/2016 Seth Packrone    0:12:00 Billable   Read, analyze, and take notes on potential client's IEP

6/6/2016 Seth Packrone    0:06:00 Billable   Read, analyze, and take notes on potential client's IEP

6/6/2016 Seth Packrone    0:12:00 Billable   Strategy session with M. Smith re: next steps for updating potential clients

6/6/2016 Seth Packrone    0:06:00 Billable   Strategy session with M. Caiola re: next steps for visiting clients

6/6/2016 Seth Packrone    0:06:00 Billable   Read and analyze letter from potential client

6/6/2016 Seth Packrone    0:24:00 Billable   Update ACLU re: potential client's records and ad seg placement

6/6/2016 Seth Packrone    0:06:00 Billable   Update M. Smith re: potential client's ad seg placement

6/7/2016 Seth Packrone    0:24:00 Billable   Read and analyze grievance exhaustion procedures at NJSP

6/7/2016 Seth Packrone    0:24:00 Billable   Read and analyze grievance exhaustion procedures at Wagner

6/7/2016 Seth Packrone    0:18:00 Billable   Read and analyze grievance exhaustion policies at Garden State

6/7/2016 Seth Packrone    0:24:00 Billable   Compare and analyze overall NJ DOC grievance procedures to specific facilities

6/7/2016 Seth Packrone    0:06:00 Billable   Draft memo on NJ DOC grievance policies

6/8/2016 Seth Packrone    0:12:00 Billable   Read and analyze NJ DOC grievance process

6/8/2016 Seth Packrone    0:06:00 Billable   Finalize response to hospitale re: potential client's records

6/8/2016 Seth Packrone    0:54:00 Billable   Draft grievance memo based on NJ DOC procedures memo

6/8/2016 Seth Packrone    0:42:00 Billable   Draft grievance memo based on NJ DOC ADA grievance procedures memo

6/8/2016 Seth Packrone    0:06:00 Billable   Draft grievance memo based on NJSP grievance policy memo

6/8/2016 Seth Packrone    0:24:00 Billable   Finalize and send grievance memo to team based on NJ DOC procedures
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 6/9/2016 Michelle Caiola   0:18:00 Billable   strategy issues for getting complaint filed with SP

 6/9/2016 Michelle Caiola   0:06:00 Billable   new org p idea discussed with SP

 6/9/2016 Seth Packrone     0:24:00 Billable   Draft grievance memo based on Garden State grievance policies

 6/9/2016 Seth Packrone     0:18:00 Billable   Draft grievance memo based on NJSP grievance policy memo

 6/9/2016 Seth Packrone     0:18:00 Billable   Draft grievance memo based on Wagner policy memo

 6/9/2016 Seth Packrone     0:12:00 Billable   Revise and finalize grievance memo

 6/9/2016 Seth Packrone     0:36:00 Billable   Draft litigation strategy update for M. Smith and update on grievance policy information

 6/9/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: potential organizational plaintiffs

6/10/2016 Mary-Lee Smith    0:24:00 Billable   Work sessioion w/ S.Packrone re DOC intakes and org P.

6/10/2016 Seth Packrone     0:24:00 Billable   Draft educational legal analysis section of case memo

6/10/2016 Seth Packrone     0:42:00 Billable   Strategy session with B. Kitchel re: exhaustion research and different pleading strategies
                                               Give B. Kitchel directions re: impact of new NJ law on juvenile waiver system and DOC
6/10/2016 Seth Packrone     0:06:00 Billable   populations

6/10/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: impacted members

6/10/2016 Seth Packrone     0:06:00 Billable   Read through potential client's medical records

6/10/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: litigation strategy moving forward

6/10/2016 Seth Packrone     0:18:00 Billable   Teleconference with M. Smith re: litigation strategy moving forward

6/10/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: litigation strategy moving forward in NJ DOC matter

6/10/2016 Seth Packrone     0:12:00 Billable   Send grievance memo and short description to co-counsel

6/10/2016 Seth Packrone     0:12:00 Billable   Strategy session with B. Kitchel re: exhaustion research and new client records

6/10/2016 Seth Packrone     0:30:00 Billable   Draft Garden State Section of case memo

6/13/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Molholm re: new intake

6/13/2016 Seth Packrone     0:12:00 Billable   Correspond with impacted organization re: update on NJ DOC investigation

6/13/2016 Seth Packrone     0:18:00 Billable   Add section on Mountainview to case memo

6/13/2016 Seth Packrone     0:12:00 Billable   Add section on NJSP to Case Memo

6/13/2016 Seth Packrone     0:06:00 Billable   Add section on CRAF to Case memo

6/13/2016 Seth Packrone     0:12:00 Billable   Draft factual background and remaining questions in the Education section of Case Memo

6/13/2016 Seth Packrone     0:24:00 Billable   Draft factual background of administrative segregation section of case memo

6/14/2016 Mary-Lee Smith    0:36:00 Billable   Review case memo re legal claims

6/14/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility administrator re: contact list for potential client

6/14/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re; research into the NJ DOC handbooks

6/14/2016 Seth Packrone     0:12:00 Billable   Draft factual background section of education section of case memo

6/14/2016 Seth Packrone     0:36:00 Billable   Draft section on education in administrative segregation section of Wagner

6/14/2016 Seth Packrone     0:18:00 Billable   Draft section on education in administrative segregation section of Garden State in case memo

6/14/2016 Seth Packrone     0:18:00 Billable   Draft factual background section of administrative segregation section of case memo

6/14/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: investigation next steps

6/14/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: NJ DOC investigation next steps

6/14/2016 Seth Packrone     0:36:00 Billable   Draft education IDEA legal claims section of case memo

6/14/2016 Seth Packrone     0:24:00 Billable   Draft education ADA legal claims section of case memo

6/14/2016 Seth Packrone     0:42:00 Billable   Draft ADA legal claims section under administrative segregation section of case memo
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6/14/2016 Seth Packrone     0:18:00 Billable   Draft education legal claims section of administrative segregation section of case memo

6/14/2016 Seth Packrone     1:00:00 Billable   Revise and edit case memo draft

6/15/2016 Mary-Lee Smith    0:12:00 Billable   Prep for call with impacted organization re: potential org. plaintiff status

6/15/2016 Mary-Lee Smith    0:30:00 Billable   Call with inpacted organization re org as org Plaintiff

6/15/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: exhaustion law in Third Circuit

6/15/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: updated case memo

6/15/2016 Seth Packrone     0:24:00 Billable   Read and analyze exhaustion case law from B. Kitchelt's memo

6/15/2016 Seth Packrone     0:06:00 Billable   Prepare for meeting with ACLU-NJ re: status of case

6/15/2016 Seth Packrone     0:42:00 Billable   Strategy session with B. Kitchel re: update on exhaustion law in Third Circuit

6/15/2016 Seth Packrone     0:12:00 Billable   Draft agenda for in-person meeting with ACLU re: status of case

6/15/2016 Seth Packrone     0:18:00 Billable   Send materials to ACLU with update to ACLU for in-person strategy session

6/15/2016 Seth Packrone     0:06:00 Billable   Send memo to M. Smith re: update on tomorrow's meeting
                                               Teleconference with M. Smith and impacted organization re: litigation strategy and update on
6/15/2016 Seth Packrone     0:30:00 Billable   intakes

6/15/2016 Seth Packrone     0:12:00 Billable   Follow up strategy session with M. Smith re: next steps in NJ DOC investigation

6/15/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: next steps in NJ DOC investigation

6/16/2016 Mary-Lee Smith    1:42:00 Billable   Work session with ACLU re org P, legal claims and OPRA request
                                               Prep for work session with ACLU re legal claims: review GF complaint/legal theories and memo
6/16/2016 Mary-Lee Smith    0:30:00 Billable   re same

6/16/2016 Michelle Caiola   0:24:00 Billable   strategy T/c with SP re agenda for meeting and new P org

6/16/2016 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: today's meeting and retainer

6/16/2016 Seth Packrone     0:06:00 Billable   Update M. Smith on plan for today's meeting
                                               Strategy session re: next steps in NJ DOC litigation at ACLU.Nj with R Livengood, J LoCicero, M.
6/16/2016 Seth Packrone     1:48:00 Billable   Smith, and B. Kitchelt

6/16/2016 Seth Packrone     1:00:00 Billable   Travel to and from ACLU.NJ for in-person strategy session (2 hours total)

6/16/2016 Seth Packrone     0:12:00 Billable   Follow up with impacted organization re: plan to speak about organizational plaintiff status

6/16/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Caiola re: next steps in NJ DOC litigation

6/16/2016 Seth Packrone     0:12:00 Billable   Prepare for meeting with co-counsel

6/16/2016 Seth Packrone     0:06:00 Billable   Teleconference with B. Kitchelt re: CRAF education

6/16/2016 Seth Packrone     0:24:00 Billable   Teleconference with M. Caiola re: next steps in NJ DOC litigation

6/16/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: next steps for NJDOC investigation

6/16/2016 Seth Packrone     0:06:00 Billable   Revise task list and send to M. Smith

6/17/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: organizational plaintiff status
                                               Give directions to B. Kitchelt re: read and analyze facility handbooks for education and disability
6/17/2016 Seth Packrone     0:12:00 Billable   policies

6/17/2016 Seth Packrone     0:18:00 Billable   Strategy session with M. Caiola re: next steps in NJ DOC investigation

6/17/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re; records requests

6/17/2016 Seth Packrone     0:06:00 Billable   Correspond with B. Kitchelt re: graduation requirements and IEPs

6/20/2016 Michelle Caiola   0:12:00 Billable   status update with SP re meeting with impacted organization representatives

6/20/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: new intakes in NJ DOC

6/20/2016 Seth Packrone     0:06:00 Billable   Research requirement to provide FAPE if someone receives high school diploma

6/20/2016 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: intake status

6/20/2016 Seth Packrone     0:36:00 Billable   Teleconference with impacted organization re: organizational plaintiff status and next steps
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6/20/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: next steps with impacted organization

6/20/2016 Seth Packrone     0:06:00 Billable   Finalize records request for new intake

6/20/2016 Seth Packrone     0:12:00 Billable   Give instructions to B. Kitchel re: analyzing NJ DOC handbooks for pertinent policies

6/20/2016 Seth Packrone     0:12:00 Billable   Teleconference with R Livengood re: outreach to students

6/20/2016 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: organizational plaintiff status

6/21/2016 Michelle Caiola   0:18:00 Billable   Strategy with SP re filing steps, deadlines, etc.

6/21/2016 Michelle Caiola   0:24:00 Billable   Review retainer with organizational plaintiff, provide edits, feedback to SP

6/21/2016 Michelle Caiola   0:30:00 Billable   Review letter to potential p's and provide edits and feedback to SP

6/21/2016 Seth Packrone     0:54:00 Billable   Draft joint retainer for organizational plaintiff

6/21/2016 Seth Packrone     0:18:00 Billable   Strategy session with M. Caiola re: next steps with organizational plaintiff

6/21/2016 Seth Packrone     0:30:00 Billable   Draft update letter to send to potential client on case strategy

6/21/2016 Seth Packrone     0:12:00 Billable   Draft update letter to potential client #2 re: update on case strategy

6/21/2016 Seth Packrone     0:18:00 Billable   Update M. Smith re: NJ DOC investigation

6/21/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: retainer for organizational plaintiff

6/21/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: next steps in NJDOC investigation

6/21/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: client update letters and draft organizational retainer

6/21/2016 Seth Packrone     0:06:00 Billable   Finalize letters to send to clients

6/21/2016 Seth Packrone     0:12:00 Billable   Draft update for ACLU re: joint retainer for organizational plaintiff and letters to clients

6/21/2016 Seth Packrone     0:06:00 Billable   Update co-counsel re: new intakes

6/21/2016 Seth Packrone     0:06:00 Billable   Correspond with R Livengood re: outreach to impacted groups

6/22/2016 Seth Packrone     0:18:00 Billable   Give directions to B. Kitchelt re: next steps for legal research

6/22/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: next steps in investigation

6/23/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: next steps in investigation

6/23/2016 Seth Packrone     0:18:00 Billable   Give instructions to B. Kitchelt re: potential client's medical records and disability profile

6/23/2016 Seth Packrone     0:12:00 Billable   Give instructions to B. Kitchelt re: NJ DOC facility handbooks

6/24/2016 Seth Packrone     0:06:00 Billable   Call to R Livengood, co-counsel re: status of case

6/24/2016 Seth Packrone     0:12:00 Billable   Finalize update letters for 2 potential clients

6/24/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: communications with clients and organizational retainer

6/24/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: potential client 1's special education claims

6/24/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: contacting potential clients

6/24/2016 Seth Packrone     0:06:00 Billable   Teleconference with R Livengood re: agenda for co-counsel meeting

6/24/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel meeting with ACLU-NJ

6/24/2016 Seth Packrone     0:12:00 Billable   Strategy session with B. Kitchelt re: potential plaintiffs legal claims
                                               Teleconference with R Livengood and J LoCicero from ACLU-NJ and B. Kitchel re: potential
6/24/2016 Seth Packrone     0:30:00 Billable   plaintiffs and next steps

6/24/2016 Seth Packrone     0:18:00 Billable   Read and analyze research re: right to FAPE with a high school diploma

6/24/2016 Seth Packrone     0:18:00 Billable   Strategy session with B. Kitchelt re: next steps in NJDOC investigation

6/24/2016 Seth Packrone     0:24:00 Billable   Teleconference with impacted organization re: next steps as an organizational plaintiff

6/28/2016 Seth Packrone     0:12:00 Billable   Read and analyze research on diplomas and IDEA to send to co-counsel

6/29/2016 Mary-Lee Smith    0:18:00 Billable   receive and review update re intakes and OPRA from S.Packrone; email excahnge re same
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6/29/2016 Seth Packrone    0:12:00 Billable   Read and analyze grievance procedures at NJ DOC to prepare to draft model grievances

6/29/2016 Seth Packrone    0:18:00 Billable   Revise and edit ADA model grievance

6/29/2016 Seth Packrone    0:24:00 Billable   Revise and edit IRS model grievance

6/29/2016 Seth Packrone    0:06:00 Billable   Finalize ADA and IRS model grievance drafts

6/29/2016 Seth Packrone    0:06:00 Billable   Strategy session with J. Mukherjee re: next steps in requesting records from NJ DOC
                                              Teleconference with Kendra Hall from NJ DOC Office of Regulatory and Legal Affairs re: plaintiff's
6/29/2016 Seth Packrone    0:12:00 Billable   record requests

6/29/2016 Seth Packrone    0:48:00 Billable   Draft and send full NJ DOC investigation update for M. Smith

6/29/2016 Seth Packrone    0:12:00 Billable   Strategy session with B. Kitchelt re: how to frame child violation in the complaint

6/29/2016 Seth Packrone    0:30:00 Billable   Read, analyze, and take notes on legal research around the definition of disability under IDEA

6/29/2016 Seth Packrone    0:12:00 Billable   Read, analyze, and take notes on records for plaintiff from NJ DOC

6/29/2016 Seth Packrone    0:06:00 Billable   Send M. Smith summary re: plaintiff's records from NJ DOC

6/29/2016 Seth Packrone    0:18:00 Billable   Give directions to B. Kitchelt re: legal analysis of organizational standing for NJPC

6/29/2016 Seth Packrone    0:36:00 Billable   Strategy session with B. Kitchelt re: third circuit law around child find and definition of disability

6/29/2016 Seth Packrone    0:06:00 Billable   Strategy session with B. Kitchelt re: edits to model grievances

6/30/2016 Mary-Lee Smith   0:54:00 Billable   Prep for work session with S.Packrone: review issue list and memo re disability under IDEA

6/30/2016 Mary-Lee Smith   0:30:00 Billable   Work session with S.Packrone re intakes, issue list and legal research

6/30/2016 Seth Packrone    0:30:00 Billable   Teleconference with M. Smith re: update on litigation next steps, intakes, legal research

6/30/2016 Seth Packrone    0:06:00 Billable   Follow up with potential organizational plaintiff

6/30/2016 Seth Packrone    0:12:00 Billable   Draft agenda for co-counsel meeting call

6/30/2016 Seth Packrone    0:12:00 Billable   Draft litigation task list and next steps

6/30/2016 Seth Packrone    0:06:00 Billable   Send agenda and litigation task list to ACLU-NJ

 7/1/2016 Mary-Lee Smith   0:42:00 Billable   Work session with ACLU re intakes, PLRA issues and retainers

 7/1/2016 Seth Packrone    0:06:00 Billable   Correspond with co-counsel, R Livengood re: client update letters

 7/1/2016 Seth Packrone    0:06:00 Billable   Read and analyze co-counsel's OPRA submission re: DOE documents and correspond about it
                                              Conference call with co-counsel and M. Smith and B. Kitchel re: next steps for NJDOC
 7/1/2016 Seth Packrone    0:42:00 Billable   investigation

 7/1/2016 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: next steps in NJ DOC investigation

 7/6/2016 Mary-Lee Smith   0:18:00 Billable   Work session with S.Packrone re OPRA and flyer to impacted community groups

 7/6/2016 Mary-Lee Smith   0:24:00 Billable   Draft email to R.Livengood re outreach; revise outreach flyer

 7/6/2016 Mary-Lee Smith   0:12:00 Billable   Final revisions to outreach flyer; send to R.Livengood

 7/6/2016 Mary-Lee Smith   0:12:00 Billable   Review agenda from S.Packrone for Proskauer call

 7/6/2016 Seth Packrone    0:12:00 Billable   Correspond with co-counsel re: next steps in visiting clients and retainers

 7/6/2016 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps in NJ DOC investigation

 7/6/2016 Seth Packrone    0:18:00 Billable   Finalize joint retainer for organizational plaintiff

 7/6/2016 Seth Packrone    0:06:00 Billable   Send joint retainer to organizational plaintiff

 7/6/2016 Seth Packrone    0:06:00 Billable   Follow up with co-counsel, R. Livengood, re: next steps with organizational plaintiff

 7/6/2016 Seth Packrone    0:06:00 Billable   Follow up with Bill Silverman re: teleconference to discuss NJ DOC investigation

 7/6/2016 Seth Packrone    0:12:00 Billable   Prepare for strategy session with M. Smith re: compiling next steps in investigation

 7/6/2016 Seth Packrone    0:18:00 Billable   Teleconference with M. Smith re: agenda for tomorrow's call

 7/6/2016 Seth Packrone    0:24:00 Billable   Teleconference with M. Smith re: outreach to impacted groups
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 7/6/2016 Seth Packrone     0:12:00 Billable   Draft agenda for tomorrow's call

 7/6/2016 Seth Packrone     0:24:00 Billable   Revise and edit outreach flyer to community groups

 7/6/2016 Seth Packrone     0:24:00 Billable   Revise and edit individual retainer for clients

 7/6/2016 Seth Packrone     0:06:00 Billable   Finalize outreach flyer to community groups

 7/7/2016 Mary-Lee Smith    0:24:00 Billable   Review/revise individual retainer for clients

 7/7/2016 Seth Packrone     0:06:00 Billable   Correspond with co-counsel, R Livengood re: organizational plaintiff retainer

 7/7/2016 Seth Packrone     0:06:00 Billable   Correspond with organizational plaintiff re: retainer for organizational plaintiff

 7/7/2016 Seth Packrone     0:06:00 Billable   Finalize strategy session to discuss organizational plaintiff retainer

 7/7/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: visiting potential client at DOC facility

 7/7/2016 Seth Packrone     0:06:00 Billable   Prepare for call with parent of intake

 7/7/2016 Seth Packrone     0:18:00 Billable   Teleconference with parent of intake re: his disability status

 7/7/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: records requests

 7/7/2016 Seth Packrone     0:06:00 Billable   Teleconference with school distrcit re: potential client's records

 7/7/2016 Seth Packrone     0:06:00 Billable   Teleconference with school district re: potential client's records

 7/7/2016 Seth Packrone     0:06:00 Billable   Read and analyze potential client's educational records and letter

 7/7/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: call with potential pro bono counsel

 7/7/2016 Seth Packrone     0:06:00 Billable   Correspond with R Livengood (co-counsel) re: meeting with potential client

 7/7/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: organizational standing for impacted organization

 7/7/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: next steps for investigation

 7/7/2016 Seth Packrone     0:12:00 Billable   Draft agenda for call w investigation team

 7/7/2016 Seth Packrone     0:30:00 Billable   Read, analyze, and edit memo on case law around standing for potential organizational plaintiff

 7/7/2016 Seth Packrone     0:12:00 Billable   Strategy session with B. Kitchelt re: grievance procedures for NJ DOC

 7/7/2016 Seth Packrone     0:06:00 Billable   Follow up teleconference with school district re: potential client's records

 7/7/2016 Seth Packrone     0:18:00 Billable   Draft investigation update for M. Smith

 7/7/2016 Seth Packrone     0:06:00 Billable   Send update on potential client to M. Smith and B. Kitchel

 7/7/2016 Seth Packrone     0:18:00 Billable   Send materials for co-counsel call and agenda to ACLU

 7/8/2016 Mary-Lee Smith    0:30:00 Billable   Work session with ACLU and lit team re clients, OPRA, pro bono and legal research

 7/8/2016 Michelle Caiola   0:06:00 Billable   update re potential co-counsel and next steps

 7/8/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: next steps in investigation

 7/8/2016 Seth Packrone     0:12:00 Billable   Prepare for client meetings on Monday morning

 7/8/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: potential client's complaints

 7/8/2016 Seth Packrone     0:06:00 Billable   Send potential client's docs to ACLU-NJ

 7/8/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchel re: meeting with potential client
                                               Conference call with ACLU-NJ (Rebecca Livengood and Jeanne LoCicero) and M. Smith and B.
 7/8/2016 Seth Packrone     0:30:00 Billable   Kitchelt re: next steps in NJ DOC investigation

 7/8/2016 Seth Packrone     0:06:00 Billable   Get directions from M. Smith re: client retainers

 7/8/2016 Seth Packrone     0:12:00 Billable   Teleconference with potential client's former school re: records

 7/8/2016 Seth Packrone     0:06:00 Billable   Work with J. Mukherjee to prepare files for Monday's visits

7/10/2016 Seth Packrone     0:24:00 Billable   Prepare for follow-up meetings with potential clients
                                               Travel to and from DOC facilities for potential client meetings (3.4 in total - bill half)
7/11/2016 Seth Packrone     1:42:00 Billable
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7/11/2016 Seth Packrone    1:06:00 Billable   Wait at DOC facility for intake with potential client #1

7/11/2016 Seth Packrone    1:00:00 Billable   Meeting with ACLU-NJ re: retainer

7/11/2016 Seth Packrone    0:30:00 Billable   Wait at DOC facility for prison to set up visit with potential client

7/11/2016 Seth Packrone    1:24:00 Billable   Meeting with potential client #1 at DOC facility to go over retainer with R. Livengood from ACLU-NJ

7/11/2016 Seth Packrone    0:12:00 Billable   Update M. Smith re: meeting with potential client #1 and retainer conversation

7/11/2016 Seth Packrone    1:24:00 Billable   Meeting with potential client #2 to review retainer and go over case strategy

7/12/2016 Seth Packrone    0:06:00 Billable   Update M. Smith re: meeting with potential client and retainer conversation

7/12/2016 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: follow up with documents for potential client

7/12/2016 Seth Packrone    0:18:00 Billable   Give directions to B. Kitchelt re: review of potential client's documents

7/12/2016 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: potential client's documents

7/12/2016 Seth Packrone    0:06:00 Billable   Strategy session with B. Kitchelt re: findings from potential client's education documents

7/13/2016 Seth Packrone    0:06:00 Billable   Create task list for next steps in litigation following client meetings with potential clients 1 and 2
                                              Correspond with ACLU-NJ (Rebecca Livengood) re: documents for call with impacted
7/13/2016 Seth Packrone    0:06:00 Billable   organization

7/13/2016 Seth Packrone    0:18:00 Billable   Prepare for call with representatives from impacted organization

7/13/2016 Seth Packrone    0:06:00 Billable   Update B. Kitchel re: visits with potential clients 1 and 2
                                              Teleconference with ACLU-NJ and impacted organization re: representation agreement for
7/13/2016 Seth Packrone    1:06:00 Billable   impacted organization

7/13/2016 Seth Packrone    0:12:00 Billable   Follow up strategy session with B. Kitchelt re: next steps for organizational plaintiff

7/13/2016 Seth Packrone    0:06:00 Billable   Teleconference with M. Smith re: next steps for NJ DOC investigation

7/13/2016 Seth Packrone    0:06:00 Billable   Update M. Smith re: call with impacted organization about the representation agreement

7/13/2016 Seth Packrone    0:06:00 Billable   Strategy session with B. Kitchelt re: update on potential client's records

7/13/2016 Seth Packrone    0:12:00 Billable   Follow up with ACLU-NJ re: next steps for organizational plaintiff

7/14/2016 Mary-Lee Smith   0:12:00 Billable   Discuss potential organizational plaintiff retainer with S.Packrone

7/14/2016 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: language in retainer for potential organizational plaintiff

7/14/2016 Seth Packrone    0:06:00 Billable   Follow up with representative from impacted organization re: representation agreement

7/14/2016 Seth Packrone    0:06:00 Billable   Teleconference with M. Smith re: next steps in NJ DOC investigation

7/15/2016 Seth Packrone    0:06:00 Billable   Read and respond to OPRA request response for records custodian

7/15/2016 Seth Packrone    0:18:00 Billable   Teleconference with ACLU co-counsel R Livengood re: next steps for investigation

7/15/2016 Seth Packrone    0:12:00 Billable   Update M. Smith re: next steps in NJ DOC investigation

7/16/2016 Seth Packrone    0:06:00 Billable   Correspond with potential organizational plaintiff re: signed retainer

7/18/2016 Seth Packrone    0:06:00 Billable   Correspond with potential organizational plaintiff re: signed retainer
                                              Send potential organizational plaintiff documents to R Livengood re: interview with
7/18/2016 Seth Packrone    0:06:00 Billable   organizational plaintiff

7/18/2016 Seth Packrone    0:12:00 Billable   Read and analyze B. Kitchel's summary of client's educational records

7/18/2016 Seth Packrone    0:30:00 Billable   Give directions to B. Kitchelt re: drafting the complaint and redrafting legal research memos

7/19/2016 Seth Packrone    0:06:00 Billable   Finalize retainer for potential organizational plaintiff
                                              Correspond with co-counsel, ACLU-NJ, re: next steps for potential organizational plaintiff
7/19/2016 Seth Packrone    0:06:00 Billable   retainer

7/19/2016 Seth Packrone    0:12:00 Billable   Teleconference with potential organizational plaintiff re: next round of intakes

7/19/2016 Seth Packrone    0:12:00 Billable   Draft agenda for call with ACLU

7/19/2016 Seth Packrone    0:06:00 Billable   Correspond with Rebecca Livengood (co-counsel) re: next intakes

7/19/2016 Seth Packrone    0:06:00 Billable   Send agenda to M. Smith re: co-counsel call with ACLU
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7/20/2016 Mary-Lee Smith    0:18:00 Billable   Review memo re ed docs from client; email follow up questions

7/20/2016 Mary-Lee Smith    0:12:00 Billable   Review memo for co-counsel

7/20/2016 Mary-Lee Smith    0:06:00 Billable   Review agenda for team meeting

7/20/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: client's records

7/20/2016 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: next co-counsel meeting

7/20/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: agenda for call with ACLU-NJ

7/21/2016 Mary-Lee Smith    0:36:00 Billable   work session with ACLU and S.Packrone and summer re intakes and court to file in and comp ed

7/21/2016 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone and summer re next steps post ACLU call

7/21/2016 Mary-Lee Smith    0:24:00 Billable   Legal research into organizational standing for potential organizational plaintiff

7/21/2016 Michelle Caiola   0:12:00 Billable   strategize re ACLU concerns for fed court v. state ct

7/21/2016 Seth Packrone     0:06:00 Billable   Correspond with ACLU-NJ re: next co-counsel meeting

7/21/2016 Seth Packrone     0:06:00 Billable   Teleconference with potential client's former school re: docs

7/21/2016 Seth Packrone     0:12:00 Billable   Strategy session with B. Kitchel re: update on client's records
                                               Teleconference with co-counsel (Rebecca Livengood, J. LoCicero) and M Smith re: next steps in
7/21/2016 Seth Packrone     0:36:00 Billable   litigation

7/21/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: next steps for legal research

7/21/2016 Seth Packrone     0:06:00 Billable   Give directions to B. Kitchelt re: removal of IDEA claims from state to federal court

7/21/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: state vs. federal court

7/21/2016 Seth Packrone     0:06:00 Billable   Send executed retainer to potential organizational plaintiff representative

7/22/2016 Mary-Lee Smith    0:06:00 Billable   Email to S.Packrone re Proskauer assignments/meeting

7/22/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: moved from isolation

7/22/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: call with client

7/22/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: confidentiality issues

7/22/2016 Seth Packrone     0:06:00 Billable   Correspond with potential organizational plaintiff re: confidentiality issues

7/26/2016 Seth Packrone     0:12:00 Billable   Draft response to potential organizational plaintiff re: confidentiality question

7/26/2016 Seth Packrone     0:06:00 Billable   Follow up with R. Livengood re: new intake

7/27/2016 Seth Packrone     0:06:00 Billable   Correspond with ACLU-NJ and potentnial organizational plaintiff re: intake forms

7/28/2016 Seth Packrone     0:12:00 Billable   Correspond with M. smith re: agenda for ACLU meeting tomorrow

7/28/2016 Seth Packrone     0:12:00 Billable   Read and analyze documents from ACLU-NJ

7/28/2016 Seth Packrone     0:12:00 Billable   Draft agenda for ACLU meeting on Thursday

7/28/2016 Seth Packrone     0:12:00 Billable   Strategy session with B. Kitchelt re: next steps in legal research for NJDOC matter

7/28/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: meeting with Bill Silverman

7/29/2016 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: meeting with Bill Silverman

7/29/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchel re: standing for potential organizational plaintiff

7/29/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: standing arguments about membership

7/29/2016 Seth Packrone     0:54:00 Billable   Read, take notes, and analyze Blunt decision

7/29/2016 Seth Packrone     0:18:00 Billable   Research potential organizational plaintiff re: facts relevant for membership standing

7/29/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: standing arguments

7/29/2016 Seth Packrone     0:06:00 Billable   Teleconference with R. Livengood re: weekly meeting

7/29/2016 Seth Packrone     0:30:00 Billable   Teleconference with R. Livengood re: legal strategy for NJ DOC case
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7/29/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchel re: standing for potential organizational plaintiff

7/29/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchel re: comp ed claims

7/29/2016 Seth Packrone     0:06:00 Billable   Send co-counsel information re: potential organizational plaintiff

 8/1/2016 Seth Packrone     0:12:00 Billable   Read and analyze OPRA responses from NJ DOC

 8/1/2016 Seth Packrone     0:12:00 Billable   Read and analyze legal research from ACLU-NJ

 8/1/2016 Seth Packrone     0:06:00 Billable   Follow up with Bill Silverman re: meeting to discuss NJ DOC investigation

 8/1/2016 Seth Packrone     0:06:00 Billable   Follow up with potential organizational plaintiff re: contact from NJ DOC

 8/2/2016 Mary-Lee Smith    0:30:00 Billable   Work session with S.Packrone re call on Friday, OPRA responses and standing
                                               Review memo re org and assoc. standing from ACLU; take notes and draft comments/questions
 8/2/2016 Mary-Lee Smith    0:30:00 Billable   re same

 8/2/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps in NJ DOC investigation

 8/2/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: grievance

 8/2/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: call with client

 8/2/2016 Seth Packrone     0:06:00 Billable   Prepare for call with M. Smith re: next steps in NJ DOC investigation

 8/2/2016 Seth Packrone     0:18:00 Billable   Read and analyze documents from NJ DOC_DOE OPRA response

 8/2/2016 Seth Packrone     0:24:00 Billable   Teleconference with M. Smith re: next steps in NJ DOC investigation

 8/2/2016 Seth Packrone     0:06:00 Billable   Update Bill Silverman re: next steps in NJ DOC investigation

 8/2/2016 Seth Packrone     0:24:00 Billable   Read and analyze standing memo from ACLU-NJ

 8/2/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola on NJ DOC investigation

 8/2/2016 Seth Packrone     0:24:00 Billable   Update ACLU-NJ re: next steps in NJ DOC investigation

 8/2/2016 Seth Packrone     0:06:00 Billable   Update B. Kitchelt on call with client

 8/2/2016 Seth Packrone     0:12:00 Billable   Give directions to C. Molholm re: case law on standing in Third Circuit

 8/2/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: releases

 8/2/2016 Seth Packrone     0:12:00 Billable   Update litigation team re: call with client

 8/2/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: case law around standing in Third Circuit

 8/2/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: standing issues in NJ DOC investigation

 8/3/2016 Seth Packrone     0:18:00 Billable   Teleconference with impacted organization re: update on NJ DOC investigation

 8/3/2016 Seth Packrone     0:06:00 Billable   Update R. Livengood re: call with impacted organization

 8/3/2016 Seth Packrone     0:06:00 Billable   Give directions to B. Kitchelt re: next steps for NJ DOC assignments

 8/3/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re; standing law

 8/3/2016 Seth Packrone     0:12:00 Billable   Follow up with contact at school district re: client records

 8/3/2016 Seth Packrone     0:06:00 Billable   Teleconference with Public School re: potential client's records

 8/3/2016 Seth Packrone     0:06:00 Billable   Strategy session with B. Kitchelt re: next steps in requesting records

 8/3/2016 Seth Packrone     0:12:00 Billable   Get update from B. Kicthelt re: legal research on NJ DOC and complaint drafting

 8/3/2016 Seth Packrone     0:24:00 Billable   Draft update letter for potential client #1

 8/3/2016 Seth Packrone     0:24:00 Billable   Draft update letter for potential client #2

 8/3/2016 Seth Packrone     0:06:00 Billable   Send updates and letter to M. Smith

 8/4/2016 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone re strategy for federal or state court

 8/4/2016 Michelle Caiola   0:06:00 Billable   strategy session with SP re filing state/federal court

 8/4/2016 Michelle Caiola   0:06:00 Billable   update from SP re client call
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8/4/2016 Michelle Caiola   0:06:00 Billable   next steps with SP

8/4/2016 Seth Packrone     0:06:00 Billable   Update letters to potential clients 1 and 2

8/4/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel meeting

8/4/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: next steps for NJ DOC investigation

8/4/2016 Seth Packrone     0:06:00 Billable   Send materials for co-counsel meeting to M. Smith

8/4/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: next steps for NJ DOC

8/4/2016 Seth Packrone     0:12:00 Billable   Send materials and update to ACLU-NJ

8/4/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: federal vs. state court

8/4/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: federal and state court

8/4/2016 Seth Packrone     0:18:00 Billable   Draft federal vs. state court issues

8/4/2016 Seth Packrone     0:12:00 Billable   Follow up with Jeanne LoCicero and Bill Silverman re: next week's meeting

8/4/2016 Seth Packrone     0:12:00 Billable   Strategy session with B. Kitchel re: next steps for client section of complaint

8/4/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: client update

8/5/2016 Mary-Lee Smith    1:00:00 Billable   Work session with ACLU and lit team re intakes, federal v. state court, doc review, etc

8/5/2016 Mary-Lee Smith    0:36:00 Billable   Review and revise questionnaire for impacted organization

8/5/2016 Michelle Caiola   0:12:00 Billable   update from SP re fed v. state issue

8/5/2016 Seth Packrone     0:24:00 Billable   Read, analyze, and compile notes on OPRA Response #1 to DOC_DOE request

8/5/2016 Seth Packrone     0:06:00 Billable   Read, analyze, and compile notes on OPRA Response #2 to DOC_DOE request

8/5/2016 Seth Packrone     0:54:00 Billable   Read and analyze OPRA Response #3 to DOC_DOE request

8/5/2016 Seth Packrone     0:18:00 Billable   Final strategy session re: client records and legal research with B. Kitchelt

8/5/2016 Seth Packrone     0:36:00 Billable   Compile notes from OPRA Response #3 to DOC_DOE request

8/5/2016 Seth Packrone     0:12:00 Billable   Send OPRA requests update to litigation team

8/5/2016 Seth Packrone     0:06:00 Billable   Teleconference with impacted organization re: update on NJ DOC investigation

8/5/2016 Seth Packrone     0:12:00 Billable   Prepare for call with co-counsel re: legal strategy
                                              Teleconference with co-counsel, R. Livengood and J. LoCicero, M. Smith, B. Kitchelt re: legal
8/5/2016 Seth Packrone     0:42:00 Billable   strategy decisions

8/5/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: letters to clients

8/5/2016 Seth Packrone     0:06:00 Billable   Correspond with Bill Silverman and Jeanne LoCicero re: upcoming meeting

8/5/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: next steps in investigation

8/5/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: call with client

8/8/2016 Mary-Lee Smith    0:24:00 Billable   Review agenda for Proskauer meeting and tasklist for same; provide feeback to S.Packrone

8/8/2016 Mary-Lee Smith    0:12:00 Billable   Review client update letter re same; provide feedback

8/8/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: B. Kitchelt's legal research memos

8/8/2016 Seth Packrone     0:18:00 Billable   Draft agenda for meeting with Proskauer

8/8/2016 Seth Packrone     0:18:00 Billable   Redraft research task list for Proskauer Rose

8/8/2016 Seth Packrone     0:12:00 Billable   Prepare for tomorrow's meeting with Bill Silverman

8/8/2016 Seth Packrone     0:18:00 Billable   Update M. Smith re: plam for meeting with Proskauer

8/8/2016 Seth Packrone     0:12:00 Billable   Draft letter to client re: update on investigation

8/8/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: sending letters to NJDOC clients

8/8/2016 Seth Packrone     0:06:00 Billable   Finalize agenda and task list for meeting with Proskauer
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8/8/2016 Seth Packrone     0:12:00 Billable   Send materials for meeting with Proskauer to ACLU

8/8/2016 Seth Packrone     0:18:00 Billable   Read, analyze, and comment on impacted organization questionnaire

8/8/2016 Seth Packrone     0:12:00 Billable   Send update to M. Smith re: impacted organization interview

8/8/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: updated on investigation

8/8/2016 Seth Packrone     0:06:00 Billable   Read and analyze documents from impacted organization re: potential clients

8/8/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: client letters

8/8/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: impacted organization standing and interview
                                              Correspond with litigation team re: questions for impacted organization and organizational
8/8/2016 Seth Packrone     0:18:00 Billable   standing

8/8/2016 Seth Packrone     0:12:00 Billable   Correspond with ACLU re: next steps in NJ DOC investigation

8/8/2016 Seth Packrone     0:12:00 Billable   Update M. Caiola re: next steps in NJ DOC investigation

8/8/2016 Seth Packrone     0:12:00 Billable   Strategy session with J. Mukherjee re: sending letter to client

8/8/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: changes to Proskauer agenda

8/9/2016 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone to discuss revised agenda for Proskauer meeting

8/9/2016 Mary-Lee Smith    1:06:00 Billable   Strategy session with pro bono counsel and lit team re class cert, etc

8/9/2016 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone re meeting with Proskauer and co-counsel agreement with same

8/9/2016 Michelle Caiola   0:12:00 Billable   update from SP post meeting with Bill Silverman

8/9/2016 Michelle Caiola   0:12:00 Billable   direct SP re topics to discuss and update post aclu call

8/9/2016 Seth Packrone     0:12:00 Billable   Revise agenda for Proskauer meeting

8/9/2016 Seth Packrone     0:12:00 Billable   Send new agenda to ACLU-NJ

8/9/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: agenda for Proskauer meeting

8/9/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: upcoming call with co-counsel

8/9/2016 Seth Packrone     0:06:00 Billable   Prepare for call with ACLU-NJ

8/9/2016 Seth Packrone     0:12:00 Billable   Teleconference with ACLU re: agenda for Proskauer meeting

8/9/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: call with with ACLU

8/9/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: agenda for Proskauer meeting

8/9/2016 Seth Packrone     0:30:00 Billable   Teleconference with R. Livengood, J. LoCicero, and M. Smith re: agenda for Proskauer call

8/9/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: editing agenda

8/9/2016 Seth Packrone     0:12:00 Billable   Revise plan for Proskauer

8/9/2016 Seth Packrone     0:06:00 Billable   Send agenda/task list to ACLU

8/9/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: setting up legal call with client

8/9/2016 Seth Packrone     0:06:00 Billable   Follow up with A. Rogers and R. Livengood re: contacting prison about client call

8/9/2016 Seth Packrone     0:06:00 Billable   Prepare for meeting with potential pro bono counsel at Proskauer Rose

8/9/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directison re: setting up client call

8/9/2016 Seth Packrone     0:06:00 Billable   Teleconference with J. Mukherjee re: setting up attorney call at DOC facility
                                              Conference with Bill Silverman and Harry Frischer from Proskauer Rose, Jeanne LoCicero from
8/9/2016 Seth Packrone     1:00:00 Billable   ACLU-NJ, and M. Smith re: case strategy and co-counsel agreement

8/9/2016 Seth Packrone     0:12:00 Billable   Strategy session with J. LoCicero re: next steps with Proskauer and for drafting the complaint

8/9/2016 Seth Packrone     0:12:00 Billable   Travel to meeting at Proskauer (20 minutes in total; bill half)

8/9/2016 Seth Packrone     0:12:00 Billable   Send M. Smith update re: next steps with Proskauer

8/9/2016 Seth Packrone     0:06:00 Billable   Teleconference with J. Mukherjee re: edits to letter to DOC facility
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 8/9/2016 Seth Packrone     0:12:00 Billable   Edit letter to DOC facility for call with client

 8/9/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: next steps for NJ DOC investigation

8/10/2016 Michelle Caiola   0:12:00 Billable   ACLU and co-counsel meeting update from SP

8/10/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: meeting with Proskauer Rose

8/10/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: fielding calls from clients

8/10/2016 Seth Packrone     0:18:00 Billable   Finalize update letters for potential client 1 and potential client 2 based on ACLU's feedback

8/10/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: letters for NJ DOC investigation

8/10/2016 Seth Packrone     0:06:00 Billable   Read and analyze potential client's records

8/10/2016 Seth Packrone     0:12:00 Billable   Read and analyze legal arguments for DOC as an LEA

8/10/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility re: call with client

8/10/2016 Seth Packrone     0:06:00 Billable   Follow up with ACLU-NJ re: DOC facility policy on attorney calls

8/10/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps with Proskauer

8/10/2016 Seth Packrone     0:18:00 Billable   Teleconference with impacted organization re: update on investigation

8/10/2016 Seth Packrone     0:18:00 Billable   Read and analyze legal research on Child Find and Exhaustion

8/10/2016 Seth Packrone     0:06:00 Billable   Read and analyze B. Kitchelt's memo on exhaustion in Third Circuit

8/11/2016 Mary-Lee Smith    0:12:00 Billable   Review ACLU meeting agenda

8/11/2016 Seth Packrone     0:12:00 Billable   Outline and create work plan for drafting complaint

8/11/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel call with ACLU

8/11/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: status of each client

8/11/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: update on investigation status

8/11/2016 Seth Packrone     0:12:00 Billable   Teleconference with DOC facility re: attorney call

8/11/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC Facility Admin. re: client call

8/11/2016 Seth Packrone     0:06:00 Billable   Teleconference with DOC facility Admin re: client call

8/11/2016 Seth Packrone     0:18:00 Billable   Teleconference with client re: update on investigation process

8/11/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: calls with clients

8/11/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: call with AClU tomorrow

8/11/2016 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: OPRA response and agenda for next meeting

8/12/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: today's co-counsel meeting

8/12/2016 Seth Packrone     0:12:00 Billable   Read and analyze B. Kitchelt's rough draft of client section of complaint

8/12/2016 Seth Packrone     0:42:00 Billable   Teleconference with J. LoCicero and R. Livengood re: next steps in NJ DOC investigation

8/12/2016 Seth Packrone     0:06:00 Billable   Correspond with updates for ACLU re: client calls

8/12/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: update on meeting

8/12/2016 Seth Packrone     0:06:00 Billable   Teleconference with client's parent re: update

8/21/2016 Seth Packrone     0:12:00 Billable   Track correspondence re: next steps in NJDOC case

8/22/2016 Mary-Lee Smith    0:18:00 Billable   Call with S.Packrone re NJ DOC intakes

8/22/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: next steps for investigation

8/22/2016 Seth Packrone     0:06:00 Billable   Follow up with R. Livengood re: plaintiff contact information

8/22/2016 Seth Packrone     0:06:00 Billable   Research PLRA as it applies to ADA claims

8/22/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: contacting DOC facility for client calls
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8/22/2016 Seth Packrone     0:18:00 Billable   Teleconference with impacted organization re: contact information for NJ DOC plaintiffs

8/22/2016 Seth Packrone     0:12:00 Billable   Teleconference with R. Livengood re: update on clients and potential clients

8/22/2016 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: update on client and complaint drafting process

8/22/2016 Seth Packrone     0:06:00 Billable   Create task list for complaint drafting

8/22/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: next steps in NJ DOC investigation

8/22/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: client update and complaint meeting

8/22/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: Third Circuit case law on exhaustion

8/23/2016 Seth Packrone     0:30:00 Billable   Read and analyze Haddon Heights case on exhaustion in Third Circuit

8/23/2016 Seth Packrone     0:12:00 Billable   Write up research on exhuastion from Haddon Heights case

8/23/2016 Seth Packrone     0:24:00 Billable   Research NJ Law Against Discrimination and its application to disability-related discrimination

8/23/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: attorney call with client

8/23/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: Hadden and client retainer

8/23/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood and J. LoCicero re: exhaustion in 3rd Circuit

8/23/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: client retainer

8/23/2016 Seth Packrone     0:06:00 Billable   Revise and edit legal call request

8/23/2016 Seth Packrone     0:06:00 Billable   Teleconference with S. Wolinsky re: NJLAD's application to NJ DOC case

8/23/2016 Seth Packrone     0:24:00 Billable   Teleconference with R. Livengood re: strategy for drafting complaint

8/23/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization and R. Livengood re: meeting about complaint

8/23/2016 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: complaint drafting strategy and timeline

8/23/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: update on investigation

8/23/2016 Seth Packrone     0:12:00 Billable   Update litigation team on call with client
                                               Correspond with R. Livengood and impacted organization re: background information on
8/24/2016 Seth Packrone     0:06:00 Billable   impacted organizationfor complaint

8/24/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: co-counsel call plan

8/24/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: next meeting with clients

8/24/2016 Seth Packrone     0:12:00 Billable   Strategy session with C. Molholm re: preparation for next client meeting

8/24/2016 Seth Packrone     0:18:00 Billable   Teleconference with client re: update on investigation

8/24/2016 Seth Packrone     0:12:00 Billable   Strategy session with C. Molholm re: follow up on client call

8/25/2016 Seth Packrone     0:18:00 Billable   Review and analyze new list of potential intakes from impacted organization

8/25/2016 Seth Packrone     0:06:00 Billable   Follow up with R. Livengood re: communications with clients at DOC facility

8/25/2016 Seth Packrone     0:12:00 Billable   Follow up with litigation team re: co-counsel meetings moving forward

8/26/2016 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: new potential client

8/26/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: update on investigation

8/26/2016 Seth Packrone     0:12:00 Billable   Teleconference with impacted organization re: update on intake process

8/26/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: call with client

8/29/2016 Michelle Caiola   0:12:00 Billable   arrange plan and staffing for prison visits

8/29/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: staffing and scheduling issues for case

8/29/2016 Seth Packrone     0:06:00 Billable   TC with client re: update on investigation

8/29/2016 Seth Packrone     0:12:00 Billable   Follow up with M. Smith re: next steps in NJ DOC investigation

8/29/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: Wednesday's client visits
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8/29/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: setting up visits with clients

8/29/2016 Seth Packrone     0:12:00 Billable   Edit and finalize letters to prison to set up visits

8/29/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: visits with clients

8/29/2016 Seth Packrone     0:06:00 Billable   Send visit request to DOC facility for client

8/29/2016 Seth Packrone     0:12:00 Billable   Update ACLU re: visit with clients and meeting with Proskauer

8/29/2016 Seth Packrone     0:12:00 Billable   Prepare for visits with clients

8/30/2016 Michelle Caiola   0:12:00 Billable   scheduling with SP re prison visits and with paralegals

8/30/2016 Seth Packrone     0:12:00 Billable   Correspond with co-counsel re: upcoming meetings with clients

8/30/2016 Seth Packrone     0:06:00 Billable   Follow up with Proskauer re: meeting to discuss NJ DOC legal research

8/30/2016 Seth Packrone     0:18:00 Billable   Update letters to NJDOC for inmate visits

8/30/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: client visits

8/30/2016 Seth Packrone     0:06:00 Billable   TC with client family member re: update on client situation

8/30/2016 Seth Packrone     0:12:00 Billable   Correspond with R. Llivengood re: upcoming client visits

8/30/2016 Seth Packrone     0:06:00 Billable   Strategy session with C. Molholm re: preparing for client visits tomorrow

8/30/2016 Seth Packrone     0:12:00 Billable   Strategy session with C. Molholm re: client visit

8/30/2016 Seth Packrone     0:12:00 Billable   Teleconference with admin from DOC facility re: client visit

8/30/2016 Seth Packrone     0:12:00 Billable   Give directions to C. Molholm re: tomorrow's client visit

8/30/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: visits with clients

8/30/2016 Seth Packrone     0:06:00 Billable   TC with DOC facility Administrator re: visit with client

8/30/2016 Seth Packrone     0:06:00 Billable   Update paralegals on procedures for scheduling NJ DOC inmate visits

8/30/2016 Seth Packrone     0:06:00 Billable   Evaluate intakes shared by impacted organization

8/30/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel call with ACLU

8/30/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: prep for visit with clients

8/30/2016 Seth Packrone     0:06:00 Billable   Prepare for meeting with client

8/30/2016 Seth Packrone     0:12:00 Billable   Correspond with R. Livengood re: plan for drafting the complaint

8/31/2016 Seth Packrone     0:06:00 Billable   Send co-counsel agenda to M. Smith

8/31/2016 Seth Packrone     0:24:00 Billable   Update C. Molholm re: plan and agenda for meeting with client

8/31/2016 Seth Packrone     1:24:00 Billable   Travel to prisons to visit with clients (165 minutes total, bill for half)

8/31/2016 Seth Packrone     0:12:00 Billable   Give directions to C. Molholm re: next steps after client visit

8/31/2016 Seth Packrone     0:18:00 Billable   Check in process at DOC facility

8/31/2016 Seth Packrone     0:12:00 Billable   Prepare for meeting with client 1
                                               Read and analyze B. Kitchelt's notes on inmate handbooks from NJ DOC facilities (Garden State,
8/31/2016 Seth Packrone     0:30:00 Billable   Mountainview, and Wagner)

8/31/2016 Seth Packrone     0:12:00 Billable   Read and analyze B. Kitchelt's notes on inmate handbooks from NJ DOC facilities (NJSP)

8/31/2016 Seth Packrone     1:18:00 Billable   Visit with client 1 at DOC facility re: grievance process and complaint

8/31/2016 Seth Packrone     0:06:00 Billable   Update M. Smith on meeting with client 1

 9/2/2016 Mary-Lee Smith    0:42:00 Billable   Work session with ACLU re intakes and complaint

 9/2/2016 Seth Packrone     0:06:00 Billable   Correspond with R Livengood re: update on client

 9/2/2016 Seth Packrone     0:06:00 Billable   Research transition services under IDEA in adult correctional facilities

 9/2/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: transition services in NJDOC facilities
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 9/2/2016 Seth Packrone     0:06:00 Billable   Prepare for co-counsel meeting re: update on clients

 9/2/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Smith re: next steps in case

 9/2/2016 Seth Packrone     0:30:00 Billable   Teleconference with M. Smith and co-counsel ACLU-NJ (R. Livengood and J. LoCicero)

 9/2/2016 Seth Packrone     0:42:00 Billable   Correspond with M. Smith re: update on client status and client records

 9/2/2016 Seth Packrone     0:12:00 Billable   Analyze new client records from NJ DOC

 9/2/2016 Seth Packrone     0:18:00 Billable   Redraft complaint timeline with internal deadlines

 9/2/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: internal deadlines for complaint

 9/2/2016 Seth Packrone     0:12:00 Billable   Read and analyze B. Kitchelt memo on facility handbooks

 9/2/2016 Seth Packrone     0:06:00 Billable   Send handbook memo and notes to litigation team

 9/6/2016 Seth Packrone     0:12:00 Billable   Analyze ACLU's findings from OPRA responses 4-5 re: NJ DOC-DOE correspondence

 9/6/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Molholm re: updating spreadsheet tracking intakes

 9/6/2016 Seth Packrone     0:06:00 Billable   Read and analyze ACLU's summaries of NJ DOC_DOE OPRA responses 4-5

 9/6/2016 Seth Packrone     0:12:00 Billable   Read and analyze ACLU's draft of client 3 section of complaint

 9/7/2016 Mary-Lee Smith    0:48:00 Billable   Review/take notes on documents received from DOE

 9/7/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Molholm re: updating spreadsheet tracking intakes

 9/7/2016 Seth Packrone     0:12:00 Billable   Research and analyze Title I Part D from ESEA

 9/8/2016 Seth Packrone     0:18:00 Billable   Correspond with M. Smith re: next steps in OPRA review and Title I Part D programs

 9/8/2016 Seth Packrone     0:12:00 Billable   Research and analyze Title I Part D from ESEA

 9/8/2016 Seth Packrone     0:36:00 Billable   Outline Section 504 and ADA sections of complaint

 9/8/2016 Seth Packrone     1:36:00 Billable   Rough draft of ADA section of complaint

 9/8/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: strategy for reviewing OPRA documents

 9/8/2016 Seth Packrone     0:06:00 Billable   Follow up with litigation team re: meeting with Proskauer Rose

 9/9/2016 Mary-Lee Smith    0:42:00 Billable   Work session with ACLU re intakes and complaint status

 9/9/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: Proskauer meeting

 9/9/2016 Seth Packrone     0:06:00 Billable   Corredspond with litigation team re: Proskauer meeting
                                               Teleconference with litigation team (M. Smith, R. Livengood, and J. LoCicero) re: next steps in
 9/9/2016 Seth Packrone     0:30:00 Billable   investigation

 9/9/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Smith re: complaint drafting next steps

 9/9/2016 Seth Packrone     0:12:00 Billable   Correspond with impacted organization re: communciations with members

 9/9/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Caiola re: staffing moving forward

 9/9/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re: status of records requests

 9/9/2016 Seth Packrone     1:06:00 Billable   Draft rough draft of Section 504 section of complaint

9/10/2016 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: co-counsel meeting with pro bono partners

9/12/2016 Michelle Caiola   0:12:00 Billable   strategy session with SP re staffing

9/12/2016 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: client communications

9/12/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: staffing moving forward

9/12/2016 Seth Packrone     1:06:00 Billable   Revise and edit ADA and Section 504 sections of complaint

9/12/2016 Seth Packrone     0:18:00 Billable   Send rough draft of complaint with notes to M. Smith for edits

9/12/2016 Seth Packrone     0:06:00 Billable   Correspond with J. Mukherjee re: records requests from NJ DOC

9/12/2016 Seth Packrone     0:06:00 Billable   Teleconference with co-counsel R. Livengood re: next visits with clients
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9/13/2016 Seth Packrone     0:06:00 Billable   Outline client 2 section of complaint

9/13/2016 Seth Packrone     0:18:00 Billable   Teleconference with R. Livengood re: visits with several clients

9/13/2016 Seth Packrone     0:06:00 Billable   Give instructions to J. Mukherjee to set up visit at DOC facility

9/13/2016 Seth Packrone     1:12:00 Billable   Read and analyze client 2's educational documents

9/13/2016 Seth Packrone     1:48:00 Billable   Draft factual sections of client 2's section of complaint

9/13/2016 Seth Packrone     0:12:00 Billable   Give directions to J. Mukherjee re: visit request at DOC facility

9/13/2016 Seth Packrone     0:36:00 Billable   Teleconference with impacted organization re: communications with clients

9/13/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: social media issues for case

9/13/2016 Seth Packrone     0:48:00 Billable   Revise and edit client 2 section of complaint

9/14/2016 Mary-Lee Smith    0:18:00 Billable   Begin revising DOC complaint: legal claims sections

9/14/2016 Mary-Lee Smith    0:24:00 Billable   Continue revising DOC complaint: legal claims sections

9/14/2016 Mary-Lee Smith    0:18:00 Billable   Call with Proskauer and lit team re assignments for Proskauer and status of case

9/14/2016 Mary-Lee Smith    0:18:00 Billable   Work session with S.Packrone re reorganization of ADA/504 sections of complaint

9/14/2016 Michelle Caiola   0:12:00 Billable   update from SP re meetings

9/14/2016 Michelle Caiola   0:12:00 Billable   discuss complaint drafting strategy with SP

9/14/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith and J. Flores re: assignments for NJDOC investigation

9/14/2016 Seth Packrone     0:42:00 Billable   Draft rough draft of client 1 section of complaint on disability background

9/14/2016 Seth Packrone     0:12:00 Billable   Read and analyze medical records for client

9/14/2016 Seth Packrone     0:48:00 Billable   Draft first draft of client section of complaint on education and administration segregation

9/14/2016 Seth Packrone     0:12:00 Billable   Read and analyze client's educational records

9/14/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: update on investigation

9/14/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: call with client

9/14/2016 Seth Packrone     0:12:00 Billable   Prepare for meeting with Proskauer

9/14/2016 Seth Packrone     0:18:00 Billable   Strategy session with R. Livengood, J. LoCicero, B. Silverman, and M. Smith and Proskauer team

9/14/2016 Seth Packrone     0:12:00 Billable   Follow up teleconfernce with M. Smith re: next steps in complaint drafting

9/14/2016 Seth Packrone     0:18:00 Billable   Send update with updated complaint to ACLU
                                               Teleconference with J. Flores and J. Mukherjee re: updating intake spreadsheet based on client
9/15/2016 Seth Packrone     0:12:00 Billable   documents

9/15/2016 Seth Packrone     0:06:00 Billable   Draft agenda for co-counsel meeting with ACLU

9/15/2016 Seth Packrone     0:06:00 Billable   Send impacted organization question edits to R. Livengood from ACLU

9/15/2016 Seth Packrone     0:12:00 Billable   Prepare for meeting with client at DOC facility

9/15/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: complaint and agenda

9/16/2016 Mary-Lee Smith    1:12:00 Billable   Review complaint (plaintiffs sections)

9/16/2016 Mary-Lee Smith    1:00:00 Billable   Call with ACLU and S.Packrone re clients, complaint drafting, media plan, and demand letter

9/16/2016 Seth Packrone     0:18:00 Billable   Edit client 2 section of complaint

9/16/2016 Seth Packrone     0:18:00 Billable   Edit and revise client 1 section of complaint

9/16/2016 Seth Packrone     0:24:00 Billable   Reorganize Section 504 and ADA sections of complaint

9/16/2016 Seth Packrone     0:30:00 Billable   Edit and revise legal sections and client sections of complaint

9/16/2016 Seth Packrone     0:06:00 Billable   Send complaint with comments to M. Smith

9/16/2016 Seth Packrone     0:06:00 Billable   Send ACLU agenda for meeting with comments
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9/16/2016 Seth Packrone     0:42:00 Billable   Travel to DOC facility for meeting with client (1.4 - bill half)

9/16/2016 Seth Packrone     0:24:00 Billable   Check in and wait at DOC facility

9/16/2016 Seth Packrone     0:18:00 Billable   Draft follow up questions to fact check complaint with client

9/16/2016 Seth Packrone     1:18:00 Billable   Meet with client at DOC facility
                                               Teleconference with M. Smith, J. LoCicero, and R. Livengood re: next steps for drafting complaint
9/16/2016 Seth Packrone     1:00:00 Billable   and timing of filing

9/16/2016 Seth Packrone     0:12:00 Billable   Travel back from DOC facility, legislative team call (total time 25 min; bill half)

9/19/2016 Mary-Lee Smith    2:54:00 Billable   Revise complaint: redline and review GF papers, esp MTD, to further revise

9/19/2016 Mary-Lee Smith    0:42:00 Billable   Review GF materials further in prep for revising complaint

9/19/2016 Michelle Caiola   0:18:00 Billable   update from SP re client interview, next steps, staffing for work on tap

9/19/2016 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: call to update Proskauer on DOE research
                                               Correspond with M. Smith re: meetings with Proskauer this week regarding DOE research and
9/19/2016 Seth Packrone     0:12:00 Billable   OPRA response review

9/19/2016 Seth Packrone     0:18:00 Billable   Update M. Caiola re: staffing needs for case moving forward and media strategy

9/19/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood and review new draft of complaint timeline

9/19/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: plan for meeting with Proskauer

9/19/2016 Seth Packrone     0:06:00 Billable   Correspond with Proskauer re: OPRA documents to review for Friday's meeting

9/19/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: update on status of investigation
                                               Teleconference with Proskauer team and R. Livengood re: researching causes of action against
9/19/2016 Seth Packrone     0:18:00 Billable   NJ DOE to include in complaint under federal and state law

9/19/2016 Seth Packrone     0:12:00 Billable   Teleconference with R. Livengood re: update on client call and cataloging OPRA responses

9/19/2016 Seth Packrone     0:06:00 Billable   Read and analyze M. Smith's comments on client section of complaint

9/19/2016 Seth Packrone     0:06:00 Billable   First draft of introduction section of ADA, Section 504, and IDEA overview section of complaint
                                               Update M. Smith re: drafting ADA/Section/IDEA framework section of complaint, call with client,
9/19/2016 Seth Packrone     0:18:00 Billable   and status of OPRA responses

9/19/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: her edits to the complaint ADA/Section 504 sections

9/20/2016 Mary-Lee Smith    0:18:00 Billable   Call with S.Packrone re legal theories to include in complaint
                                               Complete reviewing and taking notes on GF MTD briefing; develop arguments to include/avoid
9/20/2016 Mary-Lee Smith    0:54:00 Billable   in complaint

9/20/2016 Mary-Lee Smith    0:06:00 Billable   Email to J.LeCicero re call with Proskauer; email to Proskauer re same

9/20/2016 Mary-Lee Smith    2:24:00 Billable   Work on revising NJDOC complaint -- client sections and review of GF materials where needed

9/20/2016 Mary-Lee Smith    1:54:00 Billable   Continue revision of complaint -- ADA and 504 sections

9/20/2016 Seth Packrone     0:12:00 Billable   Outline IDEA cause of action section of complaint

9/20/2016 Seth Packrone     0:30:00 Billable   Research and write first draft of section of complaint re: DOC as local education agency

9/20/2016 Seth Packrone     0:24:00 Billable   Research and write first draft of section of complaint re: IDEA in adult correctional facilities

9/20/2016 Seth Packrone     0:24:00 Billable   Research and write first draft of section of complaint re: DOE as SEA

9/20/2016 Seth Packrone     0:06:00 Billable   Correspond with J. Flores re: updating NJDOC intake spreadsheet

9/20/2016 Seth Packrone     0:24:00 Billable   Outline section first draft of complaint on duties of LEA/SEA under IDEA

9/20/2016 Seth Packrone     0:54:00 Billable   First draft of substantive responsibilities of DOC under IDEA section of complaint

9/20/2016 Seth Packrone     0:30:00 Billable   Teleconference with M. Smith re: IDEA and ADA/Section education allegations in complaint

9/20/2016 Seth Packrone     0:12:00 Billable   Research DOE's oversight responsibilities of DOC under NJ SFEA

9/20/2016 Seth Packrone     0:24:00 Billable   Give directions to J. Flores re: updating intake spreadsheet with upcoming intakes

9/20/2016 Seth Packrone     0:12:00 Billable   Research and analyze Buckley re: modifying student's IEP who presents bona fide security threat
                                               Draft IDEA sections on continuum of placements and required members at the IEP team
9/20/2016 Seth Packrone     0:18:00 Billable   meetings
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9/21/2016 Mary-Lee Smith    0:48:00 Billable   Email exchange and call with S.Packrone re edits to complaint

9/21/2016 Michelle Caiola   0:12:00 Billable   reporting by SP re next steps toward filing, strategy re same

9/21/2016 Seth Packrone     0:12:00 Billable   Read and analyze M. Smith's comments and edits on client, 504, and ADA sections of complaint

9/21/2016 Seth Packrone     0:18:00 Billable   Teleconference with R. Livengood re: update on third client and ADA allegations in complaint

9/21/2016 Seth Packrone     0:18:00 Billable   Read and analyze Bayside State Prison Handbook re: inmate classifications

9/21/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: filing timeline for complaint

9/21/2016 Seth Packrone     0:12:00 Billable   Read and analyze DOC facility ASCU policies handbook as it relates to mental health for complaint
                                               Draft responses to M. Smith comments and edits to ADA/Section 504/client sections of
9/21/2016 Seth Packrone     0:18:00 Billable   complaint

9/21/2016 Seth Packrone     0:12:00 Billable   Draft first draft of short intro sections for clients in complaint

9/21/2016 Seth Packrone     0:18:00 Billable   Input M. Smith's edits on client section into second draft of complaint
                                               Teleconference with M. Smith re: work through edits to ADA and Section 504 sections of
9/21/2016 Seth Packrone     0:36:00 Billable   complaint

9/21/2016 Seth Packrone     0:06:00 Billable   Redraft client section of complaint on services at DOC facility

9/21/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: next visit and update on situation

9/21/2016 Seth Packrone     0:12:00 Billable   Update litigation team on client call

9/21/2016 Seth Packrone     0:06:00 Billable   Read and analyze background information about clients

9/21/2016 Seth Packrone     0:30:00 Billable   Edit client section of complaint re: update it with information from last client interview

9/21/2016 Seth Packrone     0:24:00 Billable   Edit client section of complaint based on M. Smith's comments

9/21/2016 Seth Packrone     0:12:00 Billable   Proofread and edit second draft of ADA/Section 504 sections of complaint

9/21/2016 Seth Packrone     0:06:00 Billable   Prepare for interview with impacted organization for complaint information

9/22/2016 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone re update on impacted organization

9/22/2016 Mary-Lee Smith    0:18:00 Billable   Follow up call with S.Packrone re impacted organization participation and next steps

9/22/2016 Michelle Caiola   0:06:00 Billable   provide update to SP re M Smith feedback

9/22/2016 Seth Packrone     0:30:00 Billable   Edit second draft of ADA regulations section of complaint

9/22/2016 Seth Packrone     0:42:00 Billable   Edit second draft of Section 504 regs and FAPE section of complaint

9/22/2016 Seth Packrone     0:12:00 Billable   Prepare and send second draft of ADA/Section 504 and client sections of complaint to ACLU-NJ

9/22/2016 Seth Packrone     0:12:00 Billable   Update R. Livengood re: status of records requests sent to DOC for clients
                                               Prepare and read interview guide for meeting with impacted organization to collect information
9/22/2016 Seth Packrone     0:18:00 Billable   for complaint

9/22/2016 Seth Packrone     0:06:00 Billable   Strategy session with R. Livengood re: meeting with Proskauer

9/22/2016 Seth Packrone     2:00:00 Billable   Interview with impacted organization with R. Livengood
                                               Follow up strategy session with R. Livengood and J. LoCicero re: next steps in NJ DOC litigation
9/22/2016 Seth Packrone     0:24:00 Billable   and timeline for filing

9/22/2016 Seth Packrone     0:24:00 Billable   Travel back from work session in Newark (40 minutes total; bill half)

9/22/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: plan for Proskauer Rose meeting

9/22/2016 Seth Packrone     0:06:00 Billable   Read and analyze list of facilities that impacted organization has contacted

9/22/2016 Seth Packrone     0:06:00 Billable   Call to M. Smith re: update from work session
                                               Teleconference with M. Smith re: discovery rules for membership organizations in the Third
9/22/2016 Seth Packrone     0:18:00 Billable   Circuit

9/23/2016 Mary-Lee Smith    0:12:00 Billable   Review tags for doc coding; make revisiosn/additions

9/23/2016 Michelle Caiola   0:18:00 Billable   update from SP re meetings with impacted organization and path forward

9/23/2016 Seth Packrone     0:18:00 Billable   Strategy session with M. Caiola re: update on impacted organization status

9/23/2016 Seth Packrone     0:06:00 Billable   Teleconference with R. Livengood re: regs for child find
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9/23/2016 Seth Packrone     0:06:00 Billable   Research state regs on NJ DOC as LEA

9/23/2016 Seth Packrone     0:36:00 Billable   Read and analyze prima facie case on IDEA/Section 504/ADA
                                               Work session with R. Livengood re: key words and descriptions for document review of OPRA
9/23/2016 Seth Packrone     0:24:00 Billable   reqeusts for complaint and discovery

9/23/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: document orientation with Proskauer and client issues

9/23/2016 Seth Packrone     0:18:00 Billable   Revise and edit first draft of IDEA section of complaint

9/23/2016 Seth Packrone     0:06:00 Billable   Reformat causes of action section of complaint

9/23/2016 Seth Packrone     0:06:00 Billable   Send complaint to M. Smith with comments on next sections due

9/26/2016 Mary-Lee Smith    0:48:00 Billable   Revise intro of complaint for NJDOC

9/26/2016 Michelle Caiola   0:12:00 Billable   update on meeting with co-counsel from SP

9/26/2016 Seth Packrone     0:18:00 Billable   Update spreadsheet tracking intakes based on new information gathered on intakes

9/26/2016 Seth Packrone     0:12:00 Billable   Correspond with to R. Livengood re: spreadsheet tracking intakes and new intake

9/26/2016 Seth Packrone     0:06:00 Billable   Send spreadsheet tracking intakes to M. Smith re: for her review and notes on intake process

9/26/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: RHU classroom at DOC facility

9/26/2016 Seth Packrone     0:30:00 Billable   Read and analyze Tustin's ADA analysis and search related 3rd Circuit cases

9/26/2016 Seth Packrone     0:36:00 Billable   Draft first draft of IDEA section of Introduction re: DOC's obligations under IDEA

9/26/2016 Seth Packrone     0:30:00 Billable   Draft first draft of ADA section and DOC's obligations under ADA part of introduction

9/26/2016 Seth Packrone     0:30:00 Billable   Draft first draft of Plaintiffs' factual claims in introduction

9/26/2016 Seth Packrone     0:24:00 Billable   Draft first draft of administrative segregation and relief request section of introduction

9/26/2016 Seth Packrone     0:06:00 Billable   Strategy session with M. Caiola re: update on status of case

9/26/2016 Seth Packrone     0:12:00 Billable   Revise and edit first draft of Introduction section of NJ DOC complaint

9/26/2016 Seth Packrone     0:36:00 Billable   Draft first draft of class allegations section of NJ DOC complaint

9/26/2016 Seth Packrone     0:12:00 Billable   Revise and edit first draft of class allegations sectoin of NJ DOC complaint
                                               Send first draft of Class allegations and introduction to M. Smith with comments for NJ DOC
9/26/2016 Seth Packrone     0:12:00 Billable   complaint

9/27/2016 Mary-Lee Smith    0:30:00 Billable   Call with S.Packrone re intro to complaint including discussion of ADA claims

9/27/2016 Mary-Lee Smith    0:54:00 Billable   Revise IDEA and class claims sections of complaint

9/27/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: revisions to IDEA/Intro/Class allegations section of complaint

9/27/2016 Seth Packrone     0:06:00 Billable   Read and analyze NJ DOC policy document regarding provision of health care to inmates
                                               Read and analyze NJ DOC policy document regarding provision of mental health services to
9/27/2016 Seth Packrone     0:06:00 Billable   inmates
                                               Teleconference with R. Livengood re: drafting the complaint and numbers of inmates under 21
9/27/2016 Seth Packrone     0:06:00 Billable   in DOC custody

9/27/2016 Seth Packrone     0:36:00 Billable   Get directions from M. Smith re: edits to complaint in the IDEA section and overall legal theory

9/27/2016 Seth Packrone     0:06:00 Billable   Analyze NJ DOC numbers regarding how many inmates are under 21

9/28/2016 Mary-Lee Smith    0:18:00 Billable   Draft intro to NJ DOC complaint outlining legal framework of the case

9/28/2016 Michelle Caiola   0:06:00 Billable   update on complaint drafting from SP

9/28/2016 Seth Packrone     0:06:00 Billable   Read and analyze M. Smith's comments and edits to first draft of IDEA section of complaint
                                               Edit first draft of Class Allegations section based on M. Smith's comments and research updated
9/28/2016 Seth Packrone     0:18:00 Billable   demographic numbers for NJ DOC

9/28/2016 Seth Packrone     0:18:00 Billable   Edit first draft of IDEA section of complaint based on M. Smith's comments
                                               Send first draft of Class allegations and IDEA sections of complaint to R. Livengood with
9/28/2016 Seth Packrone     0:12:00 Billable   comments re: class definition

9/28/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: progress with complaint and next steps

9/28/2016 Seth Packrone     0:06:00 Billable   Follow up with R. Livengood re: following up with impacted organization
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                                               read and analyze documents on background facts of NJ DOC re: mental healt/health care
9/28/2016 Seth Packrone     0:06:00 Billable   provision

9/28/2016 Seth Packrone     0:06:00 Billable   Edit first draft of complaint to send to M. Smith

9/28/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: eligibility criteria allegations under Section 504
                                               Correspond with R. Livengood re: legal research on Third Circuit case law around membership
9/28/2016 Seth Packrone     0:06:00 Billable   information

9/29/2016 Mary-Lee Smith    0:30:00 Billable   Call with impacted organization re approval for participation in litigation

9/29/2016 Mary-Lee Smith    0:18:00 Billable   Work on legal framework section of complaint

9/29/2016 Seth Packrone     0:06:00 Billable   Review and analyze first draft of impacted organization section of complaint

9/29/2016 Seth Packrone     0:06:00 Billable   Review and analyze state law section of complaint

9/29/2016 Seth Packrone     0:06:00 Billable   Teleconference with M. Smith re: prepare for call with impacted organization

9/29/2016 Seth Packrone     0:12:00 Billable   Teleconference with impacted organization re: board approval

9/29/2016 Seth Packrone     0:30:00 Billable   Teleconference with M. Smith and impacted organization re: board and by laws

9/29/2016 Seth Packrone     0:12:00 Billable   Teleconference with M. Smith re: agenda for call with ACLU and timing of filing

9/29/2016 Seth Packrone     0:12:00 Billable   Draft agenda for weekly co-counsel meeting with ACLU

9/29/2016 Seth Packrone     0:06:00 Billable   Send agenda and update on impacted organization meeting to ACLU
                                               Call with ACLU and S.Packrone re impacted organization, timing of complaint, grievances
9/30/2016 Mary-Lee Smith    1:00:00 Billable   and legal theories

9/30/2016 Mary-Lee Smith    0:18:00 Billable   Call with S.Packrone re impacted organization and timing of complaint

9/30/2016 Michelle Caiola   0:06:00 Billable   status update from SP

9/30/2016 Michelle Caiola   0:06:00 Billable   update FP re status and staffing

9/30/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola on next steps with impacted organization

9/30/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: update on grievance process at DOC facility

9/30/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: client grievance status

9/30/2016 Seth Packrone     0:06:00 Billable   Prepare for call with ACLU-NJ
                                               Teleconference with co-counsel ACLU-NJ re: timing of complaint, legal theory, and class
9/30/2016 Seth Packrone     0:54:00 Billable   definition

9/30/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Smith re: contacting impacted organization about bylaws

10/3/2016 Mary-Lee Smith    0:12:00 Billable   Review legal research for proceeding under psuedonym from ACLU

10/3/2016 Mary-Lee Smith    0:18:00 Billable   Review legal research for NJ Ed codes

10/3/2016 Seth Packrone     0:06:00 Billable   Give C. Molholm update on call with client's parent and call with client #2

10/3/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: requesting phone call at DOC facility with client

10/3/2016 Seth Packrone     0:12:00 Billable   Read and analyze legal research on using pseudonyms in the 3rd circuit

10/3/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: update on investigation

10/3/2016 Seth Packrone     0:06:00 Billable   Read and analyze NJAC education regulations

10/3/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: NJAC education regulations

10/4/2016 Seth Packrone     0:06:00 Billable   Follow up on meeting notes with client from 9/16/16

10/4/2016 Seth Packrone     0:18:00 Billable   Read and analyze relevant legal briefing on NJ DOC ad seg policies

10/4/2016 Seth Packrone     0:12:00 Billable   Read and analyze relevant case law

10/4/2016 Seth Packrone     0:06:00 Billable   Read and analyze case law re: ad seg in NJ DOC prisons

10/4/2016 Seth Packrone     0:30:00 Billable   Read and analyze MTD in Contra Case for case law on exhaustion and administrative segregation
                                               Prepare for call with client's mother re: follow up questions regarding his section of the
10/4/2016 Seth Packrone     0:12:00 Billable   complaint
                                               Give directions to C. Molholm re: call with client's mom following up on his education and
10/4/2016 Seth Packrone     0:06:00 Billable   disability history
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 10/4/2016 Seth Packrone     0:12:00 Billable   Organize case file re; client's educational documents

 10/5/2016 Seth Packrone     0:06:00 Billable   Give C. Molholm instructions re: creating index for client documents

 10/5/2016 Seth Packrone     0:06:00 Billable   Teleconference with client's family re: client's educational history
                                                Teleconference with C. Molholm and client's family re: client's educational history and
 10/5/2016 Seth Packrone     0:24:00 Billable   hospitalizations

 10/5/2016 Seth Packrone     0:06:00 Billable   Follow up instructions to C. Molholm re: drafting an update letter to client's family

 10/5/2016 Seth Packrone     0:12:00 Billable   Send client records to C. Molholm re: creating index for client

 10/5/2016 Seth Packrone     0:12:00 Billable   Teleconference with client from DOC facility re: update on investigation

 10/5/2016 Seth Packrone     0:18:00 Billable   Redraft letter to client's mom requesting records

 10/5/2016 Seth Packrone     0:06:00 Billable   Send update to M. Smith re: call with client

 10/5/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: client call

 10/5/2016 Seth Packrone     0:06:00 Billable   Review index for client documents

 10/6/2016 Mary-Lee Smith    0:06:00 Billable   Review agenda for call with ACLU

 10/6/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Molholm re: client record logs

 10/6/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: letter to client's parent

 10/6/2016 Seth Packrone     0:18:00 Billable   Read and analyze and take notes on memo on claims against DOE from Proskauer

 10/6/2016 Seth Packrone     0:06:00 Billable   Draft agenda for ACLU meeting

 10/6/2016 Seth Packrone     0:06:00 Billable   Teleconference with impacted organization rep re: update on investigation

 10/6/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: agenda for ACLU, Proskauer memo, and impacted organization call

 10/6/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: visit with new client

 10/6/2016 Seth Packrone     0:06:00 Billable   Send agenda to ACLU

 10/7/2016 Seth Packrone     0:06:00 Billable   Teleconference with R. Livengood re: plan for next co-counsel meeting

 10/7/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood and M. Smith re: plan for next co-counsel meeting

 10/7/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: follow up after meeting with co-counsel

 10/7/2016 Seth Packrone     0:30:00 Billable   Teleconference with R. Livengood and J. LoCicero re: next steps for complaint and visiting clients

 10/7/2016 Seth Packrone     0:12:00 Billable   Research client's custody status and potential for Wednesday visit
                                                Type up notes for M. Smith re: meeting with ACLU and check in about next steps for
 10/7/2016 Seth Packrone     0:24:00 Billable   investigation

10/11/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: visiting new client in ad seg

10/12/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: update on potential participation

10/12/2016 Seth Packrone     0:06:00 Billable   Teleconference with client re: update on credit status

10/12/2016 Seth Packrone     0:06:00 Billable   Update client notes on call with client

10/12/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: next steps in investigation

10/13/2016 Seth Packrone     0:06:00 Billable   Teleconference with impacted organization re: update on potential participation in case

10/14/2016 Michelle Caiola   0:18:00 Billable   Update with SP and strategy on potential organizational plaintiffs

10/14/2016 Michelle Caiola   0:12:00 Billable   review status of potential organizational plaintiffs

10/14/2016 Michelle Caiola   0:12:00 Billable   Check in with S Packrone re: follow-up w/ co-counsel

10/14/2016 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: data for potential new intakes

10/14/2016 Seth Packrone     0:06:00 Billable   Update litigation team re: status of impacted organization

10/14/2016 Seth Packrone     0:06:00 Billable   Draft agenda for weekly co-counsel call with ACLU

10/14/2016 Seth Packrone     0:18:00 Billable   Update M. Smith re: call with impacted organization and upcoming call with ACLU
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10/14/2016 Seth Packrone     0:18:00 Billable   Strategy session with M. Caiola re: next steps in investigation

10/14/2016 Seth Packrone     0:06:00 Billable   Send agenda and update to R. Livengood and J. LoCicero re: co-counsel call
                                                Teleconference with J. LoCicero and R. Livengood re: udpate on visit with new client, update on
10/14/2016 Seth Packrone     0:42:00 Billable   impacted organization, and other relevant organizations

10/14/2016 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: next steps for litigation

10/14/2016 Seth Packrone     0:06:00 Billable   Update Proskauer Rose re: impacted organization's status in litigation

10/14/2016 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: reaching out to other impacted organizations

10/14/2016 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: reaching out to impacted organizations

10/14/2016 Seth Packrone     0:06:00 Billable   Correspond with Proskauer re: organizational plaintiff status

10/14/2016 Seth Packrone     0:06:00 Billable   Update M. Smith on status of potential organizational plaintiff

10/17/2016 Seth Packrone     0:06:00 Billable   Edit contact to impacted organization

10/17/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: update on investigation and contact with impacted organization

10/17/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: contact with impacted organization

10/17/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: response from DOC

10/17/2016 Seth Packrone     0:06:00 Billable   Review client communication from DOC

10/17/2016 Seth Packrone     0:12:00 Billable   Update litigation team re: call with client

10/17/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: status of client

10/18/2016 Mary-Lee Smith    0:24:00 Billable   Work session with S.Packrone re complaint and potential client update

10/18/2016 Michelle Caiola   0:18:00 Billable   update from SP re impacted organization outreach

10/18/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: update from client

10/18/2016 Seth Packrone     0:18:00 Billable   Teleconference with impacted organization re: participation in lawsuit

10/18/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola on call w impacted organization

10/18/2016 Seth Packrone     0:12:00 Billable   Update litigation team re: call w impacted organization

10/18/2016 Seth Packrone     0:12:00 Billable   Research other impacted organizations

10/18/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: impacted organization contact
                                                Prepare for teleconference with M. Smith re: reviewing notes from meeting with ACLU and
10/18/2016 Seth Packrone     0:12:00 Billable   complaint progress
                                                Teleconference with M. Smith re: next steps for complaint and outreach to other impacted
10/18/2016 Seth Packrone     0:18:00 Billable   organizations

10/19/2016 Seth Packrone     0:12:00 Billable   Review impacted organization's website and impacted programs

10/19/2016 Seth Packrone     0:12:00 Billable   Draft email to director of impacted organization re: work on special ed. in prisons
                                                Send email to director of impacted organization re: their work on special educaiton for
10/19/2016 Seth Packrone     0:06:00 Billable   incarcerated youth

10/20/2016 Seth Packrone     0:12:00 Billable   Review client documents to determine what other documents we need

10/20/2016 Seth Packrone     0:12:00 Billable   Teleconference with client re: update on education situation

10/21/2016 Seth Packrone     0:06:00 Billable   Finalize notes from call with impacted organization re: status of board approval

10/21/2016 Seth Packrone     0:06:00 Billable   Prepare for call with client's mother re: sending school and medical records

10/21/2016 Seth Packrone     0:06:00 Billable   Teleconference with client's mother re: documents

10/21/2016 Seth Packrone     0:06:00 Billable   Teleconference with client's grandmother re: records

10/21/2016 Seth Packrone     0:06:00 Billable   Prepare for teleconference with client's grandmother re: documents needed

10/21/2016 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: plan for next two meetings with ACLU-NJ

10/24/2016 Michelle Caiola   0:06:00 Billable   status check in with SP

10/26/2016 Seth Packrone     0:06:00 Billable   Update J. Mukherjee re: schedule for visiting clients over next two weeks
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10/27/2016 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel call with ACLU

10/27/2016 Seth Packrone     0:06:00 Billable   Send agenda to M. Smith re: meeting with ACLU

10/27/2016 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: plan for filing and organizational plaintiff

10/27/2016 Seth Packrone     0:12:00 Billable   Send agenda and update to R. Livengood and J. LoCicero re: co-counsel call

10/27/2016 Seth Packrone     0:06:00 Billable   Teleconference with client's mom re: update on records
                                                Teleconference with J. LoCicero, R. Livengood, and M. Smith re: update on individual plaintiffs,
10/28/2016 Seth Packrone     0:24:00 Billable   organizational plaintiffs, and complaint drafting process

10/28/2016 Seth Packrone     0:12:00 Billable   Draft update and send it to pro bono counsel regarding litigation update

10/28/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: status of investigation and update for Proskauer

10/31/2016 Michelle Caiola   0:12:00 Billable   Strategy with SP re Org Plaintiffs law re same

10/31/2016 Seth Packrone     0:18:00 Billable   Send update on complaint and timeline for filing to M. Smith

10/31/2016 Seth Packrone     0:06:00 Billable   Edit complaint based on latest changes from ACLU

10/31/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of organizational plaintiff in NJ DOC litigation

10/31/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: setting up visits at prisons

 11/1/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: sending visit requests to DOC facilities

 11/2/2016 Michelle Caiola   0:18:00 Billable   strategy and planning with SP re completing complaint and filing

 11/2/2016 Seth Packrone     0:06:00 Billable   Give M. Caiola update regarding timing for filing complaint and organizational plaintiff
                                                Update attorneys and seek feedback at attorney meeting re: status of organizational plaintiff
 11/2/2016 Seth Packrone     0:06:00 Billable   and status of investigation

 11/2/2016 Seth Packrone     0:06:00 Billable   Draft agenda for co-counsel meeting

 11/2/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: agenda for co-counsel meeting and next steps for investigation

 11/3/2016 Seth Packrone     0:06:00 Billable   Finalize agenda and send to ACLU for co-counsel meeting

 11/3/2016 Seth Packrone     0:12:00 Billable   Gives directions to J. Mukherjee re: Monday visits with clients

 11/3/2016 Seth Packrone     0:06:00 Billable   Prepare for TC with co-counsel
                                                TC with R. Livengood, M. Smith, and J. LoCicero re: timeline for filing, update on clients, and
 11/3/2016 Seth Packrone     0:30:00 Billable   status of organizational plaintiff
                                                Follow up TC with M. Smith re: next steps for drafting the complaint and following up with
 11/3/2016 Seth Packrone     0:06:00 Billable   clients

 11/3/2016 Seth Packrone     0:12:00 Billable   Update M. Smith on latest letters to potential declarants

 11/3/2016 Seth Packrone     0:06:00 Billable   Follow up with R. Livengood re: status of records from NJ DOC

 11/3/2016 Seth Packrone     0:12:00 Billable   Prepare for visits with clients on 11.7.16

 11/4/2016 Michelle Caiola   0:06:00 Billable   t/c with SP re filing date

 11/4/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: plan for filing case and upcoming prison visits

 11/4/2016 Seth Packrone     0:06:00 Billable   Correspond with J. Mukherjee re: status of client visits on 11.7.16

 11/4/2016 Seth Packrone     0:06:00 Billable   Follow up with J. Mukherjee re: hospital release for client

 11/4/2016 Seth Packrone     0:06:00 Billable   Send releases to ACLU for clients
                                                Follow up with R. Livengood and B. Friedman from Proskauer re: update on review of OPRA
 11/4/2016 Seth Packrone     0:06:00 Billable   documents

 11/7/2016 Seth Packrone     0:36:00 Billable   Drive to NDOC facility to visit client (75 minutes total, bill half)

 11/7/2016 Seth Packrone     0:12:00 Billable   Travel between DOC facilities to visit client (approximiately 20 minutes bill for half )

 11/7/2016 Seth Packrone     0:18:00 Billable   Wait at DOC facility to visit client

 11/7/2016 Seth Packrone     0:18:00 Billable   Revise and edit draft of complaint regarding client's section

 11/7/2016 Seth Packrone     1:12:00 Billable   Visit with client and J. Mukherjee re: update on complaint and filing timeline

 11/7/2016 Seth Packrone     1:00:00 Billable   Visit with client and J. Mukherjee re: reviewing the complaint with him and filing plan
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 11/7/2016 Seth Packrone     0:18:00 Billable   Waiting at DOC facility for visit with client

 11/7/2016 Seth Packrone     0:36:00 Billable   Travel back from DOC facility from visit with client (total 75 minutes, bill for half)

 11/7/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: follow up on visit with client

 11/7/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: client visits and status of complaint

 11/8/2016 Michelle Caiola   0:06:00 Billable   check in with SP re: client visits

 11/8/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: visits with clients on 11/7

 11/9/2016 Seth Packrone     0:06:00 Billable   Strategy session with J. Mukherjee re: next steps for complaint after client visits

 11/9/2016 Seth Packrone     0:06:00 Billable   Follow up with M. Smith and ACLU re: client's status and records requests with DOC

11/10/2016 Michelle Caiola   0:12:00 Billable   update re org status and demand letter strategy

11/10/2016 Seth Packrone     0:12:00 Billable   Update C. Molholm re: client visits on 11/7 regarding the complaint

11/10/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of complaint and visits with clients

11/10/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: update meeting about complaint and next steps
                                                TC with R. Livengood re: update on organizational plaintiff, drafting and filing schedule for
11/10/2016 Seth Packrone     0:18:00 Billable   complaint
                                                Send memo to M. Smith re: next steps in investigation, status of organizational plaintiff, and next
11/10/2016 Seth Packrone     0:18:00 Billable   steps

11/10/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: filing schedule for case

11/10/2016 Seth Packrone     0:12:00 Billable   Draft first draft of section on DOC factual background of complaint

11/10/2016 Seth Packrone     0:06:00 Billable   Enter notes from meeting with client into complaint

11/11/2016 Seth Packrone     0:06:00 Billable   Correspond with B. Friedman re: update on document review

11/11/2016 Seth Packrone     0:18:00 Billable   Update client's section of complaint based on 11.7.16 visit with him

11/11/2016 Seth Packrone     0:12:00 Billable   Update second client's section of complaint based on 11.7.16 visit with him

11/11/2016 Seth Packrone     0:12:00 Billable   Edit complaint to include DOE allegations

11/11/2016 Seth Packrone     0:36:00 Billable   Draft first draft of background section on DOC for first draft of complaint

11/11/2016 Seth Packrone     0:06:00 Billable   TC with B. Friedman from Proskauer re: update on complaint and document review

11/11/2016 Seth Packrone     0:06:00 Billable   Update M. Smith re: status of document review

11/11/2016 Seth Packrone     0:30:00 Billable   Draft inadequate educatoin services section of first draft of complaint

11/11/2016 Seth Packrone     0:24:00 Billable   Draft background section on education services at DOC facilities

11/11/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: following up about records with DOC

11/14/2016 Michelle Caiola   0:12:00 Billable   update and strategy on demand letter to DOE, timing

11/14/2016 Seth Packrone     0:06:00 Billable   Update ACLU re: call with Brian Friedman

11/14/2016 Seth Packrone     0:06:00 Billable   Review draft of demand letter to DOE

11/14/2016 Seth Packrone     0:18:00 Billable   Correspond with M. Smith re: strategy for DOE allegations moving forward

11/14/2016 Seth Packrone     0:12:00 Billable   Review background section on DOC's statistics
                                                Draft first draft of background section on DOC re: structure of DOC's educational services being
11/14/2016 Seth Packrone     1:00:00 Billable   provided to students
                                                Draft first draft of background section on inadequacy of DOC's educational program for first
11/14/2016 Seth Packrone     0:42:00 Billable   draft of complaint

11/14/2016 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: DOE demand letter

11/14/2016 Seth Packrone     0:18:00 Billable   Memo re: DOE demand letter strategy

11/14/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of complaint and visits with clients

11/14/2016 Seth Packrone     0:12:00 Billable   Get feedback from M. Caiola re: structure of background section of complaint

11/14/2016 Seth Packrone     0:12:00 Billable   Give J. Mukherjee instructions re: following up about records this week
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11/14/2016 Seth Packrone    0:24:00 Billable   Draft ADA section of DOC background section in first draft of complaint

11/15/2016 Seth Packrone    0:24:00 Billable   Read through and edit first draft of complaint

11/15/2016 Seth Packrone    0:36:00 Billable   Edit DOC background section to include ADA meaningful access descriptions

11/15/2016 Seth Packrone    0:06:00 Billable   TC with J. Mukherjee re: update on call with client

11/15/2016 Seth Packrone    0:06:00 Billable   Prepare for TC with client's mom re: status of records

11/15/2016 Seth Packrone    0:06:00 Billable   Teleconference with client's mother re: records

11/16/2016 Seth Packrone    0:54:00 Billable   Read and revise entire first draft of complaint and check citations to records

11/16/2016 Seth Packrone    0:12:00 Billable   Send complete first draft of complaint to M. Smith with comments on the draft

11/17/2016 Mary-Lee Smith   0:42:00 Billable   Review complaint: legal framework section in intro as compared with facts and legal claims
                                               Draft agenda for co-counsel meeting (and go through complaint to find items needed for follow
11/17/2016 Seth Packrone    0:12:00 Billable   up)

11/17/2016 Seth Packrone    0:06:00 Billable   Send agenda to M. Smith with comments for tomorrow's call

11/17/2016 Seth Packrone    0:12:00 Billable   Send agenda to ACLU with note for tomorrow's meeting

11/18/2016 Mary-Lee Smith   0:24:00 Billable   Call with ACLU re plaintiffs including orgs and demand letter etc

11/18/2016 Mary-Lee Smith   0:42:00 Billable   Begin revisions to named plaintiff sections of compalint

11/18/2016 Seth Packrone    0:06:00 Billable   TC with J. Mukherjee re: records requests from NJ DOC

11/18/2016 Seth Packrone    0:12:00 Billable   Follow up on client's hospitalization for new records requests

11/18/2016 Seth Packrone    0:06:00 Billable   Prepare for co-counsel TC with ACLU re: next steps for complaint and organizational plaintiff

11/18/2016 Seth Packrone    0:24:00 Billable   TC with ACLU and M. Smith re: next steps for complaint and organizational plaintiff
                                               Follow up strategy session with M. Smith re: updates on plaintiffs and remaining work for the
11/18/2016 Seth Packrone    0:18:00 Billable   complaint
                                               Follow up correspondence with R. Livengood re: complaint drafting timeline and incorporating
11/18/2016 Seth Packrone    0:12:00 Billable   organizational plaintiff allegations

11/18/2016 Seth Packrone    0:06:00 Billable   Follow up with B. Friedman and litigation re: OPRA document review

11/18/2016 Seth Packrone    0:12:00 Billable   Follow up with J. Mukherjee re: next steps for records requests for clients

11/18/2016 Seth Packrone    0:12:00 Billable   Update M. Caiola on plan for filing case and next steps

11/19/2016 Mary-Lee Smith   0:48:00 Billable   Revise complaint: begin review of DOC factual background section

11/21/2016 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: editing plan for complaint

11/21/2016 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: editing plan for complaint and organizational plaintiff allegations

11/21/2016 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: organizational plaintiff and oustanding complaint tasks

11/22/2016 Mary-Lee Smith   3:06:00 Billable   Review/revise DOC complaint: intro and DOC factual sections.

11/22/2016 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: editing plan for complaint

11/22/2016 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: editing plan and outstanding complaint sections

11/22/2016 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: mailings for NJ DOC to get records

11/22/2016 Seth Packrone    0:12:00 Billable   Review letters to send for NJ DOC re: records requests

11/22/2016 Seth Packrone    0:06:00 Billable   TC with M. Smith re: application of case law in NJ DOC complaint to DOE
                                               TC with R. Livengood re: updated version of complaint and educational budgets of NJ DOC
11/22/2016 Seth Packrone    0:06:00 Billable   facilities

11/23/2016 Mary-Lee Smith   1:18:00 Billable   Revise complaint: reorganize and revise DOC factual allegations

11/23/2016 Seth Packrone    0:06:00 Billable   Review R. Livengood's notes re: organizational standing

11/23/2016 Seth Packrone    0:12:00 Billable   Correspond with R. Livengood re: next steps for organizational plaintiff

11/23/2016 Seth Packrone    0:06:00 Billable   Draft short memo re: org standing for ACLU

11/23/2016 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: contacting Plaintiffs' parents
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11/23/2016 Seth Packrone     0:06:00 Billable   Review new client docs sent by parent

11/23/2016 Seth Packrone     0:06:00 Billable   Give J. Mukherjee instructions re: organizing case file with new records

11/23/2016 Seth Packrone     0:18:00 Billable   Review Proskauer's notes on OPRA documents

11/27/2016 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: legal claims against DOE and sections re: same

11/27/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: new draft of complaint and timing for sending to ACLU

11/28/2016 Seth Packrone     0:12:00 Billable   TC with Plaintiff re: update on his educational documents

11/28/2016 Seth Packrone     0:24:00 Billable   Incorporate ACLU-NJ's sections on DOE and org plaintiff

11/29/2016 Michelle Caiola   0:06:00 Billable   status on filing with SP
                                                Revise first draft of introduction laying out legal framework in complaint and draft short
11/29/2016 Seth Packrone     0:42:00 Billable   summary sections for 2 plaintiffs
                                                Update M. Smith re: progress on complaint and outstanding issues to discuss regarding the
11/29/2016 Seth Packrone     0:12:00 Billable   complaint

11/29/2016 Seth Packrone     0:18:00 Billable   Revise and edit section of complaint on Parties

11/29/2016 Seth Packrone     0:06:00 Billable   Add descriptions of defendants to first draft of complaint

11/29/2016 Seth Packrone     0:06:00 Billable   Edit and revise class allegations section of complaint

11/29/2016 Seth Packrone     0:30:00 Billable   Edit and revise first draft of DOC section of complaint based on M. Smith's comments and edits

11/29/2016 Seth Packrone     0:06:00 Billable   Edit and revise ACLU's first draft of DOE oversight section of complaint

11/30/2016 Mary-Lee Smith    0:36:00 Billable   Work session with Seth re finalizing the complaint, working with ACLU, visiting clients, etc

11/30/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: follow up about next steps for complaint

11/30/2016 Seth Packrone     0:06:00 Billable   Prepare for meeting with M. Smith re: creating task list for NJ DOC

11/30/2016 Seth Packrone     0:06:00 Billable   Give directions to C. Molholm re: upcoming visits with clients

11/30/2016 Seth Packrone     0:12:00 Billable   Edit plaintiff section of complaint based on most recent visit

11/30/2016 Seth Packrone     0:18:00 Billable   Edit plaintiff 2 section of complaint to make consistent with the rest of the complaint

11/30/2016 Seth Packrone     0:24:00 Billable   TC with M. Smith re: get directions for structural edits to complaint and remaining filing tasks

11/30/2016 Seth Packrone     0:06:00 Billable   Research NJDOC jurisdiction over facilities

11/30/2016 Seth Packrone     0:18:00 Billable   Revise complaint based on new sections from ACLU

11/30/2016 Seth Packrone     0:12:00 Billable   Give directions to J. Mukherjee re: next tasks for revising complaint

11/30/2016 Seth Packrone     0:24:00 Billable   Redraft plaintiff 3 section based on most recent client interview

11/30/2016 Seth Packrone     0:12:00 Billable   Get update from J. Mukherjee re: PHV motions in DNJ

11/30/2016 Seth Packrone     0:24:00 Billable   Edit IDEA section based on responsibility of each defendant

11/30/2016 Seth Packrone     0:12:00 Billable   Edit ADA section based on each defendant's responsibiltiy for each allegation

11/30/2016 Seth Packrone     0:12:00 Billable   Edit Section 504 section of complaint based on responsibility for each defendant

11/30/2016 Seth Packrone     0:12:00 Billable   Edit State law sections of complaint

11/30/2016 Seth Packrone     0:24:00 Billable   Revise and edit complete second draft of complaint

11/30/2016 Seth Packrone     0:12:00 Billable   Draft update on complaint and next steps for filing to send to ACLU

11/30/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps for complaint and filing task list

 12/1/2016 Mary-Lee Smith    1:00:00 Billable   Revise NJDOC Complaint: intro and parties section

 12/1/2016 Mary-Lee Smith    2:18:00 Billable   Revise NJDOC Complaint: class allegations, DOC/DOE sections and individuals plaintiffs claims

 12/1/2016 Mary-Lee Smith    1:48:00 Billable   Revise NJDOC Complaint: legal claims section
                                                Revise NJDOC complaint: legal research into NJDOC as ESA and into NJLAD public
 12/1/2016 Mary-Lee Smith    0:54:00 Billable   accommodation definition

 12/1/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: update for ACLU regarding remaining tasks for filing
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12/1/2016 Seth Packrone     0:06:00 Billable   Send update to ACLU re: Friday's meeting and next steps for complaint

12/1/2016 Seth Packrone     0:30:00 Billable   Revise and edit complete draft of complaint pp. 12-23

12/1/2016 Seth Packrone     0:12:00 Billable   Add legal arguments to plaintiff's section of complaint

12/1/2016 Seth Packrone     0:18:00 Billable   Revise and edit complete draft of complaint pp. 30-41

12/1/2016 Seth Packrone     0:36:00 Billable   Revise and edit second draft of plaintiff sections of complaint

12/1/2016 Seth Packrone     0:18:00 Billable   Send complete second draft of complaint to M. Smith with memo on remaining work

12/1/2016 Seth Packrone     0:06:00 Billable   Review J. LoCicero's response to next steps and task list

12/1/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: ACLU's plans for editing the complaint moving forward

12/2/2016 Michelle Caiola   0:06:00 Billable   check in with SP re: plan for filing

12/2/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps for editing complaint

12/2/2016 Seth Packrone     0:12:00 Billable   Review and analyze M. Smith's comments on complaint second draft

12/2/2016 Seth Packrone     0:06:00 Billable   Update M. Caiola re: plan for filing case

12/2/2016 Seth Packrone     0:06:00 Billable   Give directions to J. Mukherjee re: PHV applications and upcoming client visits

12/2/2016 Seth Packrone     0:12:00 Billable   Correspond with J. LoCicero re: details for filing case and PHV applications

12/2/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: organizational plaintiff standing

12/2/2016 Seth Packrone     0:06:00 Billable   Review visitation requests before J. Mukherjee submits them

12/2/2016 Seth Packrone     0:12:00 Billable   Update Proskauer team re: complaint filing timeline and remaining tasks

12/2/2016 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: timeline for review of complaint

12/4/2016 Seth Packrone     0:18:00 Billable   Review and take notes on client's ed docs from facilities

12/4/2016 Seth Packrone     0:12:00 Billable   Review the rest of clients's educational documents from client's mom

12/4/2016 Seth Packrone     0:12:00 Billable   Update NJDOC complaint based on client's documents from parent

12/4/2016 Seth Packrone     0:18:00 Billable   Review Proskauer's findings on OPRA responses

12/4/2016 Seth Packrone     0:12:00 Billable   Revise second draft of paragraphs 24-59 of NJ DOC complaint

12/4/2016 Seth Packrone     0:18:00 Billable   Revise second draft of paragraphs 1-23 of NJ DOC complaint

12/4/2016 Seth Packrone     0:18:00 Billable   Revise second draft of paragraphs 59-106 of NJ DOC complaint

12/4/2016 Seth Packrone     0:24:00 Billable   Revise second draft of paragraphs 106-167 of NJ DOC complaint

12/4/2016 Seth Packrone     0:24:00 Billable   Revise second draft of paragraphs 167-251 of NJ DOC complaint
                                               Revise DOC Complaint: review revisions and comments from S.Packrone; finalize for ACLU
12/5/2016 Mary-Lee Smith    1:06:00 Billable   review

12/5/2016 Seth Packrone     0:30:00 Billable   Revise second draft of complaint 252-284

12/5/2016 Seth Packrone     0:18:00 Billable   Revise second draft of state law section of complaint

12/5/2016 Seth Packrone     0:24:00 Billable   Draft first draft of prayer for relief section of complaint

12/5/2016 Seth Packrone     0:12:00 Billable   Update M. Caiola re: plan for filing case next week

12/5/2016 Seth Packrone     0:06:00 Billable   Review and edit second draft of complaint

12/5/2016 Seth Packrone     0:30:00 Billable   Update and edit client section based on records from client's parent

12/5/2016 Seth Packrone     0:24:00 Billable   Review Proskauer materials on OPRA requests for relevant information to includein complaint

12/5/2016 Seth Packrone     0:24:00 Billable   Incorporate Proskauer's findings into second draft of complaint

12/5/2016 Seth Packrone     0:12:00 Billable   Research IPPs under NJ state law

12/5/2016 Seth Packrone     0:18:00 Billable   Research TABE in NJDOC OPRA responses and incorporate into complaint

12/5/2016 Seth Packrone     0:24:00 Billable   Incorporate IPP and TABE research into complaint
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12/5/2016 Seth Packrone    0:12:00 Billable   Edit section of complaint on classification system for classifying NJDOC residents

12/5/2016 Seth Packrone    0:12:00 Billable   Review Wagner and Bayside State Prison handbook sections on ICC classification criteria

12/5/2016 Seth Packrone    0:12:00 Billable   Research Title I requirements for state facilities

12/5/2016 Seth Packrone    0:18:00 Billable   Send second draft of complaint to M. Smith with memo on comments and significant edits

12/5/2016 Seth Packrone    0:30:00 Billable   Input M. Smith's edits into 12.5 draft of NJDOC complaint

12/5/2016 Seth Packrone    0:30:00 Billable   Revise and edit NJDOC complaint to send to ACLU for their review

12/5/2016 Seth Packrone    0:06:00 Billable   Send complete draft of complaint to ACLU for their review and edits

12/5/2016 Seth Packrone    0:06:00 Billable   Review comments for ACLU in complete draft of complaint

12/5/2016 Seth Packrone    0:12:00 Billable   Draft memo to ACLU re: edits to complete draft of complaint and notes for their review

12/5/2016 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: remaining edits to Dec. 5th draft of complaint

12/6/2016 Seth Packrone    0:30:00 Billable   Draft filing task list memo with comments for M. Smith

12/6/2016 Seth Packrone    0:12:00 Billable   Revise task list and comments for M. Smith

12/6/2016 Seth Packrone    0:06:00 Billable   Review legal argument to pursue pseudonymously

12/6/2016 Seth Packrone    0:12:00 Billable   Send task list memo with comments to M. Smith for her review and input

12/6/2016 Seth Packrone    0:06:00 Billable   Outline letters to attach with courtesy copies of complaint to defendants

12/6/2016 Seth Packrone    0:18:00 Billable   Compile case law that provide basis for NJDOC allegations into memo

12/7/2016 Seth Packrone    0:12:00 Billable   Give C. Molholm directions re; fact-checking and editing complaint

12/7/2016 Seth Packrone    0:12:00 Billable   Read and analyze CG v. PA DOE

12/7/2016 Seth Packrone    0:12:00 Billable   Read and analyze relevant case law

12/7/2016 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: following up with DOC facility and next steps for filing

12/7/2016 Seth Packrone    0:06:00 Billable   Update attorneys at attorney meeting re: plans for filing
                                              Correspond with K. Hamilton and C. Conroy re: upcoming press needs and strategy for filing
12/7/2016 Seth Packrone    0:06:00 Billable   complaint

12/7/2016 Seth Packrone    0:18:00 Billable   Review, analyze and take notes on relevant case law re: DOC

12/7/2016 Seth Packrone    0:12:00 Billable   Review, analyze, and take notes on relevant case law re: DOC

12/7/2016 Seth Packrone    0:12:00 Billable   Review, analyze, and take notes on Buckley

12/7/2016 Seth Packrone    0:36:00 Billable   Draft first half of press release for filing complaint

12/7/2016 Seth Packrone    0:12:00 Billable   Send short memo to M. Smith re: next steps for filing case

12/8/2016 Mary-Lee Smith   0:36:00 Billable   Receive and review DOC complaint from ACLU

12/8/2016 Mary-Lee Smith   0:18:00 Billable   Call with S.Packrone re ACLU revisions to complaint and next steps

12/8/2016 Mary-Lee Smith   0:24:00 Billable   Review DOC complaint draft to identify areas to discuss with ACLU

12/8/2016 Seth Packrone    0:30:00 Billable   Complete first draft of press release for complaint filing

12/8/2016 Seth Packrone    0:06:00 Billable   Revise and edit first draft of press release for complaint filing

12/8/2016 Seth Packrone    0:30:00 Billable   Complete drafts of letters to Defendants to attach to copies of complaint upon filing

12/8/2016 Seth Packrone    0:18:00 Billable   Review and analyze ACLU edits to complaint

12/8/2016 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: prepare complaint draft to send to Defendants

12/8/2016 Seth Packrone    0:24:00 Billable   TC with M. Smith re: next steps for complaint and substantive allegations in complaint

12/8/2016 Seth Packrone    0:18:00 Billable   Send response to ACLU's edits and update on next steps

12/8/2016 Seth Packrone    0:30:00 Billable   TC with R. Livengood re: ACLU's substantive edits to complaint

12/8/2016 Seth Packrone    0:06:00 Billable   Draft agenda for co-counsel call
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 12/8/2016 Seth Packrone     0:06:00 Billable   Update m. Smith re: new materials drafted and agenda for call

 12/9/2016 Mary-Lee Smith    1:06:00 Billable   Work session with ACLU re complaint, timelines and media

 12/9/2016 Michelle Caiola   0:06:00 Billable   confer with SP re timing of complaint filing

 12/9/2016 Seth Packrone     0:12:00 Billable   Update M. Smith re: plan for filing and suggestions for co-counsel's edits

 12/9/2016 Seth Packrone     0:12:00 Billable   Review and revise co-counsel's edits to complaint in preparation for co-counsel meeting

 12/9/2016 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: agenda items for today's call

 12/9/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: edits to complaint

 12/9/2016 Seth Packrone     0:06:00 Billable   Prepare for Monday's visits with clients

 12/9/2016 Seth Packrone     0:06:00 Billable   Review complaint and co-counsel's edits to complaint

 12/9/2016 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: edits to complaint
                                                TC with M. Smith, R. Livengood, and J. LoCicero re: plan for filing complaint, media, and legal
 12/9/2016 Seth Packrone     1:00:00 Billable   claims in complaint

 12/9/2016 Seth Packrone     0:06:00 Billable   Follow up with co-counsel re: call to go through complaint with edits

 12/9/2016 Seth Packrone     0:06:00 Billable   Check in with M. Smith re: next steps for case

12/11/2016 Mary-Lee Smith    0:48:00 Billable   Revise press release

12/11/2016 Seth Packrone     0:36:00 Billable   Revise press release and send to press team

12/12/2016 Mary-Lee Smith    0:24:00 Billable   Revise/finalize press release per S.Packrone and C.Conroy edits

12/12/2016 Seth Packrone     0:18:00 Billable   Review national disability consultant's comments on complaint
                                                Correspond with M. Smith re: national disability consultant's comments on complaint and plan
12/12/2016 Seth Packrone     0:12:00 Billable   for filing

12/12/2016 Seth Packrone     0:06:00 Billable   Follow up with DRA press team re: next draft of press release

12/12/2016 Seth Packrone     0:06:00 Billable   TC with co-counsel re: plan for filing

12/12/2016 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: national disability consultant's edits to complaint

12/12/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: edits to complaint and next steps

12/12/2016 Seth Packrone     0:06:00 Billable   Correspond with B. Silverman re: next steps for complaint

12/12/2016 Seth Packrone     1:36:00 Billable   Travel to and from DOC facilities for client visits (3.2 total - bill half)

12/12/2016 Seth Packrone     0:12:00 Billable   Prepare for interview with client re: remaining complaint edits

12/12/2016 Seth Packrone     0:12:00 Billable   Wait at DOC facility for visit with client re: confirm facts in complaint

12/12/2016 Seth Packrone     1:12:00 Billable   Visit with client at DOC facility re: confirm facts in complaint

12/12/2016 Seth Packrone     0:30:00 Billable   Wait at DOC facility for visit with client

12/12/2016 Seth Packrone     1:00:00 Billable   Meet with client re: going over complaint and plan for filing

12/12/2016 Seth Packrone     0:06:00 Billable   Correspond with C. Conroy re: second draft of press release for NJDOC filing

12/12/2016 Seth Packrone     0:30:00 Billable   Edit press release based on co-counsel's comments and edits

12/12/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: finalizing press release to send to co-counsel

12/13/2016 Mary-Lee Smith    0:18:00 Billable   Draft filing plan with schedule for team to review/comment

12/13/2016 Mary-Lee Smith    0:12:00 Billable   Teleconference with co-counsel re timing of filing

12/13/2016 Mary-Lee Smith    0:12:00 Billable   Email to team re proposed plan and timeline for completing complaint and filing

12/13/2016 Seth Packrone     0:06:00 Billable   Finalize press release to send to co-counsel

12/13/2016 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: press release for their edits

12/13/2016 Seth Packrone     0:12:00 Billable   TC with M. Smith re: timeline for filing complaint

12/13/2016 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: timeline for filing complaint
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12/14/2016 Mary-Lee Smith   0:18:00 Billable   Call/email exchange with S.Packrone re organization of complaint and co-counsel input

12/14/2016 Mary-Lee Smith   0:12:00 Billable   Call with co-counsel and team re edits to complaint

12/14/2016 Mary-Lee Smith   0:18:00 Billable   Call with co-counsel and DRA re edits to complaint and next steps

12/14/2016 Mary-Lee Smith   0:12:00 Billable   Call with co-counsel and team re call with Proskauer

12/14/2016 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: next steps in reviewing co-counsel's comments on complaint

12/14/2016 Seth Packrone    0:06:00 Billable   Correspond with B. Silverman re: discussing deadlines for filing

12/14/2016 Seth Packrone    0:06:00 Billable   Update M. Caiola re: plan for filing

12/14/2016 Seth Packrone    0:12:00 Billable   TC with B. Silverman re: Proskauer's comments on draft

12/14/2016 Seth Packrone    0:06:00 Billable   Review and analyze client grievance materials he requested from NJDOC

12/14/2016 Seth Packrone    0:12:00 Billable   TC with R. Livengood, J. LoCicero, and M. Smith re: mplementing edits

12/14/2016 Seth Packrone    0:12:00 Billable   TC with M. Smith re: process for implementing remaining edits and comments into complaint

12/14/2016 Seth Packrone    0:06:00 Billable   Review standards for meaningful and equal access under the ADA

12/14/2016 Seth Packrone    0:30:00 Billable   TC with co-counsel re: next steps for complaint draft

12/14/2016 Seth Packrone    0:18:00 Billable   TC with co-counsel re: next steps for complaint drafting

12/14/2016 Seth Packrone    0:06:00 Billable   Follow up TC with M. Smith re: editing complaint

12/14/2016 Seth Packrone    0:12:00 Billable   Send standing memo and client grievance materials to R. Livengood
                                               Work session w/ Seth Packrone assessing revisions/additions to complaint and making further
12/15/2016 Mary-Lee Smith   2:54:00 Billable   edits

12/15/2016 Mary-Lee Smith   0:12:00 Billable   Legal research re exhaustion
                                               Work session with S.Packrone to incorporate edits from national disability consultant and
12/15/2016 Mary-Lee Smith   1:42:00 Billable   discuss further follow up with co-counsel

12/15/2016 Mary-Lee Smith   0:36:00 Billable   Review revised complaint with all comments/redline for co-counsel; add to comment bubbles

12/15/2016 Seth Packrone    0:18:00 Billable   Update filing checklist based on call with co-counsel on 12.14

12/15/2016 Seth Packrone    0:12:00 Billable   Draft letter to client to update him on plan for filing

12/15/2016 Seth Packrone    0:12:00 Billable   Draft letter to client to update him on plan for filing

12/15/2016 Seth Packrone    0:12:00 Billable   Review notes from client visits and prep for complaint drafting session

12/15/2016 Seth Packrone    0:12:00 Billable   Review and edit NJCRA section of complaint

12/15/2016 Seth Packrone    0:12:00 Billable   Prepare documents for M. Smith's review and analysis

12/15/2016 Seth Packrone    0:12:00 Billable   Draft agenda for meeting with M. Smith and update her on status of various filing documents

12/15/2016 Seth Packrone    2:54:00 Billable   Work session with M. Smith re: review and incorporate co-counsel's edits to the complaint
                                               Work session with M. Smith re: review and incorporate national disability consultant's
12/15/2016 Seth Packrone    1:42:00 Billable   substantive edits and comments into complaint

12/15/2016 Seth Packrone    0:24:00 Billable   Edit complaint based on M. Smith's instructions

12/15/2016 Seth Packrone    0:06:00 Billable   Edit task list and send to co-counsel for work division for filing
                                               Insert national disability consultant's edits and comments into complaint based on M. Smith's
12/15/2016 Seth Packrone    0:54:00 Billable   instructions

12/15/2016 Seth Packrone    0:12:00 Billable   Review regulations for SEAs under IDEA

12/15/2016 Seth Packrone    0:12:00 Billable   Draft memo for co-counsel re: outstanding edits and next steps for complaint

12/15/2016 Seth Packrone    0:18:00 Billable   Review Section 504 regulations and case law

12/15/2016 Seth Packrone    0:12:00 Billable   Draft memo for M. Smith re: Section 504 regs on reasonable modifications

12/16/2016 Mary-Lee Smith   0:48:00 Billable   Legal research into equal access v. meaningful access

12/16/2016 Mary-Lee Smith   0:12:00 Billable   Review legal research from S.Packrone re SEA

12/16/2016 Seth Packrone    0:18:00 Billable   Review and edit substantive comments about remaining edits to send to co-counsel
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12/16/2016 Seth Packrone    0:36:00 Billable   Read and analyze regulations regarding SEA's monitoring duties under IDEA

12/16/2016 Seth Packrone    0:30:00 Billable   Draft memo regarding IDEA regulations about SEA's monitoring and enforcement duties

12/16/2016 Seth Packrone    0:06:00 Billable   Send memo on SEAs under IDEA to M. Smith with notes for next steps for complaint

12/16/2016 Seth Packrone    0:06:00 Billable   Send new complaint to co-counsel with update regarding our edits and comments

12/16/2016 Seth Packrone    0:12:00 Billable   Give directions to J. Mukherjee re: sending client letters and documents

12/16/2016 Seth Packrone    0:12:00 Billable   Finalize letters to clients and send to J. Mukherjee with notes for further proofreading

12/16/2016 Seth Packrone    0:06:00 Billable   TC with client's mother re: documents

12/16/2016 Seth Packrone    0:12:00 Billable   TC with R. Livengood re: IDEA regulations and role of SEA in NJ

12/16/2016 Seth Packrone    0:06:00 Billable   Update M Smith re: next steps for research on IDEA regulations

12/16/2016 Seth Packrone    0:12:00 Billable   TC with client's mother

12/16/2016 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: IDEA regs and editing complaint

12/17/2016 Seth Packrone    0:24:00 Billable   Draft short memo re: NJDOE's role as SEA for NJDOC

12/17/2016 Seth Packrone    0:06:00 Billable   Correspond with co-counsel re: changes to complaint based on NJDOE's role as SEA

12/19/2016 Mary-Lee Smith   0:24:00 Billable   Call with national disability consultant and co-counsel re advice for terminology in brief

12/19/2016 Mary-Lee Smith   0:48:00 Billable   Call with co-counsel re revisions and questions to the brief
                                               Work on NJDOC complaint: review co-counsel edits and accept/comment as needed; rework
12/19/2016 Mary-Lee Smith   3:24:00 Billable   ADA sections per conversation with national disability consultant.

12/20/2016 Mary-Lee Smith   0:18:00 Billable   Call with co-counsel to finalize last question/issues before sending to Proskauer

  1/3/2017 Mary-Lee Smith   0:06:00 Billable   Email to S.Packrone re status of review of press release and set up meeting

  1/3/2017 Mary-Lee Smith   0:48:00 Billable   Check in with S.Packrone re Complaint, co-counsel edits/strategy and press release/strategy

  1/3/2017 Mary-Lee Smith   0:36:00 Billable   Review/revise press release w/ co-counsel edits

  1/3/2017 Mary-Lee Smith   0:48:00 Billable   Review/revise motion to proceed using fictious names
                                               Receive and review co-counsel edits to complaint; email to S.Packrone and email to team re
  1/3/2017 Mary-Lee Smith   1:00:00 Billable   same

  1/3/2017 Seth Packrone    0:12:00 Billable   Correspond with litigation team re: next steps for complaint and press release

  1/3/2017 Seth Packrone    0:12:00 Billable   Review new NJDOE allegations in complaint

  1/3/2017 Seth Packrone    0:12:00 Billable   Review new draft of complaint after edits from national disability consultant

  1/3/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: update on NJDOC matter and next steps for filing

  1/3/2017 Seth Packrone    0:06:00 Billable   Prepare for update call with M. Smith re: next steps for NJDOC filing

  1/3/2017 Seth Packrone    0:42:00 Billable   TC with M. Smith re: next steps in editing process for NJDOC complaint

  1/3/2017 Seth Packrone    0:06:00 Billable   Update task list for filing based on next steps

  1/3/2017 Seth Packrone    0:12:00 Billable   Send update to co-counsel for next steps for NJDOC filing

  1/3/2017 Seth Packrone    0:12:00 Billable   Update media team regarding media strategy for filing
                                               Correspond with J. LoCicero re: organizational plaintiff's membership and next co-counsel
  1/3/2017 Seth Packrone    0:06:00 Billable   meeting

  1/3/2017 Seth Packrone    0:24:00 Billable   Edit pp. 1-10 of 12.30 draft of complaint

  1/3/2017 Seth Packrone    0:30:00 Billable   Review and edit first draft of brief to proceed under pseudonym

  1/3/2017 Seth Packrone    0:12:00 Billable   Read and analyze M. Smith's edits and comments to brief to proceed under pseudonym
                                               Work session with S.Packrone re next steps for finalizing complaint and motion to proceed
  1/4/2017 Mary-Lee Smith   0:18:00 Billable   under psuedonoym
                                               Call with co-counsel and S.Packrone re next steps for finalizing the complaint and mot to
  1/4/2017 Mary-Lee Smith   0:18:00 Billable   proceed under psuedonym.

  1/4/2017 Mary-Lee Smith   0:12:00 Billable   Call w/ S.Packrone re co-counsel's edits to complaint

  1/4/2017 Mary-Lee Smith   0:42:00 Billable   Work session with S.Packrone re final edits to complaint
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1/4/2017 Mary-Lee Smith    0:24:00 Billable   Revise/revise motion to proceed under pseudonym; send to ACLU

1/4/2017 Mary-Lee Smith    0:36:00 Billable   Receive S.Packrone edits pages 1-30 of complaint; review and further revise as needed

1/4/2017 Mary-Lee Smith    2:06:00 Billable   Review co-counsel comments on complaint; respond to each by revision and/or further research

1/4/2017 Mary-Lee Smith    0:06:00 Billable   Draft email to S.Packrone outlining next steps in complaint revisions

1/4/2017 Mary-Lee Smith    0:18:00 Billable   Draft talking points for call with co-counsel re complaint

1/4/2017 Michelle Caiola   0:30:00 Billable   update/consult with SP re filing plans
                                              Correspond with litigation team re: plan for incorporating co-counsel's comments/edits to
1/4/2017 Seth Packrone     0:12:00 Billable   complaint

1/4/2017 Seth Packrone     0:18:00 Billable   Review and analyze co-counsel's edits/comments to complaint

1/4/2017 Seth Packrone     0:06:00 Billable   Review and analyze case law on retaliation for proceeding under pseudonym
                                              Read and analyze Provident Life and other case law regarding proceeding under pseudonym and
1/4/2017 Seth Packrone     0:36:00 Billable   editing pseudonym draft
                                              Read and analyze Provident Life to incorporate more analysis under third factor for proceeding
1/4/2017 Seth Packrone     0:12:00 Billable   under pseudonym
                                              TC with M. Smith re: plan for incorporating edits/comments from co-counsel draft into
1/4/2017 Seth Packrone     0:30:00 Billable   complaint
                                              TC with litigation team (M. Smith, J. LoCicero, and R. Livengood) re: next steps for NJDOC
1/4/2017 Seth Packrone     0:24:00 Billable   complaint

1/4/2017 Seth Packrone     0:06:00 Billable   Follow up TC with M. Smith re: reviewing edits to complaint

1/4/2017 Seth Packrone     0:06:00 Billable   Update M. Caiola on plans for filing the NJDOC complaint

1/4/2017 Seth Packrone     0:30:00 Billable   Redraft portions of motion to proceed under pseudonym based on case law research

1/4/2017 Seth Packrone     0:06:00 Billable   Send new draft of pseudonym brief to M. Smith with notes and comments for further editing

1/4/2017 Seth Packrone     0:24:00 Billable   Review and edit pp. 11-20 of NJDOC complaint

1/4/2017 Seth Packrone     0:12:00 Billable   Review and edit pp. 20-29 of NJDOC complaint
                                              TC with M. Smith to go through edits and comments to NJDOC complaint and prepare for final
1/4/2017 Seth Packrone     0:42:00 Billable   revisions

1/4/2017 Seth Packrone     0:54:00 Billable   Input edits and comments into version of complaint with co-counsel's comments/edits

1/4/2017 Seth Packrone     0:06:00 Billable   Send complaint to M. Smith with edits and comments and notes for next steps

1/5/2017 Mary-Lee Smith    0:12:00 Billable   Dicuss complaint global changes with S.Packrone

1/5/2017 Mary-Lee Smith    0:06:00 Billable   Email exchange with S.Packrone re further global changes to complaint

1/5/2017 Mary-Lee Smith    2:42:00 Billable   Revise DOC complaint per S.Packrone comments/questions; finalize to send to ACLU

1/5/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: remaining edits to complaint

1/5/2017 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: agenda for co-counsel call

1/5/2017 Seth Packrone     0:54:00 Billable   Close review and edits to pp. 30-44 of complaint

1/5/2017 Seth Packrone     0:48:00 Billable   Close review and edits to pp. 44-57 of NJDOC complaint
                                              TC with J. LoCicero, R. Livengood, and M. Smith re: next steps for incorporating co-counsel's
1/5/2017 Seth Packrone     0:30:00 Billable   edits and comments into complaint
                                              Follow up TC with M. Smith re: timeline for final edits to complaint, update on TC with client,
                                              and national disability consultant's research on the impact of solitary confinements on youths
1/5/2017 Seth Packrone     0:18:00 Billable   with disabilities

1/5/2017 Seth Packrone     0:06:00 Billable   TC with client re: update about his status at DOC facility

1/5/2017 Seth Packrone     0:06:00 Billable   Get update from M. Smith re: next steps for coordinating with co-counsel

1/5/2017 Seth Packrone     0:24:00 Billable   Continue to edit and address global changes to complaint

1/5/2017 Seth Packrone     1:24:00 Billable   Edit and review complete draft of complaint based on M. Smith and co-counsel's comments

1/5/2017 Seth Packrone     0:06:00 Billable   Send new draft of complaint to M. Smith with notes and comments for further review

1/5/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: updates on global changes to complaint

1/6/2017 Mary-Lee Smith    1:00:00 Billable   Final review of complaint before sending to co-counsel for edits

1/6/2017 Seth Packrone     0:12:00 Billable   Review M. Smith comments and edits to draft of complaint
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1/6/2017 Seth Packrone     0:18:00 Billable   Review co-counsel's edits to complaint re: organizational standing, among other issues

1/6/2017 Seth Packrone     0:18:00 Billable   Review and take notes on client's medical records

1/6/2017 Seth Packrone     0:06:00 Billable   Summarize notes from client's medical records

1/6/2017 Seth Packrone     0:06:00 Billable   Send comments and recommedations for remaining edits to complaint to M. Smith

1/6/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: plan for remaining edits to complaint

1/6/2017 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: remaining edits to complaint

1/6/2017 Seth Packrone     0:12:00 Billable   Edit and revise complaint pp. 6-10 based on R. Livengood's edits

1/6/2017 Seth Packrone     0:12:00 Billable   Edit and revise complaint pp. 1-6 based on R. Livengood's edits

1/6/2017 Seth Packrone     0:30:00 Billable   Edit and revise complaint pp. 11-26 based on R. Livengood's edits

1/6/2017 Seth Packrone     0:12:00 Billable   Edit and revise Brian Y. section of complaint based on R. Livengood's edits

1/6/2017 Seth Packrone     0:24:00 Billable   Edit and revise complaint pp. 27-47 based on R. Livengood's edits

1/6/2017 Seth Packrone     0:12:00 Billable   Edit and revise complaint pp. 48-56 based on R. Livengood's edits

1/6/2017 Seth Packrone     0:06:00 Billable   Review comments from M. Smith re: complaint

1/6/2017 Seth Packrone     0:06:00 Billable   Check in with R. Livengood re: oustanding issues in complaint

1/6/2017 Seth Packrone     0:12:00 Billable   Review and analyze notes from meetings with client

1/6/2017 Seth Packrone     0:06:00 Billable   Review notes from client meetings

1/6/2017 Seth Packrone     0:06:00 Billable   Finish editing draft of complaint to send to M. Smith

1/6/2017 Seth Packrone     0:06:00 Billable   Edit letters to commissioners to attach to complaint

1/6/2017 Seth Packrone     0:12:00 Billable   Edit second draft of motion to proceed under pseudonym

1/6/2017 Seth Packrone     0:12:00 Billable   Send updated filing documents to M. Smith

1/7/2017 Seth Packrone     0:12:00 Billable   Correspond with litigation team re: next steps in editing complaint and letters to commissioners

1/7/2017 Seth Packrone     0:06:00 Billable   Edit letters to commissioners based on M. Smith's comments

1/7/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: final language for press release

1/8/2017 Michelle Caiola   0:06:00 Billable   Update from SP post prison visits

1/9/2017 Mary-Lee Smith    0:12:00 Billable   Email exchange w/ S.Packrone re PHV papers and revisions re same

1/9/2017 Mary-Lee Smith    0:30:00 Billable   Call with co-counsel and S.Packrone re final substantive revisions to the complaint

1/9/2017 Mary-Lee Smith    0:18:00 Billable   Call with S.Packrone re co-counsel edits

1/9/2017 Michelle Caiola   0:06:00 Billable   status update from SP re next steps for filing

1/9/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: incorporating co-counsel's next round of comments

1/9/2017 Seth Packrone     0:06:00 Billable   Update M. Caiola re: plan for filing complaint

1/9/2017 Seth Packrone     0:06:00 Billable   Give C. Molholm directions re: checking legal citations in complaint
                                              Correspond with M. Smith re: plan for legal checks and remaining documents to complete to file
1/9/2017 Seth Packrone     0:06:00 Billable   complaint

1/9/2017 Seth Packrone     0:06:00 Billable   TC with C. Conroy re: press list for upcoming filing

1/9/2017 Seth Packrone     0:18:00 Billable   Correspond with media team re: plan for filing and media strategy

1/9/2017 Seth Packrone     0:06:00 Billable   Research press contacts for press list

1/9/2017 Seth Packrone     0:12:00 Billable   Review PHV documents from co-counsel to edit for DRA attorneys

1/9/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: timing for filing PHV motions

1/9/2017 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: PHV applications and further edits

1/9/2017 Seth Packrone     0:12:00 Billable   Give J. Mukherjee instructions re: next steps for PHV application and certs of good standing
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 1/9/2017 Seth Packrone    0:12:00 Billable   Get explanation of citation edits from C. Molholm

 1/9/2017 Seth Packrone    0:12:00 Billable   Correspond with DRA press team re: media contacting clients

 1/9/2017 Seth Packrone    0:06:00 Billable   Follow up with whole litigation team re: press/media strategy

 1/9/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: timing of PHV applications

 1/9/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for co-counsel weekly meetings
                                              TC with B. Friedman, J. LoCicero, R. Livengood, and M. Smith re: co-counsel's further edits to
 1/9/2017 Seth Packrone    0:30:00 Billable   complaint and clarification of legal theory

 1/9/2017 Seth Packrone    0:12:00 Billable   TC with M. Smith re: get instructions for next steps for filing complaint and other tasks

 1/9/2017 Seth Packrone    0:12:00 Billable   Send co-counsel update on outstanding tasks for filing
                                              Draft and insert cage/worksheet language into new version of complaint based on call with co-
 1/9/2017 Seth Packrone    0:12:00 Billable   counsel

1/10/2017 Mary-Lee Smith   0:12:00 Billable   Review revised language for complaint re two of co-counsel's edits from S.Packrone

1/10/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ S.Packrone re client's mother as a ALCU member

1/10/2017 Mary-Lee Smith   0:06:00 Billable   Email to team re media with co-counsel

1/10/2017 Mary-Lee Smith   1:30:00 Billable   Draft talking points for media
                                              Review/revise complaint with co-counsel's edits; email questions re two comments to co-
1/10/2017 Mary-Lee Smith   0:48:00 Billable   counsel

1/10/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange re final revisions to the complaint w/ S.Packrone

1/10/2017 Mary-Lee Smith   1:48:00 Billable   Make final revisions/proofread complaint to prepare for filing tomorrow

1/10/2017 Mary-Lee Smith   0:12:00 Billable   Send talking points for media to S.Packrone and media team

1/10/2017 Seth Packrone    0:24:00 Billable   Edit complaint based on co-counsel's final edits

1/10/2017 Seth Packrone    0:18:00 Billable   Insert C. Molholm's legal citation edits

1/10/2017 Seth Packrone    0:18:00 Billable   Research several IDEA provisions/regulations to confirm accuracy of citations

1/10/2017 Seth Packrone    0:12:00 Billable   Get update and explanation from C. Molholm re: legal citation and proofreading edits

1/10/2017 Seth Packrone    0:18:00 Billable   Send co-counsel updated complaint and final breakdown of final edits for filing

1/10/2017 Seth Packrone    0:06:00 Billable   Update M. Smith on outstanding edits to complaint and next tasks to prepare for filing

1/10/2017 Seth Packrone    0:06:00 Billable   Follow up with C. Conroy re: team press call with co-counsel

1/10/2017 Seth Packrone    0:06:00 Billable   Update press team on remaining tasks for tomorrow's filing

1/10/2017 Seth Packrone    0:06:00 Billable   Strategy session with C. Molholm re: plan for press outreach after filing complaint

1/10/2017 Seth Packrone    0:12:00 Billable   TC with client's parent re: update on case

1/10/2017 Seth Packrone    0:12:00 Billable   Update litigation team re: call with client's mom and status of her membership

1/10/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: plan for press after filing

1/10/2017 Seth Packrone    0:06:00 Billable   Get explanation of edits from C. Molholm re: edits to complaint

1/10/2017 Seth Packrone    0:18:00 Billable   Edit organizational plaintiff's retainer for DRA

1/10/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith re: status of client's mom's membership

1/10/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: contacting client's mom

1/10/2017 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: update on organizational plaintiff's membership

1/10/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: remaining tasks before filing complaint

1/10/2017 Seth Packrone    0:36:00 Billable   Draft and prepare first draft of case page for DRA's website related to filing

1/10/2017 Seth Packrone    0:06:00 Billable   TC with M. Smith re: final editing schedule and prep for filing complaint

1/10/2017 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: language in ADA section of complaint

1/10/2017 Seth Packrone    0:12:00 Billable   Follow up TC with client's parent re: update on lawsuit
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1/10/2017 Seth Packrone     0:06:00 Billable   Correspond with co-counsel press teams re: plan for press after filing

1/10/2017 Seth Packrone     0:06:00 Billable   TC with C. Conroy re: prep for press call with co-counsel

1/10/2017 Seth Packrone     0:12:00 Billable   Press call with co-counsel press teams and C. Conroy

1/10/2017 Seth Packrone     0:06:00 Billable   Follow up TC with C. Conroy re: next steps for press

1/10/2017 Seth Packrone     0:06:00 Billable   Update M. Smith on press call and next steps

1/10/2017 Seth Packrone     0:12:00 Billable   Give J. Mukherjee instructions re: making complaint accessible for filing

1/10/2017 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: remaining tasks for filing complaint

1/10/2017 Seth Packrone     0:06:00 Billable   Correspond with C. Conroy re: remaining press tasks for filing

1/10/2017 Seth Packrone     0:30:00 Billable   Fact check named plaintiff section of complaint

1/10/2017 Seth Packrone     0:30:00 Billable   Fact check named plaintiff section of complaint

1/10/2017 Seth Packrone     0:06:00 Billable   TC with R. Livengood re: follow up on some oustanding edits to complaint

1/10/2017 Seth Packrone     0:06:00 Billable   Give J. Mukherjee re: making press release accessible

1/10/2017 Seth Packrone     0:06:00 Billable   Finalize press release for public distribution

1/10/2017 Seth Packrone     0:12:00 Billable   Draft email to co-counsel re: handling press contacts and making documents accessible

1/10/2017 Seth Packrone     0:24:00 Billable   Input C. Molholm's edits and edits from fact check into complaint
                                               Correspsond with R. Livengood and M. Smith re: phrasing of effective opportunity guarantee
1/10/2017 Seth Packrone     0:12:00 Billable   under the ADA

1/10/2017 Seth Packrone     0:18:00 Billable   Review and approve final co-counsel edits to complaint

1/10/2017 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: plan for inputting further edits into complaint

1/10/2017 Seth Packrone     1:36:00 Billable   Final proofread and edits to a 58 page version of complaint

1/10/2017 Seth Packrone     0:12:00 Billable   Draft emails to CBS for press contacts after filing

1/10/2017 Seth Packrone     0:06:00 Billable   Review and approve co-counsel's final edits to motion to proceed under pseudonyms

1/10/2017 Seth Packrone     0:06:00 Billable   Edit social media post for press after complaint is filed
                                               Email exchanges with S.Packrone and media team re media including email blast, webpage, and
1/11/2017 Mary-Lee Smith    0:24:00 Billable   social media; follow up call with same re same

1/11/2017 Mary-Lee Smith    0:06:00 Billable   Email instuctions to team re press calls and process for handling

1/11/2017 Mary-Lee Smith    0:42:00 Billable   Call with Mother Jones re NJDOC

1/11/2017 Michelle Caiola   0:12:00 Billable   check in's with SP re filing status, press updates

1/11/2017 Michelle Caiola   0:12:00 Billable   confer with potential expert

1/11/2017 Michelle Caiola   0:06:00 Billable   strategy with SP re potential expert

1/11/2017 Seth Packrone     0:18:00 Billable   Correspond with DRA's press team re: final press preparations for filing

1/11/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: final version of the complaint for filing

1/11/2017 Seth Packrone     0:06:00 Billable   Update M. Caiola on plan for filing and press today

1/11/2017 Seth Packrone     0:12:00 Billable   Draft and prepare email to send to DRBA announcing complaint

1/11/2017 Seth Packrone     0:18:00 Billable   Final pre-filing preparation, mostly related to media/press

1/11/2017 Seth Packrone     0:12:00 Billable   Review and read through emails from litigation team about final preparation for filing

1/11/2017 Seth Packrone     0:06:00 Billable   Review press list and offer suggestions to C. Conroy

1/11/2017 Seth Packrone     0:06:00 Billable   Edit and finalize accessible version of press release

1/11/2017 Seth Packrone     0:06:00 Billable   TC with M. Smith re: update on filing and related items

1/11/2017 Seth Packrone     0:06:00 Billable   Review and edit talkings points for post-filing

1/11/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: update on filing of complaint
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1/11/2017 Seth Packrone    0:06:00 Billable   Discuss plan for making complaint accessible with M. Smith

1/11/2017 Seth Packrone    0:06:00 Billable   Correspond with C. Conroy re: final press and media preparation

1/11/2017 Seth Packrone    0:06:00 Billable   Review talking points for potential press and media

1/11/2017 Seth Packrone    0:06:00 Billable   Research for press and media list for filing

1/11/2017 Seth Packrone    0:24:00 Billable   Correspond with press following filing of complaint
                                              Correspond with litigation team re: follow up calls to press and media members (WNYC and
1/11/2017 Seth Packrone    0:12:00 Billable   Politico NJ)

1/11/2017 Seth Packrone    0:12:00 Billable   TC with WNYC reporter

1/11/2017 Seth Packrone    0:12:00 Billable   TC and follow up with CBS Local reporter re: filing of complaint

1/11/2017 Seth Packrone    0:36:00 Billable   Draft attorney certs and review other documents for PHV motions

1/11/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: next steps for meeting with client's mom

1/11/2017 Seth Packrone    0:12:00 Billable   Draft letter to client to update them on filing

1/11/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: PHV motion and letters to client

1/11/2017 Seth Packrone    0:06:00 Billable   Correspond with co-counsel re: next steps for PHVs

1/11/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: additional local NJ press coverage

1/12/2017 Mary-Lee Smith   0:06:00 Billable   Email exchange w/ team re settlement with NJDOC

1/12/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re experts for case

1/12/2017 Seth Packrone    0:12:00 Billable   Review emails from co-counsel post filing to Defendants

1/12/2017 Seth Packrone    0:12:00 Billable   Follow up with litigation team re: NJDOC's offer to listen to settlement terms

1/12/2017 Seth Packrone    0:12:00 Billable   Follow up and finalize retainer

1/12/2017 Seth Packrone    0:06:00 Billable   TC with M. Smith re: instructions for settlement demand and letters to clients

1/12/2017 Seth Packrone    0:06:00 Billable   Correspond with J. LoCicero re: settlement demand to send to Defendnats

1/12/2017 Seth Packrone    0:06:00 Billable   Edit clients letters to update them on complaint filing

1/12/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: agenda for next call and letters to clients

1/12/2017 Seth Packrone    0:12:00 Billable   Edit co-counsel's press release

1/12/2017 Seth Packrone    0:06:00 Billable   Correspond with co-counsel re: press release
                                              Call w/ potential expert consultant re next steps in NJDOC re getting an expert and tasks to
1/13/2017 Mary-Lee Smith   0:42:00 Billable   undertake

1/13/2017 Seth Packrone    0:06:00 Billable   Research media/press articles for case filing

1/13/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: plan for next co-counsel meeting

1/13/2017 Seth Packrone    0:06:00 Billable   TC with client re: potential retaliation from NJDOC staff

1/13/2017 Seth Packrone    0:06:00 Billable   Short memo to litigation team re: updating them on tc with client and contacting clients

1/13/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: potential amicus from impacted organization

1/13/2017 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: update on correspondence with clients and potential retaliation

1/13/2017 Seth Packrone    0:18:00 Billable   Finalize letters for clients

1/13/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: what to send clients

1/13/2017 Seth Packrone    0:06:00 Billable   TC with client re: update on litigation

1/13/2017 Seth Packrone    0:06:00 Billable   Update to litigation team re: client's education

1/17/2017 Mary-Lee Smith   0:06:00 Billable   Email S.Packrone re agenda ideas for call with co-counsel

1/17/2017 Mary-Lee Smith   0:30:00 Billable   Call with co-counsel and S.Packrone re settlement, MTD, PHV and assignments to co-counsel

1/17/2017 Seth Packrone    0:12:00 Billable   Draft agenda for co-counsel meeting and send to co-counsel
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                                              TC with litigation team (M. Smith, J. LoCicero, and R. Livengood) re: next steps in preparing for
1/17/2017 Seth Packrone    0:30:00 Billable   MTD and a settlement demand
                                              Follow up tc with M. Smith re: next assignments and getting paralegal to research experts to use
1/17/2017 Seth Packrone    0:06:00 Billable   in case

1/19/2017 Mary-Lee Smith   0:18:00 Billable   Review/revise settlement letter to Ds

1/19/2017 Seth Packrone    0:18:00 Billable   Review and edit settlement demand

1/19/2017 Seth Packrone    0:06:00 Billable   Send settlement demand to M. Smith with comments for further edits

1/19/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: expert research

1/19/2017 Seth Packrone    0:06:00 Billable   Research judge assignment for case

1/19/2017 Seth Packrone    0:06:00 Billable   Send settlement demand letter to litigation team with M. Smith comments

1/19/2017 Seth Packrone    0:12:00 Billable   Review and edit PHV motions and send them to litigation team with edits

1/19/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: tomorrow's meeting with co-counsel and agenda

1/20/2017 Mary-Lee Smith   0:30:00 Billable   Call with co-counsel and S.Packrone re settlement letter and prep for MTD
                                              Email exchange w/ S.Packrone re extension for time to respond to complaint; calculate relevant
1/20/2017 Mary-Lee Smith   0:12:00 Billable   dates

1/20/2017 Seth Packrone    0:12:00 Billable   Correspond with co-counsel re: agenda for co-counsel call and next steps
                                              TC with litigation team (R. Livengood, J. LoCicero, M. Smith, and B. Friedman) re: Defendants'
1/20/2017 Seth Packrone    0:18:00 Billable   request for extension and planning for motion to dismiss

1/20/2017 Seth Packrone    0:06:00 Billable   Follow up TC with M. Smith re: next steps and exhaustion research

1/20/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: briefing schedule for motion to dismiss

1/20/2017 Seth Packrone    0:12:00 Billable   Correspond with litigation team re: Defendants' request for extension

1/21/2017 Seth Packrone    0:06:00 Billable   TC with client's mom re: meeting for update on case

1/23/2017 Mary-Lee Smith   0:12:00 Billable   Figure out timing for extension to answer and then MTD briefing

1/23/2017 Seth Packrone    0:06:00 Billable   Correspond with co-counsel re: filing PHVs

1/23/2017 Seth Packrone    0:06:00 Billable   Revise and send final PHV motions to co-counsel
                                              Correspond with M. Smith re: briefing schedule for MTD and responding to Defendants' request
1/23/2017 Seth Packrone    0:06:00 Billable   for extension

1/24/2017 Seth Packrone    0:12:00 Billable   TC with K. Wright re: update on intakes

1/24/2017 Seth Packrone    0:06:00 Billable   Review and analyze Defendants' letter re: position on pseudonym motion

1/24/2017 Seth Packrone    0:12:00 Billable   Review DNJ model confidentiality agreement
                                              Correspond with M. Smith re: next steps in case including briefing schedule and pseudonym
1/24/2017 Seth Packrone    0:18:00 Billable   motion

1/25/2017 Mary-Lee Smith   0:18:00 Billable   Call with Judge Wolfson re confidentiality and scheduling settlement conference

1/25/2017 Mary-Lee Smith   0:12:00 Billable   Call with J.LeCircero and R.Livengood re call with judge and settlement proposal to Ds

1/25/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re call with Judge Wolfson and call with co-counsel and settlement proposal

1/25/2017 Mary-Lee Smith   0:12:00 Billable   Review settlement proposal letter and make addition and comment

1/25/2017 Seth Packrone    0:12:00 Billable   Give directions to J. Mukherjee re: setting up contacts with clients

1/25/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: call with Court

1/25/2017 Seth Packrone    0:18:00 Billable   TC with Judge Wolfson and litigation team re: settlement conference in February

1/25/2017 Seth Packrone    0:06:00 Billable   Follow up strategy session with M. Smith re: plan for settlement conference

1/25/2017 Seth Packrone    0:06:00 Billable   Revise settlement demand to send to Defendants and send to M. Smith for further edits

1/26/2017 Seth Packrone    0:06:00 Billable   Follow up on settlement demand letter and send to Defendants

1/26/2017 Seth Packrone    0:06:00 Billable   TC with client re: update on litigation

1/26/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: call with client

1/26/2017 Seth Packrone    0:06:00 Billable   TC with M. Smith re: strategy for settlement conference on Feb. 27
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1/26/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: checking in about next steps

1/26/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: WNYC story inquiry

1/26/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: position on WNYC story

1/26/2017 Seth Packrone    0:06:00 Billable   TC with client's father re: update on medical records

1/26/2017 Seth Packrone    0:06:00 Billable   TC with client's mother re: update

1/26/2017 Seth Packrone    0:06:00 Billable   Edit letter to DOC facility re: reason for phone call

1/27/2017 Mary-Lee Smith   0:06:00 Billable   Email exchange w/ R.Livengood re response to D counsel and standing order re calls

1/27/2017 Mary-Lee Smith   0:06:00 Billable   Review stip re extending deadlines and email to team re same

1/27/2017 Seth Packrone    0:06:00 Billable   Check in with litigation team re: DOC facility's policy on phone calls with clients

1/27/2017 Seth Packrone    0:06:00 Billable   Edit proposed scheduling order based on call with Judge Wolfson

1/27/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: response to NJDOC's counsel about identifies of plaintiffs

1/30/2017 Seth Packrone    0:06:00 Billable   Review and analyze J. Mukherjee's memo draft on potential experts

1/30/2017 Seth Packrone    0:06:00 Billable   Give instructions to J. Mukherjee re: next steps in research on experts for case

1/30/2017 Seth Packrone    0:06:00 Billable   Give directions to C. Molholm re: upcoming events in case and court documents

1/30/2017 Seth Packrone    0:06:00 Billable   Follow up on correspondence with co-counsel re: recent court filings

1/31/2017 Seth Packrone    0:24:00 Billable   Draft short memo for M. Smith re: outstanding issues in case

 2/1/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ S.Packrone re agenda for team meeting; review/approve agenda

 2/1/2017 Mary-Lee Smith   0:06:00 Billable   Email exchange w/ S.Packrone re potential media and interview of clients

 2/1/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: R. Livengood's WNYC proposal for story

 2/1/2017 Seth Packrone    0:06:00 Billable   Review correspondence with co-counsel for next steps and task list

 2/1/2017 Seth Packrone    0:06:00 Billable   Review meeting notes with co-counsel to review next steps in case
                                              Review exhaustion and organizational standing research to assess what further research is
 2/1/2017 Seth Packrone    0:06:00 Billable   needed

 2/1/2017 Seth Packrone    0:12:00 Billable   Draft agenda for co-counsel call on Friday

 2/1/2017 Seth Packrone    0:06:00 Billable   Update attorney meeting on status of case and settlement conference to get feedback

 2/1/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: next steps in case and strategy for contacting plaintiffs

 2/2/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: agenda for Friday's meeting

 2/2/2017 Seth Packrone    0:12:00 Billable   Follow up with B. Friedman re: next week's client visits

 2/2/2017 Seth Packrone    0:06:00 Billable   Plan details for client visits next week

 2/2/2017 Seth Packrone    0:06:00 Billable   Draft follow up with client

 2/2/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: visiting client's mom

 2/3/2017 Mary-Lee Smith   0:36:00 Billable   Call with co-counsel to discuss client status, settlement and possible media

 2/3/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re co-counsel call and to-do items

 2/3/2017 Seth Packrone    0:06:00 Billable   Give j. Mukherjee instructions re: requesting visits with clients

 2/3/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: co-counsel call

 2/3/2017 Seth Packrone    0:06:00 Billable   Prepare for conference call with co-counsel

 2/3/2017 Seth Packrone    0:06:00 Billable   Review notes on WNYC story re: next steps
                                              TC with R. Livengood, M. Smith, and B. Friedman re: strategy for settlement conference, next
 2/3/2017 Seth Packrone    0:42:00 Billable   steps for confidentiality agreement

 2/3/2017 Seth Packrone    0:12:00 Billable   Follow up TC with M. Smith re: strategy for client visits on Tuesday

 2/6/2017 Seth Packrone    0:06:00 Billable   Follow up about voicemail from DOC facility re: visit request for client
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 2/6/2017 Seth Packrone    0:12:00 Billable   Give J. Mukherjee directions re: follow up with DOC facilities to set up client visits

 2/6/2017 Seth Packrone    0:06:00 Billable   Get update from J. Mukherjee re: call with administrator at DOC facility

 2/6/2017 Seth Packrone    0:18:00 Billable   Update B. Friedman re: details of client visits

 2/6/2017 Seth Packrone    0:12:00 Billable   Prep for client visits

 2/6/2017 Seth Packrone    0:06:00 Billable   Check in with R. Livengood re: agenda for client meetings with clients

 2/6/2017 Seth Packrone    0:12:00 Billable   Correspond with B. Friedman re: details for client visits and prison procedures

 2/6/2017 Seth Packrone    0:12:00 Billable   Prepare documents to update clients on status of case

 2/6/2017 Seth Packrone    0:12:00 Billable   Draft agenda for meeting with clients
                                              Correspond with J. Mukherjee and speak with her re: her call with staff to schedule intake from
 2/7/2017 Seth Packrone    0:12:00 Billable   DOC facility

 2/7/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Friedman re: plan for client visit and update from DOC facility

 2/7/2017 Seth Packrone    1:30:00 Billable   Travel to and from client visits (total was 3.1, bill half)
                                              Wait at DOC facility and client meeting with Brian Y. with B. Friedman re: update him on status
 2/7/2017 Seth Packrone    0:42:00 Billable   of case and strategy for settlement conference
                                              Wait and client meeting with Casey Z. at DOC facility re: update on case and stratgy for
 2/7/2017 Seth Packrone    1:12:00 Billable   settlement conference

 2/7/2017 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: organization membership status

 2/7/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: update on client visits

 2/7/2017 Seth Packrone    0:12:00 Billable   Correspond with J. Mukherjee and speak with her re: her call with DOC facility administrator

 2/7/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Friedman re: plan for client visit and update from DOC facility

 2/7/2017 Seth Packrone    1:30:00 Billable   Travel to and from client visits (total was 3.1, bill half)
                                              Wait at DOC facility and client meeting with B. Friedman re: update him on status of case and
 2/7/2017 Seth Packrone    0:42:00 Billable   strategy for settlement conference
                                              Wait and client meeting with Casey Z. at DOC facility re: update on case and stratgy for
 2/7/2017 Seth Packrone    1:12:00 Billable   settlement conference

 2/7/2017 Seth Packrone    0:06:00 Billable   TC with R. Livengood re: ACLU membership

 2/7/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: update on client visits

 2/8/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: update on client visits and client's educational situation

 2/8/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee instructions re: following up and sending documents to client

 2/8/2017 Seth Packrone    0:06:00 Billable   Edit letter to client to follow up on medical and education documents

 2/8/2017 Seth Packrone    0:06:00 Billable   Follow up with J. LoCicero re: PHV motion granted and next steps and send to C. Molholm

 2/8/2017 Seth Packrone    0:24:00 Billable   TC with Pam Tighe from CBS Local re: potential story on Adam X. case

 2/8/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: potential CBS Local story

 2/8/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith and K. Hamilton re: potential CBS Local story

 2/9/2017 Mary-Lee Smith   0:18:00 Billable   Call with S.Packrone re protective order, meet and confer and co-counsel meetings

 2/9/2017 Mary-Lee Smith   0:06:00 Billable   Review draft email to team from S.Packrone; revise and send to team

 2/9/2017 Seth Packrone    0:12:00 Billable   TC with M. Smith re: next steps for case and update on client visits

 2/9/2017 Seth Packrone    0:24:00 Billable   Update K. Hamilton and M. Smith re: call with Pam Tighe from CBS Local

 2/9/2017 Seth Packrone    0:12:00 Billable   Draft update for litigation team re: agenda for team call

 2/9/2017 Seth Packrone    0:06:00 Billable   Work on talking points for CBS Local

2/10/2017 Mary-Lee Smith   0:30:00 Billable   Call with co-counsel re protective order and settlement letter to the Court

2/10/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re letter to the court and what to include

2/10/2017 Seth Packrone    0:06:00 Billable   Follow up with impacted organization re: potential amicus support in Adam X.

2/10/2017 Seth Packrone    0:42:00 Billable   Draft talking points for CBS Local story
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2/10/2017 Seth Packrone    0:12:00 Billable   Review and revise talking points for CBS Local

2/10/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: today's co-counsel call
                                              TC with M. Smith, B. Friedman, and J. LoCicero re: prep for 2/27 settlement conference and next
2/10/2017 Seth Packrone    0:24:00 Billable   steps in case

2/10/2017 Seth Packrone    0:12:00 Billable   Follow up tc with M. Smith re: drafting settlement letter to Judge Wolfson

2/10/2017 Seth Packrone    0:06:00 Billable   Correspond with impacted organization re: potential involvement in litigation against NJDOC
                                              Read and analyze impacted organization's informational materials to prepare for call with org
2/10/2017 Seth Packrone    0:06:00 Billable   representative
                                              Follow up with representative from impacted organization re: follow up about potential
2/13/2017 Seth Packrone    0:06:00 Billable   involvement in case

2/13/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith and K. Hamilton re: talking points for call with CBS Local

2/13/2017 Seth Packrone    0:12:00 Billable   Revise talking points based on M. Smith and K. Hamilton's comments

2/13/2017 Seth Packrone    0:12:00 Billable   Outline letter to Judge Wolfson re: status of settlement demand

2/13/2017 Seth Packrone    0:06:00 Billable   Prep for tc with CBS Local producer Pam Tighe

2/13/2017 Seth Packrone    0:06:00 Billable   TC with CBS Local producer Pam Tighe re: potential story on case
                                              Format and outline letter to Judge Wolfson to update Court on settlement in preparation for
2/13/2017 Seth Packrone    0:24:00 Billable   2.27 settlement conference

2/13/2017 Seth Packrone    0:12:00 Billable   Draft section of letter to court based on settlement demand sent to Defendants

2/13/2017 Seth Packrone    0:06:00 Billable   Review organizational standing research completed by B. Kitchelt

2/14/2017 Mary-Lee Smith   0:06:00 Billable   Email to team re meet and confer with Ds
                                              Receive and review standing order re phone calls with clients; email exchange with S.Packrone
2/14/2017 Mary-Lee Smith   0:12:00 Billable   re revisions to same

2/14/2017 Mary-Lee Smith   0:12:00 Billable   Receive and review protective order from co-counsel; email exchange with S.Packrone re same

2/14/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange with S.Packrone re role of the impacted organization in case

2/14/2017 Seth Packrone    0:12:00 Billable   Prepare for TC with impacted organization re: potential standing for litigation

2/14/2017 Seth Packrone    0:30:00 Billable   TC with impacted organization re: potential standing for Adam X. litigation

2/14/2017 Seth Packrone    0:12:00 Billable   Follow up with impacted organization re: complaint and potential next steps

2/14/2017 Seth Packrone    0:24:00 Billable   Send short memo to M. Smith re: next steps for potential standing for impacted organization
                                              Follow up with M. Smith re: next steps for investigating impacted organization as organizational
2/14/2017 Seth Packrone    0:06:00 Billable   plaintiff
                                              Draft opening and background on consent decree and confidentiality order for letter to Judge
2/14/2017 Seth Packrone    0:24:00 Billable   Wolfson
                                              Correspond with team re: call with Defendants to discuss settlement, confidentiality order, and
2/14/2017 Seth Packrone    0:06:00 Billable   consent order

2/14/2017 Seth Packrone    0:36:00 Billable   Draft background section in letter to Judge Wolfson

2/14/2017 Seth Packrone    0:36:00 Billable   Revise and edit letter to send to M. Smith for comments/edits

2/14/2017 Seth Packrone    0:06:00 Billable   Send draft of letter to Judge Wolfson to M. Smith with notes

2/14/2017 Seth Packrone    0:06:00 Billable   Prepare for tc with Pam Tighe from CBS Local re: potential story on Adam X.

2/14/2017 Seth Packrone    0:12:00 Billable   TC with Pam Tighe from CBS Local re: potential story on Adam X. case

2/14/2017 Seth Packrone    0:12:00 Billable   Update K. Hamilton and M. Smith re: call with Pam Tighe from CBS Local

2/14/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: update on client and phone call situation at NJDOC facility
                                              Correspond with M. Smith re: her edits to letter to Judge Wolfson and sending it to litigation
2/14/2017 Seth Packrone    0:06:00 Billable   team

2/14/2017 Seth Packrone    0:06:00 Billable   Revise letter based on M. Smith's comments
                                              Send rough draft of letter to Judge Wolfson to litigation team with comments for further
2/14/2017 Seth Packrone    0:06:00 Billable   revisions

2/14/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: process for editing confidentiality order and consent decree

2/14/2017 Seth Packrone    0:06:00 Billable   Review and edit draft consent decree from J. LoCicero
                                              Correspond with M. Smith re: edits and comments to consent decree and need for
2/14/2017 Seth Packrone    0:12:00 Billable   confidentiality from person who schedules calls
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                                               Review revisions to consent order re phone calls from S.Packrone; finalize and email to team for
2/15/2017 Mary-Lee Smith    0:12:00 Billable   review
                                               Review protective order with S.Packrone comments/questions; make notes as to questions and
2/15/2017 Mary-Lee Smith    0:30:00 Billable   possible concerns/solutions

2/15/2017 Seth Packrone     0:06:00 Billable   Send phone call consent order to M. Smith with comments/edits

2/15/2017 Seth Packrone     0:12:00 Billable   Edit consent order to ensure confidentiality in scheduling phone calls

2/15/2017 Seth Packrone     0:24:00 Billable   Review and edit confidentiality stipulation to ensure that two levels of confidentiality align

2/15/2017 Seth Packrone     0:06:00 Billable   Read and analyze FRCP 26(c)(1)(G)
                                               Send confidentiality stipulation to M. Smith with comments on resolving two confidentiality
2/15/2017 Seth Packrone     0:12:00 Billable   levels

2/15/2017 Seth Packrone     0:18:00 Billable   Research impacted organization re: potential for organizational standing
                                               Draft organizational standing section for potential amended complaint to add impacted
2/15/2017 Seth Packrone     0:24:00 Billable   organization as a party
                                               Review/revise protective order as revised by S.Packrone; review other protective orders w/ two
2/16/2017 Mary-Lee Smith    1:48:00 Billable   tier confidentiality

2/16/2017 Mary-Lee Smith    0:18:00 Billable   Review draft of amended complaint org plaintiff from S.Packrone; email to S.Packrone re same

2/16/2017 Mary-Lee Smith    0:06:00 Billable   Update agenda for meeting with co-counsel

2/16/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps for reviewing confidentiality order

2/16/2017 Seth Packrone     0:06:00 Billable   Update M. Smith re: status of confidentiality order

2/16/2017 Seth Packrone     0:24:00 Billable   Rewrite confidentiality order based on M. Smith's feedback

2/16/2017 Seth Packrone     0:06:00 Billable   Review confidentiality order after changes to make it consistent with two tier approach

2/16/2017 Seth Packrone     0:12:00 Billable   Send confidentiality order to M. Smith with new section on Plaintiffs' ID information

2/16/2017 Seth Packrone     0:30:00 Billable   Draft section of potential amended complaint based on additional organizational plaintiff

2/16/2017 Seth Packrone     0:24:00 Billable   Edit additional organizational plaintiff section of potential amended complaint

2/16/2017 Seth Packrone     0:06:00 Billable   Send additional organizational plaintiff section to M. Smith with notes for next steps

2/16/2017 Seth Packrone     0:06:00 Billable   Draft agenda for co-counsel meeting and send to M. Smith for review

2/17/2017 Mary-Lee Smith    0:18:00 Billable   Call with S.Packrone re confidentiality order and two tiers of review
                                               Work session with co-counsel re confidentiality order, consent order re phone calls, upcoming
2/17/2017 Mary-Lee Smith    0:36:00 Billable   call with opposing counsel and impacted organization

2/17/2017 Mary-Lee Smith    0:12:00 Billable   Work session with S.Packrone re letter to Judge Wolfson re settlement

2/17/2017 Michelle Caiola   0:12:00 Billable   update from SP on co-counsel and press issues

2/17/2017 Seth Packrone     0:18:00 Billable   Edit confidentiality order based on M. Smith's comments/edits

2/17/2017 Seth Packrone     0:06:00 Billable   Update M. Smith re: next steps for confidentiality order
                                               Review agenda and M. Smith's comments re: potential organizational plaintiff and letter to
2/17/2017 Seth Packrone     0:12:00 Billable   judge and correspond with M. Smith re: same

2/17/2017 Seth Packrone     0:12:00 Billable   Send agenda and confidentiality stip to litigation team in preparation of today's call

2/17/2017 Seth Packrone     0:06:00 Billable   Correspond with K. Hamilton and M. Smith re: next steps for CBS

2/17/2017 Seth Packrone     0:18:00 Billable   TC with M. Smith re: scope of attorneys' eyes only protection for information

2/17/2017 Seth Packrone     0:12:00 Billable   Give J. Mukherjee directions re: finalizing pro hac vice admissions

2/17/2017 Seth Packrone     0:12:00 Billable   Follow up with J. Mukherjee re: PHV admissions
                                               TC with M. Smith, B. Friedman, and R. Livengood re: editing the consent and confidentiality
2/17/2017 Seth Packrone     0:30:00 Billable   orders
                                               Strategy session with M. Smith re: edits to letter and next steps for prepping for settlement
2/17/2017 Seth Packrone     0:18:00 Billable   conference
                                               Draft new language for settlement update letter to Judge Wolfson based on specific issues to
2/17/2017 Seth Packrone     0:18:00 Billable   remedy

2/17/2017 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: next steps for potentially joining lawsuit

2/17/2017 Seth Packrone     0:06:00 Billable   Send letter to Judge Wolfson with edits to M. Smith with comments for further edits

2/20/2017 Mary-Lee Smith    0:18:00 Billable   Review/final revisions to Confidentiality Order; email to team for final review and sending to Ds
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                                              Review/final revisions to consent order re legal calls; email to team for final review and sending
2/20/2017 Mary-Lee Smith   0:12:00 Billable   to Ds

2/20/2017 Seth Packrone    0:06:00 Billable   Review consent order re; phone calls and give feedback

2/20/2017 Seth Packrone    0:12:00 Billable   Edit confidentiality order based on co-counsel's rewrite and comments

2/20/2017 Seth Packrone    0:12:00 Billable   Send confidentiality order and consent order to M. Smith with notes for further edits

2/21/2017 Mary-Lee Smith   0:30:00 Billable   Revise letter to Judge Wolfson from S.Packrone

2/21/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange with team re email from Greg re confidentiality order and settlement

2/21/2017 Seth Packrone    0:24:00 Billable   Edit letter to Judge Wolfson based on comments from co-counsel

2/21/2017 Seth Packrone    0:06:00 Billable   Send letter to Judge Wolfson to M. Smith with notes for further edits

2/21/2017 Seth Packrone    0:06:00 Billable   TC with client re: update on settlement negotiations
                                              TC with M. Smith re: next steps with opposing counsel to get response on our settlement
2/21/2017 Seth Packrone    0:06:00 Billable   proposal

2/21/2017 Seth Packrone    0:06:00 Billable   Follow up with impacted organization re: next steps for potentially joining case

2/21/2017 Seth Packrone    0:06:00 Billable   Edit letter to Judge Wolfson based on M. Smith's edits
                                              Review and analyze opposing counsel's update on our settlement proposal response and
2/21/2017 Seth Packrone    0:06:00 Billable   confidentiality/consent orders
                                              Follow up with M. Smith re: NJDOC's response to settlement proposal, phone call consent order,
2/21/2017 Seth Packrone    0:06:00 Billable   and confidentiality order

2/21/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: Defendants' response to our settlement demand

2/22/2017 Mary-Lee Smith   0:24:00 Billable   Call with Greg (Ds counsel) re confidentiality order, consent order and settlement

2/22/2017 Mary-Lee Smith   0:12:00 Billable   Work session with S.Packrone re prep for mediation

2/22/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange with team re prep for mediation including role of expert

2/22/2017 Seth Packrone    0:06:00 Billable   Update M. Caiola re: settlement conference in Trenton on Monday

2/22/2017 Seth Packrone    0:06:00 Billable   Review opposing counsel's response to our settlement proposal

2/22/2017 Seth Packrone    0:06:00 Billable   Edit letter to Judge Wolfson based on opposing counsel's email

2/22/2017 Seth Packrone    0:06:00 Billable   Draft plan for next steps and send to M. Smith

2/22/2017 Seth Packrone    0:06:00 Billable   Check in with J. Mukherjee re: progress on expert research

2/22/2017 Seth Packrone    0:12:00 Billable   Respond to team re: incoporating opposing counsel's position into letter to Wolfson

2/22/2017 Seth Packrone    0:06:00 Billable   Review and respond to R. Livengood's plan for submitting and editing letter

2/22/2017 Seth Packrone    0:06:00 Billable   Check in with M. Smith re: strategy for letter to court
                                              Tc with M. Smith, R. Livengood, J. LoCicero, and B. Friedman with opposing counsel re: next
2/22/2017 Seth Packrone    0:24:00 Billable   steps for settlement conference with Judge Wolfson

2/22/2017 Seth Packrone    0:12:00 Billable   Follow up tc with M. Smith re: next steps in prepping for settlement conference
                                              Review correspondence from co-counsel and follow up re: outline plan for settlement
2/22/2017 Seth Packrone    0:12:00 Billable   conference
                                              Follow up with impacted organization re: next steps for discussing become a possible
2/22/2017 Seth Packrone    0:06:00 Billable   organizational plaintiff

2/22/2017 Seth Packrone    0:06:00 Billable   Follow up about list of potential experts with J. Mukherjee and M. Smith

2/23/2017 Mary-Lee Smith   0:18:00 Billable   Review and revise letter to Judge Wolfson with Ds addition

2/23/2017 Mary-Lee Smith   0:12:00 Billable   Review/approve letter to Judge Wolfson with further additions from Ds

2/23/2017 Mary-Lee Smith   0:18:00 Billable   Brainstorm areas of discovery for requesting during the settlement conference

2/23/2017 Mary-Lee Smith   0:48:00 Billable   work session with team re settlement conference including discussion of strategy for discovery

2/23/2017 Mary-Lee Smith   0:18:00 Billable   Call with S.Packrone re settlement conference strategy including list of discovery and expert

2/23/2017 Mary-Lee Smith   0:06:00 Billable   Email national disability expert re possibly serving as expert

2/23/2017 Seth Packrone    0:30:00 Billable   Revise settlement update letter to judge with Defendants' position

2/23/2017 Seth Packrone    0:06:00 Billable   Send revised letter with Defendants' position incorporated to M. Smith
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2/23/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: updates to settlement letter to court

2/23/2017 Seth Packrone     0:18:00 Billable   Edit settlement letter to judge based on Defendants' updated version

2/23/2017 Seth Packrone     0:06:00 Billable   Send settlement letter to litigation team with notes for further feedback

2/23/2017 Seth Packrone     0:06:00 Billable   Get update from J. Mukherjee re: expert research

2/23/2017 Seth Packrone     0:06:00 Billable   Review J. Mukherjee's list of potential experts for NJDOC

2/23/2017 Seth Packrone     0:06:00 Billable   Research more on potential expert's background for him to potentially serve as expert

2/23/2017 Seth Packrone     0:12:00 Billable   Edit settlement letter to judge again based on Defendants' new version

2/23/2017 Seth Packrone     0:06:00 Billable   Send letter to litigation team with notes for further feedback and next steps

2/23/2017 Seth Packrone     0:12:00 Billable   Correspond with litigation team re: letter to Judge Wolfson based on Defendants' further edits

2/23/2017 Seth Packrone     0:12:00 Billable   Draft categories for discovery to provide to Defendants

2/23/2017 Seth Packrone     0:06:00 Billable   Revise M. Smith's discovery requsts

2/23/2017 Seth Packrone     0:06:00 Billable   TC with client re: update on his education
                                               TC with M. Smith, B. Friedman, J. LoCicero, and R. Livengood re: strategy for settlement
2/23/2017 Seth Packrone     0:48:00 Billable   conference

2/23/2017 Seth Packrone     0:06:00 Billable   Follow up tc with M. Smith re: next steps in prep for settlement conference

2/23/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: follow for settlement conference

2/24/2017 Mary-Lee Smith    0:36:00 Billable   Review/revise categories for discovery in prep for settlement conference

2/24/2017 Mary-Lee Smith    0:18:00 Billable   Review and provide input on talking points for settlement conference from S.Packrone

2/24/2017 Michelle Caiola   0:12:00 Billable   update from SP re case law to toll claims and strategy session re same

2/24/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: filed letter and attachments

2/24/2017 Seth Packrone     0:06:00 Billable   Give J. Mukherjee instructions re: finalizing PHV applications

2/24/2017 Seth Packrone     0:06:00 Billable   Review filed letter based on Defendants' edits

2/24/2017 Seth Packrone     0:30:00 Billable   Draft intial categories of discovery to give to Defendants for settlement conference
                                               Follow up with co-counsel re: attachments to letter filed to Judge Wolfson re: update on
2/24/2017 Seth Packrone     0:06:00 Billable   settlement

2/24/2017 Seth Packrone     0:06:00 Billable   Send discovery categories to M. Smith for her feedback before sharing with litigation team

2/24/2017 Seth Packrone     0:06:00 Billable   Review M. Smith's edits to initial discovery categories and implement changes

2/24/2017 Seth Packrone     0:06:00 Billable   Send initial discovery categories to litigation team and ask for feedback

2/24/2017 Seth Packrone     0:06:00 Billable   Correspond with B. Friedman re: discovery categories

2/24/2017 Seth Packrone     0:42:00 Billable   Legal research re: inherently transitory exception to mootness and timing of class cert motion

2/24/2017 Seth Packrone     0:06:00 Billable   Review letters to court re: PHV payment

2/24/2017 Seth Packrone     0:12:00 Billable   Follow up with M. Smith re: inherently transitory and timing of class cert motion memo

2/24/2017 Seth Packrone     0:18:00 Billable   Draft talking points for settlement conference and send to M. Smith

2/24/2017 Seth Packrone     0:30:00 Billable   Build binder and prep for settlement conference

2/24/2017 Seth Packrone     0:06:00 Billable   Follow up with litigation team re: strategy for Monday's settlement conference

2/24/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: next steps for potential experts in case

2/26/2017 Seth Packrone     0:36:00 Billable   Review documents filed in case to prepare for settlement conference with Judge Wolfson
                                               Review and take notes on complaint and discovery list to prepare for settlement conference
2/26/2017 Seth Packrone     0:54:00 Billable   with Judge Wolfson

2/26/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: discovery list to turn over to Defendants

2/27/2017 Mary-Lee Smith    0:12:00 Billable   Email exchange with S.Packrone re settlement conference

2/27/2017 Mary-Lee Smith    1:06:00 Billable   Review/research possible mutual experts
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2/27/2017 Mary-Lee Smith    0:18:00 Billable   Discuss mutual experts with S.Packrone

2/27/2017 Michelle Caiola   0:12:00 Billable   update from SP re mediation with Judge

2/27/2017 Michelle Caiola   0:06:00 Billable   confer with SP re expert selection options

2/27/2017 Seth Packrone     0:06:00 Billable   Follow up with R. Livengood re: national disability consultant's expert recommendations
                                               Travel to and from settlement conference in Trenton, NJ (total was 182 minutes, bill half for
2/27/2017 Seth Packrone     1:30:00 Billable   travel)

2/27/2017 Seth Packrone     0:18:00 Billable   Check in at court for settlement conference

2/27/2017 Seth Packrone     0:30:00 Billable   Strategy session with J. LoCicero prior to settlement conference

2/27/2017 Seth Packrone     0:30:00 Billable   Wait for judge in court for settlement conference

2/27/2017 Seth Packrone     0:30:00 Billable   Settlement conference with Judge Wolfson and Defendants in chambers

2/27/2017 Seth Packrone     0:06:00 Billable   Debrief with J. LoCicero and B. Friedman following conference with Judge Wolfson

2/27/2017 Seth Packrone     0:06:00 Billable   Update M. Smith re: settlement conference and cancelling call with expert

2/27/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: potential experts to propose to defendants

2/27/2017 Seth Packrone     0:12:00 Billable   Tc with M. Caiola re: update on settlement conference and next steps in case

2/27/2017 Seth Packrone     0:12:00 Billable   Review expert list from M. Smith to determine who to propose to Defendants
                                               TC with M. Smith re: further update on settlement conference and confer on experts we should
2/27/2017 Seth Packrone     0:18:00 Billable   propose

2/27/2017 Seth Packrone     0:30:00 Billable   Draft memo on experts and their backgrounds for teams to consider

2/28/2017 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone re CBS local

2/28/2017 Mary-Lee Smith    0:12:00 Billable   Call with S.Packrone re call with potential organizational plaintiff

2/28/2017 Mary-Lee Smith    0:42:00 Billable   Call with impacted organization and S.Packrone re involvment in case
                                               Call w/ S.Packrone re agenda items for co-counsel call including impacted organization
2/28/2017 Mary-Lee Smith    0:12:00 Billable   involvement and media

2/28/2017 Michelle Caiola   0:06:00 Billable   T/c re: potential expert with MLK

2/28/2017 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: potential experts for case

2/28/2017 Seth Packrone     0:06:00 Billable   TC with Pam Tighe from CBS Local re: potential story on Adam X. case

2/28/2017 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: responding to CBS Local about story

2/28/2017 Seth Packrone     0:12:00 Billable   Follow up with K. Hamilton and M. Smith re: responding to Pam Tighe at CBS Local

2/28/2017 Seth Packrone     0:06:00 Billable   Update J. Mukherjee on results from settlement conference and next steps for experts

2/28/2017 Seth Packrone     0:06:00 Billable   Check in with M. Smith re: confidentiality order next steps
                                               Prepare for TC with impacted organization by reviewing section of complaint on their
2/28/2017 Seth Packrone     0:12:00 Billable   organization

2/28/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: experts to send to Defendants

2/28/2017 Seth Packrone     0:12:00 Billable   Review list of experts and background to determine who to send to Defendants

2/28/2017 Seth Packrone     0:12:00 Billable   TC with M. Smith re: plan for call with impacted organization

2/28/2017 Seth Packrone     0:42:00 Billable   TC with impacted organization re: potential participation in lawsuit

2/28/2017 Seth Packrone     0:06:00 Billable   Follow up tc with M. Smith re: next steps for potential organizational plaintiff

2/28/2017 Seth Packrone     0:06:00 Billable   Prepare for tc with Pam Tighe from CBS Local re: potential story on Adam X.

2/28/2017 Seth Packrone     0:06:00 Billable   TC with Pam Tighe re: next steps for potential CBS Local story on Adam X.

2/28/2017 Seth Packrone     0:06:00 Billable   Update K. Hamilton and M. Smith on next steps with Pam Tighe and CBS Local

 3/1/2017 Mary-Lee Smith    0:12:00 Billable   Email to S.Packrone re expert costs and amending complaint

 3/1/2017 Seth Packrone     0:24:00 Billable   Redraft sample retainer to send to potential organizational plaintiff

 3/1/2017 Seth Packrone     0:06:00 Billable   Send sample retainer to potential organizational plaintiff with notes for potential changes to it
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3/1/2017 Seth Packrone     0:12:00 Billable   TC with co-counsel re: strategy for discovery
                                              Send update on impacted organization and discovery/expert issues raised by co-counsel to M.
3/1/2017 Seth Packrone     0:18:00 Billable   Smith

3/1/2017 Seth Packrone     0:12:00 Billable   TC with client re: update on settlement

3/1/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: opposing counsel's request about confidentiality order

3/1/2017 Seth Packrone     0:06:00 Billable   Strategy session with M. Smith re: process for discovery moving forward

3/2/2017 Seth Packrone     0:12:00 Billable   TC with B. Friedman re: follow up on expert selection process and discovery

3/2/2017 Seth Packrone     0:06:00 Billable   Check in with M. Smith re: status of impacted organizational as org plaintiff

3/2/2017 Seth Packrone     0:12:00 Billable   Draft agenda for co-counsel call

3/2/2017 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: confidentiality order proposal from Defendants

3/3/2017 Mary-Lee Smith    0:18:00 Billable   Prep for co=counsel call with S.Packrone

3/3/2017 Seth Packrone     0:12:00 Billable   Follow up re: confidentiality order with litigation team and send agenda for co-counsel call

3/3/2017 Seth Packrone     0:24:00 Billable   Get update from Jessica Oppenheim re: Arc-NJ as organizational plaitniffs

3/3/2017 Seth Packrone     0:12:00 Billable   Update M. Smith re: call with Jessica Oppenheim and next steps

3/3/2017 Seth Packrone     0:06:00 Billable   TC with M. Smith re: her position on issues for conference call
                                              TC with litigation team (B. Friedman, J. LoCicero, and R. Livengood) re: next steps in light of
3/3/2017 Seth Packrone     0:42:00 Billable   settlemetn conference

3/3/2017 Seth Packrone     0:18:00 Billable   Update M. Smith re: co-counsel call and next steps in light of call

3/5/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps in light of Friday's call for experts and Arc-NJ
                                              Email exchange with S.Packrone re experts and impacted organization's standing (multiple
3/6/2017 Mary-Lee Smith    0:18:00 Billable   emails)

3/6/2017 Michelle Caiola   0:06:00 Billable   update from SP re case developments

3/6/2017 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: next steps with reaching out to experts and impacted organization

3/6/2017 Seth Packrone     0:06:00 Billable   Follow up with impacted organizations re: setting up time to discuss potential standing

3/6/2017 Seth Packrone     0:18:00 Billable   Follow up with M. Smith re: draft email to potential experts in Adam X.

3/6/2017 Seth Packrone     0:06:00 Billable   Follow up with litigation team re: defendants' edits to consent and confidentiality order

3/6/2017 Seth Packrone     0:12:00 Billable   Correspond with impacted organization re: setting up a time to discuss potential standing

3/6/2017 Seth Packrone     0:06:00 Billable   Review Defendants' edits to consent for telephone calls

3/6/2017 Seth Packrone     0:06:00 Billable   Review and analyze list of individuals from Defendants' for confidentiality order

3/6/2017 Seth Packrone     0:18:00 Billable   Update M. Smith re: next steps after call with impacted organization

3/6/2017 Seth Packrone     0:12:00 Billable   Review and edit memo on impacted organization re: potential standing
                                              TC with R. Livengood, B. Friedman and reps from impacted organization re: their potential
3/6/2017 Seth Packrone     0:24:00 Billable   standing in case
                                              TC with R. Livengood, B. Friedman, and J. LoCicero re: Defendants' edits to consent order,
3/6/2017 Seth Packrone     0:36:00 Billable   confidentiality order, and next steps for potential expeorts

3/6/2017 Seth Packrone     0:24:00 Billable   Revise and edit questionnaire for impacted organization to assess their potential standing

3/6/2017 Seth Packrone     0:12:00 Billable   Send questionnaire for impacted organization to M. Smith with notes for next steps

3/7/2017 Mary-Lee Smith    0:12:00 Billable   Discuss standing of impacted organization with S.Packrone

3/7/2017 Mary-Lee Smith    0:12:00 Billable   Discuss possible expert w/ S.Packrone

3/7/2017 Mary-Lee Smith    0:12:00 Billable   Discuss expert selection process with S.Packrone

3/7/2017 Mary-Lee Smith    0:18:00 Billable   Call with potential expert and S.Packrone re serving as neutral expert

3/7/2017 Mary-Lee Smith    0:18:00 Billable   Call with potential expert re serving as neutral expert
                                              Review email to team re impacted organization and experts; revise to reflect latest updates and
3/7/2017 Mary-Lee Smith    0:18:00 Billable   org standing info
                                              Email exchange w/ R.Livengood re confidentiality agreement and sharing D staff names with
3/7/2017 Mary-Lee Smith    0:06:00 Billable   clients
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 3/7/2017 Mary-Lee Smith    0:06:00 Billable   Email potential expert re call re expert

 3/7/2017 Michelle Caiola   0:12:00 Billable   update from SP re new org plaintiff standing

 3/7/2017 Seth Packrone     0:12:00 Billable   Give M. Caiola update on status of experts and organizational plaintiffs in case

 3/7/2017 Seth Packrone     0:12:00 Billable   Research information on potential neutral experts for case

 3/7/2017 Seth Packrone     0:36:00 Billable   TC with M. Smith re: impacted organization and calling experts

 3/7/2017 Seth Packrone     0:12:00 Billable   TC with potential expert re: availability, rates for serving as neutral expert in case

 3/7/2017 Seth Packrone     0:12:00 Billable   Reaching out to other potential experts in case

 3/7/2017 Seth Packrone     0:06:00 Billable   Get update from M. Smith re: tc with potential expert

 3/7/2017 Seth Packrone     0:12:00 Billable   Draft update for team on status of experts and impacted organization

 3/8/2017 Mary-Lee Smith    0:12:00 Billable   Email exchange with S.Packrone re clients and experts

 3/8/2017 Mary-Lee Smith    0:06:00 Billable   Call with S.Packrone re follow up with J.LeCirco re clients and MTD

 3/8/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: follow up with impacted organization about questionnaire

 3/8/2017 Seth Packrone     0:06:00 Billable   Tc with client's parent

 3/8/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: sharing list of DOC names who know plaintiff Identities with clients

 3/8/2017 Seth Packrone     0:06:00 Billable   Review and edit new draft of consent order for telephone calls

 3/8/2017 Seth Packrone     0:12:00 Billable   Update team re: experts and send them information on potential experts
                                               Tc with M. Smith re: next steps for client's parent visit, impacted organization, and briefing
 3/8/2017 Seth Packrone     0:12:00 Billable   schedule

 3/8/2017 Seth Packrone     0:12:00 Billable   Send impacted organization update to litigation team with notes for next steps

 3/9/2017 Mary-Lee Smith    0:12:00 Billable   Email to J.Locicero re client's mother and MTD

 3/9/2017 Seth Packrone     0:06:00 Billable   Send M. Smith update on impacted organization's outreach

 3/9/2017 Seth Packrone     0:06:00 Billable   Correspond with impacted organization re: potential collaboration

 3/9/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: Defendants' edits to consent and confidentiality orders

 3/9/2017 Seth Packrone     0:06:00 Billable   TC with press inquiry

 3/9/2017 Seth Packrone     0:06:00 Billable   Prep agenda for co-counsel call tomorrow

 3/9/2017 Seth Packrone     0:06:00 Billable   Prep for tc with M. Smith re: items to follow up about

 3/9/2017 Seth Packrone     0:06:00 Billable   Review list of officials for confidentiality order from Defendants

 3/9/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: items to consider before next co-counsel call

 3/9/2017 Seth Packrone     0:12:00 Billable   Tc with client re: prepping for mediation

3/10/2017 Mary-Lee Smith    0:42:00 Billable   Call with co-counsel to discuss experts and updates on clients

3/10/2017 Seth Packrone     0:06:00 Billable   Finalize agenda based on M. Smith edits

3/10/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: today's meeting and agenda

3/10/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: new consent order from Defendants

3/10/2017 Seth Packrone     0:06:00 Billable   Tc with M. Smith re: media update and plan for briefing schedule

3/10/2017 Seth Packrone     0:06:00 Billable   Tc with potential experts

3/10/2017 Seth Packrone     0:06:00 Billable   Tc with M. Smith re: update on status of experts

3/10/2017 Seth Packrone     0:06:00 Billable   Tc with potential experts

3/10/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: conference call for today
                                               Tc with M. Smith, J. LoCicero and B. Friedman re: next steps with experts and next steps for
3/10/2017 Seth Packrone     0:36:00 Billable   settlement

3/10/2017 Seth Packrone     0:06:00 Billable   Follow up tc with M. Smith re: next steps after call today
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3/10/2017 Seth Packrone    0:12:00 Billable   Tc with potential organization plaintiff re: questionnaire

3/10/2017 Seth Packrone    0:06:00 Billable   Follow up with potential organization plaintiff re: questionnaire and meeting next week

3/10/2017 Seth Packrone    0:06:00 Billable   Review and edit email to opposing counsel re: update on experts

3/10/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: visiting client's parent next week

3/10/2017 Seth Packrone    0:06:00 Billable   Tc with client's parent

3/13/2017 Mary-Lee Smith   0:24:00 Billable   Call with S.Packrone re experts and amending to include additional organization plaintiff
                                              Tc with M. Smith re: next steps for additional organization plaintiff and next steps for contacting
3/13/2017 Seth Packrone    0:12:00 Billable   experts

3/13/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: update on contact from experts

3/13/2017 Seth Packrone    0:06:00 Billable   Tc with parent of client to set up meeting

3/14/2017 Seth Packrone    0:06:00 Billable   Review letter submitted to court by Defendants asking for extension and emails from co-counsel

3/14/2017 Seth Packrone    0:06:00 Billable   Prepare for tc with potential court-appointed neutral expert

3/14/2017 Seth Packrone    0:06:00 Billable   Tc with potential court-appointed neutral expert

3/15/2017 Seth Packrone    0:06:00 Billable   Follow up with potential expert in case

3/15/2017 Seth Packrone    0:06:00 Billable   Follow up with parent of plaintiff and inform R. Livengood re: same

3/15/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: calling potential experts and parents of Plaintiffs

3/15/2017 Seth Packrone    0:12:00 Billable   Prep for meeting with addirional organization plaintiff
                                              Travel to and from meeting at co-counsel office with additional organizational plaintiff (total was
3/16/2017 Seth Packrone    0:36:00 Billable   1.2, bill half)

3/16/2017 Seth Packrone    1:42:00 Billable   Meeting with additional organizational plaintiff with R. Livengood, J. LoCicero, and B. Friedman
                                              Follow up strategy session with litigation team re: next steps with additional organizational
3/16/2017 Seth Packrone    0:18:00 Billable   plaintiff

3/16/2017 Seth Packrone    0:06:00 Billable   Prepare for meeting with additional organizational plaintiff

3/16/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: next steps with additional organizational plaintiff after meeting

3/16/2017 Seth Packrone    0:18:00 Billable   Send short memo to M. Smith re: follow up from meeting with additional organizational plaintiff

3/16/2017 Seth Packrone    0:24:00 Billable   Draft memo re: case law on third party standing and organizations

3/17/2017 Seth Packrone    0:24:00 Billable   Redraft client retainer for additional organizational plaintiff

3/17/2017 Seth Packrone    0:18:00 Billable   Revise and edit client retainer for additional organizational plaintiff

3/17/2017 Seth Packrone    0:06:00 Billable   Send retainer to J. LoCicero with notes for next steps

3/21/2017 Seth Packrone    0:06:00 Billable   Tc with client re: update on case status

3/21/2017 Seth Packrone    0:12:00 Billable   Correspond with litigation team re: next steps for additional organizational plaintiff

3/21/2017 Seth Packrone    0:06:00 Billable   Follow up with additional organizational plaintiff re: next steps

3/21/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: status of additional organizational plaintiff

3/22/2017 Seth Packrone    0:06:00 Billable   Update team re: next steps for additional organizational plaintiff

3/22/2017 Seth Packrone    0:06:00 Billable   Coordinate with team re: next steps for amending complaint

3/23/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: status of the retainer for additional organizational plaintiff

3/23/2017 Seth Packrone    0:06:00 Billable   Follow up with additional organizational plaintiff re: next steps

3/23/2017 Seth Packrone    0:12:00 Billable   Tc with potential expert re: availability to serve as court-appointed neutral

3/23/2017 Seth Packrone    0:06:00 Billable   Tc with client's parent re: meeting

3/23/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: time for meeting with client's parent

3/23/2017 Seth Packrone    0:06:00 Billable   Review additional organizational plaintiff annual report

3/23/2017 Seth Packrone    0:06:00 Billable   Review retainer, finalize, and send to additional organizational plaintiff
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                                              Follow up with litigation team re: list of experts from Defendants and letter to court to request
3/23/2017 Seth Packrone    0:12:00 Billable   leave to amend complaint

3/24/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: timeline for amending complaint

3/24/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: correspondence from experts

3/24/2017 Seth Packrone    0:06:00 Billable   Prepare for tc with litigation team re: next steps for litigation

3/24/2017 Seth Packrone    0:06:00 Billable   Review expert list sent by Defendants
                                              Tc with R. Livengood and B. Friedman re: strategy for Tuesday's call with court and next steps for
3/24/2017 Seth Packrone    0:42:00 Billable   experts

3/24/2017 Seth Packrone    0:06:00 Billable   Follow up with additional organizational plaintiff re: next steps

3/24/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: strategy with experts moving forward

3/27/2017 Mary-Lee Smith   0:30:00 Billable   Call with S.Packrone re amending complaint, experts and call with Judge tomorrow

3/27/2017 Mary-Lee Smith   0:30:00 Billable   Prep for call with judge: review memos re experts from paralegal and email S.Packrone re same

3/27/2017 Seth Packrone    0:06:00 Billable   Review correspondence with court and opposing counsel

3/27/2017 Seth Packrone    0:06:00 Billable   Prepare update agenda for M. Smith

3/27/2017 Seth Packrone    0:24:00 Billable   Tc with M. Smith re: update on Adam X. litigation and plan for call with court

3/27/2017 Seth Packrone    0:06:00 Billable   Give assignment re: expert research to K. Ruiz

3/27/2017 Seth Packrone    0:12:00 Billable   Draft assignment summary on expert research for K. Ruiz

3/27/2017 Seth Packrone    0:06:00 Billable   Review PFAL report from potential organizational plaintiff

3/27/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: PFAL report and next steps for additional organizational plaintiff

3/27/2017 Seth Packrone    0:06:00 Billable   Check in with K. Ruiz re: status of expert research

3/28/2017 Mary-Lee Smith   0:12:00 Billable   Review deriative standing research

3/28/2017 Mary-Lee Smith   0:18:00 Billable   Call with Judge Goodman

3/28/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange with team re next steps on experts

3/28/2017 Mary-Lee Smith   0:06:00 Billable   Email to Ds re fee schedules for experts

3/28/2017 Seth Packrone    0:06:00 Billable   Review expert research summaries for Plaintiffs' suggested experts

3/28/2017 Seth Packrone    0:06:00 Billable   Review summaries and research on Defendants' suggested experts
                                              Send summaries and expert research to litigation team and M. Smith with notes for call with
3/28/2017 Seth Packrone    0:06:00 Billable   court

3/28/2017 Seth Packrone    0:12:00 Billable   Prepare for tc with court by reviewing previous call notes and the expert research

3/28/2017 Seth Packrone    0:18:00 Billable   Tc with court re: status of court-appointed expert selection

3/28/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: next steps after call with court

3/28/2017 Seth Packrone    0:06:00 Billable   Follow up with organizational plaintiff re: discussion about retainer

3/28/2017 Seth Packrone    0:06:00 Billable   Follow up with team and organizational plaintiff re: changes to retainer

3/28/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: legal theory for complaint for additional organizational plaintiff

3/28/2017 Seth Packrone    0:06:00 Billable   Tc with client's parent re: meeting

3/28/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: final confidential and consent order

3/28/2017 Seth Packrone    0:12:00 Billable   Review and edit consent order re: phone calls to send to Defendants

3/28/2017 Seth Packrone    0:18:00 Billable   Review confidentiality agreement to send to Defendants

3/28/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: consent and confidentiality orders

3/29/2017 Seth Packrone    0:06:00 Billable   Check in with M. Caiola re: retainer language to propose for client

3/29/2017 Seth Packrone    0:06:00 Billable   Prep for tc with organizational plaintiff and R. Livengood re: retainer and next steps

3/29/2017 Seth Packrone    0:18:00 Billable   Tc with organizational plaintiffand R. Livengood re: retainer and information about client
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3/29/2017 Seth Packrone    0:18:00 Billable   Revise retainer in light of client's requests

3/29/2017 Seth Packrone    0:12:00 Billable   Send revised retainer to team with notes on edits

3/29/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: edits to retainer

3/29/2017 Seth Packrone    0:06:00 Billable   Check in with client's parent

3/29/2017 Seth Packrone    0:06:00 Billable   Edit retainer for additional organizational plaintiff

3/29/2017 Seth Packrone    0:12:00 Billable   Begin drafting amended complaint

3/29/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: language in confidentiality order

3/29/2017 Seth Packrone    0:06:00 Billable   Correspond with organizational plaintiff with next steps

3/30/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: following up with clients

3/30/2017 Seth Packrone    1:30:00 Billable   Review and edit complaint to add additional organizational plaintiff as a party

3/30/2017 Seth Packrone    0:54:00 Billable   Draft standing sections for additional organizational plaintiff

3/30/2017 Seth Packrone    0:30:00 Billable   Edit new sections of complaint to add additional organizational plaintiff to complaint

3/30/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: setting up calls with clients

3/30/2017 Seth Packrone    0:06:00 Billable   Send complaint and agenda to M. Smith with notes for further edits

3/30/2017 Seth Packrone    0:06:00 Billable   Draft agenda for meeting with co-counsel

3/30/2017 Seth Packrone    0:12:00 Billable   Update team re: contacting clients about amended complaint
                                              Revise amended complaint; email to S.Packrone with instructions for further revisions and next
3/31/2017 Mary-Lee Smith   0:54:00 Billable   steps

3/31/2017 Seth Packrone    0:06:00 Billable   Follow up with organizational plaintiff re: finalized retainer

3/31/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: draft of amended complaint

3/31/2017 Seth Packrone    0:06:00 Billable   Send agenda to team with notes for call

3/31/2017 Seth Packrone    0:06:00 Billable   Review complaint re: facts needed from organizational plaintiff

3/31/2017 Seth Packrone    0:24:00 Billable   Tc with organizational plaintiff re: facts for complaint

3/31/2017 Seth Packrone    0:24:00 Billable   Tc with B. Friedman and J. LoCicero re: next steps for amended complaint and updating clients

3/31/2017 Seth Packrone    0:12:00 Billable   Update amended complaint after tc with organizational plaintiff

3/31/2017 Seth Packrone    0:18:00 Billable   Draft short memo re: notes from call and next steps to circulate to team

 4/1/2017 Seth Packrone    0:42:00 Billable   Edit amended complaint based on M. Smith's edits

 4/1/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: edits to amended complaint

 4/1/2017 Seth Packrone    0:06:00 Billable   Send amended complaint to team with notes for further edits

 4/3/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: setting up client calls

 4/3/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: contacts at NJ prison

 4/4/2017 Mary-Lee Smith   0:06:00 Billable   Email to potential expert setting up call with Ds and PS
                                              Review and analyze Third Party Standing research provided by co-counsel for amended
 4/4/2017 Seth Packrone    0:12:00 Billable   complaint

 4/4/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: finalizing retainer

 4/4/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps for complaint

 4/5/2017 Mary-Lee Smith   0:24:00 Billable   Call with S.Packrone re amended complaint

 4/5/2017 Mary-Lee Smith   0:18:00 Billable   Call with organizational plaintiff and S.Packrone re juvenile justice

 4/5/2017 Mary-Lee Smith   0:18:00 Billable   Prep for call with potential expert -- review CV and determine if questions to ask

 4/5/2017 Seth Packrone    0:12:00 Billable   Update team re: status of amended complaint

 4/5/2017 Seth Packrone    0:06:00 Billable   Prepare for tc with client
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 4/5/2017 Seth Packrone    0:18:00 Billable   Tc with client re: update on amended complaint and status of case

 4/5/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: agenda for tc with potential expert

 4/5/2017 Seth Packrone    0:12:00 Billable   Edit amended complaint based on co-counsel's research and send to M. Smith for her feedback

 4/5/2017 Seth Packrone    0:06:00 Billable   Review co-counsel's edits to amended complaint

 4/5/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: co-counsel's edits to amended complaint

 4/5/2017 Seth Packrone    0:12:00 Billable   Tc with M. Smith re: next steps for amended complaint

 4/5/2017 Seth Packrone    0:12:00 Billable   Incorporate co-counsel's edits into amended complaint

 4/5/2017 Seth Packrone    0:06:00 Billable   Prepare amended complaint draft to send to client for their review

 4/5/2017 Seth Packrone    0:06:00 Billable   Send amended complaint to client for their review

 4/5/2017 Seth Packrone    0:12:00 Billable   Prepare amended complaint draft to send to litigation team for their review and edits

 4/5/2017 Seth Packrone    0:12:00 Billable   Update B. Friedman and R. Livengood re: next steps for edits to amended complaint

 4/6/2017 Mary-Lee Smith   0:36:00 Billable   Call with potential expert and Ds re possibility of serving as court-appointed expert

 4/6/2017 Mary-Lee Smith   0:12:00 Billable   Call with R.Livengood re call with Ds and potential expert and next steps

 4/6/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re selection of expert and call with potential expert and Ds
                                              Discuss inclusion of comp ed claims in amended complaint with S.Packrone; email to team re
 4/6/2017 Mary-Lee Smith   0:18:00 Billable   same

 4/6/2017 Seth Packrone    0:12:00 Billable   Draft agenda for co-counsel meeting and send to M. Smith for review for next steps in litigation

 4/6/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: amended complaint next steps

 4/6/2017 Seth Packrone    0:12:00 Billable   Tc with M. Smith re: expert call and third-party standing argument

 4/6/2017 Seth Packrone    0:06:00 Billable   Follow up with client re: amended complaint status

 4/6/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: comp ed, amended complaint, and next steps

 4/6/2017 Seth Packrone    0:06:00 Billable   Tc with organizational plaintiff re: services provided

 4/6/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: call with client and next steps

 4/6/2017 Seth Packrone    0:36:00 Billable   Edit amended complaint based on litigation team's edits

 4/6/2017 Seth Packrone    1:18:00 Billable   Revise and edit amended complaint

 4/6/2017 Seth Packrone    0:18:00 Billable   Send amended complaint with latest round of edits to team with notes for next steps
                                              Work session with co-counsel re amended complaint including comp ed claims issues and
 4/7/2017 Mary-Lee Smith   0:36:00 Billable   intakes for potential new plaintiffs

 4/7/2017 Mary-Lee Smith   0:42:00 Billable   Final review of amended complaint and email to client w/ instructions for their review

 4/7/2017 Seth Packrone    1:12:00 Billable   Edit and finalize amended complaint for filing

 4/7/2017 Seth Packrone    0:06:00 Billable   Send updated draft of amended complaint to team with notes for next steps

 4/7/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: status of amended complaint

 4/7/2017 Seth Packrone    0:42:00 Billable   Tc with co-counsel and litigation team re: amended complaint and next steps with expert

 4/7/2017 Seth Packrone    0:06:00 Billable   Follow up tc with M. Smith re: next steps for filing complaint

 4/7/2017 Seth Packrone    0:06:00 Billable   Tc with client re: update on cases

 4/7/2017 Seth Packrone    0:36:00 Billable   Finalize amended complaint to file based on earlier call with litigation team

4/10/2017 Seth Packrone    0:06:00 Billable   Follow up with client re: final version of amended complaint

4/10/2017 Seth Packrone    0:12:00 Billable   Review confidentiality agreement and edit it

4/10/2017 Seth Packrone    0:06:00 Billable   Review meeting notes from Friday for next action items

4/10/2017 Seth Packrone    0:06:00 Billable   Send edits to team and follow up about confidentiality agreement

4/11/2017 Seth Packrone    0:06:00 Billable   Review updated case page based on amended complaint
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4/11/2017 Seth Packrone    0:06:00 Billable   Prepare for call with CBS Local reporter (media)

4/11/2017 Seth Packrone    0:06:00 Billable   Follow up with CBS local reporter (media)

4/11/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: next steps in case

4/11/2017 Seth Packrone    0:18:00 Billable   Draft update on intakes and next steps for litigation team

4/11/2017 Seth Packrone    0:18:00 Billable   Review records from previous intakes to develop next steps in outreach

4/12/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: call on Friday and next steps for case

4/12/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: next steps

4/12/2017 Seth Packrone    0:12:00 Billable   Tc with Pam Tighe (media)

4/12/2017 Seth Packrone    0:12:00 Billable   Review and edit update letter to Judge Goodman and send to team

4/12/2017 Seth Packrone    0:06:00 Billable   Review and edit final draft of update letter to Judge Goodman

4/12/2017 Seth Packrone    0:06:00 Billable   Follow up with press team re: CBS inquiry

4/13/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone to prep for call re NY juvenile justice issues

4/13/2017 Mary-Lee Smith   0:54:00 Billable   Call with various public interest orgs re NY juvenile justice issues and NJ DOC case

4/14/2017 Mary-Lee Smith   0:06:00 Billable   Email to S.Packrone re proposed orders status

4/14/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: status of consent and confidentiality order

4/17/2017 Mary-Lee Smith   0:06:00 Billable   Review confidentiality order with final revisions; provide approval.

4/17/2017 Mary-Lee Smith   0:06:00 Billable   Email Ds re expert costs and payment

4/18/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: status of ECF notices in case

4/18/2017 Seth Packrone    0:06:00 Billable   Correspond with client re: update on case

4/18/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: status of phone call consent order

4/18/2017 Seth Packrone    0:06:00 Billable   Follow up with J. LoCicero re: status of phone call consent order and filing with court

4/18/2017 Seth Packrone    0:06:00 Billable   Review Defendants' response to expert letter filed with court

4/18/2017 Seth Packrone    0:18:00 Billable   Work with J. Mukherjee to determine next steps for ECF registration

4/18/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: document that must be filed by co-counsel to complete ECF registration

4/19/2017 Mary-Lee Smith   0:12:00 Billable   Email to team re contacting potential expert

4/19/2017 Seth Packrone    0:06:00 Billable   Prepare for call with client to update her on status of case

4/19/2017 Seth Packrone    0:24:00 Billable   Tc with organizational plaintiff re: update on status of case

4/19/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: client update

4/19/2017 Seth Packrone    0:06:00 Billable   Get update from J. Mukherjee re: status of ECF notices in case

4/19/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: ECF notices

4/19/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: new language in confidentiality order

4/19/2017 Seth Packrone    0:06:00 Billable   Work with J. Mukherjee re: court filings to get ECF notices in case

4/19/2017 Seth Packrone    0:06:00 Billable   Update J. LoCicero re: ECF filings

4/20/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange with team re retention of potential expert

4/20/2017 Seth Packrone    0:12:00 Billable   Draft update for court-appointed neutral

4/20/2017 Seth Packrone    0:06:00 Billable   Review initial categories for discovery in preparation for next conference with court

4/20/2017 Seth Packrone    0:06:00 Billable   Update team re: discovery requests

4/20/2017 Seth Packrone    0:06:00 Billable   Redraft email to update expert on status of case and next steps

4/21/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: email to expert
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4/21/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: next steps for expert situation

4/22/2017 Seth Packrone    0:06:00 Billable   Check in with M. Smith re: status of Defendants' answer

4/23/2017 Seth Packrone    0:12:00 Billable   Review Defendants' answer to complaint

4/24/2017 Mary-Lee Smith   0:30:00 Billable   Review answer received from Ds on Friday; instructions to S.Packrone to collect all admissions

4/24/2017 Mary-Lee Smith   0:36:00 Billable   Call with co-counsel re experts and court call

4/24/2017 Mary-Lee Smith   0:12:00 Billable   Email experts re availability for serving as court appointed expert

4/24/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ S.Packrone re client updates and intakes

4/24/2017 Seth Packrone    0:42:00 Billable   Review and take notes on Defendants' answer (pp. 1-38)

4/24/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: status of expert for case

4/24/2017 Seth Packrone    0:06:00 Billable   Review and analyze affirmative defenses in Defendants' answer

4/24/2017 Seth Packrone    0:06:00 Billable   Send agenda and update to co-counsel for call this afternoon

4/24/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: Defendants' answer and admissions
                                              Tc with R. Livengood, B. Friedman, and M. Smith re: call on Friday with court and next steps with
4/24/2017 Seth Packrone    0:24:00 Billable   expert

4/24/2017 Seth Packrone    0:06:00 Billable   Follow up on call to create task list for next steps

4/24/2017 Seth Packrone    0:12:00 Billable   Check in with M. Smith re: next steps for case

4/24/2017 Seth Packrone    0:06:00 Billable   Correspond with co-counsel re: required forms for ECF notices in DNJ

4/24/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: next steps with experts

4/24/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps in case

4/25/2017 Seth Packrone    0:06:00 Billable   Review NJ local rules

4/25/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: drafting motion to seal

4/25/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: strategy for motion to seal

4/25/2017 Seth Packrone    0:12:00 Billable   Edit letter to court re: update on experts

4/25/2017 Seth Packrone    0:12:00 Billable   Follow up with litigation team re: expert list and motion to seal

4/26/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: motion to seal next steps

4/26/2017 Seth Packrone    0:12:00 Billable   Set up logistics for Friday's call

4/26/2017 Seth Packrone    0:06:00 Billable   Review J. Mukherjee's chart of admissions for Defendants' Answer
                                              Prep for call with Court: review recent filings, familarize with experts CVs, figure out proposal for
4/27/2017 Mary-Lee Smith   0:42:00 Billable   next steps and draft talking points

4/27/2017 Mary-Lee Smith   0:12:00 Billable   Send talking points with plan in email to S.Packrone for his comments/input

4/27/2017 Seth Packrone    0:12:00 Billable   Review chart of Defendants' admissions and edit

4/27/2017 Seth Packrone    0:12:00 Billable   Send update email to M. Smith with next steps to prepare for conference with court

4/27/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: next steps for expert

4/27/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: admissions chart tracking defendants' answer

4/28/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re proposed plan for expert selection for court

4/28/2017 Mary-Lee Smith   0:24:00 Billable   Call with Court re expert selection and scope of work

4/28/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re drafting order for scope of expert work

4/28/2017 Seth Packrone    0:30:00 Billable   Review and edit talking points for call with court re: expert

4/28/2017 Seth Packrone    0:06:00 Billable   Send revised talking points to M. Smith re: call with court and role of expert

4/28/2017 Seth Packrone    0:12:00 Billable   Review notes from conference with Judge Wolfson to determine role of joint expert

4/28/2017 Seth Packrone    0:12:00 Billable   Review Defendants' proposed experts and biographies per their request
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4/28/2017 Seth Packrone     0:18:00 Billable   Prepare for call with court re: reviewing talking points and letters to judge

4/28/2017 Seth Packrone     0:12:00 Billable   Tc with M. Smith re: next steps for selecting expert and framing it for the court

4/28/2017 Seth Packrone     0:24:00 Billable   Tc with Judge Goodman and all parties re: next steps for expert selection

4/28/2017 Seth Packrone     0:06:00 Billable   Get directsions from M. Smith re: drafting court order about the role of the expert

4/28/2017 Seth Packrone     0:06:00 Billable   Check in with team re: court order about role of expert

4/28/2017 Seth Packrone     0:24:00 Billable   Draft order for court to sign re: role of expert in case

4/28/2017 Seth Packrone     0:06:00 Billable   Send order to M. Smith with further notes for edits

4/28/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: communciations with expert

 5/1/2017 Mary-Lee Smith    0:12:00 Billable   Review/revise consent order re experts; send to team with cover email

 5/1/2017 Mary-Lee Smith    0:18:00 Billable   Call w/ SP re budget/timeline for site visits

 5/1/2017 Michelle Caiola   0:06:00 Billable   check in with SP re status and next steps
                                               Review and correspond with M. Smith re: team's approach on submitting court order to Judge
 5/1/2017 Seth Packrone     0:12:00 Billable   Goodman about role of expert

 5/1/2017 Seth Packrone     0:06:00 Billable   Review proposed order to send to team re: expert's role in litigation

 5/4/2017 Seth Packrone     0:06:00 Billable   Correspond with client re: update on status of case

 5/4/2017 Seth Packrone     0:24:00 Billable   Tc with client re: update on status of case

 5/4/2017 Seth Packrone     0:06:00 Billable   Draft agenda for call with co-counsel tomorrow

 5/4/2017 Seth Packrone     0:06:00 Billable   Follow up on recent court filings with J. Mukherjee

 5/4/2017 Seth Packrone     0:12:00 Billable   Update M. Smith re: agenda and call with client to update her

 5/4/2017 Seth Packrone     0:06:00 Billable   Correspond with litigation team re: tomorrow's call, conflict checks for experts
                                               Follow up with J. LoCicero re: thoughts on letter to court re: conflict checks and court order
 5/5/2017 Seth Packrone     0:12:00 Billable   about expert

 5/5/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: status of tc with co-counsel call
                                               Tc with B. Friedman, J. LoCicero, and R. Livengood and M. Smith re: next steps for expert
 5/5/2017 Seth Packrone     0:18:00 Billable   selection and documents to submit to court

 5/5/2017 Seth Packrone     0:06:00 Billable   Tc with M. Smith re: requesting visits at NJDOC facilities
                                               Follow up with litigation team re: contacting prisons for visits and letter to court responding to
 5/5/2017 Seth Packrone     0:18:00 Billable   defendants' letter

 5/5/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: next call with expert

 5/5/2017 Seth Packrone     0:06:00 Billable   Review Defendants' letter and our letter responding to it

 5/8/2017 Michelle Caiola   0:06:00 Billable   update from SP re expert selection and organizational plaintiffs

 5/8/2017 Seth Packrone     0:06:00 Billable   Follow up with co-counsel re: client visits and intake

 5/8/2017 Seth Packrone     0:06:00 Billable   Review correspondence with Defendants and expert

 5/8/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: order for judge re: role of expert

 5/9/2017 Mary-Lee Smith    0:18:00 Billable   Call w/ expert to discuss retainer and scope of work

 5/9/2017 Seth Packrone     0:06:00 Billable   Correspond with team and expert re: next steps and phone call to lay out issues

 5/9/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: Judge Goodman's order and next call with court

 5/9/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: court order about role of expert

 5/9/2017 Seth Packrone     0:12:00 Billable   Correspond with team re: list of discovery items for expert

5/10/2017 Seth Packrone     0:12:00 Billable   Review intake summaries and send response to co-counsel

5/10/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: draft of court order on expert

5/10/2017 Seth Packrone     0:06:00 Billable   Review and edit court order

5/10/2017 Seth Packrone     0:06:00 Billable   Draft email for defendants re: court order on experts
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5/10/2017 Seth Packrone    0:06:00 Billable   Review Defendants' email re: role of DOE and propose language for order to M. Smith

5/10/2017 Seth Packrone    0:06:00 Billable   Edit visit requests

5/10/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith re: editing order to include NJDOE
                                              Follow up with M. Smith re: maintaining confidentiality and sending intake requests to non-
5/10/2017 Seth Packrone    0:06:00 Billable   clients

5/10/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee directions re: timing of client visits and intakes and locations

5/10/2017 Seth Packrone    0:06:00 Billable   Correspond with impacted organization re: checking in

5/10/2017 Seth Packrone    0:06:00 Billable   Confirm current locations of clients and intake

5/10/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Friedman re: coordinating client visits and intake

5/10/2017 Seth Packrone    0:12:00 Billable   Edit and send edited to team with notes for submitting to Defendants

5/11/2017 Mary-Lee Smith   0:12:00 Billable   Call w/ R.Livengood in prep for call w/ expert and Ds

5/11/2017 Mary-Lee Smith   0:24:00 Billable   Call w/ experts and Ds

5/11/2017 Mary-Lee Smith   0:12:00 Billable   Call w/ SP re call w/ experts and Ds update

5/11/2017 Seth Packrone    0:06:00 Billable   Follow up with J. Mukherjee re: status of visit requests for clients and intake

5/11/2017 Seth Packrone    0:06:00 Billable   Draft agenda for call with co-counsel tomorrow

5/11/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: expert call

5/11/2017 Seth Packrone    0:06:00 Billable   Review and edit talking points for call with expert

5/11/2017 Seth Packrone    0:06:00 Billable   Send agenda to team with notes for next steps

5/11/2017 Seth Packrone    0:06:00 Billable   Follow up on Defendants' email re: scope of order

5/11/2017 Seth Packrone    0:12:00 Billable   Tc with M. Smith re: call with expert and next steps

5/12/2017 Seth Packrone    0:18:00 Billable   Tc with impacted organization re: potential intakes that are impacted by special education issues

5/12/2017 Seth Packrone    0:36:00 Billable   Finalize visits for Friday with clients and intake

5/12/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Friedman re: intakes/visits at prisons

5/12/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: opposing counsel's proposed edits to expert oder
                                              Tc with co-counsel (R. Livengood, B. Friedman, and J. LoCicero) re: next steps for court order and
5/12/2017 Seth Packrone    0:30:00 Billable   interviewing plaintiffs/potential plaintiffs

5/12/2017 Seth Packrone    0:18:00 Billable   Correspond and update M. Smith after meeting about next steps for expert order and intakes

5/12/2017 Seth Packrone    0:06:00 Billable   Compile notes from meeting with co-counsel to send to M. Smith

5/12/2017 Seth Packrone    0:24:00 Billable   Prep materials and parpe for intake and client visits on Monday
                                              Correspond with team re: order to file and thoughts for email to opposing counsel and
5/13/2017 Seth Packrone    0:12:00 Billable   correspond with M. Smith re: same

5/14/2017 Seth Packrone    0:06:00 Billable   Edit order and send to co-counsel to file on Monday

5/15/2017 Seth Packrone    0:36:00 Billable   Travel to prison facility to conduct intake/visit client (total 1.3, bill half)

5/15/2017 Seth Packrone    0:06:00 Billable   Travel from prison facility to impacted organization (bill half, total was .2)
                                              Travel back home from impacted organization's office from conducting intakes/client visits (total
5/15/2017 Seth Packrone    0:36:00 Billable   was 1.3, bill half)

5/15/2017 Seth Packrone    0:12:00 Billable   Processing at prison facility to conduct intake

5/15/2017 Seth Packrone    1:06:00 Billable   Intake at prison facility

5/15/2017 Seth Packrone    0:18:00 Billable   Processing at prison facility ad seg unit to visit client

5/15/2017 Seth Packrone    0:30:00 Billable   Client visit with re: update on case
                                              Correspond with R. Livengood re: edits to letter to court to accompnay order and checking in
5/15/2017 Seth Packrone    0:06:00 Billable   about correspondence with opposing counsel

5/15/2017 Seth Packrone    0:06:00 Billable   Processing at prison facility for client visit

5/15/2017 Seth Packrone    0:54:00 Billable   Client visit re: update on case
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5/15/2017 Seth Packrone     0:24:00 Billable   Processing/waiting at DOC facility for visit with client

5/15/2017 Seth Packrone     0:12:00 Billable   Review and edit discovery proposal to send to expert

5/15/2017 Seth Packrone     0:48:00 Billable   Client visit re: update on status of case
                                               Review correspondence with team re: scope of expert work and correspondence from opposing
5/15/2017 Seth Packrone     0:06:00 Billable   counsel

5/15/2017 Seth Packrone     0:12:00 Billable   Review, analyze, critique scope of work shared by expert

5/15/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: reactions to expert scope of work

5/15/2017 Seth Packrone     0:06:00 Billable   Update M. Smith on visits and next steps for discovery proposal to expert

5/16/2017 Michelle Caiola   0:12:00 Billable   update from SP re prison visits, next steps, staffing

5/16/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next steps for editing discovery list

5/17/2017 Seth Packrone     0:18:00 Billable   Review, analyze, and comment on discovery plan proposal for expert

5/17/2017 Seth Packrone     0:12:00 Billable   Review, analyze, and take notes on neutral expert's Work Statement
                                               Summarize issues with neutral expert's proposal and summary list and prepare short memo re:
5/17/2017 Seth Packrone     0:30:00 Billable   same for M. Smith

5/17/2017 Seth Packrone     0:06:00 Billable   Review Defendants' letter to court with attached proposed order

                                               Tc with litigation team (M. Smith, R. Livengood, J. LoCicero, and B. Friedman) re: responding to
5/17/2017 Seth Packrone     0:18:00 Billable   neutral expert's statement of work and developing discovery proposal

5/17/2017 Seth Packrone     0:12:00 Billable   Follow up tc with M. Smith re: next steps for preparing materials for neutral expert

5/17/2017 Seth Packrone     0:18:00 Billable   Redraft discovery list in light of tc with co-counsel
                                               Send discovery list to M. Smith re: notes for next steps and drafting response to Gagnon's
5/17/2017 Seth Packrone     0:12:00 Billable   Statement of Work

5/17/2017 Seth Packrone     0:06:00 Billable   Draft update email for co-counsel re: discovery list and response to neutral expert

5/17/2017 Seth Packrone     0:48:00 Billable   Draft response to neutral expert's Statement of Work

5/17/2017 Seth Packrone     0:12:00 Billable   Review/edit response to neutral expert's Statement of Work

5/17/2017 Seth Packrone     0:06:00 Billable   Send response to neutral expert to M. Smith with notes for next steps on editing
                                               Draft talking points and questions for C. Brandt-Young for meet and confer based on last call
5/17/2017 Seth Packrone     0:12:00 Billable   with ETA and Batch 9 moved sites reports

5/18/2017 Mary-Lee Smith    0:42:00 Billable   Send revised retainer to neutral expert -- multiple rounds of revisions

5/18/2017 Seth Packrone     0:06:00 Billable   Review discovery list and letter draft sent to co-counsel for their edits

5/18/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith and J. Mukherjee re: attorney list rules in D.N.J.

5/18/2017 Seth Packrone     0:42:00 Billable   Edit discovery list for neutral expert based on co-counsel's comments/edits

5/18/2017 Seth Packrone     0:06:00 Billable   Send discovery list to litigation team with question about site visits

5/18/2017 Seth Packrone     0:06:00 Billable   Correspond with R. Livengood re: edits to site visit list on discovery proposal for neutral expert
                                               Finalize response to neutral expert's Statement of Work and input B. Friedman's edits into
5/18/2017 Seth Packrone     0:24:00 Billable   document and send to M. Smith for review

5/18/2017 Seth Packrone     0:12:00 Billable   Finalize discovery list to send to Gagnon

5/18/2017 Seth Packrone     0:12:00 Billable   Prep materials (response to Statement of Work and discovery list) to send to neutral expert

5/18/2017 Seth Packrone     0:06:00 Billable   Draft agenda for next co-counsel meeting

5/18/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: next co-counsel meeting and prepping for next call with court

5/18/2017 Seth Packrone     0:06:00 Billable   Review/analyze co-counsel's edits to response to neutral expert's Statement of Work

5/19/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: neutral expert's response to our discovery proposal and letter

5/19/2017 Seth Packrone     0:06:00 Billable   Correspond with legal team re: follow up with neutral expert about rates and role

5/19/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: Defendants' proposal mistakenly filed as a consent order

5/19/2017 Seth Packrone     0:06:00 Billable   Edit letter for R. Livengood to submit to court indicating that proposal was not a consent order

5/22/2017 Seth Packrone     0:42:00 Billable   Review, analyze, and type up short memo re: potential client intake and next steps
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5/22/2017 Seth Packrone     0:12:00 Billable   Summarize potential client visit for litigation team

5/22/2017 Seth Packrone     0:18:00 Billable   Type up and analyze notes from visit with client to send to team

5/22/2017 Seth Packrone     0:12:00 Billable   Type and analyze notes from visit with client to send to team for their feedback

5/22/2017 Seth Packrone     0:06:00 Billable   Research potential new intakes from meeting with client

5/22/2017 Seth Packrone     0:12:00 Billable   Type and analyze notes from visit with client to send to team and get feedback on next steps

5/22/2017 Seth Packrone     0:18:00 Billable   Review client's educational records and draft plan for follow up

5/22/2017 Seth Packrone     0:24:00 Billable   Send litigation team notes on client meetings/intake and guidance for next steps in case

5/22/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: next steps and potential follow up on situation for client

5/23/2017 Mary-Lee Smith    0:12:00 Billable   Email exchange w/ S.Packrone re neutral expert's email to team

5/23/2017 Mary-Lee Smith    0:12:00 Billable   Email exchange w/ lit team re Gagnon's email and response to same

5/23/2017 Seth Packrone     0:18:00 Billable   Review neutral expert's proposal and attachment re: requests for information DOC and DOE

5/23/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: next steps for working with expert

5/23/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: neutral expert's plan for discovery

5/23/2017 Seth Packrone     0:06:00 Billable   Draft response to neutral expert re: plan for discovery

5/23/2017 Seth Packrone     0:06:00 Billable   Draft agenda for weekly call to prep for call with court

5/23/2017 Seth Packrone     0:06:00 Billable   Send agenda to M. Smith with notes for next meeting

5/24/2017 Michelle Caiola   0:06:00 Billable   update from SP re counsel/expert dispute

5/24/2017 Seth Packrone     0:12:00 Billable   Correspond with team re: today's call

5/24/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: expert's role in case

5/24/2017 Seth Packrone     0:06:00 Billable   Prep for call with team re: call with court and scope of role for expert
                                               Tc with M. Smith, B. Friedman, B. Silverman, and R. Livengood re: next steps for call with court
5/24/2017 Seth Packrone     0:42:00 Billable   and scope of expert's work

5/24/2017 Seth Packrone     0:06:00 Billable   Folow up tc with M. Smith re: next steps for case

5/24/2017 Seth Packrone     0:30:00 Billable   Revise timeline for expert, costs, and correspond with M. Smith re: same

5/25/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: agenda for call with court

5/25/2017 Seth Packrone     0:12:00 Billable   Correspond with team re: plan for call with court

5/25/2017 Seth Packrone     0:12:00 Billable   Revise expert timeline based on M. Smith's feedback

5/25/2017 Seth Packrone     0:06:00 Billable   Send revised timeline to team for feedback

5/25/2017 Seth Packrone     0:06:00 Billable   Follow up with co-counsel re: edits to timeline and whether to send to expert

5/25/2017 Seth Packrone     0:06:00 Billable   Revise and follow up re: talking points for call with court

5/25/2017 Seth Packrone     0:24:00 Billable   Tc with Court and counsel re: expert order and next steps for expert discovery
                                               Follow up tc with B. Silverman, R. Livengood, and M. Smith re: timeline and number of facilities
5/25/2017 Seth Packrone     0:12:00 Billable   to propose to court and expert

5/25/2017 Seth Packrone     0:06:00 Billable   Check in with M. Smith re: prepping for call with expert

5/25/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: next steps with expert to finalize timeline and cap for work

5/25/2017 Seth Packrone     0:06:00 Billable   Follow up with expert and opposing counsel re: time to speak about timeline and cap

5/25/2017 Seth Packrone     0:06:00 Billable   Review notes from call with court and perform follow up
                                               Correspond with M. Smith re: finalize agenda for tomorrow's call with expert and opposing
5/25/2017 Seth Packrone     0:06:00 Billable   counsel
                                               Review and compare neutral expert's discovery list to what we submitted and provide
5/25/2017 Seth Packrone     0:30:00 Billable   comments feedback re: same

5/25/2017 Seth Packrone     0:12:00 Billable   Draft plan for call with expert and opposing counsel

5/25/2017 Seth Packrone     0:18:00 Billable   Send M. Smith update re: plan for call with expert and opposing counsel
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5/26/2017 Seth Packrone    0:12:00 Billable   Prep for call with M. Smith, neutral expert, and G. Bueno

5/26/2017 Seth Packrone    0:48:00 Billable   Tc with expert, opposing counsel (G. Bueno), and M. Smith

5/26/2017 Seth Packrone    0:06:00 Billable   Follow up tc with M. Smith re: next steps for case

5/26/2017 Seth Packrone    0:36:00 Billable   Draft notes and next steps for finalizing timeline and hours for expert's work
                                              Correspond with M. Smith re: next steps order and letter to court and updating team on call
5/27/2017 Seth Packrone    0:12:00 Billable   with expert and opposing counsel

5/27/2017 Seth Packrone    0:06:00 Billable   Update team re: next steps in case after call with expert and order/letter for court

5/29/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: next steps in case

5/30/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: proposal for expert and potential budget

5/30/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: meeting to discuss budget

5/30/2017 Seth Packrone    0:24:00 Billable   Draft letter to court re: updated order and timeline for expert

5/30/2017 Seth Packrone    0:12:00 Billable   Draft email to opposing counsel to propose sites for expert to visit

5/30/2017 Seth Packrone    0:12:00 Billable   Review expert's discovery proposal and send comments to rest of team

5/30/2017 Seth Packrone    0:06:00 Billable   Send updated letter and discovery list to M. Smith for feedback

5/30/2017 Seth Packrone    0:18:00 Billable   Draft proposed consent order for expert's schedule for document production

5/30/2017 Seth Packrone    0:06:00 Billable   Edit letter to court to attach to order

5/30/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: edits to letter/order to file with court

5/30/2017 Seth Packrone    0:06:00 Billable   Edit letter/order to submit to court

5/30/2017 Seth Packrone    0:06:00 Billable   Revise discovery experts' discovery categories

5/30/2017 Seth Packrone    0:06:00 Billable   Send discovery categories with comments to team with request for further edits

5/30/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: edits to order/letter

5/30/2017 Seth Packrone    0:06:00 Billable   Edit proposed order to submit to court

5/30/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for call with opposing counsel tomorrow

5/30/2017 Seth Packrone    0:18:00 Billable   Edit/finalize discovery categories with team's comments incorporated

5/30/2017 Seth Packrone    0:06:00 Billable   Send discovery finalized discovery categories to M. Smith with notes for sending to expert

5/30/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: plan for submitting discovery categories to expert

5/31/2017 Seth Packrone    0:06:00 Billable   Edit order/letter based on team's feedback

5/31/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: status of order/letter to file with court

5/31/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: status of order/letter
                                              Correspond with team re: follow up from call with opposing counsel about schedule and budget
5/31/2017 Seth Packrone    0:06:00 Billable   for expert's work

5/31/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: opposing counsels' concerns on order

5/31/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: follow up with co-counsel on budget for expert

5/31/2017 Seth Packrone    0:12:00 Billable   Edit/finalize order/letter based on opposing counsel's feedback

5/31/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for filing order/letter with court

5/31/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: co-counsel filing order/letter with court

5/31/2017 Seth Packrone    0:06:00 Billable   Give J. Mukherjee instructions re: setting up call with client
                                              Review draft agenda for team meeting including proposed timeline and budget for expert;
 6/1/2017 Mary-Lee Smith   0:12:00 Billable   discuss w/ SP

 6/1/2017 Mary-Lee Smith   0:24:00 Billable   Call w/J. LeCirerco re budget for expert

 6/1/2017 Seth Packrone    0:06:00 Billable   Give L. Ackerson directions re: setting up call with client

 6/1/2017 Seth Packrone    0:12:00 Billable   Review client's records
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                                             Correspond with team re: strategy moving forward with contacting opposing counsel about
6/1/2017 Seth Packrone    0:12:00 Billable   client issues

6/1/2017 Seth Packrone    0:12:00 Billable   Check in with L. Ackerson re: letters to clients and updating intake notes

6/1/2017 Seth Packrone    0:12:00 Billable   Give L. Ackerson direction re: next steps in case

6/1/2017 Seth Packrone    0:06:00 Billable   Draft agenda and send to team re: next steps for budget and timeline
                                             Review timeline and budget for expert from SP; comment on both strategy for developing and
6/2/2017 Mary-Lee Smith   0:24:00 Billable   actual outcome

6/2/2017 Mary-Lee Smith   0:18:00 Billable   Discuss timeline and budget for expert w/ SP

6/2/2017 Mary-Lee Smith   0:06:00 Billable   Discuss updating budget for expert w/ SP

6/2/2017 Mary-Lee Smith   0:48:00 Billable   Team call re next steps for expert including budget and timeline

6/2/2017 Seth Packrone    0:06:00 Billable   Edit/send agenda to team for co-counsel call

6/2/2017 Seth Packrone    0:12:00 Billable   Tc with client re: status of case

6/2/2017 Seth Packrone    0:18:00 Billable   Tc with M. Smith re: update on budget/timeline/site visit proposal

6/2/2017 Seth Packrone    0:06:00 Billable   Tc with M. Smith re: instructions for updating budget proposal for expert
                                             Tc with ACLU (J. LoCicero, R. Livengood) and Proskauer (B. Silverman, B. Friedman) and M. Smith
6/2/2017 Seth Packrone    0:48:00 Billable   re: next steps for working with expert

6/2/2017 Seth Packrone    1:00:00 Billable   Draft new budget/timeline proposal for expert based on expert's proposals

6/2/2017 Seth Packrone    0:12:00 Billable   Send budget/timelineroposal to M. Smith with notes for strategy for developing it
                                             Review categories of discovery/docs that expert should get for his assessment from SP; add
6/5/2017 Mary-Lee Smith   0:18:00 Billable   further categories

6/5/2017 Mary-Lee Smith   0:12:00 Billable   Review various consent orders re expert from SP

6/5/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: next steps for budget proposal

6/5/2017 Seth Packrone    0:18:00 Billable   Review/edit proposed budget and timeline

6/5/2017 Seth Packrone    0:12:00 Billable   Send revised budget/timeline to M. Smith with notes for next steps

6/5/2017 Seth Packrone    0:18:00 Billable   Draft email and compile orders to send to expert

6/5/2017 Seth Packrone    0:18:00 Billable   Review/analyze expert's updated discovery categories to be submitted to Defendants

6/5/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: meeting to discuss budget/timeline

6/5/2017 Seth Packrone    0:12:00 Billable   Send analysis of discovery categories to M. Smith with notes for next steps
                                             Review joint retainer for expert w/ all comments/edits; add further edits and respond to
6/6/2017 Mary-Lee Smith   0:42:00 Billable   comments; attempt to finalize/cleanup for Ds review

6/6/2017 Mary-Lee Smith   0:24:00 Billable   Review/revise joint portions of CMC statement

6/6/2017 Mary-Lee Smith   0:30:00 Billable   Call w/ co-counsel re budget for expert

6/6/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ SP retainer and expert budget as well as client issue

6/6/2017 Seth Packrone    0:18:00 Billable   Review/analyze joint retainer for expert from defendants
                                             Compile analysis/comments on joint retainer for expert and send to M. Smith with notes for
6/6/2017 Seth Packrone    0:18:00 Billable   further edits

6/6/2017 Seth Packrone    0:12:00 Billable   Draft email to G. Bueno

6/6/2017 Seth Packrone    0:06:00 Billable   Tc with M. Smith re: updated expert budget from co-counsel

6/6/2017 Seth Packrone    0:06:00 Billable   Edit budget based on co-counsel's and internal comments and circulate to team
                                             Tc with litigation team (M. Smith, B. Silverman, and B. Friedman, R. Livengood, andJ. LoCicero)
6/6/2017 Seth Packrone    0:30:00 Billable   re: next steps for budget

6/6/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: retainer/budget/email about client issue

6/7/2017 Mary-Lee Smith   0:24:00 Billable   Call w/ opposing counsel, SP and RL re scope of expert's work

6/7/2017 Mary-Lee Smith   0:12:00 Billable   Call w/ SP re scope of work issue

6/7/2017 Mary-Lee Smith   0:12:00 Billable   Review final retainer, scope of work, and cover email to opposing counsel from SP

6/7/2017 Mary-Lee Smith   0:18:00 Billable   Call w/ lit team re final retainer
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 6/7/2017 Seth Packrone    0:12:00 Billable   Review retainer with edits from R. Livengood

 6/7/2017 Seth Packrone    0:06:00 Billable   Draft analysis for M. Smith on joint retainer
                                              Tc with opposing counsel and M. Smith, R. Livengood, and B. Friedman re: scope of expert's
 6/7/2017 Seth Packrone    0:24:00 Billable   work

 6/7/2017 Seth Packrone    0:12:00 Billable   Follow up tc with M. Smith re: next steps for joint retainer and other follow up items

 6/7/2017 Seth Packrone    0:30:00 Billable   Edit joint retainer/work plan to circulate to opposing counsel

 6/7/2017 Seth Packrone    0:12:00 Billable   Draft email to opposing counsel to send with joint retainer

 6/7/2017 Seth Packrone    0:06:00 Billable   Send joint retainer to M. Smith with notes for next steps

 6/8/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: edits to joint retainer

 6/8/2017 Seth Packrone    0:48:00 Billable   Finalize retainer to send to opposing counsel with co-counsel's comments incorporated

 6/8/2017 Seth Packrone    0:06:00 Billable   Send retainer to M. Smith for her review

 6/8/2017 Seth Packrone    0:06:00 Billable   Confer with M. Smith re: next steps for retainer and budget/timeline

 6/8/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: edits to expert's discovery list

 6/8/2017 Seth Packrone    0:06:00 Billable   Send draft email to team re: client issue

 6/8/2017 Seth Packrone    0:06:00 Billable   Draft agenda for co-counsel meeting and follow up with M. Smith about it

 6/8/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: plan to send order/budget/timeline to expert

 6/9/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for co-counsel meeting this afternoon

 6/9/2017 Seth Packrone    0:12:00 Billable   Draft emails to opposing counsel and expert re: follow up on timeline and order

 6/9/2017 Seth Packrone    0:24:00 Billable   Finalize retainer/timeline to send to expert

 6/9/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for sharing timeline/budget with expert

 6/9/2017 Seth Packrone    0:06:00 Billable   Review/edit letter to court from opposing counsel

 6/9/2017 Seth Packrone    0:06:00 Billable   Draft email to opposing counsel re: edits to letter to court

 6/9/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: second draft of letter to court from opposing counsel

 6/9/2017 Seth Packrone    0:12:00 Billable   Edit/draft letter to potential client re: follow up on intake

 6/9/2017 Seth Packrone    0:06:00 Billable   Correspond with L. Ackerson re: follow up on intake letter to potential client

 6/9/2017 Seth Packrone    0:06:00 Billable   Review/edit new version of email to expert

6/12/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: follow up items and next steps for intakes/discovery

6/12/2017 Seth Packrone    0:06:00 Billable   Review letter to potential client and advise L. Ackerson re: same

6/13/2017 Mary-Lee Smith   0:18:00 Billable   Review proposed order to Court re expert (scope and timeline) from SP; make revisions re same

6/13/2017 Seth Packrone    0:06:00 Billable   Correspond with organizational client re: update on case

6/13/2017 Seth Packrone    0:30:00 Billable   Draft proposed order for expert's role and timeline in case

6/13/2017 Seth Packrone    0:12:00 Billable   Send order to M. Smith with notes for next steps

6/13/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps in case

6/13/2017 Seth Packrone    0:06:00 Billable   Check in with L. Ackerson re: status of records requests for intakes

6/13/2017 Seth Packrone    0:06:00 Billable   Follow up with litigation team re: next steps for order

6/13/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps for submitting order and finalizing timeline for expert

6/14/2017 Mary-Lee Smith   0:12:00 Billable   Discuss starting site visits in August w/ SP

6/14/2017 Mary-Lee Smith   0:12:00 Billable   Review/revise letter to court re site visits

6/14/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: edits to order

6/14/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps for order for expert's timeline and role in case
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6/14/2017 Seth Packrone    0:06:00 Billable   Draft email to opposing counsel with order attached

6/14/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: submitting order today

6/14/2017 Seth Packrone    0:06:00 Billable   Edit order based on team's comments and send back to team

6/14/2017 Seth Packrone    0:06:00 Billable   Finalize proposed order to share with opposing counsel

6/14/2017 Seth Packrone    0:06:00 Billable   Check in with M. Smith re: plan for submitting proposed order to court

6/14/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: ESY in NJDOC facilities and starting site visits in August

6/14/2017 Seth Packrone    0:24:00 Billable   Draft letter to court re: starting visits in August and submitting proposed order

6/14/2017 Seth Packrone    0:12:00 Billable   Revise/edit letter to court

6/14/2017 Seth Packrone    0:06:00 Billable   Send letter to court to M. Smith for feedback/edits with notes for next steps

6/14/2017 Seth Packrone    0:06:00 Billable   Correspond with opposing counsel re: order/next steps

6/14/2017 Seth Packrone    0:12:00 Billable   Review/edit letter to court based on co-counsel edits

6/14/2017 Seth Packrone    0:06:00 Billable   Read and analzye response from opposing counsel

6/14/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for editing letter and submitting that with order to court

6/14/2017 Seth Packrone    0:06:00 Billable   Correspond with litigation team re: plan for submitting letter/order to court
                                              Finalize letter/order and send to co-counsel to file (including converting from consent to
6/14/2017 Seth Packrone    0:36:00 Billable   proposed order)

6/14/2017 Seth Packrone    0:06:00 Billable   Review translation service for release/retainer

6/14/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Caiola re: plan for translation service

6/15/2017 Seth Packrone    0:06:00 Billable   Check in with M. Caiola re: status of case

6/15/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: correspond with opposing counsel about client issue

6/15/2017 Seth Packrone    0:06:00 Billable   Correspond with opposing counsel re: client issue

6/15/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: agenda and team meeting

6/15/2017 Seth Packrone    0:06:00 Billable   Draft agenda for co-counsel meeting tomorrow

6/16/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ SP re call w/ co-counsel

6/16/2017 Mary-Lee Smith   0:24:00 Billable   Call w/ team re discovery, expert and site visits

6/16/2017 Seth Packrone    0:06:00 Billable   Correspond with org. client plan for update

6/16/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: plan for call with co-counsel

6/16/2017 Seth Packrone    0:06:00 Billable   Send agenda to team to prep for co-counsel call

6/16/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Silverman re: plan for co-counsel call

6/16/2017 Seth Packrone    0:06:00 Billable   Update intake letter with information for class action

6/16/2017 Seth Packrone    0:06:00 Billable   Review opposing counsel letter re: position on site visits

6/16/2017 Seth Packrone    0:12:00 Billable   Follow up with L. Ackerson re: next steps for records requests

6/16/2017 Seth Packrone    0:24:00 Billable   Co-counsel call with team re: next steps for discovery, expert and intakes

6/16/2017 Seth Packrone    0:12:00 Billable   Follow up tc with M. Smith re: next steps for case and staffing moving forward

6/16/2017 Seth Packrone    0:06:00 Billable   Correspond with G. Bueno re: modifying list of people who have acccess to client names

6/19/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ SP re client update and visits

6/19/2017 Seth Packrone    0:30:00 Billable   Tc with org. client re: update on case

6/19/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: email for expert

6/19/2017 Seth Packrone    0:06:00 Billable   Follow up on Defendants' position on timeline for expert's work

6/19/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re; status of ADA coordinator position at NJDOC
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                                              Follow up with R. Livengood re: response to opposing counsel/expert re: timeline for expert's
6/19/2017 Seth Packrone    0:06:00 Billable   work

6/19/2017 Seth Packrone    0:06:00 Billable   Check in with L. Ackerson re: status of records requests for potential client

6/19/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: client visits

6/19/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: following up with expert

6/19/2017 Seth Packrone    0:06:00 Billable   Get directions from M. Smith re: follow up with expert

6/20/2017 Seth Packrone    0:06:00 Billable   correspond with M. Smith re: visits to prisons

6/20/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: contacting ACLU about prison visits

6/20/2017 Seth Packrone    0:06:00 Billable   Review correspondence with opposing cousnel re: site visits

6/20/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: client visits

6/20/2017 Seth Packrone    0:06:00 Billable   Check in with L. Ackerson re: next steps for records requests

6/21/2017 Mary-Lee Smith   0:18:00 Billable   Email exchange w/ SP and team re timing of expert site visits (multiple emails)

6/21/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: expert's position on timing of expert visits

6/21/2017 Seth Packrone    0:06:00 Billable   Corrspond with team re: expert's proposal for timeline for expert visits

6/21/2017 Seth Packrone    0:12:00 Billable   Review D's docs on 12 month school year and other educational requirements

6/21/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith re: discovery next steps

6/21/2017 Seth Packrone    0:06:00 Billable   Follow up with L. Ackerson re: potential client's records from public school

6/21/2017 Seth Packrone    0:12:00 Billable   Review records requests letters and give final approval

6/21/2017 Seth Packrone    0:06:00 Billable   Review potential client's documents from public school

6/22/2017 Mary-Lee Smith   0:12:00 Billable   Discuss discovery appproach and categories w/ SP

6/22/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: discovery plan and next steps for next meeting

6/22/2017 Seth Packrone    0:12:00 Billable   Tc with M. Smith re: next steps for prepping for discovery

6/22/2017 Seth Packrone    0:06:00 Billable   Draft agenda for co-counsel call

6/22/2017 Seth Packrone    0:06:00 Billable   Send draft agenda to M. Smith with question re: client follow up

6/22/2017 Seth Packrone    0:06:00 Billable   Correspond with opposing counsel re: client issue

6/22/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: client issue

6/23/2017 Mary-Lee Smith   0:12:00 Billable   Update from SP re team call and clients status

6/23/2017 Seth Packrone    0:06:00 Billable   Update team re: next meeting and send agenda

6/23/2017 Seth Packrone    0:24:00 Billable   Tc with R. Livengood re: next steps in case and updates for clients

6/23/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: team call and next steps for case

6/23/2017 Seth Packrone    0:06:00 Billable   Contact B. Friedman re: plan for discovery
                                              Correspond with M. Smith re: next steps for discovery (drafting tags, key words, schedule for
6/26/2017 Seth Packrone    0:12:00 Billable   reviewing documents)

6/27/2017 Mary-Lee Smith   0:18:00 Billable   Review/revise letter to the court re site visit schedule

6/27/2017 Seth Packrone    0:06:00 Billable   Follow up on correspondence with opposing counsel and expert re: visit schedule for expert

6/27/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: items to include in letter to court re: site visit schedule

6/27/2017 Seth Packrone    0:18:00 Billable   Draft letter to court re: status of site visit schedule for expert

6/27/2017 Seth Packrone    0:12:00 Billable   Revise/edit letter to court re: status of site visit schedule

6/27/2017 Seth Packrone    0:06:00 Billable   Send draft letter to court to team with notes for editing

6/27/2017 Seth Packrone    0:12:00 Billable   Revise letter and proofread based on M. Smith and R. Livengood's edit s and send to team

6/27/2017 Seth Packrone    0:06:00 Billable   Follow up with R. Livengood re: visit with client and visiting DOC facility moving forward
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6/27/2017 Seth Packrone    0:12:00 Billable   Prep to revise discovery categories/tags
                                              Review/revise tags and categories for coding docs received from Ds; send edits to SP w/ email
6/28/2017 Mary-Lee Smith   0:24:00 Billable   exchange re same w/ same
                                              Draft discovery categories/key words for reviewing DOC documents based on expert's discovery
6/28/2017 Seth Packrone    1:00:00 Billable   requests

6/28/2017 Seth Packrone    0:12:00 Billable   Revise discovery tags/categories to send to M. Smith

6/28/2017 Seth Packrone    0:12:00 Billable   Send discovery tags/categories to M. Smith with notes for further edits

6/29/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: edits to categories/tags fo discovery

6/29/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: discovery categories/tags and tomorrow's meeting

6/30/2017 Seth Packrone    0:12:00 Billable   Update team re: status of team calls and items to follow up on

6/30/2017 Seth Packrone    0:42:00 Billable   Revise discovery tags/categories based on M. Smith's edits/comments

6/30/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: discovery tags/categories and sending to team

6/30/2017 Seth Packrone    0:06:00 Billable   Send discovery tags/categories to team with note for next steps

6/30/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: next week's call with court and correspond with team re: same

 7/4/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ S.Packrone re discovery extension

 7/4/2017 Seth Packrone    0:18:00 Billable   Correspond with M. Smith and litigation team re: next steps for request for discovery extension

 7/5/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: granting defendants' discovery extension

 7/6/2017 Mary-Lee Smith   0:18:00 Billable   Review/revise talking points for call with court from S.Packrone; add and edit

 7/6/2017 Seth Packrone    0:06:00 Billable   Follow up with expert re: call with court

 7/6/2017 Seth Packrone    0:24:00 Billable   Draft talking points re: 7.7.17 call with court

 7/6/2017 Seth Packrone    0:06:00 Billable   Draft email to team re: call with court on 7.7

 7/6/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: call with court and talking points

 7/6/2017 Seth Packrone    0:12:00 Billable   Review/edit talking points for call with court and review court documents to confirm dates

 7/6/2017 Seth Packrone    0:06:00 Billable   Review Defendants' letter to court re: follow up on site visits issue

 7/6/2017 Seth Packrone    0:06:00 Billable   Send talking points to team and update on call with court

 7/6/2017 Seth Packrone    0:06:00 Billable   Follow up with J. LoCicero re: talking points for call with court

 7/7/2017 Mary-Lee Smith   0:12:00 Billable   Call with S.Packrone re court call and retainer with expert

 7/7/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: today's call with court

 7/7/2017 Seth Packrone    0:12:00 Billable   Follow up with team re: responding to Defendants' site visit proposals

 7/7/2017 Seth Packrone    0:24:00 Billable   Prep for tc with court re: review letters to court

 7/7/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: expert retainer

 7/7/2017 Seth Packrone    0:06:00 Billable   Review correspondence from expert re: status of discovery materials

 7/7/2017 Seth Packrone    0:18:00 Billable   Tc with Judge Goodman, J. LoCicero, and B. Friedman and opposing counsel and expert

 7/7/2017 Seth Packrone    0:12:00 Billable   Follow up tc with J. LoCicero and B. Friedman re: next steps for case

 7/7/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: call with court

 7/7/2017 Seth Packrone    0:06:00 Billable   Check in with Laurel re: calendaring and status of potential client's records

 7/9/2017 Mary-Lee Smith   0:12:00 Billable   Discuss site visits and discovery w/ SP

 7/9/2017 Seth Packrone    0:06:00 Billable   Review emails with opposing counsel and expert

 7/9/2017 Seth Packrone    0:12:00 Billable   Check in with M. Smith re: next steps in site visit schedule and discovery

7/10/2017 Mary-Lee Smith   0:18:00 Billable   Multiple calls and emails throughout day with SP re setting site visits, discovery and expert

7/10/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: plan for expert's visits
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7/10/2017 Seth Packrone    0:06:00 Billable   Tc with client

7/10/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: site visits

7/10/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for site visits

7/10/2017 Seth Packrone    0:06:00 Billable   Review correspondence from Defendants

7/10/2017 Seth Packrone    0:06:00 Billable   Tc with M. Smith re: plan for site visits

7/10/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps

7/10/2017 Seth Packrone    0:12:00 Billable   Draft response to G. Bueno re: site visits for experts

7/10/2017 Seth Packrone    0:06:00 Billable   Send Defendants and expert update on site visit plan and plaintiffs' proposal

7/10/2017 Seth Packrone    0:06:00 Billable   Follow up with Defendants re: adding new person to list of employees

7/10/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: potential client's eduational records

7/11/2017 Seth Packrone    0:06:00 Billable   Follow up with L. Ackerman re: analyzing records

7/11/2017 Seth Packrone    0:06:00 Billable   Review Defendants' email

7/11/2017 Seth Packrone    0:30:00 Billable   Draft proposal for site visits and edit potential consent order

7/11/2017 Seth Packrone    0:06:00 Billable   Correspond with J. LoCicero re: discovery files

7/11/2017 Seth Packrone    0:12:00 Billable   Draft follow up email to G. Bueno re: consent order
                                              Follow up with M. Smith re: next steps for potential consent order on site visits and the expert
7/11/2017 Seth Packrone    0:06:00 Billable   timeline

7/12/2017 Mary-Lee Smith   0:18:00 Billable   Review/revise tags and categories for coding docs received from Ds

7/12/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: status of consent order

7/12/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Friedman and R. Livengood re: status of site visits and cosent order

7/12/2017 Seth Packrone    0:12:00 Billable   Edit consent order

7/12/2017 Seth Packrone    0:06:00 Billable   Send proposed consent order to G. Bueno

7/12/2017 Seth Packrone    0:06:00 Billable   Give instructions to L. Ackerson re: reviewing documents

7/12/2017 Seth Packrone    0:12:00 Billable   Correspond with G. Bueno re: timing for site visits

7/12/2017 Seth Packrone    0:06:00 Billable   Review R. Livengood edits to tags/categories for discovery

7/12/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: edits to tags/categories

7/12/2017 Seth Packrone    0:12:00 Billable   Sort discovery documents from Defendants

7/12/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: discovery call and co-counsel capacity for reviewing documents

7/12/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: plan for discovery call

7/12/2017 Seth Packrone    0:06:00 Billable   Tc with M. Smith, B. Silverman, and B. Friedman re: plan for discovery

7/12/2017 Seth Packrone    0:06:00 Billable   Send update on potential client and documents to team

7/12/2017 Seth Packrone    0:06:00 Billable   Edit discovery tags/categories based on co-counsel's edits

7/12/2017 Seth Packrone    0:06:00 Billable   Send update to team re: discovery tags/categories

7/12/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: tasks over the next week

7/12/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: update from discovery call with co-counsel

7/13/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: filing consent order

7/13/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: status of consent order

7/21/2017 Seth Packrone    0:12:00 Billable   Review emails with team and opposing counsel re: schedule for expert visits

7/22/2017 Seth Packrone    0:06:00 Billable   Correspond with L. Ackerson re: filings in NJDOC

7/24/2017 Seth Packrone    0:12:00 Billable   Review emails with opposing counsel and co-counsel
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7/25/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: visit schedule for expert

7/26/2017 Seth Packrone    0:06:00 Billable   Check in with M. Smith re: status of case

7/27/2017 Seth Packrone    0:06:00 Billable   Review emails re: expert discovery

7/27/2017 Seth Packrone    0:06:00 Billable   Review timeline for expert visits

7/27/2017 Seth Packrone    0:06:00 Billable   Check in with M. Smith and team re: meeting

7/27/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: order to file with court

7/27/2017 Seth Packrone    0:06:00 Billable   Send order to M. Smith and R. Livengood to file with court

7/27/2017 Seth Packrone    0:06:00 Billable   Draft agenda for tomorrow' meetings

7/27/2017 Seth Packrone    0:18:00 Billable   Review letters filed with court while away

7/28/2017 Mary-Lee Smith   0:18:00 Billable   Discuss call re doc review and site visits w/ SP

7/28/2017 Seth Packrone    0:18:00 Billable   Tc with R. Livengood and B. Friedman re: discovery review and site visit strategy

7/28/2017 Seth Packrone    0:18:00 Billable   Correspond with M. Smith re: update on call and next steps for site visits

7/29/2017 Seth Packrone    0:12:00 Billable   Check in with M. Smith re: site visits to prisons

7/31/2017 Seth Packrone    0:06:00 Billable   Follow up on filed order with L. Ackerson and review court filings

7/31/2017 Seth Packrone    0:12:00 Billable   Draft timeline for site visits and apportion visits

7/31/2017 Seth Packrone    0:06:00 Billable   Send timeline for site visits with questions to M. Smith

7/31/2017 Seth Packrone    0:06:00 Billable   Draft email to send to team with timeline for site visits

7/31/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: staffing for site visits

 8/2/2017 Mary-Lee Smith   0:12:00 Billable   Call with co-counsel re next steps in expert doc production and setting up visits

 8/2/2017 Mary-Lee Smith   0:06:00 Billable   Email to G. Bueno re doc production

 8/2/2017 Seth Packrone    0:12:00 Billable   Draft update/agenda for M. Smith for today's call

 8/2/2017 Seth Packrone    0:06:00 Billable   Review discovery docs from Defendants

 8/2/2017 Seth Packrone    0:06:00 Billable   Update team re: agenda for call and site visits

 8/2/2017 Seth Packrone    0:12:00 Billable   Tc with co-counsel re: plan for discovery and site visits

 8/2/2017 Seth Packrone    0:06:00 Billable   Draft email to Defendants re: discovery

 8/3/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith re: regulations and potential client records

 8/3/2017 Seth Packrone    0:06:00 Billable   Correspond with L. Ackereson re: status of records requests and filings on ECF

8/10/2017 Mary-Lee Smith   0:12:00 Billable   Review agenda for team meeting tomorrow; email S.Packrone re same

8/10/2017 Seth Packrone    0:06:00 Billable   Draft agenda for tomorrow's call

8/10/2017 Seth Packrone    0:12:00 Billable   Send agenda to M. Smith with notes for document review

8/10/2017 Seth Packrone    0:12:00 Billable   Send agenda to team with notes for today's call

8/11/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: agenda items for today's call

8/11/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith re: today's call and discovery and site visits

8/11/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: schedule for site visits

8/11/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: site visits

8/11/2017 Seth Packrone    0:06:00 Billable   Check document uploads and whether guide works for reviewing documents

8/13/2017 Seth Packrone    0:12:00 Billable   Correspond with M. Smith re: discovery proposal

8/13/2017 Seth Packrone    0:06:00 Billable   Send proposal for discovery timeline/breakdown to team

8/14/2017 Seth Packrone    0:12:00 Billable   Tc with client
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8/14/2017 Seth Packrone   0:12:00 Billable   Follow up with team re: status of diploma for client

8/14/2017 Seth Packrone   0:06:00 Billable   Follow up with M. Smith re: diploma strategy

8/14/2017 Seth Packrone   0:06:00 Billable   Follow up with team re: diploma strategy

8/14/2017 Seth Packrone   0:06:00 Billable   Tc with client re: update on case

8/16/2017 Seth Packrone   0:06:00 Billable   Correspond with M. Smith re: plan for next meeting

8/17/2017 Seth Packrone   0:30:00 Billable   Tc with team re: next steps for site visits and discovery process

8/19/2017 Seth Packrone   0:18:00 Billable   Correspond with team re: next steps for compeling Defendants to turn over documents
                                             Correspond with team re: next steps in getting judge to compel Defendants to turn over
8/21/2017 Seth Packrone   0:06:00 Billable   documents

8/21/2017 Seth Packrone   0:24:00 Billable   Review regulations for HIPAA compliant protective order and turning over information

8/21/2017 Seth Packrone   0:06:00 Billable   Tc with R. Livengood re: attorney client visit lists

8/21/2017 Seth Packrone   0:06:00 Billable   Correspond with R. Livengood re: regulations for HIPAA compliant protective order

8/21/2017 Seth Packrone   0:06:00 Billable   Tc with R. Livengood re: plan for site visits at NJDOC facility

8/21/2017 Seth Packrone   0:36:00 Billable   Draft order to compel Defendants to turn over information

8/21/2017 Seth Packrone   0:12:00 Billable   Revise order before sending to co-counsel

8/21/2017 Seth Packrone   0:18:00 Billable   Complete documents for site visit background checks

8/21/2017 Seth Packrone   0:06:00 Billable   Correspond with G. Bueno re: completing background check forms

8/21/2017 Seth Packrone   0:06:00 Billable   Tc with M. Smith re: plan for call with court
                                             Tc with Judge Goodman, co-counsel, and opposing counsel re: documents to turn over to expert
8/21/2017 Seth Packrone   0:24:00 Billable   and plaintiffs' counsel

8/21/2017 Seth Packrone   0:06:00 Billable   Tc with R. Livengood re: next steps for court order

8/21/2017 Seth Packrone   0:12:00 Billable   Follow up on emails with opposing counsel re: plans for site visits

8/21/2017 Seth Packrone   0:12:00 Billable   Correspond with co-counsel re: information to turn over to DOC

8/22/2017 Seth Packrone   0:12:00 Billable   Get input from M. Caiola re: providing info to DOC

8/22/2017 Seth Packrone   0:06:00 Billable   Follow up with RL re: information to provide to DOC

8/22/2017 Seth Packrone   0:30:00 Billable   Follow up on documents needed for site visit and submit to Defendants

8/22/2017 Seth Packrone   0:12:00 Billable   Edit court order

8/22/2017 Seth Packrone   0:06:00 Billable   Tc with RL and JL from co-counsel re: information to submit to Defendants and court order

8/22/2017 Seth Packrone   0:12:00 Billable   Tc with RL from co-counsel re: prep for site visit tomorrow

8/22/2017 Seth Packrone   0:12:00 Billable   Prep for site visit at Mountainview

8/23/2017 Seth Packrone   0:48:00 Billable   Travel to and from Mountainvew Youth Correctional Facility for site visit (1.7 total - bill half)

8/23/2017 Seth Packrone   0:30:00 Billable   pre-meeting and processing with DOC staff and expert

8/23/2017 Seth Packrone   2:48:00 Billable   Tour and observing classes with expert during site visit at MV

8/23/2017 Seth Packrone   2:00:00 Billable   Wait with DOC staff while expert views IEPs and reviews other documents during site visit of MV
                                             Reconvene with expert during MV site visit to go over outstanding documents and other
8/23/2017 Seth Packrone   0:24:00 Billable   questions

8/23/2017 Seth Packrone   0:48:00 Billable   Wait with DOC staff while expert interviews students for MV site visit

8/23/2017 Seth Packrone   0:30:00 Billable   Recap with expert after interviews with students during MV site visit

8/23/2017 Seth Packrone   1:24:00 Billable   Wait with DOC staff while expert continued to review documents during MV site visit

8/23/2017 Seth Packrone   0:30:00 Billable   Recap site visit summary with expert after he completed his review at MV

8/23/2017 Seth Packrone   0:18:00 Billable   Confer with R. Livengood re: impressions and next steps

8/23/2017 Seth Packrone   0:06:00 Billable   Correspond with R. Livengood re: intakes for Monday
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8/24/2017 Mary-Lee Smith   0:48:00 Billable   Call w/ co-counsel rer visits and doc review

8/24/2017 Mary-Lee Smith   0:12:00 Billable   Check in with S.Packrone following call w/ co-counsel re site visits and expert report

8/24/2017 Seth Packrone    0:18:00 Billable   Compile intake list and research further intakes for RL

8/24/2017 Seth Packrone    0:06:00 Billable   Send next round of intakes to RL for visits with notes on next steps

8/24/2017 Seth Packrone    0:06:00 Billable   Follow up with client re: update on case

8/24/2017 Seth Packrone    0:06:00 Billable   Draft agenda for team call and send to M. Smith

8/24/2017 Seth Packrone    0:06:00 Billable   Draft short memo re: update on site visit for M. Smith

8/24/2017 Seth Packrone    0:06:00 Billable   Update M. Caiola re: site visit status

8/24/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: issues for today's call from site visit

8/24/2017 Seth Packrone    0:06:00 Billable   Update agenda for today's call

8/24/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: strategic items for today's call

8/24/2017 Seth Packrone    0:12:00 Billable   Review memo on site visit from R. Livengood

8/24/2017 Seth Packrone    0:48:00 Billable   Tc with M. Smith, B. Friedman, and E. Huertas re: next site visits and strategic decisions

8/24/2017 Seth Packrone    0:06:00 Billable   Follow up tc with M. Smith re: retainer

8/24/2017 Seth Packrone    0:18:00 Billable   Modify retainer for potential client

8/24/2017 Seth Packrone    0:06:00 Billable   Review emails with opposing counsel and expert

8/24/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: retainer and following up with G. Bueno

8/24/2017 Seth Packrone    0:06:00 Billable   Update site visit schedule and circulate for further input from team

8/25/2017 Seth Packrone    0:06:00 Billable   Correspond with R. Livengood re: status of retainer

8/25/2017 Seth Packrone    0:06:00 Billable   Correspond with opposing counsel re: schedule for site visits

8/28/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ S.Packrone re site visits and retainers for potentially new clients

8/28/2017 Seth Packrone    0:48:00 Billable   Tc with J. Oppenheim re: update on case

8/28/2017 Seth Packrone    0:24:00 Billable   Review discovery documents from Defendants for expert

8/28/2017 Seth Packrone    0:06:00 Billable   Tc with R. Livengood re: plan for today's visits

8/28/2017 Seth Packrone    0:06:00 Billable   Tc with B. Friedman re: next steps for discovery

8/28/2017 Seth Packrone    0:06:00 Billable   Review correspondence between expert and opposing counsel

8/28/2017 Seth Packrone    0:12:00 Billable   Update site visit list and follow up with team re: same

8/28/2017 Seth Packrone    0:06:00 Billable   Update team re: status of document review for discovery

8/28/2017 Seth Packrone    0:06:00 Billable   Review investigation retainer drafted by R. Livengood

8/28/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: issues in case and investigation retainer

8/29/2017 Seth Packrone    0:12:00 Billable   Follow up with org. client re: judge goodman order and progress on case

8/29/2017 Seth Packrone    0:06:00 Billable   Follow up re: expert payment

8/29/2017 Seth Packrone    0:18:00 Billable   Review discovery documents from Defendants for expert and index

8/29/2017 Seth Packrone    0:18:00 Billable   Draft plan for team re: following up with DOC and expert about missing documents

8/29/2017 Seth Packrone    0:12:00 Billable   Review NJSP documents turned over by Defendants

8/29/2017 Seth Packrone    0:06:00 Billable   Correspond with E. Huertas re: release language

8/29/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: intakes and next steps

8/29/2017 Seth Packrone    0:06:00 Billable   Review intake notes from RL's visits

8/29/2017 Seth Packrone    0:06:00 Billable   Draft response to Defendants re: expert's renewed discovery requests
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8/29/2017 Seth Packrone   0:06:00 Billable   Follow up with M. Smith re: this week's meeting and response to Defendants

8/29/2017 Seth Packrone   0:06:00 Billable   Correspond with co-counsel re: next steps for meeting, intakes, and discovery review

8/29/2017 Seth Packrone   0:06:00 Billable   Follow up with R. Livengood re: whether expert got all documents he needs

8/29/2017 Seth Packrone   0:18:00 Billable   Review documents from NJDOC for expert and follow up with B. Friedman re: same

8/29/2017 Seth Packrone   0:06:00 Billable   Update agenda for weekly call with next step questions for clients/intakes
                                             Correspond with R. Livengood re: follow up with defendants and expert about outstanding
8/29/2017 Seth Packrone   0:06:00 Billable   document requests

8/29/2017 Seth Packrone   0:06:00 Billable   Send email to everyone re: outstanding documents that NJDOC owes expert

8/29/2017 Seth Packrone   0:06:00 Billable   Correspond with M. Smith

8/30/2017 Seth Packrone   0:06:00 Billable   Correspond with M. Smith re: agenda for tomorrow's call and next steps for site visits
                                             Review correspondence from expert and opposing counsel re: site visits and follow up
8/30/2017 Seth Packrone   0:06:00 Billable   documents needed
                                             Review/analyze/draft response to expert's questions re: expert report format and schedules for
8/30/2017 Seth Packrone   0:12:00 Billable   site visits

8/30/2017 Seth Packrone   0:06:00 Billable   Follow up with opposing counsel re: status of expert's new document requests

8/30/2017 Seth Packrone   0:12:00 Billable   Correspond with R. Livengood and B. Friedman re: attendance at site visits next week

8/30/2017 Seth Packrone   0:18:00 Billable   Correspond with M. Smith re: discovery plan for expert discovery and next steps for case

8/30/2017 Seth Packrone   0:06:00 Billable   Correspond with M. Smith re: disocvery plan

8/30/2017 Seth Packrone   0:06:00 Billable   Follow up with team re: agenda for tomorrow's call

8/30/2017 Seth Packrone   0:06:00 Billable   Follow up with team and M. Smith ree: response to expert for formatting report
                                             Correspond with expert re: formatting of report and follow up discovery requests for
8/30/2017 Seth Packrone   0:06:00 Billable   Mountainview

8/30/2017 Seth Packrone   0:18:00 Billable   Review documents turned over by Defendants to expert

8/31/2017 Seth Packrone   0:42:00 Billable   Tc with co-counsel re: review of documents turned over by Defendants for expert

8/31/2017 Seth Packrone   0:06:00 Billable   Tc with R. Livengood re: update on client visits

8/31/2017 Seth Packrone   0:18:00 Billable   Update M. Smith re: discovery call and client visits
                                             Tc with R. Livengood, M. Smith, B. Friedman, and E. Huertas re: next steps for site visits and
8/31/2017 Seth Packrone   0:36:00 Billable   discovery

8/31/2017 Seth Packrone   0:18:00 Billable   Draft response to Defendants questions and update on attendance at site visits

 9/1/2017 Seth Packrone   0:06:00 Billable   Review expert email and proposed schedule for site visit to NJSP/M'View/CRAF

 9/1/2017 Seth Packrone   0:06:00 Billable   Correspond with B. Friedman re: changes to visit schedule

 9/1/2017 Seth Packrone   0:06:00 Billable   Update site visit schedule and plan for next week to send to Defendants

 9/1/2017 Seth Packrone   0:06:00 Billable   Tc with opposing counsel Vomacka re: plan for site visit on Tuesday

 9/1/2017 Seth Packrone   0:06:00 Billable   Tc with R. Livengood re: plaintiffs' position on expert's extra site visit

 9/1/2017 Seth Packrone   0:06:00 Billable   Update M. Smith re: site visit schedule

 9/1/2017 Seth Packrone   0:06:00 Billable   Correspond with R. Livengood re: interviewing named plaintiffs

 9/1/2017 Seth Packrone   0:06:00 Billable   Follow up with R. Livengood and M. Smith re: response to Defendants

 9/1/2017 Seth Packrone   0:06:00 Billable   Update Defendants and expert re: plan for next week and plaintiffs' position on site visits

 9/1/2017 Seth Packrone   0:24:00 Billable   Prep for site visit at NJSP on 9/5/17

 9/5/2017 Seth Packrone   0:36:00 Billable   Travel to New Jersey State Prison for expert site visit (bill half, exclude half)

 9/5/2017 Seth Packrone   0:24:00 Billable   Wait for opposing counsel to arrive in conference room with expert and client at site visit

 9/5/2017 Seth Packrone   2:06:00 Billable   Pre-meeting and tour of facility with expert at site visit

                                             Conference room session with opposing counsel and expert as expert goes over documents
 9/5/2017 Seth Packrone   3:00:00 Billable   needed for his expert report that Defendants have not provided yet at site visit

 9/5/2017 Seth Packrone   0:30:00 Billable   Tour of facility with expert to observe educational instruction at site visit
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9/5/2017 Seth Packrone    1:12:00 Billable   Debrief in conference rooom with expert and continue to go over document requests at site visit
                                             Wait in conference room with opposing consel as expert reviewed documents in a different
9/5/2017 Seth Packrone    1:30:00 Billable   room at site visit

9/5/2017 Seth Packrone    0:36:00 Billable   Travel from New Jersey State Prison for expert site visit (bill half, exclude half)

9/5/2017 Seth Packrone    0:06:00 Billable   Correspond with co-counsel re: Wednesday's site visit

9/6/2017 Mary-Lee Smith   0:18:00 Billable   Email S.Packrone re site visits updates

9/6/2017 Seth Packrone    0:36:00 Billable   Travel to DOC facility for expert site visit (bill half, exclude half)

9/6/2017 Seth Packrone    0:36:00 Billable   Wait in conference room with expert and opposing counsel at site visit
                                             Wait for processing to begin our tour with expert (but processing took long, so tour didn't
9/6/2017 Seth Packrone    0:18:00 Billable   happen) at site visit

9/6/2017 Seth Packrone    0:18:00 Billable   Wait for client. to be brought to attorney visit room

9/6/2017 Seth Packrone    0:36:00 Billable   Meeting with client

9/6/2017 Seth Packrone    0:24:00 Billable   Wait in conference room for expert at site visit

9/6/2017 Seth Packrone    0:12:00 Billable   Answer question from expert re: documents for named plaintiffs at site visit
                                             Confer with opposing counsel re: getting expert documents he needs for named plaintiffs at site
9/6/2017 Seth Packrone    0:30:00 Billable   visit

9/6/2017 Seth Packrone    0:54:00 Billable   Tour with expert to see student he did not see on the day before at site visit

9/6/2017 Seth Packrone    0:36:00 Billable   Confer with Defendants re: providing documents on named plaintiffs to Gagnon at site visit

9/6/2017 Seth Packrone    0:06:00 Billable   Tc with M. Smith re: providing documents pertaining to named plaintiffs' education

9/6/2017 Seth Packrone    0:18:00 Billable   Wait for expert while he interviews students at site visit

9/6/2017 Seth Packrone    1:12:00 Billable   Review documents on named plaintiffs from Defendants and to give to expert at site visit

9/6/2017 Seth Packrone    1:00:00 Billable   Wait while expert reviews educational documents from facility at site visit

9/6/2017 Seth Packrone    1:18:00 Billable   Answer question from expert re: documents for named plaintiffs at site visit

9/6/2017 Seth Packrone    0:06:00 Billable   Wait for expert to finish preparing summary of day at site visit

9/6/2017 Seth Packrone    0:36:00 Billable   Summary from expert re: special education at DOC facility

9/6/2017 Seth Packrone    0:42:00 Billable   Travel back from DOC facility for expert site visit (bill half, exclude half)

9/6/2017 Seth Packrone    0:06:00 Billable   Update team re: short summary of DOC facility visit

9/7/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps for site visits

9/7/2017 Seth Packrone    0:06:00 Billable   Correspond with B. Friedman re: CRAF site visit

9/8/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: plan for site visits

9/8/2017 Seth Packrone    0:06:00 Billable   Correspond with Defendants re: attorney attendance at site visits moving forward

9/8/2017 Seth Packrone    0:06:00 Billable   Update team re: short summary of CRAF visit

9/8/2017 Seth Packrone    0:42:00 Billable   Travel to CRAF re: expert site visit (bill for half, exclude half)
                                             Conference room session with Defendants and expert re: documents needed to evaluate CRAF's
9/8/2017 Seth Packrone    2:00:00 Billable   need for education at site visit
                                             Wait for documents to be delivered to expert for him to evaluate need for education at CRAF at
9/8/2017 Seth Packrone    1:12:00 Billable   site visit
                                             Work session with Defendants and expert re: documents needed to evaluate need for transition
9/8/2017 Seth Packrone    1:00:00 Billable   services and other issues from previous visits at site visit
                                             Review documents about potential class member to determine if education is needed at
9/8/2017 Seth Packrone    0:36:00 Billable   site visit

9/8/2017 Seth Packrone    1:06:00 Billable   Wait for CRAF intake documents from Defendants at site visit at site visit

9/8/2017 Seth Packrone    0:42:00 Billable   Review and discuss intake documents with defendnatns and experts at CRAF site visit

9/8/2017 Seth Packrone    0:18:00 Billable   Summary of CRAF visit from expert at site visit

9/8/2017 Seth Packrone    0:42:00 Billable   Travel from CRAF re: expert site visit (bill for half, exclude half)

9/8/2017 Seth Packrone    0:42:00 Billable   Travel from CRAF re: expert site visit (bill for half, exclude half)
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 9/8/2017 Seth Packrone     0:12:00 Billable   Tc with J. LoCicero re: attending site visits at Garden State and Wagner

 9/8/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: update on CRAF visit and plan for next site visits

9/11/2017 Michelle Caiola   0:12:00 Billable   update re prison visits with expert, planning for next steps

9/11/2017 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: status of visits later in the week

9/11/2017 Seth Packrone     0:12:00 Billable   Update M. Caiola re: status of expert site visits and steps for next visits

9/11/2017 Seth Packrone     0:06:00 Billable   Review potential client's documents

9/11/2017 Seth Packrone     0:06:00 Billable   Send potential client's documents to E. Huertas and check about status of RL's visit

9/11/2017 Seth Packrone     0:06:00 Billable   Tc with E. Huertas re: update on releases

9/11/2017 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: her attendance at site visits

9/12/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: letter to Judge Goodman re: defendants' failure to provide documents

9/12/2017 Seth Packrone     0:06:00 Billable   Tc with B. Friedman re: update on site visit attendance

9/12/2017 Seth Packrone     0:24:00 Billable   Tc with J. LoCicero re: update on Garden State visit and letter to judge

9/12/2017 Seth Packrone     0:18:00 Billable   Draft short memo re: update on site visits and next steps for M. Smith

9/12/2017 Seth Packrone     0:06:00 Billable   Review emails from expert re: additional document requests

9/12/2017 Seth Packrone     0:18:00 Billable   Draft email to Defendants re: document production for named plaintiffs

9/13/2017 Seth Packrone     0:18:00 Billable   Review/edit letter to judge goodman and correspond with team re: same

9/13/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: follow up email about document production for named plaintiffs

9/13/2017 Seth Packrone     0:12:00 Billable   Edit/revise NJSP day 2 memo

9/13/2017 Seth Packrone     0:06:00 Billable   Send short summary to team re: GYCF visit and NJSP day #2

9/13/2017 Seth Packrone     0:06:00 Billable   Correspond with defendants re: plaintiffs turning over documents for named plaintiffs

9/13/2017 Seth Packrone     0:36:00 Billable   Drive to DOC facility for expert site visit (bill half, exclude half)

9/13/2017 Seth Packrone     0:36:00 Billable   Drive from DOC facility for expert site visit (bill half, exclude half)

9/13/2017 Seth Packrone     0:06:00 Billable   Getting processed at DOC facility for site visit

9/13/2017 Seth Packrone     0:48:00 Billable   Wait in conference room for others to arrive at site visit

9/13/2017 Seth Packrone     1:12:00 Billable   Work through documents that were produced/still need to be produced with expert at site visit

9/13/2017 Seth Packrone     0:12:00 Billable   Wait for G. Bueno at site visit in board room

9/13/2017 Seth Packrone     0:06:00 Billable   Discuss grievances for named plaintiffs at site visit

9/13/2017 Seth Packrone     1:30:00 Billable   Write memo re: NJSP day #2 expert site visit
                                               Wait to be moved to another room during DOC facility site visit (moving from board room into
9/13/2017 Seth Packrone     0:36:00 Billable   room in secured facility)

9/13/2017 Seth Packrone     0:30:00 Billable   Write memo re: CRAF site visit
                                               Expert returns to board room in secure facility after interviews and discuss several
9/13/2017 Seth Packrone     0:48:00 Billable   requests/questions he has

                                               Wait in secure facility with opposing counsel while expert reviewed documents and prepared
9/13/2017 Seth Packrone     1:12:00 Billable   summary at site visit (and answered questions with opposing counsel as they arose)
                                               Get summary from expert at site visit and ask questions re: same with opposing counsel
9/13/2017 Seth Packrone     0:30:00 Billable

9/13/2017 Seth Packrone     0:12:00 Billable   Get processed back out of secure facility into board room area at site visit

9/13/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: update on site visit

9/14/2017 Seth Packrone     0:36:00 Billable   Drive to Wagner Youth Correctional Facility for Gagnon site visit (bill half, exclude half)

9/14/2017 Seth Packrone     0:36:00 Billable   Drive from Wagner Youth Correctional Facility for Gagnon site visit (bill half, exclude half)

9/14/2017 Seth Packrone     1:18:00 Billable   Conference with parties and expert re: plan for the day at site visit

9/14/2017 Seth Packrone     0:42:00 Billable   Tour of facility with parties and expert at site visit
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9/14/2017 Seth Packrone     0:54:00 Billable   Conference with expert and opposing counsel at site visit at Wagner

9/14/2017 Seth Packrone     1:36:00 Billable   Wait in conference room at site visit while expert works

9/14/2017 Seth Packrone     0:36:00 Billable   Conference with opposing party and expert in conference room
                                               Tc with J. LoCicero re: plan for tomorrow's site visit and Defendants' position on further site
9/14/2017 Seth Packrone     0:06:00 Billable   visits

9/14/2017 Seth Packrone     0:06:00 Billable   Discussion with M. Vomacka re: Defendants' position on extra site visits

9/14/2017 Seth Packrone     0:18:00 Billable   Step out of conference room with E. Huertas while Defendants have conference at site visit

9/14/2017 Seth Packrone     1:00:00 Billable   Conference with expert and opposing counsel at site visit at Wagner

9/14/2017 Seth Packrone     0:30:00 Billable   Wait in conference room with opposing counsel while expert works

9/14/2017 Seth Packrone     0:12:00 Billable   Correspond with M. Smith re: status of site visits and next steps

9/15/2017 Seth Packrone     0:36:00 Billable   Drive to Wagner Youth Correctional Facility for expert site visit (bill half, exclude half)

9/15/2017 Seth Packrone     0:36:00 Billable   Drive from Wagner Youth Correctional Facility for expert site visit (bill half, exclude half)

9/15/2017 Seth Packrone     0:12:00 Billable   Get processed at Ad seg unit at Wagner at site visit

9/15/2017 Seth Packrone     0:54:00 Billable   Tour of ad seg unit at Wagner with expert and opposing counsel at site visit

9/15/2017 Seth Packrone     0:12:00 Billable   Move to main at Wagner at site visit

9/15/2017 Seth Packrone     0:12:00 Billable   Tour of main at site visit at Wagner

9/15/2017 Seth Packrone     0:48:00 Billable   Wait with expert and opposing counsel while Gagnon worked at site visit

9/15/2017 Seth Packrone     1:00:00 Billable   Wait with opposing cousnel outside conference room while expert interviewed teachers

9/15/2017 Seth Packrone     0:24:00 Billable   Observe interview of staff by expert

9/15/2017 Seth Packrone     0:18:00 Billable   Wait in conference room while expert interviews student in main

9/15/2017 Seth Packrone     0:12:00 Billable   Check in with expert with opposing counsel in conference in between interviews

9/15/2017 Seth Packrone     0:12:00 Billable   Discussion with M. Vomacka re: next steps in providing documents to expert for named plaintiffs

9/15/2017 Seth Packrone     0:30:00 Billable   Wait while expert interviews students at Ad Seg
                                               Answer questions with opposing counsel with expert when he returned and discuss timetable
9/15/2017 Seth Packrone     0:30:00 Billable   for rest of day

9/15/2017 Seth Packrone     0:06:00 Billable   Tc with E. Huertas re: status of Adam X. records

9/15/2017 Seth Packrone     0:12:00 Billable   Wait in conference room while expert works

9/15/2017 Seth Packrone     0:18:00 Billable   Wait while expert reviewed IEPs and prepared summary to present

9/15/2017 Seth Packrone     0:30:00 Billable   Get final summary from expert of Wagner day #2

9/18/2017 Mary-Lee Smith    0:30:00 Billable   Check in with SP re Adam X

9/18/2017 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of site visits

9/18/2017 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: follow up on site visits

9/18/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: update on site visits

9/18/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Smith re: agenda for call with team

9/18/2017 Seth Packrone     0:12:00 Billable   Finish memo re: CRAF site visit

9/18/2017 Seth Packrone     0:06:00 Billable   Begin drafting G. State memo for day 2 site visit

9/18/2017 Seth Packrone     0:30:00 Billable   Tc with M. Smith re: update on site visits and next steps for expert's report

9/18/2017 Seth Packrone     0:06:00 Billable   Edit CRAF site visit memo

9/18/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: meeting to discuss site visit and next steps for expert's report

9/19/2017 Michelle Caiola   0:12:00 Billable   follow up with SP re staffing, co-counsel, and posture of case

9/19/2017 Seth Packrone     1:12:00 Billable   Draft Garden State day 2 site visit memo
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9/19/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: update call on site visits

9/19/2017 Seth Packrone    0:06:00 Billable   Draft agenda for team call to update everyone on site visit

9/19/2017 Seth Packrone    1:24:00 Billable   Draft memo re: Wagner site visit day 2

9/19/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: check in meeting
                                              Tc with team (T. Borden, J. LoCicero, W. Silverman, B. Friedman, and E. Huertas) re: status of
9/19/2017 Seth Packrone    0:54:00 Billable   case and next steps

9/19/2017 Seth Packrone    0:06:00 Billable   Follow up items from team call

9/19/2017 Seth Packrone    0:18:00 Billable   Review/edit site visit memos

9/19/2017 Seth Packrone    0:06:00 Billable   Send site visit memos to team with notes for next steps

9/20/2017 Mary-Lee Smith   0:12:00 Billable   Email exchange w/ SP re report format

9/20/2017 Seth Packrone    0:06:00 Billable   Correspond with T. Borden and J. LoCicero re: client meetings

9/20/2017 Seth Packrone    0:06:00 Billable   Correspond with org. client re: update call

9/20/2017 Seth Packrone    0:18:00 Billable   Draft response to expert re: format/deadline for report

9/20/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: follow up with expert

9/20/2017 Seth Packrone    0:06:00 Billable   Review docs for client sent by co-counsel

9/20/2017 Seth Packrone    0:06:00 Billable   Tc with E. Huertas re: client.'s documents

9/20/2017 Seth Packrone    0:06:00 Billable   Edit format/deadline email based on M. Smith's thoughts

9/20/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: email to expert for format/deadline for report

9/20/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: next steps in case

9/20/2017 Seth Packrone    0:24:00 Billable   Review docs for named plaintiffs to follow up with expert
                                              Draft follow up email re: named plaintiffs documents for expert and correspond with M. Smith
9/20/2017 Seth Packrone    0:18:00 Billable   re: same

9/21/2017 Seth Packrone    0:06:00 Billable   Follow up with J. LoCicero re: deadline/format for expert's report

9/21/2017 Seth Packrone    0:06:00 Billable   Send update on expert's format/due date for report

9/21/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: discovery follow up and deadline

9/22/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: turning over documents to expert

9/22/2017 Seth Packrone    0:06:00 Billable   Check in with J. Mukherjee re: potential document production

9/22/2017 Seth Packrone    0:12:00 Billable   Correspond with Defendants and expert re: documents for named plaintiffs

9/22/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: talking poitns for call on Monday

9/22/2017 Seth Packrone    0:12:00 Billable   Review J. LoCicero's letter and attachment

9/22/2017 Seth Packrone    0:06:00 Billable   Review Defendants' response to J. LoCicero's letetr

9/22/2017 Seth Packrone    0:12:00 Billable   Draft talking point for Monday's call with court

9/22/2017 Seth Packrone    0:06:00 Billable   Correspond with J. LoCicero re: talking points for Monday's call

9/22/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: status of site visit memos

9/24/2017 Seth Packrone    0:12:00 Billable   Review/edit J. LoCicero's talking points for call with Judge Goodman

9/24/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: call with Judge Goodman

9/25/2017 Mary-Lee Smith   0:12:00 Billable   Check in w/ SP re Adam X call and any updates/decisions made

9/25/2017 Seth Packrone    0:06:00 Billable   Correspond with team re: call with Judge Goodman today and talking points for call

9/25/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: format of expert's report

9/25/2017 Seth Packrone    0:12:00 Billable   Prep for call with court by reviewing talking points and expert's recent emails

9/25/2017 Seth Packrone    0:18:00 Billable   Tc with court, J. LoCicero, B. Friedman, opposing counsel, and expert
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9/25/2017 Seth Packrone    0:06:00 Billable   Follow up tc with team re: next steps after call with court

9/25/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: summary of call with court and next steps in case

9/25/2017 Seth Packrone    0:06:00 Billable   Prep agenda for tc with org. client re: case status update
                                              Tc with org. client re: update on status of case and following up about specific individual
9/25/2017 Seth Packrone    0:42:00 Billable

9/25/2017 Seth Packrone    0:06:00 Billable   Tc with T. Borden re: follow up steps from org. client call
                                              Follow up with team re: update from call with org. client and next steps for individual in DOC
9/25/2017 Seth Packrone    0:06:00 Billable   custody

9/26/2017 Seth Packrone    0:06:00 Billable   Email Defendants re: meet and confer per Judge Goodman's instructions

9/26/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: conference with opposing counsel and expert

9/26/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: plan for next call with court

9/26/2017 Seth Packrone    0:06:00 Billable   Follow up with Defendants re: conferring on schedule for expert deadlines

9/26/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith and team re: weekly call

9/27/2017 Mary-Lee Smith   0:18:00 Billable   Check in with SP re call w/ Ds and Court; email exchange w/ team re same

9/27/2017 Seth Packrone    0:12:00 Billable   Draft proposal for call with opposing counsel and expert re: finishing expert report

9/27/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: edits to proposal

9/27/2017 Seth Packrone    0:06:00 Billable   Edit proposal for finishing expert report

9/27/2017 Seth Packrone    0:06:00 Billable   Send proposal to team with request for follow up

9/28/2017 Mary-Lee Smith   0:30:00 Billable   Call w/ team re expert access; court call; and doc review

9/28/2017 Seth Packrone    0:06:00 Billable   Review T. Borden's research on ELL in the context of IDEA

9/28/2017 Seth Packrone    0:18:00 Billable   Review ELL legal provisions and correspond with T. Borden re: same

9/28/2017 Seth Packrone    0:36:00 Billable   Tc with G. Bueno, J. LoCicero, B. Friedman, expert, and M. Vomacka

9/28/2017 Seth Packrone    0:18:00 Billable   Follow up tc with team re: next steps after call with opposing counsel
                                              Tc with with M. Smith and P. Leahy re: drafting order and talking points for call with court on
9/28/2017 Seth Packrone    0:06:00 Billable   Tuesday

9/28/2017 Seth Packrone    0:24:00 Billable   Draft proposed consent order for remainder of expert's work

9/28/2017 Seth Packrone    0:06:00 Billable   Send proposed order to team with notes for next steps

9/29/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: order and talking points for call with Judge

9/29/2017 Seth Packrone    0:06:00 Billable   Send proposed order to team with notes for next steps

10/2/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: draft consent order to send to Defendants

10/2/2017 Seth Packrone    0:06:00 Billable   Follow up with M. Smith re: draft consent order

10/2/2017 Seth Packrone    0:06:00 Billable   Send draft consent order to Defendants

10/2/2017 Seth Packrone    0:06:00 Billable   Follow up with Defendants re: proposal for status report to court

10/2/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: plan for call tomrrow

10/2/2017 Seth Packrone    0:18:00 Billable   Draft talking points for call with court

10/2/2017 Seth Packrone    0:06:00 Billable   Follow up with team and defendants re: call tomorrow

10/3/2017 Seth Packrone    0:12:00 Billable   Prep for call with judge goodman and correspond with team re: same

10/3/2017 Seth Packrone    0:06:00 Billable   Wait for Judge Goodman on call with court re: discovery timeline

10/3/2017 Seth Packrone    0:12:00 Billable   Tc with Judge Goodman and legal team re: next steps for discovery process with expert

10/3/2017 Seth Packrone    0:06:00 Billable   Follow up tc with M. Smith re: next steps in case

10/3/2017 Seth Packrone    0:12:00 Billable   Update consent order and send to Defendants for their approval
                                              Tc with T. Borden re: legal provisions for identifying students over 18 in DOC custody, next steps
10/3/2017 Seth Packrone    0:48:00 Billable   for intakes, and potential OPRA requests
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 10/4/2017 Seth Packrone     0:06:00 Billable   Review consent decree and correspond with co-counsel re: filing

 10/4/2017 Seth Packrone     0:06:00 Billable   Follow up with co-counsel re: filing consent order

 10/4/2017 Seth Packrone     0:06:00 Billable   Review documents from expert and emails with opposing counsel

 10/4/2017 Seth Packrone     0:06:00 Billable   Draft agenda/send to M. Smith and P. Leahy for additions

 10/5/2017 Michelle Caiola   0:06:00 Billable   update on new attorney and next steps re mootness

 10/5/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: agenda for today's meeting

 10/5/2017 Seth Packrone     0:42:00 Billable   Tc with team (T. Borden, M. Smith, P. Leahy, and B. Friedman) re: next steps in case

 10/5/2017 Seth Packrone     0:12:00 Billable   Follow up tc with t. Borden and B. Friedman re: next steps for intakes and doc review

 10/5/2017 Seth Packrone     0:06:00 Billable   Follow up with P. Leahy re: work for doc review

 10/6/2017 Mary-Lee Smith    0:12:00 Billable   Review email from SP to expert re org. client

 10/6/2017 Seth Packrone     0:06:00 Billable   Revew/follow up on expert's invoices

 10/6/2017 Seth Packrone     0:18:00 Billable   Follow up with team re: intakes, specific student at DOC facility

 10/6/2017 Seth Packrone     0:06:00 Billable   Confer with M. Smith re: draft to expert about specific student at DOC facility

 10/6/2017 Seth Packrone     0:06:00 Billable   Follow up with expert n re: specific student at DOC facility
                                                Follow up with J. LoCicero re: informing defendants that we still expect them to produce DOE
 10/6/2017 Seth Packrone     0:06:00 Billable   documents

10/10/2017 Seth Packrone     0:12:00 Billable   Check in with M. Smith re: items to complete this week

10/10/2017 Seth Packrone     0:06:00 Billable   Follow up with expert re: student at DOC facility

10/10/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: next steps for case

10/11/2017 Seth Packrone     0:06:00 Billable   Check in with M. Smith re: workload moving forward

10/11/2017 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: next steps for meetings in case

10/11/2017 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: processing documents from Defendants

10/11/2017 Seth Packrone     0:06:00 Billable   Follow up with client re; meeting

10/12/2017 Mary-Lee Smith    0:30:00 Billable   Call w/ co-counsel re status of doc production and potential additional plaintiffs

10/12/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: responding to expert

10/12/2017 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: plan for call

10/12/2017 Seth Packrone     0:30:00 Billable   Tc with team re: next steps in litigation (M. Smith, T. Borden, and B. Friedman)

10/12/2017 Seth Packrone     0:06:00 Billable   Follow up with Defendants re: discovery meet and confer

10/13/2017 Seth Packrone     0:06:00 Billable   Follow up with expert re: prep for meet and confer

10/13/2017 Seth Packrone     0:24:00 Billable   Tc with client and T. Borden re: student at DOC facility

10/13/2017 Seth Packrone     0:06:00 Billable   Follow up on meet and confer with Defendants and expert

10/15/2017 Seth Packrone     0:06:00 Billable   Review tags for upcoming doc review in Adam X.

10/16/2017 Mary-Lee Smith    0:24:00 Billable   Review doc coding and email exchange w/ SP re same

10/16/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: next steps for case

10/16/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: call with Ds

10/16/2017 Seth Packrone     0:42:00 Billable   Tc with Ds and expert, J. LoCicero, T. Borden, and B. Friedman

10/16/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith re: update from meeting with Ds

10/16/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; call with impacted org.

10/16/2017 Seth Packrone     0:12:00 Billable   Review discovery categories and tags

10/16/2017 Seth Packrone     0:12:00 Billable   Spot check document review
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10/16/2017 Seth Packrone    0:12:00 Billable   Check in with M. Smith re: document review and next steps

10/16/2017 Seth Packrone    0:06:00 Billable   Correspond with impacted org. re: call tomorrow

10/17/2017 Mary-Lee Smith   0:24:00 Billable   Call w/ SP re doc review and timing

10/17/2017 Seth Packrone    0:42:00 Billable   Tc with impacted org. and T. Borden re: intakes

10/17/2017 Seth Packrone    0:12:00 Billable   Follow up tc with T. Borden re: next steps in case

10/17/2017 Seth Packrone    0:06:00 Billable   update M. Smith re: call

10/17/2017 Seth Packrone    0:06:00 Billable   Follow up on review of docs up to this point

10/17/2017 Seth Packrone    0:18:00 Billable   Tc with M. Smith re: plan for call with Proskauer and new document codes

10/17/2017 Seth Packrone    0:18:00 Billable   Draft proposal for next steps for doc review to send to M. Smith

10/17/2017 Seth Packrone    0:06:00 Billable   Further update doc codes based on M. Smith's feedback

10/18/2017 Seth Packrone    0:06:00 Billable   Correspond with team and M. Smith re: revised discovery codes/tags

10/18/2017 Seth Packrone    0:12:00 Billable   Tc with T. Borden re: prep for discovery call with co-counsel
                                               Tc with T. Borden, B. Friedman and doc review team re: feedback on first round of doc review
10/18/2017 Seth Packrone    0:42:00 Billable   and strategies for moving forward

10/18/2017 Seth Packrone    0:30:00 Billable   Tc with T. Borden re: letter report to court and next steps for discovery

10/18/2017 Seth Packrone    0:12:00 Billable   Review/submit letter to Defendants re: status report on discovery

10/18/2017 Seth Packrone    0:06:00 Billable   Draft agenda for weekly team meeting and send to M. Smith

10/18/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: discovery call and agenda

10/18/2017 Seth Packrone    0:06:00 Billable   Follow up with T. Borden re: editing letter to court

10/18/2017 Seth Packrone    0:06:00 Billable   Follow up with Defendants re: status report to court

10/18/2017 Seth Packrone    0:06:00 Billable   Send agenda to team for feedback for tomorrow's meeting

10/19/2017 Seth Packrone    0:06:00 Billable   Correspond with T. Borden re: next steps for doc review

10/19/2017 Seth Packrone    0:06:00 Billable   Correspond with T. Borden re: status of Defendants' letter to court

10/19/2017 Seth Packrone    0:12:00 Billable   Finalize letter to be send to court re: status of discovery

10/19/2017 Seth Packrone    0:30:00 Billable   Team meeting with T. Borden, E. Huertas, J. LoCicero, and B. Friedman

10/19/2017 Seth Packrone    0:06:00 Billable   Correspond with Ds re: discovery status letter to court

10/20/2017 Seth Packrone    0:06:00 Billable   Reviewed filed letter with court re: discovery status

10/20/2017 Seth Packrone    0:06:00 Billable   Follow up on team emails re: doc review and invoices

10/22/2017 Seth Packrone    0:06:00 Billable   Correspond with M. Smith re: follow up on doc review

10/23/2017 Seth Packrone    0:06:00 Billable   Follow up with team re; doc review moving forward

10/23/2017 Seth Packrone    0:06:00 Billable   Discovery follow up logistics with J. Mukherjee re: managing Ds productions

10/24/2017 Seth Packrone    0:06:00 Billable   Follow up with T. Borden re: status of doc reivew

10/24/2017 Seth Packrone    0:12:00 Billable   Correspond with team re: Ds request for extension and responding

10/24/2017 Seth Packrone    0:12:00 Billable   Follow up with team with proposal for responding to Ds re: extension request

10/24/2017 Seth Packrone    0:06:00 Billable   Follow up with Ds and expert re: extension request

10/25/2017 Seth Packrone    0:06:00 Billable   Correspond with T. Borden re: responding to Ds extension request

10/25/2017 Seth Packrone    0:06:00 Billable   Review sample docs from doc review team to provide feedback

10/25/2017 Seth Packrone    0:12:00 Billable   Update M. Smith re: status of case and next steps

10/25/2017 Seth Packrone    0:06:00 Billable   Correspond with T. Borden re: next steps with doc review

10/25/2017 Seth Packrone    0:06:00 Billable   Revise letter to court and respond to T. Borden
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10/25/2017 Seth Packrone    0:06:00 Billable   Check in with T. Borden re: plan for call and next steps for feedback on doc review

10/26/2017 Seth Packrone    0:12:00 Billable   Follow up with T. Borden re: status of doc review

10/26/2017 Seth Packrone    0:30:00 Billable   TC with co-counsel re: doc review

10/28/2017 Seth Packrone    0:06:00 Billable   Review Ds letter to court and correspondence with expert in case

10/28/2017 Seth Packrone    0:54:00 Billable   Redraft intake procedures for upcoming intakes

10/28/2017 Seth Packrone    0:12:00 Billable   Update doc review protocol

10/28/2017 Seth Packrone    0:18:00 Billable   Draft update to M. Smith with docs attached and notes for next steps for doc review

10/30/2017 Seth Packrone    0:06:00 Billable   Review correspondence btw Ds and expert

10/31/2017 Mary-Lee Smith   0:18:00 Billable   Call w/ SP re call w/ org. plaintiff

10/31/2017 Seth Packrone    0:06:00 Billable   Follow up with T. Borden re: tags/categories for meeting and next steps

10/31/2017 Seth Packrone    0:06:00 Billable   Follow up with C. Bowman re: status of doc review and updated tags

10/31/2017 Seth Packrone    0:12:00 Billable   Review NJDOC docs turned over to compile intake list

10/31/2017 Seth Packrone    0:06:00 Billable   Follow up with T. Borden re: upcoming intakes and intake materials

10/31/2017 Seth Packrone    0:18:00 Billable   Tc with T. Borden and C. Bowman re: next steps for doc review

10/31/2017 Seth Packrone    0:12:00 Billable   Tc with T. Borden re: clarifying intake list

10/31/2017 Seth Packrone    0:12:00 Billable   Review correspondence btw Expert and Ds

10/31/2017 Seth Packrone    0:06:00 Billable   Edit intake forms based on M. Smith's comments

10/31/2017 Seth Packrone    0:06:00 Billable   Send intake forms to T. Borden with notes for next steps

 11/1/2017 Seth Packrone    0:12:00 Billable   Follow up on emails with team re: document production and review emails from Ds

 11/1/2017 Seth Packrone    0:12:00 Billable   Review/sort updated disco requests from expert

 11/1/2017 Seth Packrone    0:06:00 Billable   Correspond with Defendants re: upcoming productions

 11/1/2017 Seth Packrone    0:06:00 Billable   Follow up with T. Borden re: agenda for tomorrow

 11/2/2017 Seth Packrone    0:06:00 Billable   Follow up with t. Borden re: visiting clients
                                               Team call with T. Borden, B. Friedman, J. LoCicero, and M. Smith re: update on doc review and
 11/2/2017 Seth Packrone    0:18:00 Billable   intake process

 11/2/2017 Seth Packrone    0:06:00 Billable   Follow up tc with M. Smith re: outstanding items in case

 11/2/2017 Seth Packrone    0:12:00 Billable   Correspond with T. Borden re: visits next week and background check forms

 11/2/2017 Seth Packrone    0:12:00 Billable   Follow up with M. Smith re: doc production to DG

 11/2/2017 Seth Packrone    0:06:00 Billable   Follow up with team re: doc production to expert

 11/3/2017 Seth Packrone    0:12:00 Billable   Review/sort named plaintiffs' education docs to review to turn them over to expert

 11/3/2017 Seth Packrone    0:06:00 Billable   Review Confidentiality Order to mark named plaintiffs' documents

 11/3/2017 Seth Packrone    0:06:00 Billable   Send docs to team with notes for turning them over to Ds

 11/3/2017 Seth Packrone    0:06:00 Billable   Follow up with expert re: requested documents

 11/3/2017 Seth Packrone    0:18:00 Billable   Tc with T. Borden re: next steps for client visits next week

 11/3/2017 Seth Packrone    0:06:00 Billable   Update M. Smith re: plan for production and client visits

 11/3/2017 Seth Packrone    0:06:00 Billable   Give directions to J. Mukherjee re: contacting prison s

 11/3/2017 Seth Packrone    0:12:00 Billable   Tc with T. Borden re: update on DOC facility

 11/3/2017 Seth Packrone    0:12:00 Billable   Tc with DOC facility administrator re: setting up attorney visit

 11/3/2017 Seth Packrone    0:12:00 Billable   Tc with T. Borden and DOC facility re: setting up client visit

 11/3/2017 Seth Packrone    0:06:00 Billable   Follow up tc with T. Borden re: client visits
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11/3/2017 Seth Packrone   0:54:00 Billable   Review named plaintiff docs to produce to expert

11/3/2017 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: doc review of named plaintiffs docs

11/3/2017 Seth Packrone   0:06:00 Billable   Send J. Mukherjee instructions re: producing documents

11/6/2017 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: status of plaintiffs production and next steps

11/6/2017 Seth Packrone   0:06:00 Billable   Follow up with team re: expert emails

11/6/2017 Seth Packrone   0:12:00 Billable   Follow up with J. Mukherjee re: instructions for production

11/6/2017 Seth Packrone   0:06:00 Billable   Follow up re: status of client visits on Wednesday

11/6/2017 Seth Packrone   0:54:00 Billable   Review/finalize doc production for named plaintiffs per expert request

11/6/2017 Seth Packrone   0:06:00 Billable   Follow up with M. Smith re: timing for doc production for named plaintiffs

11/6/2017 Seth Packrone   0:12:00 Billable   Check in with J. Mukherjee re: latest production by Defendants and error in index

11/6/2017 Seth Packrone   0:06:00 Billable   Follow up with J. Mukherjee re: mistake in Defendants' index and next steps

11/6/2017 Seth Packrone   0:06:00 Billable   Prep for client visits

11/7/2017 Seth Packrone   0:06:00 Billable   Review correspondence from opposing counsel re: notes on doc production

11/7/2017 Seth Packrone   0:06:00 Billable   Follow up with M. Smith re: plan for document production

11/7/2017 Seth Packrone   0:06:00 Billable   Draft outstanding items list and next steps

11/7/2017 Seth Packrone   0:12:00 Billable   Send named plaintiffs' documents to expert and defendants

11/7/2017 Seth Packrone   0:06:00 Billable   Review Ds letter to judge and follow up with team

11/7/2017 Seth Packrone   0:30:00 Billable   Draft status report of case for M. Smith

11/7/2017 Seth Packrone   0:12:00 Billable   Follow up with M. Smith re: case status report and plan for site visits moving forward

11/7/2017 Seth Packrone   0:06:00 Billable   Review org client's input re: student at DOC facility with intellectual disability

11/7/2017 Seth Packrone   0:12:00 Billable   Draft follow up for Defendants about student at DOC facility with intellectual disability

11/7/2017 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: follow up with Ds about DOC facility student

11/7/2017 Seth Packrone   0:06:00 Billable   Follow up with team re: email to Defendants about at-risk young person at DOC facility

11/7/2017 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: plan for site visits

11/7/2017 Seth Packrone   0:06:00 Billable   Correspond with M .Smith re: plan for site visits

11/7/2017 Seth Packrone   0:06:00 Billable   Follow up with team re: plan for site visits

11/7/2017 Seth Packrone   0:12:00 Billable   Send proposal to expert and defendants re: upcoming site visits

11/8/2017 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: next steps in case

11/8/2017 Seth Packrone   0:12:00 Billable   Follow up with co-counsel and M. Smith re: site visit dates and staffing

11/8/2017 Seth Packrone   0:06:00 Billable   Follow up with Defendants re: proposal for scheduling site visits

11/8/2017 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re: client.'s diploma status
                                             Follow up with expert re: expert's oustanding requests and creating an index for plaintiffs'
11/8/2017 Seth Packrone   0:06:00 Billable   documents

11/8/2017 Seth Packrone   0:18:00 Billable   Draft short memo for M. Smith re: client's diploma status

11/8/2017 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: next steps for client

11/8/2017 Seth Packrone   0:06:00 Billable   Draft agenda for team call and send to co-counsel

11/8/2017 Seth Packrone   0:36:00 Billable   Travel to DOC facility for client (bill half, exclude the other half)

11/8/2017 Seth Packrone   0:48:00 Billable   Meet with client re: update about case

11/8/2017 Seth Packrone   0:06:00 Billable   Processing at DOC facility to visit client

11/8/2017 Seth Packrone   0:12:00 Billable   Processing at DOC facility to visit client
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 11/8/2017 Seth Packrone     0:48:00 Billable   Meet with client re: udpate on status of case

 11/8/2017 Seth Packrone     0:12:00 Billable   Tc with impacted org. re: NJ Step program

 11/8/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: plan for next call

 11/8/2017 Seth Packrone     0:06:00 Billable   Travel to DOC facility (bill half, exclude half)

 11/8/2017 Seth Packrone     0:42:00 Billable   Travel back from DOC Facility (bill half, exclude half)

 11/8/2017 Seth Packrone     0:18:00 Billable   Wait at DOC facility and get processed to visit client

 11/8/2017 Seth Packrone     0:30:00 Billable   Meet with client re: update on case

 11/9/2017 Seth Packrone     0:06:00 Billable   Correspond with Defendants and expert re: next site visits

 11/9/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: site visits

 11/9/2017 Seth Packrone     0:18:00 Billable   Review client's docs from NJDOC discovery

 11/9/2017 Seth Packrone     0:12:00 Billable   Draft update on client to co-counsel

 11/9/2017 Seth Packrone     0:30:00 Billable   Tc with team (M. Smith, P. Leahy, T. Borden, E. Huertas, J. LoCicero, and B. Friedman)

 11/9/2017 Seth Packrone     0:18:00 Billable   Draft client update for Defendants

 11/9/2017 Seth Packrone     0:12:00 Billable   Correspond with and input T. Borden's changes to client's proposal and send to team

 11/9/2017 Seth Packrone     0:06:00 Billable   Send NJ-STEP request to Defendants

11/10/2017 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directison re: tracking defendants' document production

11/10/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: final versions of site visit memos

11/10/2017 Seth Packrone     0:06:00 Billable   Correspond with J. Mukherjee re; mistakes in Ds production and updating case status memo

11/13/2017 Seth Packrone     0:06:00 Billable   Check in with J. Mukherjee re: status of index for expert

11/13/2017 Seth Packrone     0:24:00 Billable   Edit index for expert

11/13/2017 Seth Packrone     0:06:00 Billable   Follow up with M. Smith and P. Leahy and J. Mukerherjee re: next steps for index

11/14/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: finalizing site visits for next week

11/14/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of site visits

11/14/2017 Seth Packrone     0:06:00 Billable   Finalize/send index to Defendants

11/14/2017 Seth Packrone     0:06:00 Billable   Follow up with expert in case

11/15/2017 Michelle Caiola   0:12:00 Billable   confer re handling court conf/status thru jan,with SP

11/15/2017 Seth Packrone     0:06:00 Billable   Follow up with defendants re: client's NJSTEP application

11/15/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and Ds re: interview schedule on Monday

11/15/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: call with court and plan for weekly call

11/15/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: talking points for court call tomorrow

11/15/2017 Seth Packrone     0:06:00 Billable   Correspond with team re: agenda for tomorrow and other items to add

11/15/2017 Seth Packrone     0:12:00 Billable   Tc with P. Leahy re: case mgmt moving forward

11/16/2017 Seth Packrone     0:06:00 Billable   Follow up with team and opposing counsel re: laptop order signed by judge

11/16/2017 Seth Packrone     0:12:00 Billable   Prep for call and write up points to discuss with judge

11/16/2017 Seth Packrone     0:06:00 Billable   Review defendants' letter and our response

11/16/2017 Seth Packrone     0:12:00 Billable   Tc with Judge Goodman and opposing counsel and T. Borden and J. LoCicero
                                                Follow up tc with team (J. LoCicero, T. Borden, and B. Friedman) re: next steps, prep for site
11/16/2017 Seth Packrone     0:36:00 Billable   visits, schedule for expert report

11/16/2017 Seth Packrone     0:06:00 Billable   Update team re: next court dates

11/16/2017 Seth Packrone     0:12:00 Billable   Review list of people allowed to know Plaintiffs' names and correspond with T. Borden re: same
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11/16/2017 Seth Packrone     0:06:00 Billable   Edit consent order based on T. Borden's comments

11/16/2017 Seth Packrone     0:12:00 Billable   Follow up with opposing counsel re: status of NJ STEP information

11/16/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: background check form

11/16/2017 Seth Packrone     0:06:00 Billable   Give directions to P. Leahy re: notes

11/16/2017 Seth Packrone     0:12:00 Billable   Correspond with opposing counsel re: follow up on NJ STEP program

11/16/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: next week's visits

11/16/2017 Seth Packrone     0:06:00 Billable   Review draft consent order

11/16/2017 Seth Packrone     0:06:00 Billable   Send draft consent order with edits to Ds

11/17/2017 Seth Packrone     0:12:00 Billable   Review correspondence with defendants and experts and review attached documents

11/17/2017 Seth Packrone     0:18:00 Billable   Prep for site visit at NJDOC facility

11/17/2017 Seth Packrone     0:06:00 Billable   Follow up on client documents with T. Borden

11/18/2017 Seth Packrone     0:30:00 Billable   Review/analyze site visit memos to prep for DOC facility visit on Monday

11/19/2017 Seth Packrone     0:06:00 Billable   Review new agenda from expert
                                                Travel from Jersey City to DOC Facility for site visit with expert (total was 1.2, bill half, exclude
11/20/2017 Seth Packrone     0:36:00 Billable   half)

11/20/2017 Seth Packrone     0:30:00 Billable   Meeting with opposing counsel and expert at DOC facility site visit
                                                Tour of facility with expert, meet with client, and communicate with opposing counsel re: NJ
11/20/2017 Seth Packrone     1:18:00 Billable   Step program at site visit with expert in case
                                                Conference with opposing party with expert re: next steps for the rest of the day and
11/20/2017 Seth Packrone     1:00:00 Billable   attendance in vocational programs
                                                Wait to go to SMU, travel to SMU with expert, tour SMU, and return for expert visit at DOC
11/20/2017 Seth Packrone     0:36:00 Billable   facility

11/20/2017 Seth Packrone     0:18:00 Billable   Strategy session with T. Borden re: status of expert visit and plan for remainder of day
                                                Expert returns with update from interviews and goes over new requests for information at site
11/20/2017 Seth Packrone     0:48:00 Billable   visit with expert

11/20/2017 Seth Packrone     0:36:00 Billable   Summary of the day from expert at expert site visit at DOC facility
                                                Travel from DOC Correctional City back to Jersey City for site visit with expert (total was 1.2, bill
11/20/2017 Seth Packrone     0:36:00 Billable   half, exclude half)

11/21/2017 Seth Packrone     0:06:00 Billable   Follow up on site visit with M. Goodell

11/21/2017 Seth Packrone     0:06:00 Billable   Tc with P. Leahy re: plan for call
                                                Tc with team (B. Friedman, P. Leahy, J. LoCicero, C. Bowman, and T. Borden) re: update on site
11/21/2017 Seth Packrone     0:42:00 Billable   visits and next steps in case

11/21/2017 Seth Packrone     0:18:00 Billable   Tc with T. Borden re: follow up debrief on site visit

11/22/2017 Seth Packrone     0:06:00 Billable   Correspond with P. Leahy re: notes from call and strategy for expert report

11/27/2017 Maia Goodell      0:18:00 Billable   review case status memo (new to case)

11/27/2017 Michelle Caiola   0:12:00 Billable   Discuss expert report/co-counsel strategy

11/28/2017 Maia Goodell      1:18:00 Billable   review complaint and site visit summaries (new to case)

11/29/2017 Seth Packrone     0:06:00 Billable   Review new doc requests from expert

11/29/2017 Seth Packrone     0:06:00 Billable   Draft agenda for team call

11/29/2017 Seth Packrone     0:06:00 Billable   Follow up with team re: meeting and agenda

11/29/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: next steps for intakes and NJ STEP

11/30/2017 Maia Goodell      0:12:00 Billable   call with co-counsel re case status

11/30/2017 Maia Goodell      0:42:00 Billable   strategy and planning for settlement, intakes
                                                Tc with T. Borden, J. LoCicero, M. Goodell, B. Silverman, and P. Leahy re: update on case and any
11/30/2017 Seth Packrone     0:12:00 Billable   next steps

11/30/2017 Seth Packrone     0:36:00 Billable   Strategy session with M. Goodell re: overview of issues in case

11/30/2017 Seth Packrone     0:06:00 Billable   Review P. Leahy's notes and follow up after meeting
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11/30/2017 Seth Packrone     0:06:00 Billable   Review Ds production and follow up with team

 12/1/2017 Seth Packrone     0:06:00 Billable   Correspond with co-counsel and J. Mukherjee re: production from Defendants

 12/1/2017 Seth Packrone     0:06:00 Billable   Review documents from site visit and additional docs

 12/1/2017 Seth Packrone     0:06:00 Billable   Contact client's family re: original documents and give J. Mukherjee instructions re: same

 12/1/2017 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: follow up on NJ Step and intakes

 12/4/2017 Michelle Caiola   0:06:00 Billable   SP status check

 12/4/2017 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of case and next steps for potential settlement

 12/4/2017 Seth Packrone     0:42:00 Billable   Tc with T. Borden re: next steps for intakes

 12/4/2017 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for intakes

 12/4/2017 Seth Packrone     0:12:00 Billable   Respond to Ds re: nJSTEP update

 12/4/2017 Seth Packrone     0:12:00 Billable   Follow up with co-counsel re: weekly calls and documents from defendants

 12/5/2017 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: call with client

 12/5/2017 Seth Packrone     0:06:00 Billable   Review defendants emails re: new index/updated discovery

 12/6/2017 Maia Goodell      0:12:00 Billable   review status and strategy, update re potential organizatonal plaintiff

 12/6/2017 Maia Goodell      0:24:00 Billable   strategy for communications with opposing counsel re individual plaintiff education

 12/6/2017 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: NJ Step program and next steps

 12/6/2017 Seth Packrone     0:06:00 Billable   Correspond with t. borden re: update on NJ Step and moving meeting

 12/7/2017 Seth Packrone     0:06:00 Billable   Follow up with T. borden re: call with client

 12/7/2017 Seth Packrone     0:42:00 Billable   Review/take notes/analyze Defendants' discovery response to expert's requests

 12/7/2017 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for call with client and discovery update

 12/7/2017 Seth Packrone     0:18:00 Billable   Tc with client re: NJSTEP program and next visit

 12/7/2017 Seth Packrone     0:06:00 Billable   Follow up tc with T. Borden re: next steps in case

 12/7/2017 Seth Packrone     0:12:00 Billable   Follow up with J. Mukherjee re; letter to client

12/11/2017 Seth Packrone     0:06:00 Billable   Follow up with co-counsel re: next steps for intakes

12/11/2017 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: responding to Ds discovery response

12/13/2017 Seth Packrone     0:12:00 Billable   Follow up with T. Borden re: plan for call and discovery issues

12/14/2017 Maia Goodell      0:18:00 Billable   call with co-counsel re case status

12/15/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: format and length of deficiency letter

12/18/2017 Seth Packrone     0:24:00 Billable   Legal research re: deficiency letter

12/18/2017 Seth Packrone     0:12:00 Billable   Review Defendants' discovery response to draft deficiency letter

12/18/2017 Seth Packrone     0:36:00 Billable   Draft deficiency letter

12/18/2017 Seth Packrone     0:12:00 Billable   Edit deficiency letter

12/18/2017 Seth Packrone     0:06:00 Billable   Send deficiency letter draft to M. Goodell

12/19/2017 Maia Goodell      0:12:00 Billable   review and supplement letter to opposing counsel re document production deficiencies

12/19/2017 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: additions to deficiency letter draft

12/19/2017 Seth Packrone     0:06:00 Billable   Review outstanding doc requests from DOC

12/19/2017 Seth Packrone     0:12:00 Billable   Edit deficiency letter based on M. Goodell's edits

12/19/2017 Seth Packrone     0:06:00 Billable   Send to team with notes for next steps

12/19/2017 Seth Packrone     0:06:00 Billable   Review notes from team meeting last week to draft deficiency letter
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12/19/2017 Seth Packrone   0:06:00 Billable   Correspond with co-counsel re: edits to deficiency letter

12/19/2017 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: plan for intakes in January

12/20/2017 Seth Packrone   0:18:00 Billable   Edit and finalize deficiency letter

12/20/2017 Seth Packrone   0:06:00 Billable   Cite check deficiency letter

12/20/2017 Seth Packrone   0:06:00 Billable   Send final draft to team with note for sending to defendants

12/20/2017 Seth Packrone   0:06:00 Billable   Send deficiency letter to oppsoing counsel

12/21/2017 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: next steps for intakes in January

12/21/2017 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re: plan for intakes

12/21/2017 Seth Packrone   0:12:00 Billable   Send T. Borden letter draft for intakes and thoughts on next steps for setting them up

12/21/2017 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: plan for intakes and most up to date index

12/21/2017 Seth Packrone   0:06:00 Billable   Follow up with J. Mukherjee and T. Borden re: new index for DOC documetns

  1/2/2018 Seth Packrone   0:12:00 Billable   Review plan for Monday and follow up with T. Borden re: same

  1/3/2018 Seth Packrone   0:18:00 Billable   Tc with T. Borden re: next steps for intakes and plan for tomorro'ws call

  1/3/2018 Seth Packrone   0:12:00 Billable   Draft agenda and circulate for tomorrow's team call

  1/4/2018 Maia Goodell    0:18:00 Billable   planning call re intakes, document production deficiencies

  1/4/2018 Seth Packrone   0:12:00 Billable   Review PHV documents to file for M. Goodell and letter of withdrawal for M. Smith

  1/4/2018 Seth Packrone   0:06:00 Billable   Give J. Mukherjee directions re: PHV filing and letter of withdrawal

  1/4/2018 Seth Packrone   0:18:00 Billable   Team call with J. LoCicero, P. Leahy, M. Goodell, B. Silverman, and C. Bowman

  1/4/2018 Seth Packrone   0:06:00 Billable   Correspond with opposing counsel re: deficiency letter

  1/5/2018 Seth Packrone   0:06:00 Billable   Update intake forms based on T. Borden's edits

  1/5/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: plan for Monday's intakes

  1/5/2018 Seth Packrone   0:12:00 Billable   Prep for Monday's intakes

  1/5/2018 Seth Packrone   0:12:00 Billable   Correspond with T. Borden re: docs and plan for Monday's intakes

  1/5/2018 Seth Packrone   0:12:00 Billable   Review documents from NJDOC to take with us to Monday's intakes

  1/5/2018 Seth Packrone   0:06:00 Billable   Give B. Mousavi instructions re: documents for Monday

  1/5/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and team re: Nebula training session
                                              Travel to and from intakes at DOC Correctional Facility about special education issues (bill half,
  1/8/2018 Seth Packrone   1:12:00 Billable   exclude half)

  1/8/2018 Seth Packrone   0:24:00 Billable   Debrief intakes with T. Borden re: take aways and next steps

  1/8/2018 Seth Packrone   3:18:00 Billable   Four intakes at DOC Correctional Facility

  1/8/2018 Seth Packrone   0:24:00 Billable   Process/waiting at DOC facility while conducting 4 intakes

  1/8/2018 Seth Packrone   0:18:00 Billable   Revew Ds response to deficiency letter and prep response to circulate to team

  1/9/2018 Maia Goodell    0:12:00 Billable   review pro hac vice papers
                                              Send resposne to opposing counsel re: their request for consent form from plaintiffs to get
  1/9/2018 Seth Packrone   0:06:00 Billable   client's documents

  1/9/2018 Seth Packrone   0:06:00 Billable   Follow up with team re: doc review training session
                                              Correspond with T. Borden re: Nebula meeting, follow up about intakes, and tomorrow's co-
 1/10/2018 Seth Packrone   0:12:00 Billable   counsel meeting

 1/10/2018 Seth Packrone   0:06:00 Billable   Follow up with team re: plan for meeting this week

 1/10/2018 Seth Packrone   0:06:00 Billable   Follow up with opposing counsel re: status of request for named plaintiff's documents

 1/10/2018 Seth Packrone   0:06:00 Billable   Correspond with M. Goodell re: PHV application and letter of withdrawal
                                              Draft response for team to opposing counsel re: outstandaing documents and next steps for
 1/11/2018 Seth Packrone   0:12:00 Billable   production to expert
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1/11/2018 Seth Packrone     0:06:00 Billable   Follow up with C. Bowman re: Defendants latest production of documents

1/11/2018 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: latest document production by Defendants

1/11/2018 Seth Packrone     0:06:00 Billable   Folow up with team re: potentially changing the deadline for expert's report

1/11/2018 Seth Packrone     0:12:00 Billable   Correspond with team re: following up about DP with Defendants

1/12/2018 Seth Packrone     0:12:00 Billable   Follow up with opposing counsel re: DP and status of document production

1/12/2018 Seth Packrone     0:06:00 Billable   Give J. Mukherjee directions re: letter of withdrawal and PHV materials

1/17/2018 Seth Packrone     0:06:00 Billable   Review/analyze Ds discovery response to expert's requests

1/17/2018 Seth Packrone     0:12:00 Billable   Update team re: Ds discovery responses to expert's requests

1/17/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: agenda items for tomorrow and Nebula training plan

1/17/2018 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: next intakes, Ds production, and plan for site visit memos

1/17/2018 Seth Packrone     0:06:00 Billable   Follow up re: plan for intakes next Thursday

1/18/2018 Maia Goodell      0:12:00 Billable   planning for client visits and intakes

1/18/2018 Seth Packrone     0:12:00 Billable   Strategy session with M. Goodell re: status of case and next steps

1/18/2018 Seth Packrone     0:30:00 Billable   Weekly co-counsel call with team re: next steps for discovery and expert's report and intakes

1/18/2018 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for weekly call

1/18/2018 Seth Packrone     0:12:00 Billable   Draft response to Defendants re: proposal for extension for expert report
                                               review communication and draft response to opposing counsel re document production;
1/19/2018 Maia Goodell      0:30:00 Billable   communications with co-counsel re same

1/19/2018 Michelle Caiola   0:06:00 Billable   update from SP re co-counsel
                                               Correspond with team and Defendants re: ongoing discovery issue and deadline for expert's
1/19/2018 Seth Packrone     0:06:00 Billable   report

1/19/2018 Seth Packrone     0:12:00 Billable   Draft response to Defendants

1/19/2018 Seth Packrone     0:12:00 Billable   Correspond with co-counsel re: response to Ds

1/19/2018 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: response to Ds

1/19/2018 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: next steps for responding to Defendants

1/22/2018 Maia Goodell      0:24:00 Billable   review defendant response re document production; strategy re response

1/22/2018 Seth Packrone     0:12:00 Billable   Review emails with team re: status of discovery and next steps for site visits

1/22/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden re; status of Ds production and next steps

1/22/2018 Seth Packrone     0:18:00 Billable   Tc withT. Borden re: next steps in discovery dispute

1/22/2018 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: plan to call Ds and information to seek

1/22/2018 Seth Packrone     0:24:00 Billable   Strategy session with M. Goodell re: Ds latest response and information needed

1/22/2018 Seth Packrone     0:06:00 Billable   Draft response to Ds

1/22/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: deliberative process privilege

1/22/2018 Seth Packrone     0:06:00 Billable   Research deliberative process privilege

1/23/2018 Seth Packrone     0:12:00 Billable   Review documents from NJDOC to determine status of production

1/23/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of ds production and deliberative privilege

1/23/2018 Seth Packrone     0:06:00 Billable   Follow up with co-counsel re: list for intakes for and status of document production

1/23/2018 Seth Packrone     0:06:00 Billable   Give J. Mukherjee instructions re: setting up attorney visits

1/23/2018 Seth Packrone     0:24:00 Billable   Finalize plan for Monday's intake and client visits

1/24/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of ds production of Casey Z.'s file

1/24/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: Ds position on doc production and next steps
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                                               Work with T. Borden re: crafting message to confirm conversation with Ds about status of
1/24/2018 Seth Packrone     0:06:00 Billable   production

1/24/2018 Seth Packrone     0:18:00 Billable   Tc with T. Borden re: responding to Ds privilege assertion

1/24/2018 Seth Packrone     0:06:00 Billable   Follow up with impacted organization re: issues at Garden State
                                               Follow up with team re: production of documents and review new index to dtermine what Ds
1/24/2018 Seth Packrone     0:06:00 Billable   produced

1/24/2018 Seth Packrone     0:24:00 Billable   Draft memo re: 11/20 visit with Gagnon to Garden State

1/25/2018 Maia Goodell      0:12:00 Billable   prep for visits with intakes and clients

1/25/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: prep for Monday's intakes and documents to take along

1/25/2018 Seth Packrone     0:42:00 Billable   Complete site visit memo for Nov. 20 visit with Gagnon based on my notes

1/25/2018 Seth Packrone     0:30:00 Billable   Review and incorporate T. Borden's notes from Nov. 20 site visit into site visit memo
                                               Revise/edit November site visit memos (both mine and T. Borden 11/21 site visit memo) and
1/25/2018 Seth Packrone     0:24:00 Billable   send to team

1/26/2018 Michelle Caiola   0:06:00 Billable   Update on status of intakes from S. Packrone

1/26/2018 Seth Packrone     0:06:00 Billable   Prep for intakes with M. goodell

1/26/2018 Seth Packrone     0:12:00 Billable   Give B. Mousavi directions re: prepping materials for intakes

1/26/2018 Seth Packrone     0:24:00 Billable   Follow up with client's parents to send documents

1/26/2018 Seth Packrone     0:06:00 Billable   Draft limited release for Casey Z. to get Doc documents
                                               Tc with T. Borden re: updates from her intakes and check in about status of document
1/26/2018 Seth Packrone     0:18:00 Billable   production

1/26/2018 Seth Packrone     0:06:00 Billable   Correspond with Arc of NJ and T. Borden re: update

1/26/2018 Seth Packrone     0:06:00 Billable   Prep for Monday's intakes

1/29/2018 Maia Goodell      0:42:00 Billable   Travel to DOC facility for intakes and client meeting (total 1.4; bill half)

1/29/2018 Maia Goodell      0:36:00 Billable   Review complaint and site visit memos to prep for meetings

1/29/2018 Maia Goodell      0:36:00 Billable   planning and strategy to prep for meetings

1/29/2018 Maia Goodell      0:54:00 Billable   Intake meeting with class member 1

1/29/2018 Maia Goodell      0:24:00 Billable   Intake meeting with potential witness 1

1/29/2018 Maia Goodell      0:54:00 Billable   Intake meeting with class member 2

1/29/2018 Maia Goodell      0:18:00 Billable   analysis of meetings and next steps

1/29/2018 Maia Goodell      1:00:00 Billable   Travel back from DOC facility for intakes and client meeting (total 2; bill half)

1/29/2018 Maia Goodell      0:06:00 Billable   review draft from opposing counsel re letter to court for extension request

1/29/2018 Maia Goodell      0:30:00 Billable   review recent caselaw re prison IDEA rights; review site visit memo

1/29/2018 Seth Packrone     0:42:00 Billable   Drive to DOC facility from Jersey City (bill half, total is 1.4)

1/29/2018 Seth Packrone     0:12:00 Billable   Wait and processing at DOC facility for intakes/client visits

1/29/2018 Seth Packrone     0:54:00 Billable   Intake with class member 1 re: education/disability issues at DOC facility

1/29/2018 Seth Packrone     0:54:00 Billable   Intakes with class member 2 re: education/disability issues at DOC facility

1/29/2018 Seth Packrone     0:24:00 Billable   Intake with potential witness re: education/disability issues at DOC facility

1/29/2018 Seth Packrone     0:36:00 Billable   Wait in attorney visit room at DOC facility for clients after intakes

1/29/2018 Seth Packrone     0:12:00 Billable   Meeting with client, Brian Y., re: update on case

1/29/2018 Seth Packrone     0:12:00 Billable   Drive to DOC facility for meeting with client (total was 20 min; bill half)

1/29/2018 Seth Packrone     0:30:00 Billable   Wait at DOC facility for meeting with Casey Z.

1/29/2018 Seth Packrone     0:42:00 Billable   Meeting with client, Casey Z., re: update on case

1/29/2018 Seth Packrone     0:06:00 Billable   Wait in attorney visit room to be released after visit with Casey Z.
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1/29/2018 Seth Packrone   0:36:00 Billable   Drive back to Jersey City from DOC facility (bill half, total was 1.3)

1/29/2018 Seth Packrone   0:06:00 Billable   Review Defendants' letter re: update to the court

1/29/2018 Seth Packrone   0:12:00 Billable   Update team re: intakes and client visits
                                             Correspond with team re: responding to letter written by Defendants and spot checking
1/29/2018 Seth Packrone   0:18:00 Billable   production

1/30/2018 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re: letters

1/30/2018 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: docs requested by Gagnon

1/30/2018 Seth Packrone   0:24:00 Billable   Tc with T. Borden and C. Bowman re: potential audit to determine what has been produced

1/30/2018 Seth Packrone   0:12:00 Billable   Follow up tc with T. Borden re; next steps for case
                                             Review Defendants' production to determine if we have IEPs for students listed on index as
1/30/2018 Seth Packrone   0:24:00 Billable   having IEPs
                                             Correspond with T. Borden and C. Bowman re: response to Defendants about joint letter and
1/30/2018 Seth Packrone   0:12:00 Billable   missing documents

1/30/2018 Seth Packrone   0:18:00 Billable   Draft response to Defendants and follow up on missing documents

1/30/2018 Seth Packrone   0:06:00 Billable   Correspodn with Defendants re: follow up on letter and ddocuments

1/30/2018 Seth Packrone   0:06:00 Billable   Correspond with team re: next steps for case

1/31/2018 Maia Goodell    0:06:00 Billable   strategy for response to expert re use of names

1/31/2018 Seth Packrone   0:30:00 Billable   Tc with client (Arc of NJ) re: update on case

1/31/2018 Seth Packrone   0:06:00 Billable   Strategy session with M. Goodell re: format for report referring to students

1/31/2018 Seth Packrone   0:06:00 Billable   Follow up with team re: Gagnon's format for referring to students in report

1/31/2018 Seth Packrone   0:06:00 Billable   Draft agenda for team meeting

1/31/2018 Seth Packrone   0:06:00 Billable   Send agenda to team with notes for next meeting

1/31/2018 Seth Packrone   0:06:00 Billable   Follow up with Ds and Gagnon re: format for referring to students in report

1/31/2018 Seth Packrone   0:06:00 Billable   Correspond with Gagnon and Defendants re; format for referring to students

1/31/2018 Seth Packrone   0:06:00 Billable   Prep for call with client from Arc of NJ

1/31/2018 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: NJDOE's compliance report on DOC education

1/31/2018 Seth Packrone   0:06:00 Billable   Review NJDOE report on DOC education

 2/1/2018 Seth Packrone   0:06:00 Billable   Follow up and compare Dr. Gagnon's document requets to index produced by Defendants
                                             Review settlement offer to Defendants and correspond with T. Borden re: same and most recent
 2/1/2018 Seth Packrone   0:06:00 Billable   documents from Defendants
                                             Review notes form T. Borden's intake and evaluate based on claims in case and correspond with
 2/1/2018 Seth Packrone   0:06:00 Billable   TB re: same
                                             analysis of intakes and client meetings; review of recent DOC report; plan next steps with
 2/2/2018 Maia Goodell    0:30:00 Billable   S.Packrone, P. Leahy, and co-counsel

 2/2/2018 Maia Goodell    0:18:00 Billable   planning and strategy for plaintiffs' position statement to Court with S.Packrone

 2/2/2018 Seth Packrone   0:06:00 Billable   Follow up on documents from 1.31.18 Doc production

 2/2/2018 Seth Packrone   0:18:00 Billable   Review/analyze DOE monitoring report on DOC facilities
                                             Tc with J. LoCicero, M. Goodell, B. Silverman, C. Bowman, and P. Leahy re: update on
 2/2/2018 Seth Packrone   0:30:00 Billable   intakes/client meetings and next steps

 2/2/2018 Seth Packrone   0:12:00 Billable   Follow up strategy session with M. Goodell re: next steps for case and settlement meeting

 2/5/2018 Maia Goodell    0:30:00 Billable   review SFEA program monitoring report

 2/5/2018 Seth Packrone   0:12:00 Billable   review/analyze DOE documents produced on 2.2.18
                                             Review docs produced by Ds and Ps to determine for Casey Z. to determine what is missing from
 2/5/2018 Seth Packrone   0:24:00 Billable   Ds production

 2/5/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: status of Casey Z.'s documents

 2/5/2018 Seth Packrone   0:36:00 Billable   Draft notes from intakes with 3 students from 1.29.18 and send to T. Borden
                                             review communications from expert and opposing counsel re schedule; call with co-counsel re
 2/6/2018 Maia Goodell    0:48:00 Billable   same; plan schedule
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 2/6/2018 Seth Packrone   0:06:00 Billable   Strategy session with M. Goodell re: NJDOE's duty to monitor and ensure

 2/6/2018 Seth Packrone   0:06:00 Billable   Correspond with team re: Casey Z's confidential file and timing for report
                                             Strategy session with M. Goodell re: further delay for Gagnon's report and plan for upcoming
 2/6/2018 Seth Packrone   0:18:00 Billable   settlement meeting

 2/6/2018 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: following up with Gagnon about the deadline

 2/6/2018 Seth Packrone   0:18:00 Billable   Tc with team (M. Goodell, J. LoCicero, T. Borden, and C. Bowman) re: timing for Gagnon's report
                                             Follow up strategy session with M. Goodell re: timing for Gagnon's report and timing of court
 2/6/2018 Seth Packrone   0:06:00 Billable   conference

 2/6/2018 Seth Packrone   0:06:00 Billable   Correspond with team and Defendants re: timing for call with expert

 2/7/2018 Maia Goodell    0:48:00 Billable   review report re state responsibility for oversight

 2/8/2018 Seth Packrone   0:06:00 Billable   Prep for call with Defendants and expert re: deadlines for report
                                             Tc with Defendants and Dr. Gagnon re: next steps for report and expert discovery (with T.
 2/8/2018 Seth Packrone   0:18:00 Billable   Borden, J. LoCicero, and C. Bowman)

 2/8/2018 Seth Packrone   0:30:00 Billable   Draft letter to extend deadlines

 2/8/2018 Seth Packrone   0:12:00 Billable   Revise/edit letter to court

 2/8/2018 Seth Packrone   0:06:00 Billable   Correspond with J. LoCicero edits/finalizing letter

 2/9/2018 Seth Packrone   0:06:00 Billable   Correspond with Defendnats and team re: next steps for order and T. Borden's schedule

2/12/2018 Maia Goodell    0:06:00 Billable   review court order and draft consent order re adjournment

2/12/2018 Seth Packrone   0:24:00 Billable   Draft consent order

2/12/2018 Seth Packrone   0:06:00 Billable   Revise/edit consent order

2/12/2018 Seth Packrone   0:06:00 Billable   Send consent order to team requesting feedback/correspond about edits

2/12/2018 Seth Packrone   0:06:00 Billable   Edit and send consent order to Defendants

2/13/2018 Seth Packrone   0:12:00 Billable   Correpsond with J. LoCicero re: this week's meeting/items to discuss

2/16/2018 Seth Packrone   0:12:00 Billable   Check in with M. Goodell re: plan for settlement conference

2/20/2018 Seth Packrone   0:06:00 Billable   Follow up with J. LoCicero re: status of meeting w co-counsel

2/20/2018 Seth Packrone   0:12:00 Billable   Update Arc of NJ (client) re: timeline for schedule for expert process

2/20/2018 Seth Packrone   0:06:00 Billable   Correspond with J. Locicero re; plan for meeting/status of doc review

2/20/2018 Seth Packrone   0:12:00 Billable   Follow up with team/C. Bowman re: status of meeting and doc review

2/20/2018 Seth Packrone   0:06:00 Billable   Correspond with Arc of NJ re: timeline for expert report and status of report

2/20/2018 Seth Packrone   0:06:00 Billable   follow up with C. Bowman re; doc review status

2/22/2018 Seth Packrone   0:06:00 Billable   follow up with team re: status of Casey Z's educational file

2/22/2018 Seth Packrone   0:06:00 Billable   Tc with J. LoCicero re: next steps in case, status of expert report

2/22/2018 Seth Packrone   0:30:00 Billable   Draft/prep update letters for clients (Brian Y. and Casey Z.)

2/22/2018 Seth Packrone   0:06:00 Billable   Give J. Mukherjee directsion re: update letters for clients and attachment

2/22/2018 Seth Packrone   0:06:00 Billable   Contact client (Adam X.) to update him on case

2/22/2018 Seth Packrone   0:06:00 Billable   Draft letter for Adam X. (update letter with court order attached)

2/23/2018 Seth Packrone   0:24:00 Billable   Update client Arc of NJ re: status of case and next steps

2/23/2018 Seth Packrone   0:06:00 Billable   Correspond with J. Locicero re: update on client communications

2/26/2018 Seth Packrone   0:06:00 Billable   Tc with client re: update on case

2/27/2018 Seth Packrone   0:06:00 Billable   Follow up with client re: status of case

2/27/2018 Seth Packrone   0:06:00 Billable   Finalize letter to client and give instructions to J. Mukherjee re: sending letter

2/28/2018 Seth Packrone   0:12:00 Billable   Draft agenda for call with team and correspond with team re: same
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                                               Team call (J. Locicero, E. Huertas, P. Leahy, and C. Bowman and T. Borden) re: update on case
 3/1/2018 Seth Packrone     0:12:00 Billable   and status of expert report

 3/1/2018 Seth Packrone     0:12:00 Billable   Correspond with J. LoCicero re: status of expert report

 3/7/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola re: final report from expert

 3/7/2018 Seth Packrone     0:12:00 Billable   Review final report from expert in Adam X.

 3/8/2018 Maia Goodell      0:36:00 Billable   communcations with co-counsel re expert report, settlement

 3/8/2018 Maia Goodell      0:30:00 Billable   review expert report

3/10/2018 Maia Goodell      2:12:00 Billable   review Dr. Gagnon report

3/12/2018 Maia Goodell      0:12:00 Billable   review prior correspondence re expert fees

3/12/2018 Maia Goodell      0:24:00 Billable   communications with co-counsel re expert report and fees

3/12/2018 Seth Packrone     0:06:00 Billable   Review correspondence with MG and team re: expert fees

3/13/2018 Maia Goodell      0:18:00 Billable   analysis of expert report w S. Packrone and settlement steps

3/13/2018 Michelle Caiola   0:12:00 Billable   update from SP re expert result and settlement strategy

3/13/2018 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: status of expert report and next steps for case

3/13/2018 Seth Packrone     0:12:00 Billable   Review emails between parties and expert

3/13/2018 Seth Packrone     0:12:00 Billable   Check in with M. Caiola re: expert report and next steps

3/13/2018 Seth Packrone     1:18:00 Billable   Review/analyze/take notes on expert report

3/14/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden re: thoughts on expert and next steps for case

3/14/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: potential use of SNA

3/15/2018 Maia Goodell      0:48:00 Billable   call with co-counsel re expert report, settlement

3/15/2018 Michelle Caiola   0:06:00 Billable   update from SP
                                               Team call with M. Goodell, J. LoCicero, T. Borden, P. Leahy, and C. Bowman re: expert report and
3/15/2018 Seth Packrone     0:42:00 Billable   next steps

3/15/2018 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: next steps for settlement negotiations

3/15/2018 Seth Packrone     0:06:00 Billable   Review call notes from last week to get up to speed with team

3/15/2018 Seth Packrone     0:12:00 Billable   Review notes on Gagnon report and potential items for follow up

3/19/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: plan for upcoming call

3/19/2018 Seth Packrone     0:12:00 Billable   Correspond with external consultant re: call

3/19/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for call tomorrow and communications with client

3/19/2018 Seth Packrone     0:12:00 Billable   Correspond with team re: plan for meeting and drafting agenda and sending it

3/19/2018 Seth Packrone     0:18:00 Billable   Draft outlien for potential SNA in Adam X.

3/19/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola, M. Goodell re: potential plan for SNA

3/20/2018 Maia Goodell      0:30:00 Billable   review potential structured negotiation agreement outline; draft potential court order request
                                               planning re settlement with co-counsel; strategy re potential court order w P. Leahy and S.
3/20/2018 Maia Goodell      0:42:00 Billable   Packrone

3/20/2018 Seth Packrone     0:12:00 Billable   Review confidentiality order re: sharing report

3/20/2018 Seth Packrone     0:18:00 Billable   Draft summary of confidentiality order and questions for team re: same

3/20/2018 Seth Packrone     0:12:00 Billable   Review other potential model settlements
                                               Team call (J. Locicero, E. Huertas, P. Leahy, and C. Bowman, M. Goodell and T. Borden) re:
3/20/2018 Seth Packrone     0:42:00 Billable   update on case and plan for Monday's call with court

3/20/2018 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: next steps for call with court and edits to term sheet

3/20/2018 Seth Packrone     0:06:00 Billable   Correspond with Ds re: expert attending calling with Court

3/20/2018 Seth Packrone     0:06:00 Billable   Review and correspodn with J. LoCicero re: language for consultant agreement
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3/21/2018 Maia Goodell      0:12:00 Billable   review communications re settlement strategy, consulting expert

3/21/2018 Michelle Caiola   0:12:00 Billable   review SNA outstanding issues

3/21/2018 Seth Packrone     0:48:00 Billable   Draft memo for team review re: potential settlement terms/formats

3/21/2018 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: plan for internal settlement meeting and meeting with defendants

3/21/2018 Seth Packrone     0:06:00 Billable   Correspond with Ds re: upcoming meetigns and tc with court

3/22/2018 Seth Packrone     0:06:00 Billable   Correspond with Ds and expert re: conference

3/22/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: updating clients

3/25/2018 Seth Packrone     0:12:00 Billable   review talkings points for call with court and correspond with team re: same

3/25/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: talking points for conference with court

3/26/2018 Maia Goodell      0:18:00 Billable   analysis of confidentiality of expert report

3/26/2018 Maia Goodell      0:12:00 Billable   call with court re settlement

3/26/2018 Maia Goodell      0:06:00 Billable   prep for court call

3/26/2018 Michelle Caiola   0:18:00 Billable   update re status of overall legal issues/settlement options

3/26/2018 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: plan for call with court today and status of report

3/26/2018 Seth Packrone     0:12:00 Billable   Update M. Caiola re: status of case

3/26/2018 Seth Packrone     0:06:00 Billable   Correspond with external consultant re: call

3/26/2018 Seth Packrone     0:12:00 Billable   Tc with J. LoCicero re: plan for call with court and confidentiality

3/26/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for call with court

3/26/2018 Seth Packrone     1:00:00 Billable   Tc with external consultant re: serving as consulting expert in case
                                               Tc with Ds and judge (J. LoCicero, T. Borden, M. Goodell, and B. Silverman) re: external
3/26/2018 Seth Packrone     0:12:00 Billable   consultant

3/26/2018 Seth Packrone     0:12:00 Billable   Follow up strategy session with M. Goodell re: next steps in case

3/26/2018 Seth Packrone     0:06:00 Billable   Correspond with external consultant re: confidentiality agreement

3/26/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: next steps with consulting expert

3/27/2018 Seth Packrone     0:12:00 Billable   Correspond with external consultant re: complaint and report and questions to answer

3/27/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola and ACLU-NJ re: next steps for expert consultant

3/27/2018 Seth Packrone     0:06:00 Billable   Review new documents for Casey Z. from Defendants

3/28/2018 Maia Goodell      0:24:00 Billable   analysis of consulting expert information
                                               Strategy session with M. Goodell re: call with external consultant and next steps for consulting
3/28/2018 Seth Packrone     0:18:00 Billable   work

3/29/2018 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: status of updating clients

3/29/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell and P. Leahy re: next steps for case

3/29/2018 Seth Packrone     0:06:00 Billable   Tc and correspond with client, Arc of NJ, re: update on case
                                               review settlement correspondence and documents for meeting with co-counsel re settlement
 4/2/2018 Maia Goodell      0:30:00 Billable   proposal
                                               travel from DRA to ACLU-NJ for meeting with co-counsel re settlement proposal (total was 1
 4/2/2018 Maia Goodell      0:30:00 Billable   hour; bill half)

 4/2/2018 Maia Goodell      3:00:00 Billable   analysis and preparation of settlement proposal with co-counsel

 4/2/2018 Maia Goodell      0:12:00 Billable   plan next steps for settlement proposal

 4/2/2018 Seth Packrone     0:06:00 Billable   Prep/review expert report for call to update client

 4/2/2018 Seth Packrone     0:30:00 Billable   Tc with client, Arc of NJ, re: update on case with T. Borden

 4/2/2018 Seth Packrone     0:18:00 Billable   Prep call with T. Borden re: plan for team settlement meeting and update on expert consultant
                                               Travel to meeting with ACLU-NJ and Proskauer re: settlement strategy (40 minutes in total, bill
 4/2/2018 Seth Packrone     0:18:00 Billable   half and exclude half)
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                                               Meeting with ACLU-NJ (T. Borden, J. LoCicero, and E. Huertas), Proskauer Rose (C. Bowman and
 4/2/2018 Seth Packrone     2:54:00 Billable   B. Silverman), and M. Goodell re: settlement strategy
                                               Follow up strategy session re: next steps with T. Borden, J. Locicero, E. Huertas, and M. Goodell
 4/2/2018 Seth Packrone     0:06:00 Billable   re: timing for settlement proposal and legal research

                                               Prep for team strategy session by reviewing settlement proposals up to this point and drafting
 4/2/2018 Seth Packrone     0:18:00 Billable   notes for meeting (re: specific issues to raise in demand sent to Defendants)

 4/2/2018 Seth Packrone     0:12:00 Billable   Review other settlements for how the PLRA issue was handled

 4/3/2018 Maia Goodell      0:12:00 Billable   plan for settlement letter

 4/3/2018 Michelle Caiola   0:12:00 Billable   strategy session with SP re class cert and class reps

 4/3/2018 Seth Packrone     0:06:00 Billable   Strategy session with M. Goodell re: PLRA compliance

 4/3/2018 Seth Packrone     0:06:00 Billable   Begin to draft settlement proposal to send to Defendants

 4/3/2018 Seth Packrone     0:06:00 Billable   Correspond with F. Pitts and T. Zito re: PLRA compliance in prison settlements

 4/3/2018 Seth Packrone     0:54:00 Billable   Complete first draft of letter to Defendants with settlement proposal per court order

 4/3/2018 Seth Packrone     0:24:00 Billable   Revise letter to Ds with settlement proposal per yesterday's notes

 4/3/2018 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: plan for drafting settlement letter for Ds

 4/3/2018 Seth Packrone     0:54:00 Billable   Tc with F. Pitts and T. Zito re: PLRA implications for settlement and class cert issues

 4/3/2018 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola re: update on next steps in case
                                               Update P. Leahy re: co-counsel team meeting and next steps and potential legal research
 4/3/2018 Seth Packrone     0:18:00 Billable   needed

 4/4/2018 Maia Goodell      0:24:00 Billable   review and supplement proposed settlement letter

 4/4/2018 Seth Packrone     0:06:00 Billable   Revised first draft of settlement letter

 4/4/2018 Seth Packrone     0:06:00 Billable   Send letter to T. Borden for her feedback

 4/4/2018 Seth Packrone     0:24:00 Billable   Strategy session with M. Goodell re: strategy for settlement letter

 4/4/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden re: edits to letter to defendants

 4/4/2018 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: following up about letter to Ds

 4/4/2018 Seth Packrone     0:06:00 Billable   Follow up with expert counsultan re: status of review of report

 4/4/2018 Seth Packrone     0:18:00 Billable   Edit letter to Ds based on T. Borden's feedback

 4/4/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: draft of letter to Ds and next steps

 4/6/2018 Maia Goodell      1:00:00 Billable   review and supplement proposed settlement letter w S. Packrone

 4/6/2018 Michelle Caiola   0:12:00 Billable   t/c with S. Seaborn re standing for class reps

 4/6/2018 Michelle Caiola   0:12:00 Billable   update SP re standing for class reps

 4/6/2018 Seth Packrone     1:00:00 Billable   Work session with M. Goodell to edit settlement demand

 4/6/2018 Seth Packrone     0:06:00 Billable   Review J. LoCicero's edits to settlement demand

 4/7/2018 Maia Goodell      0:36:00 Billable   draft analysis of proposed settlement letter for co-counsel

 4/7/2018 Seth Packrone     0:06:00 Billable   Review settlement demand and correspond with M. Goodell re: same

 4/9/2018 Michelle Caiola   0:18:00 Billable   update from SP re settlement, review agreement

 4/9/2018 Seth Packrone     0:12:00 Billable   Review final letter and check in with M. Goodell re: outstanding details

 4/9/2018 Seth Packrone     0:06:00 Billable   Review final settlement letter and follow up with M. Caiola re: same

4/10/2018 Seth Packrone     0:06:00 Billable   Follow up with external consultant re: status of analysis of expert report

4/13/2018 Michelle Caiola   0:12:00 Billable   review external consultant's report on expert report

4/13/2018 Michelle Caiola   0:12:00 Billable   confer with SP re external consultant's report on expert report

4/13/2018 Michelle Caiola   0:06:00 Billable   update from SP re settlement positions

4/13/2018 Seth Packrone     0:24:00 Billable   Review/analyze/take notes on expert consultant report on expert report
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4/13/2018 Seth Packrone     0:12:00 Billable   Correspond with expert consultant re: review of the report

4/13/2018 Seth Packrone     0:18:00 Billable   Send analysis of expert report to team with notes for next steps

4/13/2018 Seth Packrone     0:12:00 Billable   Check in with M. Caiola re: expert consultant report

4/13/2018 Seth Packrone     0:18:00 Billable   Tc with T. Borden re: next steps for expert consultant, client visits, and legal research

4/13/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: next steps for expert consultant

4/13/2018 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: follow up with expert consultant

4/17/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: client visits and team meeting

4/17/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: this week's meeting and relevant udpates

4/17/2018 Seth Packrone     0:06:00 Billable   Follow up with consulting expert re: any follow up questions on his memo

4/25/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: status of tomorrow's meeting and legal research

4/25/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plans for Friday's client meetings

4/25/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: meeting this week and relevant updates

4/26/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plans for client meetings

4/26/2018 Seth Packrone     0:06:00 Billable   Prep for client meetings tomorrow
                                               Travel to and from home to DOC facilities (total was 165 minutes, bill half)
4/27/2018 Seth Packrone     1:24:00 Billable

4/27/2018 Seth Packrone     1:00:00 Billable   Client visit with Brian Y. re: update on status of case and next steps

4/27/2018 Seth Packrone     0:54:00 Billable   Wait at DOC facility for client visit with Casey Z.

4/27/2018 Seth Packrone     1:36:00 Billable   Client visit with Casey Z. re: update on case and steps

4/27/2018 Seth Packrone     0:30:00 Billable   Wait to be processed out of DOC facility after visit with Casey Z.

4/30/2018 Michelle Caiola   0:06:00 Billable   update from SP re timeline and next steps

4/30/2018 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of settlement negotiations

 5/2/2018 Seth Packrone     0:12:00 Billable   Draft weekly agenda and correspond with team re: same

 5/2/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: update on client and plan for call this week

 5/3/2018 Maia Goodell      0:18:00 Billable   analysis of consulting expert report and case updates with co-counsel

 5/3/2018 Seth Packrone     0:24:00 Billable   Review external consultant's memo on expert report
                                               Team meeting with M. Goodell, P. Leahy, T. Borden, J. LoCicero, B. Silverman, and C. Bowman
 5/3/2018 Seth Packrone     0:18:00 Billable   re: external consultant's report

 5/4/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: next week's team call

 5/7/2018 Seth Packrone     0:06:00 Billable   Review sources from PLRA compliant settlements

5/11/2018 Seth Packrone     0:06:00 Billable   Review letter from Ds re: extension request

5/11/2018 Seth Packrone     0:12:00 Billable   Strategy sesion with M. Goodell re: responding to Ds letter

5/11/2018 Seth Packrone     0:06:00 Billable   Tc with ACLU re: plan to call Ds about the extension request

5/11/2018 Seth Packrone     0:06:00 Billable   Tc with opposing counsel re: letter to court and interim response

5/11/2018 Seth Packrone     0:06:00 Billable   Follow up tc with J. LoCicero re: options for responding to Ds letter

5/11/2018 Seth Packrone     0:12:00 Billable   Update M. Goodell re: call with Ds

5/11/2018 Seth Packrone     0:12:00 Billable   Update team re: call with Ds and options moving forward

5/13/2018 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: contacting court about Ds last minute request for extension

5/14/2018 Michelle Caiola   0:12:00 Billable   update from SP re def's request for time, response

5/14/2018 Seth Packrone     0:12:00 Billable   Update M. Caiola re: plan for responding to Ds request for an extension

5/15/2018 Maia Goodell      0:18:00 Billable   communication with co-counsel re response to defendant extension request
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5/15/2018 Maia Goodell      0:12:00 Billable   supplement letter to court re response to defendant exenstion request

5/15/2018 Michelle Caiola   0:06:00 Billable   update SW re ext request

5/15/2018 Michelle Caiola   0:18:00 Billable   review letter to oppose extension, provide SP edits, review final

5/15/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and M. Goodell re: status of letter to court about extension

5/15/2018 Seth Packrone     0:06:00 Billable   Review/edit letter to court

5/15/2018 Seth Packrone     0:12:00 Billable   Check in with M. Caiola re: edits to letter to court

5/15/2018 Seth Packrone     0:36:00 Billable   Edit letter to court re: response to extension request and correspond with team re: same
                                               Tc with team (J. LoCicero, T. Borden, C. Bowman, and M. Goodell) re: responding to Ds' request
5/15/2018 Seth Packrone     0:06:00 Billable   for an extension

5/16/2018 Seth Packrone     0:18:00 Billable   Tc with client, Brian Y., re: update on his educational situation

5/17/2018 Maia Goodell      0:06:00 Billable   review client retaliation concerns and plan response

5/17/2018 Michelle Caiola   0:06:00 Billable   review court order re ext request

5/17/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: call from client
                                               Correspond with M. Goodell and team re: plan for meeting, order from court, and rescheduling
5/17/2018 Seth Packrone     0:12:00 Billable   settlement conference

5/17/2018 Seth Packrone     0:12:00 Billable   Update team re: call with client and follow up with Defendants

5/21/2018 Michelle Caiola   0:06:00 Billable   touch base with SP re next steps

5/21/2018 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: follow up with court about vacated settlement conference
                                               Correspond with T. Borden re: status of co-counsel meeting, status of report on client, and
5/22/2018 Seth Packrone     0:06:00 Billable   status of deadlines for settlement conference

5/25/2018 Maia Goodell      0:06:00 Billable   review communications re retaliation

5/25/2018 Seth Packrone     0:06:00 Billable   Review correspondence with team and follow up with M. Goodell re: same

5/29/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: follow up with opposing counsel on client issues
                                               Correspond with T. Borden re: follow up about retailation with opposing counsel and other
5/30/2018 Seth Packrone     0:06:00 Billable   updates

 6/4/2018 Michelle Caiola   0:06:00 Billable   update from SP re pseudonym issue

 6/6/2018 Seth Packrone     0:06:00 Billable   Tc with client (Arc of NJ) re: status of case

 6/6/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; tomorrow's meeting and other updates

 6/6/2018 Seth Packrone     0:24:00 Billable   Tc with client (Arc of NJ) re: status of case

 6/6/2018 Seth Packrone     0:12:00 Billable   Correspond with team re: tommorrow's meeting and other updates
                                               Review T. Borden's update on status of communication about retaliation with opposing counsel
6/12/2018 Seth Packrone     0:06:00 Billable   and follow up re: same

6/13/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for tomorrow's call

6/14/2018 Seth Packrone     0:12:00 Billable   Tc with Brian Y. re: update on situation
                                               Tc with team (M. Goodell, P. Leahy, T. Borden, A. Polloni, C. Bowman, J. LoCicero) re: next steps
6/14/2018 Seth Packrone     0:36:00 Billable   for case

6/14/2018 Seth Packrone     0:06:00 Billable   Follow up strategy session with M. Goodell re: class cert moving forward

6/14/2018 Seth Packrone     0:06:00 Billable   Correspond with P. Leahy re: notes from call

6/18/2018 Seth Packrone     0:06:00 Billable   Correspond with S. Seaborn re: IDEA class cert case law

6/18/2018 Seth Packrone     0:06:00 Billable   Tc with client (Brian Y.) re: update

6/18/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: update on Brian Y

6/18/2018 Seth Packrone     0:06:00 Billable   Send class cert case law to T. Borden re: assignment info to send to Proskauer
                                               Correspond with T. Borden re: update from opposing cousnel on Brian Y's educational
6/19/2018 Seth Packrone     0:06:00 Billable   documents

6/19/2018 Seth Packrone     0:06:00 Billable   Review class cert assignment sent to Proskauer and correspond with T. Borden re: same

6/20/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of case and tomorrow's meeting
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6/21/2018 Seth Packrone     0:12:00 Billable   Tc with Brian Y. re: update

6/21/2018 Seth Packrone     0:06:00 Billable   Send update on Brian Y. to team

6/27/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; timing for next meeting based on Ds' response

6/29/2018 Michelle Caiola   0:12:00 Billable   review def response

6/29/2018 Michelle Caiola   0:12:00 Billable   strategy with SP (and MG) re response and next steps

6/29/2018 Seth Packrone     0:30:00 Billable   Review/analyze/draft short memo on Defendants' reponse to our settlement proposal

6/29/2018 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: Ds response to our settlement demand

6/29/2018 Seth Packrone     0:12:00 Billable   Strategy session with M. Caiola and M. Goodell re: Ds response to our settlement demand

 7/2/2018 Maia Goodell      0:12:00 Billable   review letter from opposing counsel re settlement

 7/2/2018 Maia Goodell      0:30:00 Billable   call with co-counsel, S. Packrone, and P. Leahy re settlement

 7/2/2018 Maia Goodell      0:18:00 Billable   analysis of next steps for settlement

 7/2/2018 Maia Goodell      0:06:00 Billable   draft communication to opposing counsel re settlement

 7/2/2018 Michelle Caiola   0:12:00 Billable   update and strategy with SP re call with P's TRO, litigation or class cert

 7/2/2018 Michelle Caiola   0:06:00 Billable   touch base with MG re class cert option
                                               Tc with M. Goodell, P. Leahy, J. LoCicero, T. Borden, A. Polloni, and C. Bowman re Ds response
 7/2/2018 Seth Packrone     0:36:00 Billable   and next steps

 7/2/2018 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: next steps for Adam X.

 7/2/2018 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: settlement posture and plan for settlement conference
                                               Review court order appointment Dr. Gagnon as neutral expert and send draft language to M.
 7/2/2018 Seth Packrone     0:12:00 Billable   Goodell

 7/2/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: follow up to Defendants

 7/3/2018 Seth Packrone     0:06:00 Billable   Prep task list for settlement/research moving forward

 7/3/2018 Seth Packrone     0:24:00 Billable   Review status of intakes and determine potential class members to visit

 7/3/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: doing intakes prior to settlement conference

 7/3/2018 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: plan for intakes and list of intakes

 7/9/2018 Maia Goodell      0:12:00 Billable   analysis and planning for response to defendant position letter

 7/9/2018 Michelle Caiola   0:06:00 Billable   review SP email in follow up to settlement positions

 7/9/2018 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re; plan for July intakes

 7/9/2018 Seth Packrone     0:12:00 Billable   Correspond with T. Borden and A. Polloni re: plan for intakes in July

 7/9/2018 Seth Packrone     0:06:00 Billable   Review co-counsel email re: follow up on settlement proposal from Ds

 7/9/2018 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: next steps for settlement negotiations

 7/9/2018 Seth Packrone     0:18:00 Billable   Draft position on settlement negotiations moving forward and send to M. Goodell for review

 7/9/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola re: plan for following up with Defendants about settlemetn proposal

7/10/2018 Michelle Caiola   0:18:00 Billable   strategy session with SP and direction re response to def letter and postioning for court

7/10/2018 Seth Packrone     0:12:00 Billable   Get instructions from M. Caiola re: following up with Defendants about settlemetn proposal

7/10/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: next steps for following up with Defendants

7/10/2018 Seth Packrone     0:12:00 Billable   Draft response to Defendants re: their settlemetn proposal

7/10/2018 Seth Packrone     0:12:00 Billable   Correspond with team re: strategy for responding to Defendants' settlement proposal
                                               call with co-counsel re response to defendant position statement; plans for ex parte settlement
7/11/2018 Maia Goodell      0:42:00 Billable   statement

7/11/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell and M. Caiola re: next steps for settlement discussions

7/11/2018 Seth Packrone     0:06:00 Billable   Follow up with J. LoCicero re: responding to Ds and meeting today
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7/11/2018 Seth Packrone     0:18:00 Billable   Review Gagnon's report and Ds' settlement response

7/11/2018 Seth Packrone     0:36:00 Billable   Tc with team re: ex parte statement and follow up with Defendants

7/11/2018 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: plan for drafting ex parte statement

7/11/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden, A. Polloni re: upcoming client visits and intakes

7/11/2018 Seth Packrone     0:18:00 Billable   Draft outline and drafting plan for ex parte statement

7/11/2018 Seth Packrone     0:24:00 Billable   Compile list of students for intakes this month

7/11/2018 Seth Packrone     0:12:00 Billable   Review/analyze PLRA research from Proskauer

7/11/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for drafting ex parte statement

7/12/2018 Michelle Caiola   0:12:00 Billable   review new draft letter to def, SP's edits, advise him further re same

7/12/2018 Seth Packrone     0:06:00 Billable   Follow up with T. Borden and M. Goodell re: plan for intakes and ex parte statement

7/12/2018 Seth Packrone     0:06:00 Billable   Review R. Handley's PLRA research memo

7/12/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: breakdown and plan for drafting ex parte statement

7/12/2018 Seth Packrone     0:06:00 Billable   Give J. Mukherjee instructions re: visits at DOC facility

7/12/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola and M. Goodell re: response to Defendants' settlement proposal

7/12/2018 Seth Packrone     0:12:00 Billable   Correspond with team re: issues to confer with Defendants about prior to conference

7/12/2018 Seth Packrone     0:12:00 Billable   Edit letter from Proskauer to Defendants

7/12/2018 Seth Packrone     0:06:00 Billable   Check in with M. Caiola and M. Goodell re: edits to letter to Defendants

7/12/2018 Seth Packrone     0:12:00 Billable   Follow up with team re: plan for letter to Defendants

7/12/2018 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: status of letter to Defendants

7/12/2018 Seth Packrone     0:18:00 Billable   Review case documents to prep to write ex parte statement

7/12/2018 Seth Packrone     0:42:00 Billable   Begin drafting sections of ex parte statement for upcoming settlemetn conference

7/13/2018 Michelle Caiola   0:12:00 Billable   update and next steps from S. Packrone

7/13/2018 Seth Packrone     0:24:00 Billable   Draft intro to ex parte statement

7/13/2018 Seth Packrone     0:30:00 Billable   Review Gagnon's report and take notes to draft ex parte statement

7/13/2018 Seth Packrone     1:00:00 Billable   Draft section about Gagnon's report in ex parte statement

7/13/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: response letter to Ds about settlement proposal

7/13/2018 Seth Packrone     0:12:00 Billable   Check in with M. Caiola re: settlement strategy moving forward

7/13/2018 Seth Packrone     0:18:00 Billable   Draft section of ex parte statement re: plaintiffs' settlemetn proposal

7/13/2018 Seth Packrone     1:06:00 Billable   Edit/revise ex parte statement draft

7/13/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: structure of ex parte statement and plan for settlement conference

7/16/2018 Maia Goodell      0:30:00 Billable   review and supplement ex parte settlement statement

7/16/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: next steps for case

7/16/2018 Seth Packrone     0:12:00 Billable   Finish drafting section of ex parte statement about Gagnon's report

7/16/2018 Seth Packrone     0:48:00 Billable   Edit/revise/shorten section of ex parte statement I drafted

7/16/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: scope of ex parte statement

7/16/2018 Seth Packrone     0:12:00 Billable   Review visit request and give K. Anderson instructions re: same

7/16/2018 Seth Packrone     0:30:00 Billable   Edit/shorten ACLU's section of ex parte statement

7/16/2018 Seth Packrone     0:06:00 Billable   Send draft of ex parte statement to M. Goodell with notes about feedback

7/16/2018 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: next steps for ex parate statement
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7/17/2018 Maia Goodell      0:12:00 Billable   strategy analysis for ex parte settlement statement with S.Packrone

7/17/2018 Seth Packrone     0:06:00 Billable   Review M. Goodell's edits to ex parte statement

7/17/2018 Seth Packrone     0:30:00 Billable   Input M. Goodell's edits to ex parte statement draft

7/17/2018 Seth Packrone     0:12:00 Billable   Strategy session with M. Goodell re: edits to ex parte statement

7/17/2018 Seth Packrone     0:30:00 Billable   Edit/revise/shorten complete draft of ex parte statement

7/17/2018 Seth Packrone     0:06:00 Billable   Send ex parte draft to T. Borden for her comments/feedback

7/17/2018 Seth Packrone     0:12:00 Billable   Correspond with K. Anderson and ACLU-NJ re: setting up visits for 7/27/18

7/18/2018 Michelle Caiola   0:12:00 Billable   review letter to court, advise SP re edits

7/18/2018 Seth Packrone     0:12:00 Billable   Work with M. Caiola re: ex parte statement for Adam X.

7/18/2018 Seth Packrone     0:24:00 Billable   Edit ex parte statement and correspond with T. Borden re: same

7/19/2018 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: client visit next week

7/19/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden, J. LoCicero, C. Bownman, P. Leahy and A. Pollioni re: ex parte statement

7/19/2018 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for August 1 settlement conference

7/19/2018 Seth Packrone     0:06:00 Billable   Check in with K. Anderson re: status of intake request

7/20/2018 Seth Packrone     0:06:00 Billable   Follow up with K. Anderson re: status of intake request

7/23/2018 Michelle Caiola   0:06:00 Billable   review Proskauer edits, advise sp

7/23/2018 Seth Packrone     0:06:00 Billable   Send client, Arc of NJ, an update re: status of case

7/23/2018 Seth Packrone     0:12:00 Billable   Update ACLU/Proskauer re: status of intakes/client visits on Friday

7/23/2018 Seth Packrone     0:06:00 Billable   Correspond with Defense counsel re: plan for Gagnon's participation in settlement conference

7/23/2018 Seth Packrone     0:06:00 Billable   Check in with K. Anderson re: call from DOC facility about Friday's intakes

7/23/2018 Seth Packrone     0:12:00 Billable   Tc with administrator at DOC facility re: status of Friday's intakes

7/23/2018 Seth Packrone     0:12:00 Billable   Review Proskauer's edits to ex parte statement and compare to original document

7/23/2018 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: process for incorporating edits

7/23/2018 Seth Packrone     0:06:00 Billable   Tc with J. LoCicero re: next steps for case

7/24/2018 Seth Packrone     1:00:00 Billable   Edit/revise ex parte statement draft based on edits/comments

7/24/2018 Seth Packrone     0:18:00 Billable   Proofread/shorten ex parte statement to send to J. LoCicero

7/24/2018 Seth Packrone     0:12:00 Billable   Send ex parte statement to J. LoCicero with notes for next steps and edits to this draft

7/24/2018 Seth Packrone     0:06:00 Billable   Follow up with Arc of NJ re: update on case

7/24/2018 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero re: steps for finalizing ex parte statement

7/24/2018 Seth Packrone     0:06:00 Billable   Review J. LoCicero's edits to ex parte statement

7/24/2018 Seth Packrone     0:06:00 Billable   Check in with M. Bland re: cite checking ex parte statement

7/24/2018 Seth Packrone     0:06:00 Billable   Meeting with M. Bland re: edits to ex parte statement

7/24/2018 Seth Packrone     0:06:00 Billable   Tc with client (Arc of NJ) re: udpate on case

7/24/2018 Seth Packrone     0:06:00 Billable   Follow up with Dr. Gagnon and Ds re: Gagnon's participation in settlemetn conference

7/24/2018 Seth Packrone     0:30:00 Billable   Final edits/proofread ex parte statemetn and send to J. LoCicero to finalize

7/25/2018 Michelle Caiola   0:06:00 Billable   update on final filing of ex parte statement

7/25/2018 Seth Packrone     0:18:00 Billable   Tc with client, Arc of NJ, re: update on case

7/25/2018 Seth Packrone     0:06:00 Billable   Check in with J. LoCicero re: filing ex parte statement and update from client

7/25/2018 Seth Packrone     0:06:00 Billable   Give J. Mukherjee instructions re: creating exhibits for ex parte statement
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7/25/2018 Seth Packrone     0:06:00 Billable   Follow up with J. LoCicero re: filing of ex parte statement and finalized exhibits

7/25/2018 Seth Packrone     0:06:00 Billable   Review ex parte statement submitted to court and follow up with client

7/25/2018 Seth Packrone     0:06:00 Billable   Prep for intakes on Friday

7/25/2018 Seth Packrone     0:12:00 Billable   Correspond with A. Pollioni re: plan for intakes on Friday, notes for documents to review

7/26/2018 Seth Packrone     0:06:00 Billable   Compile documents for intakes and client visits

7/26/2018 Seth Packrone     0:12:00 Billable   Compile supporting documents for settlement conference next week

7/26/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: today's call

7/26/2018 Seth Packrone     0:12:00 Billable   Prep docs for intakes/settlement conference
                                               Travel to and from two DOC facilities and home to conduct intakes and meet with clients (total,
7/27/2018 Seth Packrone     1:48:00 Billable   3.7, bill half)

7/27/2018 Seth Packrone     0:36:00 Billable   Wait at DOC facility to visit client, Casey Z., to update him on cae

7/27/2018 Seth Packrone     1:06:00 Billable   Visti client, Casey Z., and update him on case

7/27/2018 Seth Packrone     0:42:00 Billable   Update Brian Y. on status of case and next steps

7/27/2018 Seth Packrone     1:48:00 Billable   Conduct three intakes at DOC facility

7/30/2018 Seth Packrone     0:18:00 Billable   Get instructions from M. Caiola re: plan for Wednesday's settlement conference

7/30/2018 Seth Packrone     0:12:00 Billable   Organize case file with documents from Friday's intakes

7/30/2018 Seth Packrone     0:48:00 Billable   Draft talking points and create settlement negotiation chart for settlemetn confernece

7/31/2018 Maia Goodell      0:48:00 Billable   review communications with co-counsel; plan for court settlement conference

7/31/2018 Michelle Caiola   0:06:00 Billable   status update from SP -

7/31/2018 Seth Packrone     0:12:00 Billable   Update M. Goodell re: status of plan for settlement conference

7/31/2018 Seth Packrone     0:12:00 Billable   Update talking points/settlement chart for upcoming settlement conference

7/31/2018 Seth Packrone     0:12:00 Billable   Send talking points, settlement chart, and note on DOE's role in monitoring to J. LoCicero

7/31/2018 Seth Packrone     0:18:00 Billable   Update intakes spreadsheet based on Friday's visits and send T. Borden update on intakes

7/31/2018 Seth Packrone     0:24:00 Billable   Prep documents/logistics for tomorrow's settlement conference

7/31/2018 Seth Packrone     0:36:00 Billable   Strategy session with M. Goodell re: plan for tomorrow's settlement conference

7/31/2018 Seth Packrone     0:06:00 Billable   Correspond with ACLU-NJ and Gagnon re: plan for tomorrow's settlement conference

 8/1/2018 Maia Goodell      0:30:00 Billable   travel to Newark for pre-conference prep (total 1 hour; bill half)

 8/1/2018 Maia Goodell      0:30:00 Billable   conference with co-counsel re court conference and settlement position
                                               Meeting with co-counsel to prep for settlement conference (M. Goodell, J. LoCicero, T. Borden,
 8/1/2018 Maia Goodell      1:36:00 Billable   E. Huertas, A. Pollioni, and C. Bowman)

 8/1/2018 Maia Goodell      0:30:00 Billable   travel from Newark to Trenton for court settlement conference (total 1 hour; bill half)

 8/1/2018 Maia Goodell      0:30:00 Billable   travel from Trenton to NYC following court settlement conference (total 1 hour; bill half)

 8/1/2018 Michelle Caiola   0:06:00 Billable   abbreviated update from SP/MG re court conf

 8/1/2018 Seth Packrone     0:12:00 Billable   Prep for settlemetn conference by reviewing talking points/settlement positions

 8/1/2018 Seth Packrone     0:12:00 Billable   Travel to Newark for meeting with co-counsel (total was .5, bill half)
                                               Meeting with co-counsel to prep for settlement conference (M. Goodell, J. LoCicero, T. Borden,
 8/1/2018 Seth Packrone     1:36:00 Billable   E. Huertas, A. Pollioni, and C. Bowman)

 8/1/2018 Seth Packrone     0:30:00 Billable   Travel to Trenton from Newark for settlemetn conference with Defendants (total is 1, bill half)

 8/1/2018 Seth Packrone     0:42:00 Billable   Prepare for settlement conference with Judge Goodman and Defendants

 8/1/2018 Seth Packrone     1:48:00 Billable   Settlement conference with Judge Goodman and Defendants
                                               Travel back from Trenton from settlement conference with Judge Goodman (total was 1.1, bill
 8/1/2018 Seth Packrone     0:30:00 Billable   half)

 8/2/2018 Maia Goodell      0:12:00 Billable   plan settlement outline with co-counsel, S. Packrone, and P. Leahy
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 8/2/2018 Maia Goodell      0:12:00 Billable   analysis of settlement conference and strategy for next steps

 8/2/2018 Michelle Caiola   0:12:00 Billable   update from SP re settlement conference and next steps -

 8/2/2018 Seth Packrone     0:12:00 Billable   Check in with M. Caiola re: next steps after settlement conference with Judge Goodman
                                               Tc with team (T. Borden, E. Huertas, A. Pollioni, C. Bowman, M. Goodell, and P. Leahy) re: next
 8/2/2018 Seth Packrone     0:12:00 Billable   steps in case

 8/2/2018 Seth Packrone     0:06:00 Billable   Follow up with M. Goodell re: results of settlement conference and next steps

 8/3/2018 Seth Packrone     0:06:00 Billable   Review R. Handley's case law research and follow up re: same

 8/3/2018 Seth Packrone     0:06:00 Billable   Follow up with ACLU re: setting in person meeting with Defendants

 8/3/2018 Seth Packrone     0:06:00 Billable   Review intake notes from DOC facility
                                               Review/take notes/analyze Gagnon report on gen ed and special educaiton interventions to
 8/6/2018 Seth Packrone     0:42:00 Billable   draft demand to send to Ds
                                               Review/take notes/analyze Gagnon report on transition services, staffing, and oversight to draft
 8/6/2018 Seth Packrone     0:36:00 Billable   demand to send to Ds
                                               Tc with P. Leahy re: updating him on settlement conference with Judge Goodman and next steps
 8/6/2018 Seth Packrone     0:18:00 Billable   for case
                                               Review/take notes/analyze Gagnon report individual allegations, appendices, and monitoring to
 8/6/2018 Seth Packrone     0:48:00 Billable   draft demand to send to Ds

 8/6/2018 Seth Packrone     0:18:00 Billable   Tc with S. Seaborn re: framing demand to Ds and provisions to leave out

 8/6/2018 Seth Packrone     0:06:00 Billable   Review Proskauer's draft of demand for Defendants and correspond with T. Borden re: same

 8/7/2018 Maia Goodell      0:12:00 Billable   analysis for demand draft and settlement strategy

 8/7/2018 Seth Packrone     0:06:00 Billable   Review/analyze Proskauer draft of issues to send to Defendants

 8/7/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden re: plan for drafting list of issues to send to Defendants

 8/7/2018 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: issues to send to Defendants

 8/7/2018 Seth Packrone     0:30:00 Billable   Draft introduction and section on child find of list of issues to send to Defendants
                                               Draft section of list of issues for Defendants on special education services, including
 8/7/2018 Seth Packrone     1:06:00 Billable   development of IEPs and behavioral services

 8/7/2018 Seth Packrone     0:18:00 Billable   Draft section on staffing of proposal for Ds re: scope of corrective action plan
                                               Correspond with T. Borden and M. Goodell re: plan for September in-person meeting with
 8/7/2018 Seth Packrone     0:06:00 Billable   Defendants

 8/7/2018 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for settlement meeting

 8/7/2018 Seth Packrone     0:18:00 Billable   Finish first draft of proposal to Ds re: scope of corrective action plan

 8/7/2018 Seth Packrone     0:12:00 Billable   Edit proposal to Ds re: corrective action plan based on A. Pollioni's draft

 8/7/2018 Seth Packrone     0:12:00 Billable   Revise first draft of proposal to Ds re: corrective action plan

 8/7/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and Ds re: plan for in-person September meeting

 8/7/2018 Seth Packrone     0:12:00 Billable   Send draft of proposal for Ds re: CAP to T. Borden with notes on draft

 8/8/2018 Maia Goodell      0:06:00 Billable   plan for settlement meeting

 8/8/2018 Michelle Caiola   0:12:00 Billable   report from MG re settlement conference and advise on next steps
                                               touch base with S. Packrone re staffing next meeting and edit to submission to def's on outline
 8/9/2018 Michelle Caiola   0:18:00 Billable   of settlement

 8/9/2018 Michelle Caiola   0:12:00 Billable   review letter to def on settlement, edits

 8/9/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and team re: status of proposal to Ds and today's team call

 8/9/2018 Seth Packrone     0:18:00 Billable   Check in with M. Caiola re: plan for September's settlement conference

8/10/2018 Maia Goodell      1:12:00 Billable   review and supplement letter to defendants re settlement demand

8/10/2018 Seth Packrone     0:06:00 Billable   Review ACLU's edits to proposal for Ds and follow up with T. Borden re: same

8/10/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: reviewing proposal for Ds and thoughts on additions

8/10/2018 Seth Packrone     0:24:00 Billable   Edit/revise proposal for Defendants based on ACLU's Edits

8/10/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: my edits to defendants proposal
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8/10/2018 Seth Packrone     0:06:00 Billable   Tc with A. Pollioni re; upcoming deadlines in case

8/10/2018 Seth Packrone     0:24:00 Billable   Strategy session with M. Goodell re: edits to proposal to Defendants and next steps

8/13/2018 Maia Goodell      0:12:00 Billable   review of co-counsel comments on remedy demand outline with S.Packrone
                                               Review M. Goodell's comments/edits to settlement demand and correspond with T. Borden re:
8/13/2018 Seth Packrone     0:06:00 Billable   same

8/13/2018 Seth Packrone     0:36:00 Billable   Tc with T. Borden re: edits to proposal for Defendants

8/13/2018 Seth Packrone     0:12:00 Billable   Strategy session with M. Goodell re: edits to proposal to Defendants and plan for finalizing

8/13/2018 Seth Packrone     0:42:00 Billable   Edit proposal for Ds based on tc with T. Borden

8/13/2018 Seth Packrone     0:06:00 Billable   Send revised proposal to T. Borden with notes for finalizing

8/14/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: process for finalizing the proposal to send to Defendants

8/14/2018 Seth Packrone     0:06:00 Billable   Edit final proposal to defendants and correspond with T. Borden re: same

8/15/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for finalizing proposal to Ds

8/16/2018 Seth Packrone     0:18:00 Billable   Edit/proofread proposal to Defendants

8/16/2018 Seth Packrone     0:06:00 Billable   Review Gagnon's report for wording in proprosal to Ds

8/16/2018 Seth Packrone     0:06:00 Billable   Send final proposal to Ds to team

8/16/2018 Seth Packrone     0:06:00 Billable   Send proposal to Defendants and follow up with team

8/16/2018 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: client records and regulations on manifestation determinations in prisons

8/29/2018 Seth Packrone     0:06:00 Billable   Correspond with client, Arc of NJ, re: update on settlement negotiations

 9/4/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: next steps for settlement negotiations

 9/4/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: follow up with Defendants

 9/5/2018 Seth Packrone     0:12:00 Billable   Correspond with T. Borden and Ds re: timing for in-person meeting

 9/7/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: meeting with Defendants

 9/7/2018 Seth Packrone     0:30:00 Billable   Tc with client from Arc of NJ re: update on case

 9/7/2018 Seth Packrone     0:06:00 Billable   Correspond with client (Arc of NJ) re: update on case

9/10/2018 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: plan for in-person meeting with Defendants

9/13/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: time for next meeting

9/17/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: Ds failure to respond today

9/18/2018 Maia Goodell      0:12:00 Billable   review defendant response to settlement proposal
                                               call with co-counsel re defendant response and plan for upcoming settlement meeting w P.
9/18/2018 Maia Goodell      0:30:00 Billable   Leahy and S. Packrone

9/18/2018 Michelle Caiola   0:12:00 Billable   update from SP re response by Def and next steps

9/18/2018 Seth Packrone     0:06:00 Billable   Review Defendants' response to our settlement proposal

9/18/2018 Seth Packrone     0:06:00 Billable   Correspond with DRA team re: Defendants' response to our settlement proposal
                                               Team call (T. Borden, M. Goodell, J. LoCicero, P. Leahy, A. Pollioni, C. Bowman, and E. Huertas)
9/18/2018 Seth Packrone     0:30:00 Billable   re: next steps for settlemetn conference

9/18/2018 Seth Packrone     0:12:00 Billable   Review Ds settlement response and prep for team call

9/18/2018 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: Gagnon's email

9/18/2018 Seth Packrone     0:06:00 Billable   Follow up with ACLU re; plan for settlement chart

9/19/2018 Maia Goodell      0:42:00 Billable   review and draft supplement to settlement chart

9/19/2018 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: follow up with Gagnon

9/19/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: negotiation plan for Friday's settlement conference

9/19/2018 Seth Packrone     0:12:00 Billable   Prep settlement chart for Friday
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9/19/2018 Seth Packrone   0:06:00 Billable   Give R. Moser instructions re: prepping settlemetn chart

9/19/2018 Seth Packrone   0:06:00 Billable   Review/edit settlement chart to send to T. Borden

9/19/2018 Seth Packrone   0:24:00 Billable   Tc with T. Borden re: plan for Friday's settlement conference and settlement chart

9/19/2018 Seth Packrone   0:12:00 Billable   Edit chart based on T. Borden's feedback

9/19/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: settlement chart for Friday

9/19/2018 Seth Packrone   0:06:00 Billable   Correspond with M. Goodell re: plan for Friday's settlement conference

9/19/2018 Seth Packrone   0:12:00 Billable   Tc with Brian Y. re: update on case

9/20/2018 Maia Goodell    0:18:00 Billable   review and supplement settlement chart with S.Packrone

9/20/2018 Seth Packrone   0:12:00 Billable   Correspond with M. Goodell re: her thoughts/edits to chart for settlemetn conference

9/20/2018 Seth Packrone   0:18:00 Billable   Prep for settlement conference with Defendants

9/20/2018 Seth Packrone   0:18:00 Billable   Get M. Goodell's feedback on settlement chart and thoughts for Friday's settlement conference

9/20/2018 Seth Packrone   0:12:00 Billable   Correspond with team re: issues list for Friday's settlement conference

9/21/2018 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re: plan for settlement conference today
                                             Travel from home to Trenton Justice Complex to meet with Defendants for settlement
9/21/2018 Seth Packrone   0:42:00 Billable   conference (total 1.5, bill half)
                                             Prep for settlement conference re: reviewing case documents and settlement chart with
9/21/2018 Seth Packrone   0:30:00 Billable   positions
                                             Settlement conference with Defendants and A. Pollioni, T. Borden, J. LoCicero, and C. Bowman
9/21/2018 Seth Packrone   2:42:00 Billable   (by phone)

9/21/2018 Seth Packrone   0:42:00 Billable   Travel from Trenton Justice Complex back to home (Total was 1.5, bill half)

9/21/2018 Seth Packrone   0:12:00 Billable   Update team re: results of settlement conference

9/24/2018 Seth Packrone   0:12:00 Billable   Correspond with Dr. Gagnon and Defendants re: further services needed
                                             Correspond with T. Borden re: plan for call with court and issues arising out of settlement
9/24/2018 Seth Packrone   0:06:00 Billable   conference

9/25/2018 Maia Goodell    0:18:00 Billable   review and supplement plan for court conference with S.Packrone

9/25/2018 Maia Goodell    0:18:00 Billable   review report re court conference

9/25/2018 Seth Packrone   0:12:00 Billable   Draft talking points for court conference and share with T. Borden

9/25/2018 Seth Packrone   0:18:00 Billable   Tc with M. Goodell re: plan for conference with Judge Goodman

9/25/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: consent order for meetings

9/25/2018 Seth Packrone   0:12:00 Billable   Prep for call with Court
                                             Call with Ds and Court (Judge Wolfson and Judge Goodman) re: update on settlement
9/25/2018 Seth Packrone   0:24:00 Billable   negotiations and scheduling the next meeting

9/25/2018 Seth Packrone   0:18:00 Billable   Follow up tc with T. Borden, J. LoCicero, and A. Pollioni re: next steps for negotiations

9/25/2018 Seth Packrone   0:06:00 Billable   Update team re: results of court conference

9/25/2018 Seth Packrone   0:06:00 Billable   Update client, Arc of NJ, re: status of settlement negotiations
                                             analysis of defendant settlement position and plan strategy re potential areas of dispute in
9/26/2018 Maia Goodell    0:48:00 Billable   strategy session with S. Packrone
                                             Strategy session with M. Goodell re: Ps' settlement positions heading into next settlement
9/26/2018 Seth Packrone   0:48:00 Billable   conference

9/26/2018 Seth Packrone   0:06:00 Billable   Correspond with client re: upcoming meeting and Oct. 22 settlement conference

9/27/2018 Maia Goodell    0:24:00 Billable   call with co-counsel re next steps following court conference with P. Leahy and S. Packrone

9/27/2018 Maia Goodell    0:06:00 Billable   strategy for potential expert analysis of staffing issues and other defefendant objections

9/27/2018 Seth Packrone   0:06:00 Billable   Correspond with team re: finalizing plan for next meeting with Defendants
                                             Tc with M. Goodell, T. Borden, A. Pollioni, C. Bowman, and P. Leahy re: next steps for settlement
9/27/2018 Seth Packrone   0:24:00 Billable   negotiations

9/27/2018 Seth Packrone   0:06:00 Billable   Follow up strategy session with M. Goodell re: union issues with settlement

9/27/2018 Seth Packrone   0:06:00 Billable   Tc with P. Leahy re: research into other settlemetn agreements
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 9/28/2018 Seth Packrone     0:06:00 Billable   Follow up with T. Borden and M. Goodell re: next steps for settlement negotiations

 9/28/2018 Seth Packrone     0:06:00 Billable   Correspond with external consultant re: follow up on certain substantive issues
                                                Tc with P. Leahy re: update on review of settlements and provisions to include in eventual
 10/1/2018 Seth Packrone     0:12:00 Billable   settlement agreement

 10/1/2018 Seth Packrone     0:12:00 Billable   Review Buckley settlement for helpful provisions to include in Adam X. negotiations

 10/2/2018 Michelle Caiola   0:06:00 Billable   status update from SP

 10/2/2018 Seth Packrone     0:12:00 Billable   Correspond with external consultant re: checking in about substantive issues in prisons

 10/2/2018 Seth Packrone     0:12:00 Billable   Correspond with ACLU re: plan for calls with clients

 10/2/2018 Seth Packrone     0:30:00 Billable   Update client, Arc of NJ, re: next steps for settlemetn discussions

 10/2/2018 Seth Packrone     0:06:00 Billable   Update M. Caiola on status of case and next setps

 10/2/2018 Seth Packrone     0:06:00 Billable   Follow up with P. Leahy re: states to look for best practices

 10/3/2018 Seth Packrone     0:06:00 Billable   Correspond with ACLU re: plan for research on outstanding settlement issues

 10/4/2018 Seth Packrone     0:12:00 Billable   Review settlement in Garcia and take notes

 10/4/2018 Seth Packrone     0:06:00 Billable   Correspond with S. Seaborn, M. Goodell, and P. Leahy re; substantive settlement provisions

 10/4/2018 Seth Packrone     0:12:00 Billable   Review P. Leahy's research on other settlements to inform negotiations moving forward

 10/4/2018 Seth Packrone     0:06:00 Billable   Correspond with J. LoCicero and C. Bowman re: notes from 9.21.18 settlement conference

 10/4/2018 Seth Packrone     0:12:00 Billable   Tc with S. Seaborn re: Garcia settlemetn's provisions

 10/4/2018 Seth Packrone     0:06:00 Billable   Tc with A. Rogers and J. LoCicero re: status of calls with plaintiffs

 10/4/2018 Seth Packrone     0:06:00 Billable   Update M. Goodell re: status of settlement research

 10/4/2018 Seth Packrone     0:06:00 Billable   Correspond with Garcia team re: discussing settlement

 10/4/2018 Seth Packrone     0:12:00 Billable   Prep for settlement conference with Defendants

 10/4/2018 Seth Packrone     1:12:00 Billable   Settlement conference over the phone with Defendants with C. Bowman and J. LoCicero
                                                Follow up strategy session with J. LoCicero and C. Bowman re: next steps after settlement
 10/4/2018 Seth Packrone     0:24:00 Billable   conference

 10/4/2018 Seth Packrone     0:12:00 Billable   Update M. Goodell re: results of settlement conference

 10/4/2018 Seth Packrone     0:18:00 Billable   Tc with P. Leahy re: next steps for research
                                                Review best practices report on education in correctional facilities for substantive settlement
 10/5/2018 Seth Packrone     0:12:00 Billable   terms

 10/5/2018 Seth Packrone     0:18:00 Billable   Review Ohio DOC education policies for substantive settlement terms

 10/5/2018 Seth Packrone     0:06:00 Billable   Tc with P. Leahy re: follow up research on Ohio DOC education policies

 10/5/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: udpate on settlement research

 10/5/2018 Seth Packrone     0:06:00 Billable   Correspond with client re: settlement issues

 10/5/2018 Seth Packrone     0:06:00 Billable   Tc with client (rep from Arc of NJ) re: settlemetn issues

 10/9/2018 Seth Packrone     0:06:00 Billable   Review background of potential monitor sent by ACLU

 10/9/2018 Seth Packrone     0:12:00 Billable   Correspond with ACLU re: potential monitor and complaint from NJDOC teacher

 10/9/2018 Seth Packrone     0:06:00 Billable   Correspond with P. Leahy re: next steps for settlement research
                                                call with co-counsel, S. Packrone, and P. Leahy re response to DOC concerns raised in settlement
10/11/2018 Maia Goodell      0:36:00 Billable   meetings

10/11/2018 Seth Packrone     0:06:00 Billable   Prep for client calls

10/11/2018 Seth Packrone     0:06:00 Billable   Tc with DOC facility for client call

10/11/2018 Seth Packrone     0:06:00 Billable   Follow up with ACLU and team re: call with client

10/11/2018 Seth Packrone     0:12:00 Billable   Draft agenda for team call with next steps for settlement

10/11/2018 Seth Packrone     0:06:00 Billable   Correspond with P. Leahy re: other states' special education policies/procedures
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10/11/2018 Seth Packrone   0:30:00 Billable   Tc with Brian Y. re: settlement proposal and next steps

10/11/2018 Seth Packrone   0:12:00 Billable   Tc with P. Leahy re: next steps for research on states/settlement proposals
                                              Tc with M. Goodell, T. Borden, P. Leahy, J. LoCicero, and A. Pollioni re: next steps for settlement
10/11/2018 Seth Packrone   0:36:00 Billable   conference

10/11/2018 Seth Packrone   0:12:00 Billable   Get instructions from M. Goodell re: drafting settlement letter

10/11/2018 Seth Packrone   0:30:00 Billable   Draft first draft of settlement update letter to send to Defendants
                                              Revise/edit first draft of settlement letter to Defendants and send to M. Goodell with request
10/11/2018 Seth Packrone   0:18:00 Billable   for feedback

10/12/2018 Maia Goodell    0:18:00 Billable   review and supplement letter to defendants re settlement

10/12/2018 Maia Goodell    0:06:00 Billable   review and supplement letter to client re settlement
                                              Check in with P. Leahy and M. Goodell re: plan for call with garcia counsel re: potential elements
10/12/2018 Seth Packrone   0:06:00 Billable   to include in Adam X. settlement

10/12/2018 Seth Packrone   0:12:00 Billable   Edit letter to Defendants based on M. Goodell's feedback
                                              Tc with counsel for plaintiffs in Garcia re: challenges of providing services in adult correctional
10/12/2018 Seth Packrone   0:30:00 Billable   facility

10/12/2018 Seth Packrone   0:06:00 Billable   Follow up tc with P. Leahy re: takeaways from call for potential settlement elements

10/12/2018 Seth Packrone   0:06:00 Billable   Send first draft of letter to Defendants to ACLU with notes for next steps

10/12/2018 Seth Packrone   0:06:00 Billable   Correspond with ACLU re: setting up client phone calls

10/12/2018 Seth Packrone   0:12:00 Billable   Draft letter to client and edit to send

10/12/2018 Seth Packrone   0:06:00 Billable   Follow up with external consultant re: checking in about settlement negotiations

10/13/2018 Seth Packrone   0:06:00 Billable   Correspond with consulting expert re: time to discuss outstanding issue

10/15/2018 Maia Goodell    0:06:00 Billable   planning for settlement call

10/15/2018 Seth Packrone   0:06:00 Billable   Review confidentiality order and correspond with M. Goodell re: same

10/15/2018 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: plan for call with external consultant tomorrow

10/15/2018 Seth Packrone   0:12:00 Billable   Correspond with external consultant re: materials for tomorrow's call

10/15/2018 Seth Packrone   0:12:00 Billable   Review/take notes on NJDOC education policies listed by Gagnon in report

10/15/2018 Seth Packrone   0:06:00 Billable   Correspond with P. Leahy re: questions about NJDOC policies

10/15/2018 Seth Packrone   0:12:00 Billable   Tc with P. Leahy re: updated NJDOC policies on attendance/waiver of attendance
                                              Correspond with P. Leahy re: follow up questions about NJDOC special education policies and
10/16/2018 Seth Packrone   0:06:00 Billable   reviewing state comparison chart

10/16/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: status of letter to Defendants

10/16/2018 Seth Packrone   1:24:00 Billable   Tc with external consultant re: settlement positions for next Monday's meeting

10/16/2018 Seth Packrone   0:06:00 Billable   Edit letter to defendants based on ACLU's comments

10/16/2018 Seth Packrone   0:06:00 Billable   Send letter to defendants to team with request for feedback

10/17/2018 Seth Packrone   0:12:00 Billable   Correspond with ACLU re: upcoming meeting with team, client, and settlement conference

10/17/2018 Seth Packrone   0:06:00 Billable   Correspond with P. Leahy re: research on NJDOC education policies

10/17/2018 Seth Packrone   0:18:00 Billable   Review/edit chart compiling state DOC policies on special education

10/17/2018 Seth Packrone   0:06:00 Billable   Tc with Arc of NJ re: update on case

10/17/2018 Seth Packrone   0:12:00 Billable   Update settlemetn chart based on letter to Defendants

10/17/2018 Seth Packrone   0:06:00 Billable   Edit letter to defendants based on edits to settlement chart

10/17/2018 Seth Packrone   0:06:00 Billable   Correspond with team re: edits to letter/settlement chart

10/17/2018 Seth Packrone   0:18:00 Billable   Tc with Arc of NJ re: update on settlement and approaches to clustering services

10/17/2018 Seth Packrone   0:18:00 Billable   Edit/finalize settlemetn chart and letter to Defendants

10/17/2018 Seth Packrone   0:06:00 Billable   Send final chart/letter to Defendants
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10/17/2018 Seth Packrone     0:24:00 Billable   Tc with P. Leahy re: other state doc policies for relevance to Adam X.

10/18/2018 Michelle Caiola   0:06:00 Billable   status update from SP re upcoming settlement conference

10/18/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: plan for Monday's settlement conference

10/18/2018 Seth Packrone     0:06:00 Billable   Prep for call with Casey Z.

10/18/2018 Seth Packrone     0:36:00 Billable   Tc with Casey Z. re: update on status of case and settlement

10/18/2018 Seth Packrone     0:06:00 Billable   Update M. Caiola re: plan for settlemetn conference on Monday
                                                Tc with litigation team (P. Leahy, J. LoCicero, T. Borden, A. Pollioni, and C. Bowman) re: plan for
10/18/2018 Seth Packrone     0:30:00 Billable   Monday's settlemetn conference

10/19/2018 Seth Packrone     0:06:00 Billable   Tc with S. Seaborn re: strategies for calculating comp ed

10/19/2018 Seth Packrone     0:12:00 Billable   Draft notes from call with external consultant

10/19/2018 Seth Packrone     0:12:00 Billable   Draft email to team with update on research

10/19/2018 Seth Packrone     0:12:00 Billable   Follow up with ACLU re: plan for settlement conference and ideas for comp ed.

10/19/2018 Seth Packrone     0:12:00 Billable   Prep for settlement conference

10/22/2018 Maia Goodell      0:24:00 Billable   review report of court conference and plan next steps

10/22/2018 Michelle Caiola   0:06:00 Billable   report from SP re court counference

10/22/2018 Seth Packrone     1:12:00 Billable   Travel to and from DNJ courthouse for conference with Defendants (2.5 total, bill half)

10/22/2018 Seth Packrone     1:48:00 Billable   Settlement conference with Defendants and court with J. LoCicero and T. Borden

10/22/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: results of settlement conference and next steps for follow up
                                                Update M. Goodell and M. Caiola re: next steps for case and results of settlement conference
10/22/2018 Seth Packrone     0:12:00 Billable   with judges

                                                Tc with team (C. Bowman, A. Pollioni, J. LoCicero, E. Huertas, and T. Borden) re: update on
10/22/2018 Seth Packrone     0:24:00 Billable   settlement conference with court and next stesp for settlement negotiations

10/22/2018 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola and S. Seaborn re: update on settlement conference

10/22/2018 Seth Packrone     0:06:00 Billable   Correspond with P. Leahy re: student waiver in NJ and settlement research

10/23/2018 Seth Packrone     0:12:00 Billable   Update M. Goodell re: results of settlement conference with judge

10/23/2018 Seth Packrone     0:06:00 Billable   Tc with P. Leahy re: next steps for settlement research

10/24/2018 Seth Packrone     0:06:00 Billable   Tc with client, Brian Y, re: update on case

10/29/2018 Seth Packrone     0:06:00 Billable   Tc with Brian Y. re: update on case

 11/6/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for reaching out to potential monitors and Defendants

 11/7/2018 Seth Packrone     0:06:00 Billable   Review court orders to plan for upcoming deadlines in case

 11/7/2018 Seth Packrone     0:30:00 Billable   Tc with Bloomberg reporter re: status of case

 11/7/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden re: next step for reaching out to potential monitors

 11/7/2018 Seth Packrone     0:12:00 Billable   Draft emails to Lockwood and potential expert

 11/7/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of outreach to potential experts

 11/7/2018 Seth Packrone     0:12:00 Billable   Correspond with potential expert and S. Lockwood

 11/7/2018 Seth Packrone     0:06:00 Billable   Follow up with experts/schedule calls with potential monitors

 11/8/2018 Seth Packrone     0:06:00 Billable   Correspond with S. Lockwood re: potential for being considered as a monitor for case

 11/8/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Zito re: monitoring role in prison education cases

 11/8/2018 Seth Packrone     0:12:00 Billable   Tc with T. Zito re: role for monitors in spec ed corrections cases

 11/8/2018 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: prep for call with potential expert

 11/8/2018 Seth Packrone     0:24:00 Billable   Tc with T. Borden and potential expert re: potential for monitoring position in Adam X.

 11/8/2018 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: next steps for monitoring proposal
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 11/8/2018 Seth Packrone   0:12:00 Billable   Tc with T. Borden and Susan Lockwood re: potential for serving as monitor in case

 11/8/2018 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: next steps for following up with Defendants about a monitor

 11/9/2018 Seth Packrone   0:18:00 Billable   Draft short memo re: summary of outreach to potential monitors

 11/9/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: summary of meetings with potential monitors

11/12/2018 Seth Packrone   0:06:00 Billable   Correspond with team and check in with M. Goodell re: plan for co-counsel call

11/12/2018 Seth Packrone   0:06:00 Billable   Review Garcia/Casey A. settlement summary for potential issues in Adam X.
                                              Correspond with P. Leahy re: status of Garcia and Casey settlement reasearch for potential
11/12/2018 Seth Packrone   0:06:00 Billable   Adam X. issues

11/13/2018 Seth Packrone   0:06:00 Billable   Correspond with team re: plan for next call

11/15/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: Ds' response to monitor
                                              Correspond with M. Caiola, M. Goodell, and P. Leahy re: monitor update and settlemetn
11/15/2018 Seth Packrone   0:06:00 Billable   research moving forward

11/16/2018 Seth Packrone   0:06:00 Billable   Draft agenda and send to T. borden with note for feedback

11/16/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and team re: plan/agenda for Monday's call

11/19/2018 Maia Goodell    0:18:00 Billable   call with co-counsel re settlement w/ S. Packrone

11/19/2018 Seth Packrone   0:18:00 Billable   Tc with JL, T. Borden, A. Pollioni, M. Goodell, and P. Leahy re: plan for call with court

11/19/2018 Seth Packrone   0:18:00 Billable   Draft talking points for call with Court tomorrow

11/19/2018 Seth Packrone   0:06:00 Billable   Check in with T. Borden and J. LoCicero re: plan for call with Court

11/20/2018 Seth Packrone   0:06:00 Billable   Prep for tc with Court re: status of settlement negotiations

11/20/2018 Seth Packrone   0:06:00 Billable   Correspond with lockwood re: CV

11/20/2018 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: plan for court call

11/20/2018 Seth Packrone   0:12:00 Billable   Tc with court and T. Borden and C. Bowman re: status of settlement negotiations

11/20/2018 Seth Packrone   0:12:00 Billable   Follow up strategy session re: next steps for negotiations with T. Borden and C. Bowman

11/20/2018 Seth Packrone   0:06:00 Billable   Update M. Goodell re: next steps for case

11/20/2018 Seth Packrone   0:06:00 Billable   Correspond with team re: proposing Lockwood as monitor

11/20/2018 Seth Packrone   0:18:00 Billable   Follow up with potential external monitor and draft email to Defendants re: external monitors

11/21/2018 Seth Packrone   0:06:00 Billable   Review potential expert CV

11/21/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: potential expert CV and plan for sending experts to Defendants

11/21/2018 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: plan for sending expert recommendations to Defendants

11/21/2018 Seth Packrone   0:06:00 Billable   Review civil service research and correspond with T. Borden re: same

11/28/2018 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: update on status of client contacts

11/29/2018 Maia Goodell    0:12:00 Billable   call with co-counsel re upcoming call with court with S. Packrone
                                              Tc with team (M. Goodell, J. LoCicero, T. Borden, E. Huertas, and A. Pollioni) re: plan for next
11/29/2018 Seth Packrone   0:12:00 Billable   week's call with the Court

11/29/2018 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: plan for call with client

11/29/2018 Seth Packrone   0:18:00 Billable   Tc with client and T. Borden re: update on case

11/29/2018 Seth Packrone   0:06:00 Billable   Follow up tc with T. Borden re: next steps for case

 12/4/2018 Maia Goodell    0:06:00 Billable   planning session with S.Packrone re response to upcoming settlement proposal

 12/4/2018 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: court order and due date for joint letter

 12/4/2018 Seth Packrone   0:06:00 Billable   Prep for tc with court re: status of settlement

 12/4/2018 Seth Packrone   0:12:00 Billable   Tc with court and Defendants re: status of settlement negotiations and next steps
                                              Follow up tc with co-counsel, T. Borden, E. Huertas, C. Bowman, and A. Pollioni re: next steps for
 12/4/2018 Seth Packrone   0:12:00 Billable   case and timeline for responding to Defendants
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 12/4/2018 Seth Packrone     0:06:00 Billable   Update M. Goodell re: next steps for case and update on call with court

12/10/2018 Seth Packrone     0:06:00 Billable   Correspond with client, Arc of NJ, re: case update

12/11/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: response to Defendants about experts

12/11/2018 Seth Packrone     0:06:00 Billable   Correspond with client, Arc of NJ, and T. Borden re: meeting on Friday

12/13/2018 Maia Goodell      0:12:00 Billable   call with co-counsel re next steps in settlement with S. Packrone and P. Leahy

12/13/2018 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for call today

12/13/2018 Seth Packrone     0:12:00 Billable   Tc with team with P. Leahy and M. Goodell re: next steps for settlement negotiations

12/14/2018 Seth Packrone     0:24:00 Billable   Tc with client, Arc of NJ, and T. Borden re: update on case and next steps

12/14/2018 Seth Packrone     0:12:00 Billable   Tc with T. Borden re; next steps for case until the 1/14 settlement conference

12/18/2018 Seth Packrone     0:18:00 Billable   Review/analyze potential monitor, Susan Lockwood's report in other cases

12/18/2018 Seth Packrone     0:06:00 Billable   Correspond with team re: conference with Defendants in January

  1/2/2019 Michelle Caiola   0:06:00 Billable   update from SP re Def response

  1/2/2019 Seth Packrone     0:06:00 Billable   Review emails with team and opposing counsel from holiday break

  1/3/2019 Maia Goodell      1:30:00 Billable   analysis and notes re defendnant settlement proposal
                                                call with co-counsel re analysis and response to defendant settlement position, strategy for joint
  1/3/2019 Maia Goodell      0:36:00 Billable   letter with P. Leahy and S. Packrone

  1/3/2019 Maia Goodell      0:24:00 Billable   strategy session with S.Packrone for joint letter and court conference

  1/3/2019 Seth Packrone     0:06:00 Billable   Check in with A. Pollioni re: status of settlement proposal summary

  1/3/2019 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: analysis of settlement rpoposal from Ds

  1/3/2019 Seth Packrone     0:18:00 Billable   Review DOC/DOE response to our settlement proposal

  1/3/2019 Seth Packrone     0:36:00 Billable   Tc with team re: next steps for case after DOC/DOE proposal with P. Leahy and M. Goodell

  1/3/2019 Seth Packrone     0:24:00 Billable   Follow up strategy session with M. Goodell re: next steps for case

  1/4/2019 Seth Packrone     0:12:00 Billable   Tc with A. Pollioni re: plan for letter to court
                                                review and supplement draft letter to court re defendant failure to provide substantive
  1/7/2019 Maia Goodell      0:30:00 Billable   settlement response

  1/7/2019 Maia Goodell      0:18:00 Billable   planning for call with opposing counsel re settlement

  1/7/2019 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: plan for tomorrow's settlemetn conference

  1/7/2019 Seth Packrone     0:06:00 Billable   Tc with t. Borden re: plan for tomorrow's settlemetn conference

  1/7/2019 Seth Packrone     0:12:00 Billable   Review draft of letter to court to prep for tomorrow's settlemetn conference

  1/7/2019 Seth Packrone     0:06:00 Billable   Correspond with M. goodell re: plan for tomorrow based on letter from Proskauer

  1/8/2019 Seth Packrone     0:12:00 Billable   Review T. Borden's edits to letter and prep for settlement conference

  1/8/2019 Seth Packrone     0:12:00 Billable   Tc with M. Goodell re: prep for settlement conference

  1/8/2019 Seth Packrone     0:12:00 Billable   Tc with client re: update on situation

  1/8/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for settlement conference

  1/8/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for settlemetn conference and draft of letter

  1/8/2019 Seth Packrone     0:54:00 Billable   Tc with T. Borden, A. Pollioni, C. Bowman, E. Huertas, and Defendants re: settlement conference

  1/8/2019 Seth Packrone     0:06:00 Billable   Follow up strategy session with team re: next steps for case

  1/8/2019 Seth Packrone     0:12:00 Billable   Tc with M. Goodell re: update on settlement conference and next steps

  1/8/2019 Seth Packrone     0:06:00 Billable   Edit T. Borden's draft of joint letter to Defendants

  1/8/2019 Seth Packrone     1:06:00 Billable   Edit Plaintiffs' position seciton of joint letter to court

  1/8/2019 Seth Packrone     0:06:00 Billable   Send joint letter draft to M. Goodell
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 1/9/2019 Maia Goodell      1:24:00 Billable   review and supplement plaintiffs' position for joint letter to court re settlement

 1/9/2019 Maia Goodell      0:18:00 Billable   strategy session re plaintiffs' settlement position with S.Packrone
                                               review S.Packrone research and supplement plaintiffs' position for joint letter to court re
 1/9/2019 Maia Goodell      0:54:00 Billable   settlement per same

 1/9/2019 Maia Goodell      0:06:00 Billable   review edits to joint position from co-counsel

 1/9/2019 Michelle Caiola   0:06:00 Billable   update from SP re: status of letter to court

 1/9/2019 Seth Packrone     0:06:00 Billable   Review/edit skeletal draft of joint letter

 1/9/2019 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: update on status of settlement negotiations
                                               Strategy session with M. Goodell re: status of plaintiffs' position for joint letter and specific
 1/9/2019 Seth Packrone     0:18:00 Billable   requests to highlight with Court

 1/9/2019 Seth Packrone     0:06:00 Billable   Send P. Leahy instructions re: editing settlement chart

 1/9/2019 Seth Packrone     0:12:00 Billable   Legal research re: rebutting Defendants' legal positions in settlemetn response

 1/9/2019 Seth Packrone     0:54:00 Billable   Edit/revise plaintiffs' position for joint settlement letter to Court

 1/9/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: joint letter

 1/9/2019 Seth Packrone     0:06:00 Billable   Review settlement offer from Defendants

 1/9/2019 Seth Packrone     0:06:00 Billable   Finalize draft of Plaintiffs' position to send to team

 1/9/2019 Seth Packrone     0:06:00 Billable   Send Plaintiffs' draft to team with note for next steps

 1/9/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: settlement history

 1/9/2019 Seth Packrone     0:06:00 Billable   Check in with P. Leahy re: plan for updating settlement chart

 1/9/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for finalizing letter and strategy for settlement conference on Monday

1/10/2019 Maia Goodell      0:18:00 Billable   review co-counsel edits and supplement Plaintiff position for joint letter to Court

1/10/2019 Maia Goodell      0:24:00 Billable   review defendant position for Court update letter

1/10/2019 Maia Goodell      0:18:00 Billable   draft edits to plaintiffs' position per defendant positions

1/10/2019 Maia Goodell      0:12:00 Billable   review communications with opposing counsel re joint letter to court re settlement update

1/10/2019 Maia Goodell      1:00:00 Billable   analysis of defendant settlement charts; draft strategic plan for response

1/10/2019 Seth Packrone     0:06:00 Billable   Review Proskauer edits to joint letter

1/10/2019 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: next steps for joint letter

1/10/2019 Seth Packrone     0:06:00 Billable   Review new draft of joint letter

1/10/2019 Seth Packrone     0:06:00 Billable   Review emails with team re: DOE/DOC edits to joint letter

1/10/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: next steps for case

1/11/2019 Maia Goodell      2:00:00 Billable   review and draft analysis of defendant settlement positions and plan for plaintiffs' response

1/11/2019 Maia Goodell      1:00:00 Billable   call with co-counsel T. Borden and S. Packrone re strategy for court conference

1/11/2019 Maia Goodell      0:18:00 Billable   plan next steps with S.Packrone for court conference

1/11/2019 Michelle Caiola   0:12:00 Billable   update from SP and next steps

1/11/2019 Seth Packrone     0:24:00 Billable   Strategy session with M. Goodell re: plan for Monday's settlement conference

1/11/2019 Seth Packrone     0:24:00 Billable   Edit settlement chart with positions for Monday

1/11/2019 Seth Packrone     1:00:00 Billable   Tc with T. Borden and M. Goodell re: settlement positions for Monday

1/11/2019 Seth Packrone     0:18:00 Billable   Follow up strategy session with M. Goodell re: plan for Monday

1/11/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: time for site visits

1/11/2019 Seth Packrone     0:24:00 Billable   Final edits to settlement chart for Monday

1/13/2019 Seth Packrone     1:30:00 Billable   Prep for settlement conference by reviewing documents and developing settlement terms
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1/14/2019 Seth Packrone   0:36:00 Billable   Travel to settlement conference in Trenton, NJ (bill half, total was 80 minutes)

1/14/2019 Seth Packrone   0:24:00 Billable   Prep for settlement conference by reviewing notes and conferencing with team

1/14/2019 Seth Packrone   2:12:00 Billable   Settlement conference with Court, Defendants, T. Borden, A. Pollioni, and J. LoCicero

1/14/2019 Seth Packrone   0:18:00 Billable   Debrief settlement conference and next steps for following up with Defendants

1/14/2019 Seth Packrone   0:42:00 Billable   Travel from settlement conference in Trenton, NJ back (bill half, total was 85 minutes)

1/14/2019 Seth Packrone   0:24:00 Billable   Draft update for team re: result of settlement conference and next steps for case

1/14/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: calls with Defendants and upcoming court conferences

1/14/2019 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: next steps for responding to Defendants

1/14/2019 Seth Packrone   0:12:00 Billable   Send litigation team plan for responding to Defendants' latest proposals

1/16/2019 Maia Goodell    0:30:00 Billable   strategy session with S.Packrone re response to DOE settlement proposal

1/16/2019 Maia Goodell    0:18:00 Billable   planning for response to DOC settleement position

1/16/2019 Seth Packrone   0:12:00 Billable   Tc with client re: update on situation

1/16/2019 Seth Packrone   0:30:00 Billable   Strategy session with M. Goodell on setllement conference and discuss DOE response

1/16/2019 Seth Packrone   0:06:00 Billable   Review notes from A. Pollioni from settlemetn conference to draft response to DOE

1/16/2019 Seth Packrone   1:00:00 Billable   Work on draft of response to DOE's CAP proposal

1/16/2019 Seth Packrone   0:12:00 Billable   Strategy session with M. Goodell re: next steps for following up with client

1/16/2019 Seth Packrone   0:24:00 Billable   Outline draft response to DOE CAP proposal

1/17/2019 Maia Goodell    2:12:00 Billable   review and supplement draft response to DOC re settlement

1/17/2019 Maia Goodell    0:30:00 Billable   analysis of DOC settlement position and strategy for response with S.Packrone

1/17/2019 Seth Packrone   0:24:00 Billable   Finish response to DOE CAP proposal for Monitoring Areas

1/17/2019 Seth Packrone   0:24:00 Billable   Draft response to Procedures for Monitoring section of DOE CAP

1/17/2019 Seth Packrone   0:18:00 Billable   Draft response to Checklist portion of DOE CAP response

1/17/2019 Seth Packrone   0:30:00 Billable   Draft response to DCFs section of DOE CAP proposal

1/17/2019 Seth Packrone   0:12:00 Billable   Draft email to T. Borden with draft for Defendants

1/17/2019 Seth Packrone   0:12:00 Billable   Check in with M. Goodell re: approach in CAP

1/17/2019 Seth Packrone   0:12:00 Billable   Draft intro with list of concerns for DOE response

1/17/2019 Seth Packrone   0:12:00 Billable   Draft introduction to DOE response

1/17/2019 Seth Packrone   0:42:00 Billable   Revise/edit first draft of response to DOE

1/17/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: approach to DOE CAP response

1/17/2019 Seth Packrone   0:06:00 Billable   Clarify revisions section of DOE CAP response with M. Goodell

1/17/2019 Seth Packrone   0:30:00 Billable   Get feedback on DOE letter response from M. Goodell

1/17/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and A. Pollioni re: approach for DOC response

1/17/2019 Seth Packrone   0:36:00 Billable   Revise DOE response based on M. Goodell's feedback.comments

1/18/2019 Maia Goodell    0:12:00 Billable   discuss response to settlement position with S.Packrone
                                             reivew draft response to DOC positon received from co-counsel; strategy for supplementing
1/18/2019 Maia Goodell    0:18:00 Billable   same

1/18/2019 Seth Packrone   0:18:00 Billable   Review DOE letter response and make edits to first draft

1/18/2019 Seth Packrone   0:06:00 Billable   Send DOE response first draft to T. Borden

1/18/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: informing Lockwood of selection

1/18/2019 Seth Packrone   0:12:00 Billable   Draft update for external expert
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1/18/2019 Seth Packrone   0:06:00 Billable   Send external monitor update about selection

1/18/2019 Seth Packrone   0:06:00 Billable   Correspond with external monitor re: next stesp

1/18/2019 Seth Packrone   0:06:00 Billable   Check in with T. Borden re: status of DOC response

1/18/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: status of DOC response

1/22/2019 Maia Goodell    0:06:00 Billable   review draft response to DOC

1/22/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: child find provisions

1/23/2019 Maia Goodell    0:42:00 Billable   strategy for response to DOC settlement position

1/23/2019 Seth Packrone   0:12:00 Billable   Correspond with team re: status of settlement responses and plan for today's call

1/23/2019 Seth Packrone   0:18:00 Billable   Prep for settlement call with Defendants and prep questions

1/23/2019 Seth Packrone   0:18:00 Billable   Tc with T. Borden re: status of settlement responses and plan for settlement call

1/23/2019 Seth Packrone   0:12:00 Billable   Tc with P. Leahy to give him instructions re: evaluating DOC settlement responses
                                             Tc with T. Borden, A. Pollioni, C. Bowman, and E. Huertas with Defendants re: status of
1/23/2019 Seth Packrone   0:48:00 Billable   settlement proposal

1/23/2019 Seth Packrone   0:12:00 Billable   Tc with T. Borden and A. Pollioni re: plan for editing settlement responses

1/23/2019 Seth Packrone   0:06:00 Billable   Follow up tc with T. Borden re: status of DOC response

1/23/2019 Seth Packrone   0:30:00 Billable   Check in with M. Goodell re: strategies for next steps in settlement

1/23/2019 Seth Packrone   0:06:00 Billable   Tc with P. Leahy re: question about our responses to DOC settlement offer

1/24/2019 Maia Goodell    0:18:00 Billable   planning and analysis for streamlined response to DOC and DOE proposals

1/24/2019 Seth Packrone   0:36:00 Billable   Review settlement chart with DOC responses

1/24/2019 Seth Packrone   0:18:00 Billable   Tc with P. Leahy re: process for editing DOC response chart and letter

1/24/2019 Seth Packrone   0:12:00 Billable   Check in with M. Goodell re: next steps for responding to DOC

1/24/2019 Seth Packrone   0:06:00 Billable   Review settlemetn positions in DOC chart

1/24/2019 Seth Packrone   0:24:00 Billable   Check in with M. Goodell re: plan for responding to DOC

1/24/2019 Seth Packrone   0:06:00 Billable   Follow up with P. Leahy re: revising chart

1/24/2019 Seth Packrone   0:12:00 Billable   Review DOC response letter and edit

1/24/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell and P. Leahy re: plan for editing letter

1/24/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: status of settlement response

1/25/2019 Maia Goodell    1:42:00 Billable   review and supplement letter to opposing counsel re settlement
                                             strategy session with S.Packrone re response to settlement proposal, planning for court
1/25/2019 Maia Goodell    0:18:00 Billable   conference

1/25/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: status of settlement letter

1/25/2019 Seth Packrone   1:18:00 Billable   Edit DOC section of letter

1/25/2019 Seth Packrone   0:06:00 Billable   Correspond with M. Goodell re: status of Adam X. letter

1/25/2019 Seth Packrone   0:48:00 Billable   Review/edit settlement letter based on M. Goodell's edits

1/25/2019 Seth Packrone   0:18:00 Billable   Check in with M. Goodell re: further edits to settlement letter

1/25/2019 Seth Packrone   0:18:00 Billable   Tc with T. Borden re: next steps for revising letter to Defendants

1/27/2019 Seth Packrone   0:42:00 Billable   Update letter response to Defendants and correpsond with T. borden re: same

1/27/2019 Seth Packrone   0:42:00 Billable   finalize settlement letter to send to Defendants

1/27/2019 Seth Packrone   0:06:00 Billable   Send letter to T. Borden with notes to submit to defendants

1/28/2019 Seth Packrone   0:06:00 Billable   Follow up with M. Caiola re: update on settlement response

1/29/2019 Maia Goodell    0:12:00 Billable   analysis of communication from monitor re schedule
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1/29/2019 Michelle Caiola   0:12:00 Billable   review latest letter to Def re settlement and terms; feedback to SP

1/29/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: update on expert

1/29/2019 Seth Packrone     0:06:00 Billable   Follow up with monitor re: update on situation

1/29/2019 Seth Packrone     0:06:00 Billable   Correspond with opposing counsel re: update on expert

1/30/2019 Michelle Caiola   0:12:00 Billable   check in with S Packrone re expert and next step

 2/1/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for external monitor

 2/1/2019 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: plan for external monitor moving forward

 2/1/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: next steps for external monitor

 2/1/2019 Seth Packrone     0:06:00 Billable   Correspond with Dr. Roberts re: update on external monitor situation

 2/4/2019 Seth Packrone     0:06:00 Billable   Give R. Moser instructions re: including policies for settlement binder

 2/5/2019 Seth Packrone     0:48:00 Billable   Review/analyze/take notes on Adam X. policies produced by Defendants in late January

 2/5/2019 Seth Packrone     0:06:00 Billable   Give P. Leahy instructions re: reviewing policies and determining if they respond to our positions

 2/5/2019 Seth Packrone     0:06:00 Billable   Follow up with litigation team re: plan for meeting with Defendants

 2/5/2019 Seth Packrone     0:30:00 Billable   Tc with T. Zito re: update on expert and tips on structure for settlement

 2/6/2019 Seth Packrone     0:06:00 Billable   Revew P. Leahy's draft of policy analysis

 2/6/2019 Seth Packrone     0:06:00 Billable   Follow up with team re: plan for tomorrow's meeting with Defendants

 2/6/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for settlement conference
                                               Tc with T. Borden and E. Huertas re: next steps for expert and plan for tomorrow's conference
 2/6/2019 Seth Packrone     0:36:00 Billable   with Defendants

 2/6/2019 Seth Packrone     0:18:00 Billable   Draft agenda and talking points for settlement conference with Defendants

 2/6/2019 Seth Packrone     0:12:00 Billable   Review policy analysis from P. Leahy

 2/6/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden and E. Huertas re: plan for next week and visiting client

 2/6/2019 Seth Packrone     0:06:00 Billable   Give R. Moser instructions re: setting up client visit

 2/6/2019 Seth Packrone     0:06:00 Billable   Update M. Goodell re: plan for settlement meeting

 2/7/2019 Maia Goodell      0:24:00 Billable   planning for call with opposing counsel re settlement

 2/7/2019 Seth Packrone     0:18:00 Billable   Prep for meeting with Defendants by reviewing most recent settlement communications

 2/7/2019 Seth Packrone     1:00:00 Billable   Settlement teleconference with litigation team and opposing counsel from NJDOC
                                               Follow up tc with team (T. Borden, A. Pollioni, and C. Bowman) re: follow up from settlement
 2/7/2019 Seth Packrone     0:12:00 Billable   conference

 2/7/2019 Seth Packrone     0:30:00 Billable   Update M. Goodell re: results of settlement conference and plan for settlement conference

 2/8/2019 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: status of settlement negotiations and next steps

 2/8/2019 Seth Packrone     0:18:00 Billable   Draft cover letter to submit to Court

 2/8/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell and T. Borden re: submitting settlement to Court

 2/8/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of communication with Defendants

 2/8/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for Monday's settlement conference

 2/8/2019 Seth Packrone     0:24:00 Billable   Prep for Monday's settlement conference

2/11/2019 Maia Goodell      0:12:00 Billable   analysis of settlement conference and planning for next steps with S.Packrone
                                               Travel to District Court NJ for settlement conference with Defendants from home in Jersey City
2/11/2019 Seth Packrone     0:36:00 Billable   (bill half, total was 1.3)

2/11/2019 Seth Packrone     0:06:00 Billable   Travel from District Court to DOC facility (bill half, total was .3)
                                               Settlement Conference with Judge Wolfson and Judge Goodman (T. Borden, A. Pollioni, and E.
2/11/2019 Seth Packrone     1:18:00 Billable   Huertas)
                                               Follow up meeting with Defendants (T. Borden, A. Pollioni, and E. Huertas) following the
2/11/2019 Seth Packrone     0:36:00 Billable   settlement conference
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2/11/2019 Seth Packrone     0:18:00 Billable   Follow up strategy session with T. Borden, A. Pollioni, and E. Huertas re: next steps for case

2/11/2019 Seth Packrone     1:00:00 Billable   Meet with client re: update on case

2/11/2019 Seth Packrone     0:06:00 Billable   Update M. Goodell re: results of settlement conference

2/11/2019 Seth Packrone     0:36:00 Billable   Travel from DOC Facility to Jersey City (bill half, total was 1.2)

2/12/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for meeting with Kathy Wright

2/12/2019 Seth Packrone     0:12:00 Billable   Review sample settlement to begin work on settlement agreement
                                               Correspond with team (A. Pollioni and T. Borden) re: time to collaborate about settlement
2/12/2019 Seth Packrone     0:12:00 Billable   agreement

2/13/2019 Maia Goodell      0:24:00 Billable   analysis of settlement conference and planning for next steps with S.Packrone

2/13/2019 Seth Packrone     0:12:00 Billable   Review sample settlements and prep for call with team re: next steps for settlement

2/13/2019 Seth Packrone     0:36:00 Billable   Tc with team (T. Borden, E. Huertas, and A. Pollioni) re: next steps for settlement

2/13/2019 Seth Packrone     0:18:00 Billable   Update M. Goodell re: conference with judge and next steps for drafting response to Defendants

2/13/2019 Seth Packrone     0:12:00 Billable   Send update to team re: plan for drafting settlement documents

2/13/2019 Seth Packrone     0:06:00 Billable   Correspond with opposing counsel re: call with external monitor

2/13/2019 Seth Packrone     1:18:00 Billable   Draft first draft of MOU for CAP development/implementation

2/14/2019 Maia Goodell      0:24:00 Billable   review draft MOU for corrective action plan process

2/14/2019 Maia Goodell      0:48:00 Billable   call with co-counsel re MOU, settlement agreement, strategy for next settlement session

2/14/2019 Michelle Caiola   0:18:00 Billable   t/c with SP re attending conference - concerns and how to address the next steps - use of expert

2/14/2019 Seth Packrone     0:36:00 Billable   Finalize first draft of MOU and send to M. Goodell for her review

2/14/2019 Seth Packrone     0:12:00 Billable   Review draft settlement agreement and prep for team call

2/14/2019 Seth Packrone     0:06:00 Billable   Correspond with Defendants re: call with expert

2/14/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: call with expert

2/14/2019 Seth Packrone     0:12:00 Billable   Correspond with potential external monitor re: status of meeting
                                               Correspond with opposing counsel and T. Borden re: joint meeting with potential external
2/14/2019 Seth Packrone     0:06:00 Billable   monitor

2/14/2019 Seth Packrone     0:06:00 Billable   Check in with T. Zito re: external monitor candidates
                                               Tc with M. Goodell, T. Borden, A. Pollioni, C. Bowman, J. LoCicero, and E. Huertas re: next steps
2/14/2019 Seth Packrone     0:48:00 Billable   for settlement

2/14/2019 Seth Packrone     0:18:00 Billable   Tc with M. Caiola re: update on settlement status

2/15/2019 Maia Goodell      0:12:00 Billable   review and plan response to opposing counsel re delay in providing settlement response

2/15/2019 Michelle Caiola   0:06:00 Billable   update from SP re new proposals for remediation; scheduling conference

2/15/2019 Seth Packrone     0:06:00 Billable   Check in with external monitor re: plan for call on 2/25

2/15/2019 Seth Packrone     0:18:00 Billable   Revise MOU and circulate to team with notes for edits

2/15/2019 Seth Packrone     0:24:00 Billable   Tc with T. Zito re: potential external monitors

2/15/2019 Seth Packrone     0:18:00 Billable   Review DOC response to settlement proposal

2/15/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: response to Defendants

2/15/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden and E. Huertas re: responding to Defendants

2/19/2019 Seth Packrone     0:06:00 Billable   Review Defendants settlement proposal

2/20/2019 Maia Goodell      0:30:00 Billable   review DOC settlement response; plan response

2/20/2019 Maia Goodell      0:30:00 Billable   review draft response to DOC re settlement
                                               Review/take notes/analyze Defendants' 2.15.19 settlement response to prep to write a
2/20/2019 Seth Packrone     0:36:00 Billable   response

2/20/2019 Seth Packrone     0:06:00 Billable   Outline response to Defendants
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2/20/2019 Seth Packrone     0:12:00 Billable   Correspond with team re: next steps for follow up with Defendants

2/20/2019 Seth Packrone     0:12:00 Billable   check in with M. Goodell re: plan for responding to Defendants

2/20/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: edits to MOU

2/20/2019 Seth Packrone     0:54:00 Billable   Draft response to DOC's February 15 proposal re: information requests and points of agreement

2/20/2019 Seth Packrone     1:42:00 Billable   Draft response to DOC's February 15 proposal re: points of disagreement

2/20/2019 Seth Packrone     0:24:00 Billable   Revise/send draft response to DOC's February 15 proposal to M. Goodell for feedback

2/20/2019 Seth Packrone     0:06:00 Billable   Review edits to MOU

2/20/2019 Seth Packrone     0:06:00 Billable   Finalize draft of MOU

2/20/2019 Seth Packrone     0:18:00 Billable   Get feedback from M. Goodell on letter response to DOC

2/20/2019 Seth Packrone     0:18:00 Billable   Edit first draft of letter response to Defendants

2/20/2019 Seth Packrone     0:06:00 Billable   Send first of letter response to Defendants

2/21/2019 Maia Goodell      0:12:00 Billable   review and supplement letter to DOC re settlement response

2/21/2019 Maia Goodell      0:30:00 Billable   call with co-counsel re class definition, settlement positions

2/21/2019 Seth Packrone     0:06:00 Billable   Check in with co-counsel re: plan for edits to letter

2/21/2019 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: edits to letter

2/21/2019 Seth Packrone     0:06:00 Billable   Review P. Leahy's expert research

2/21/2019 Seth Packrone     0:18:00 Billable   Input co-counsel's edits into letter to Ds
                                               Tc with team (M. Goodell, P. Leahy, T. Borden, E. Huertas, J. LoCicero, A. Pollioni, and C.
2/21/2019 Seth Packrone     0:30:00 Billable   Bowman) re: edits to settlement letter and class definition

2/21/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for editing/sending letter to Defendants

2/21/2019 Seth Packrone     0:06:00 Billable   Edit letter based on feedback on team call

2/21/2019 Seth Packrone     0:06:00 Billable   Send updated letter to team with notes for next steps

2/21/2019 Seth Packrone     0:48:00 Billable   Put in final edits to letter to Ds from J. LoCicero and proofread letter

2/21/2019 Seth Packrone     0:06:00 Billable   Send letter to Ds with note for Tuesday's settlement conference

2/21/2019 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: edits to letter to Ds

2/22/2019 Seth Packrone     0:06:00 Billable   Follow up with Defendants re: plan for Tuesday's settlement conference

2/22/2019 Seth Packrone     0:12:00 Billable   Send expert recommendation to team

2/22/2019 Seth Packrone     0:06:00 Billable   Begin reviewing settlement response from DOE

2/22/2019 Seth Packrone     0:12:00 Billable   Prep for Tuesday's settlement conference

2/23/2019 Seth Packrone     0:42:00 Billable   Read/take notes on DOE response in preparation for Tuesday's conference

2/24/2019 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: plan for following up with external monitor

2/25/2019 Michelle Caiola   0:12:00 Billable   update from SP re negotiations and next steps

2/25/2019 Seth Packrone     0:06:00 Billable   Correspond with oppposing counsel re: call with external monitor candidate

2/25/2019 Seth Packrone     0:06:00 Billable   Follow up with M. Goodell re: analysis of DOE's response

2/25/2019 Seth Packrone     0:12:00 Billable   Update M. Caiola re: status of settlement negotiations

2/25/2019 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: plan for tomorrow's settlement negotiations

2/25/2019 Seth Packrone     0:06:00 Billable   Follow up with external expert and opposing counsel re: call to discuss timeline

2/25/2019 Seth Packrone     1:06:00 Billable   Prep for settlement conference with Defendants by reviewing DOE, DOC, and our responses

2/25/2019 Seth Packrone     0:12:00 Billable   Tc with co-counsel re: plan for settlement conference

2/25/2019 Seth Packrone     0:12:00 Billable   Correspond with potential external monitor
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2/26/2019 Michelle Caiola   0:06:00 Billable   update from SP re mediation session outcome and next steps

2/26/2019 Seth Packrone     1:24:00 Billable   Travel to and from settlement conference at DNJ in Trenton (total was 2.8, bill half)

2/26/2019 Seth Packrone     0:30:00 Billable   Prep for settlement conference with defendants
                                               Settlement conference with Defendants at District of New Jersey in Trenton with J. LoCicero, E.
2/26/2019 Seth Packrone     5:18:00 Billable   Huertas, T. Borden, and A. Pollioni

2/26/2019 Seth Packrone     0:12:00 Billable   Send update about settlement conference to team

2/27/2019 Seth Packrone     0:06:00 Billable   correpsond with potential external monitor re: availability

2/27/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: status of potential external expert

2/27/2019 Seth Packrone     0:12:00 Billable   Draft email to potential external monitor re: questions from Judge

2/27/2019 Seth Packrone     0:06:00 Billable   Correspond with opposing counsel re: plan for reaching out to experts

2/27/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for this week's call

2/28/2019 Michelle Caiola   0:06:00 Billable   update from SP re prison visits with AKO

2/28/2019 Seth Packrone     0:06:00 Billable   Correspond with Dr. Roberts re: update on external monitor situation

2/28/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for call with potential external monitor

2/28/2019 Seth Packrone     0:30:00 Billable   Tc with P. Leahy re: settlement conference and letter response to DOE

2/28/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: next steps for external monitor situation

 3/1/2019 Maia Goodell      0:30:00 Billable   strategy session with co-counsel re settlement, monitor candidates

 3/1/2019 Maia Goodell      0:12:00 Billable   analysis of DOC and DOE settlement postions and plan for next steps with S.Packrone

 3/1/2019 Michelle Caiola   0:30:00 Billable   strategy session with SP re current offer on table and potential other approaches and terms

 3/1/2019 Seth Packrone     0:06:00 Billable   Follow up with internal team re: potential external expert

 3/1/2019 Seth Packrone     0:12:00 Billable   Follow up with potential external monitor re: timeline

 3/1/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for NJPC call

 3/1/2019 Seth Packrone     0:24:00 Billable   Update M. Caiola re: status of settlement and next steps

 3/1/2019 Seth Packrone     0:42:00 Billable   tc with T. Borden and E. Huertas with NJPC (Kathy Wright) re: status of intakes from prisons

 3/1/2019 Seth Packrone     0:06:00 Billable   Check in with P. Leahy re: DOE letter draft

 3/1/2019 Seth Packrone     0:06:00 Billable   Give R. Moser instructions re: researching expert candidate

 3/1/2019 Seth Packrone     0:12:00 Billable   Prep for tc with expert candidate

 3/1/2019 Seth Packrone     0:42:00 Billable   Tc with co-counsel and expert candidate re: potential external monitor position

 3/1/2019 Seth Packrone     0:06:00 Billable   Follow up strategy session with T. Borden re: next steps for external monitor candidate

 3/1/2019 Seth Packrone     0:06:00 Billable   Review research on expert recommendation
                                               Tc with M. Goodell and P. Leahy re: next steps for case and plan for Monday's settlement
 3/1/2019 Seth Packrone     0:30:00 Billable   conference

 3/1/2019 Seth Packrone     0:12:00 Billable   Update M. Goodell re: status of settlement negotiations

 3/1/2019 Seth Packrone     0:12:00 Billable   Propose expert candidate to Defendants

 3/4/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: plan for settlement conference

 3/4/2019 Seth Packrone     0:12:00 Billable   Correspond with P. Leahy re: plan for proposing external monitors and next steps for DOE letter

 3/4/2019 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: status of next settlement conference and follow up about client

 3/4/2019 Seth Packrone     0:12:00 Billable   Tc with P. Leahy re: status of the letter to the DOE and next steps
                                               Review notes from settlement conference and status of DOE response letter and follow up with
 3/5/2019 Seth Packrone     0:18:00 Billable   team re: same

 3/5/2019 Seth Packrone     0:12:00 Billable   Review propose list of violations to qualify for MDs

 3/5/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: thoughts on MD violation list
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 3/5/2019 Seth Packrone     0:12:00 Billable   Review background information on potential expert and follow up with team re: same

 3/5/2019 Seth Packrone     0:06:00 Billable   correspond with team re: next steps for settlement conference with Defendants
                                               strategy for response to defendants in light of refusal to commit to written agreement for next
 3/6/2019 Maia Goodell      0:24:00 Billable   steps in settlement process

 3/6/2019 Seth Packrone     0:30:00 Billable   Review/analyze DOE's 2/22 response and compare to our last request

 3/6/2019 Seth Packrone     0:30:00 Billable   Tc with P. Leahy re: next steps for drafting letter response to DOE

 3/6/2019 Seth Packrone     1:18:00 Billable   Draft response to DOE 2/22 proposal pp. 1-11

 3/6/2019 Seth Packrone     0:42:00 Billable   Draft/revise sections II-IV of DOE letter

 3/6/2019 Seth Packrone     0:18:00 Billable   Update M. Goodell re: status of DOE letter

 3/7/2019 Seth Packrone     0:42:00 Billable   Edit/finalize first draft of response to DOE

 3/7/2019 Seth Packrone     0:18:00 Billable   Review/revise P. Leahy's comments for edits to the letter

 3/7/2019 Seth Packrone     0:06:00 Billable   Draft short summary of letter to team with notes for things to look for

 3/7/2019 Seth Packrone     0:12:00 Billable   Correspond with team re: plan for getting draft letter out to Defendants

 3/7/2019 Seth Packrone     0:06:00 Billable   Review DOE letter and make further edits

 3/7/2019 Seth Packrone     0:06:00 Billable   Prep for call with team re: issues to address

 3/7/2019 Seth Packrone     0:06:00 Billable   Review notes on DOE response to consider making edits to the DOE letter
                                               Tc with team (P. Leahy, T. Borden, E. Huertas, A. Pollioni, and C. Bowman) re: next steps for DOE
 3/7/2019 Seth Packrone     0:24:00 Billable   letter

 3/7/2019 Seth Packrone     0:06:00 Billable   Check in with K. Anderson re: call about Adam X.

3/11/2019 Michelle Caiola   0:06:00 Billable   update from SP re next steps and assignment

3/11/2019 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re; status of response to DOE

3/11/2019 Seth Packrone     0:06:00 Billable   Review letter edits from co-counsel

3/11/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: edits to DOE letter

3/11/2019 Seth Packrone     0:30:00 Billable   Revise letter to DOE

3/11/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: edits to DOE response

3/11/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: finalizing letter to DOE

3/11/2019 Seth Packrone     0:06:00 Billable   Review DOE response

3/11/2019 Seth Packrone     0:06:00 Billable   Correspond with P. Leahy re: reviewing DOE response

3/11/2019 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of settlement

3/12/2019 Seth Packrone     0:06:00 Billable   Check in with T. Borden re: plan for call

3/12/2019 Seth Packrone     0:42:00 Billable   Calls with T. Borden and E. Huertas re: issues in DOC facilities

3/12/2019 Seth Packrone     0:12:00 Billable   TC with M. Caiola re: issues in DOC facilities

3/12/2019 Seth Packrone     0:12:00 Billable   Prep for Thursday's all day settlement conference

3/12/2019 Seth Packrone     0:18:00 Billable   Prep for tomorrow's settlement conference with DOC

3/12/2019 Seth Packrone     0:06:00 Billable   Tc with P. Leahy re: comparing DOE response to our requests

3/12/2019 Seth Packrone     0:42:00 Billable   Tc with T. Borden and A. Pollioni re: next steps for case and plan for settlement conference

3/12/2019 Seth Packrone     0:30:00 Billable   Review DOE response in preparation for Thursday's settlement conference

3/12/2019 Seth Packrone     0:06:00 Billable   Follow up with M. Goodell re: plan for Thursday's settlement conference

3/13/2019 Maia Goodell      0:18:00 Billable   analysis of DOC settlement response and plan for potential consulting expert

3/13/2019 Maia Goodell      0:12:00 Billable   legal research re communications with witnesses

3/13/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for settlement
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3/13/2019 Seth Packrone     0:06:00 Billable   Give R. Moser instructions re: materials for settlement conference

3/13/2019 Seth Packrone     0:06:00 Billable   Check in with P. Leahy re: status of review of DOE letter draft

3/13/2019 Seth Packrone     1:36:00 Billable   Settlement teleconference with DOC with T. Borden, E. Huertas, and A. Pollioni

3/13/2019 Seth Packrone     0:12:00 Billable   Update M. Goodell re: next steps for settlement discussions

3/13/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: plan for tomorrow's settlement conference

3/14/2019 Maia Goodell      0:06:00 Billable   review summary of recent settlement conference and analysis of settlement position

3/14/2019 Seth Packrone     1:30:00 Billable   Travel to and from settlement conference at DNJ (bill half, total was 3)
                                               Settlement meeting with Defendants (with J. LoCicero, T. Borden, E. Huertas, and A. Pollioni) at
3/14/2019 Seth Packrone     3:54:00 Billable   DNJ

3/14/2019 Seth Packrone     0:18:00 Billable   Debrief with Judge Goodman

3/14/2019 Seth Packrone     0:18:00 Billable   Update team re: results of settlement conference

3/15/2019 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: next steps for settlement and expert outreach

3/18/2019 Maia Goodell      0:12:00 Billable   plan for upcoming settlement conferences

3/18/2019 Seth Packrone     0:12:00 Billable   Update M. Goodell re: results of last settlement conference and next steps for settlement

3/18/2019 Seth Packrone     0:48:00 Billable   Tc with T. Borden re: plan for responses/settlement draft moving forward

3/18/2019 Seth Packrone     0:18:00 Billable   Review P. Leahy's summary of DOE response and correspond with T. Borden re: same

3/18/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: follow up about expert

3/19/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: plan for call with ACLU-LA about education experts

3/19/2019 Seth Packrone     0:30:00 Billable   Tc with T. Borden and ACLU-LA re: independent expert candidate

3/19/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: follow up
                                               Review Defendants' latest response, outline response, and create agenda for settlement
3/20/2019 Seth Packrone     0:42:00 Billable   conference

3/20/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: call with potential expert

3/20/2019 Seth Packrone     0:36:00 Billable   Tc with potential joint expert and T. Borden

3/20/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: plan for call with potential joint expert

3/20/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: debrief call with potential joint expert

3/20/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for tomorrow's settlement conference

3/21/2019 Michelle Caiola   0:18:00 Billable   Discuss further strategy and staffing with MG

3/21/2019 Seth Packrone     0:06:00 Billable   Draft shortened agenda for defendants

3/21/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: agenda for call with Defendants

3/21/2019 Seth Packrone     0:06:00 Billable   Correspond with Defendants re: plan for today's call

3/21/2019 Seth Packrone     0:48:00 Billable   Tc with T. Borden re: manifestation determinations proposal and plan for today's call

3/21/2019 Seth Packrone     0:06:00 Billable   Review T. Borden's manifestation determination proposal

3/21/2019 Seth Packrone     0:30:00 Billable   Prep for settlement conference by reviewing DOC's policies and settlement communications

3/21/2019 Seth Packrone     1:30:00 Billable   Settlement conference with Defendants and T. Borden, E. Huertas, and A. Pollioni

3/21/2019 Seth Packrone     0:24:00 Billable   Tc with T. Borden re: next steps for prepping letters and settlement documents

3/21/2019 Seth Packrone     0:06:00 Billable   Update M. Goodell re: status of Adam X. settlement discussions

3/21/2019 Seth Packrone     0:06:00 Billable   Correspond with potential monitor re: follow up with DOC

3/22/2019 Michelle Caiola   0:12:00 Billable   confer with S Packrone re status of negotiations and getting next steps done

3/22/2019 Seth Packrone     0:06:00 Billable   Correspond with external expert re: update on her anticipated timeline

3/22/2019 Seth Packrone     0:12:00 Billable   Review notes from last settlement conferences to prep to write response to DOC
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3/22/2019 Seth Packrone     0:12:00 Billable   Check in with M. Caiola re: status of settlement and staffing moving forward

3/22/2019 Seth Packrone     0:06:00 Billable   Check in with T. Borden and M. Vomacka re: plan for following up with expert

3/22/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: following up with expert with queswtions

3/22/2019 Seth Packrone     0:06:00 Billable   Tc with T. Zito re: manifestation determinations in prison

3/22/2019 Seth Packrone     0:18:00 Billable   Research issue of translating IEPs

3/22/2019 Seth Packrone     0:06:00 Billable   Draft section on translating IEPs

3/22/2019 Seth Packrone     0:48:00 Billable   Review/analyze policies and draft response to DOC

3/23/2019 Seth Packrone     0:54:00 Billable   Review policies/finish draft of DOC response

3/23/2019 Seth Packrone     0:24:00 Billable   Revise/edit first draft of DOC response

3/23/2019 Seth Packrone     0:06:00 Billable   Send DOC response to T. Borden and M. Goodell with notes for next steps
                                               review additional response to DOC re settlement; analysis of manifestation determination
3/25/2019 Maia Goodell      0:30:00 Billable   proposal

3/25/2019 Michelle Caiola   0:06:00 Billable   update re newly available expert from MG

3/25/2019 Seth Packrone     0:06:00 Billable   Correspond with opposing counsel and potential expert re; timing for starting work

3/25/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and M. Goodell re: next steps for settlement

3/25/2019 Seth Packrone     0:12:00 Billable   Review T. Borden's edits to DOC resposne

3/25/2019 Seth Packrone     0:18:00 Billable   Review A. Pollioni settlement draft

3/25/2019 Seth Packrone     0:36:00 Billable   Work session with T. Borden to edit DOC response

3/25/2019 Seth Packrone     0:18:00 Billable   Strategy session with T. Borden re: proposal for joint expert

3/25/2019 Seth Packrone     3:30:00 Billable   Work session with T. Borden re: outline and draft of settlement agreement

3/25/2019 Seth Packrone     0:06:00 Billable   Follow up with opposing counsel re: external monitor proposal
                                               Correspond with T. Borden, opposing counsel and potential expert candidates re: status of
3/26/2019 Seth Packrone     0:12:00 Billable   settlement negotiations

3/26/2019 Seth Packrone     0:48:00 Billable   Review/analyze take notes on DOE Monitoring Tool and crosswalk

3/26/2019 Seth Packrone     0:30:00 Billable   Edit DOE letter and send back to T. Borden with notes for next steps

3/26/2019 Seth Packrone     0:18:00 Billable   Draft list of additions to DOE letter based on review of DOE response and our last letter to them

3/26/2019 Seth Packrone     0:12:00 Billable   Edit DOC letter about transition services

3/26/2019 Seth Packrone     0:36:00 Billable   Tc with T. Borden re: edits to DOE letter

3/26/2019 Seth Packrone     0:12:00 Billable   Edit DOE letter based on T. Borden's edits

3/26/2019 Seth Packrone     0:06:00 Billable   Send DOE letter to team

3/27/2019 Maia Goodell      0:24:00 Billable   review and supplement response to DOE re monitoring tool

3/27/2019 Maia Goodell      0:24:00 Billable   strategy session with S.Packrone re expert, settlement strategy

3/27/2019 Seth Packrone     0:06:00 Billable   Review M. Goodell's comments to DOE response

3/27/2019 Seth Packrone     0:24:00 Billable   Strategy session with M. Goodell re: edits/comments to DOE letter

3/27/2019 Seth Packrone     0:12:00 Billable   Edit letter to DOE

3/27/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: next steps for letters

3/27/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of letters to Defendants and MG's edits

3/27/2019 Seth Packrone     0:06:00 Billable   Follow up with opposing counsel re: joint expert call

3/28/2019 Maia Goodell      0:30:00 Billable   call with J.LoCicero re upcoming settlement meetings

3/29/2019 Maia Goodell      0:18:00 Billable   review and analyze DOE letter re monitoring process proposal

3/29/2019 Seth Packrone     0:06:00 Billable   Edit DOE letter
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3/29/2019 Seth Packrone     0:06:00 Billable   Edit DOC letter

3/29/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: edits to DOC/DOE letters

3/29/2019 Seth Packrone     0:12:00 Billable   Review new DOE letter

3/29/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: edits to DOC/DOE letter

 4/1/2019 Seth Packrone     0:06:00 Billable   Review correspondence with T. Borden and opposing counsel re: responses to DOC/DOE

 4/2/2019 Seth Packrone     0:06:00 Billable   Correspond with potential joint expert re: next steps

 4/3/2019 Andrea KO         0:48:00 Billable   Review background case materials.

 4/3/2019 Andrea KO         0:24:00 Billable   Team strategy call re: settlement.

 4/3/2019 Maia Goodell      0:30:00 Billable   strategy session with co-counsel re preparation for settlement conference

 4/3/2019 Seth Packrone     0:12:00 Billable   Tc with client's family member re: update on situation

 4/3/2019 Seth Packrone     0:06:00 Billable   Update T. Borden on client's situation

 4/3/2019 Seth Packrone     0:18:00 Billable   Prep for tomorrow's settlement conference

 4/3/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: prep for call with joint expert

 4/3/2019 Seth Packrone     0:30:00 Billable   Tc with joint expert, T. Borden, and Defendants

 4/3/2019 Seth Packrone     0:18:00 Billable   Follow up tc with T. Borden re: next steps for case

 4/3/2019 Seth Packrone     0:12:00 Billable   Draft agenda for settlement conference

 4/3/2019 Seth Packrone     0:36:00 Billable   Tc with team (T. Borden, M. Goodell, and A. Pollioni) re: plan for settlement conference

 4/3/2019 Seth Packrone     0:06:00 Billable   Follow up tc with T. Borden re: plan for drafting settlement

 4/3/2019 Seth Packrone     0:06:00 Billable   Send agenda to opposing counsel

 4/4/2019 Maia Goodell      0:48:00 Billable   meeting with ACLU re strategy for settlement conference and recent retaliation against client
                                               review communication from opposing counsel re refusal to respond to MOU and communication
 4/4/2019 Maia Goodell      0:18:00 Billable   from ADA re same

 4/4/2019 Maia Goodell      0:30:00 Billable   meeting with co-counsel re next steps following settlement conference

 4/4/2019 Seth Packrone     0:24:00 Billable   Prep for settlement conference by reviewing most recent letters

 4/4/2019 Seth Packrone     1:30:00 Billable   Travel to and from settlement conference in Trenton (total 3.1, bill half)

 4/4/2019 Seth Packrone     4:18:00 Billable   Settlement conference with with Defendants T. Borden, M. Goodell, A. Pollioni, and E. Huertas

 4/4/2019 Seth Packrone     0:18:00 Billable   Debrief with team

 4/4/2019 Seth Packrone     0:06:00 Billable   correspond with opposing counsel re: timing for call with joint expert

 4/5/2019 Andrea KO         0:12:00 Billable   Prepare for work session with S. Packrone and T. Borden by reviewing most recent draft

 4/5/2019 Andrea KO         2:24:00 Billable   Telephonic work session with S. Packrone and T. Borden re: settlement agreement draft.

 4/5/2019 Michelle Caiola   0:12:00 Billable   update from SP re yesterday's session

 4/5/2019 Seth Packrone     2:24:00 Billable   Work session with AKO and T. Borden re: drafting settlement agreement

 4/5/2019 Seth Packrone     0:06:00 Billable   Update M. Caiola re: settlement conference

 4/5/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: next steps for expert

 4/8/2019 Andrea KO         1:24:00 Billable   Draft settlement agreement.

 4/8/2019 Seth Packrone     0:06:00 Billable   Tc with DOC facility re: client call

 4/8/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for follow up with joint experts

 4/8/2019 Seth Packrone     0:42:00 Billable   Tc with T. Borden and client, Brian Y re: update on situation

 4/8/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: follow up with Defendants

 4/8/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; draft email to Defendants about retaliation
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 4/8/2019 Seth Packrone   0:06:00 Billable   Follow up with team re: retaliation emails

 4/8/2019 Seth Packrone   0:06:00 Billable   Correspond with joint expert re: next steps for monitoring period

 4/9/2019 Andrea KO       4:12:00 Billable   Draft remaining settlement agreement provisions

4/10/2019 Seth Packrone   0:06:00 Billable   Review joint expert fee proposal and send to team

4/11/2019 Andrea KO       0:06:00 Billable   Discuss settlement strategy with S. Packrone.

4/11/2019 Andrea KO       0:12:00 Billable   Team strategy call re: settlement.

4/11/2019 Maia Goodell    0:12:00 Billable   strategy for expert call with S.Packrone

4/11/2019 Maia Goodell    0:12:00 Billable   review report of call with monitor and provide direction re next steps

4/11/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: plan for call with monitor

4/11/2019 Seth Packrone   0:06:00 Billable   Review records from opposing counsel re: disciplinary issues with client

4/11/2019 Seth Packrone   0:06:00 Billable   Check in with AKO re: status of settlement draft

4/11/2019 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re; plan for today's call with monitor and contact from client

4/11/2019 Seth Packrone   0:06:00 Billable   Prep for call with joint monitor

4/11/2019 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: plan for call with external monitor

4/11/2019 Seth Packrone   0:18:00 Billable   Tc with T. Borden and Ds' counsel re: call with monitor (re: fees and plan for call)

4/11/2019 Seth Packrone   0:12:00 Billable   Tc with T. Borden, Ds' counsel, and external monitor re: next steps for her role in the case
                                             Follow up tc with T. Borden re: next steps for court appointment of joint monitor and drafting
4/11/2019 Seth Packrone   0:18:00 Billable   settlement agreement

4/11/2019 Seth Packrone   0:12:00 Billable   Tc with AKO, T. Borden, and C. Bowman re: update on case and next steps

4/11/2019 Seth Packrone   0:12:00 Billable   Check in with M. Goodell re: Ds' position on covering monitors' fees/costs

4/12/2019 Andrea KO       0:06:00 Billable   Discuss settlement draft revisions with S. Packrone.

4/12/2019 Seth Packrone   0:54:00 Billable   Review/edit settlement draft from T. Borden

4/12/2019 Seth Packrone   0:06:00 Billable   Check in with AKO and T. Borden re: plan to edit settlement agreement

4/12/2019 Seth Packrone   0:24:00 Billable   Tc with T. Borden and client, Arc of NJ re: update on case

4/12/2019 Seth Packrone   0:06:00 Billable   Strategy session with AKO re: edits to settlement agreement

4/12/2019 Seth Packrone   0:24:00 Billable   Strategy session with AKO re: settlement draft and co-counsel's edits

4/12/2019 Seth Packrone   0:06:00 Billable   Tc with T. Borden and potential expert re: update on external monitoring process

4/15/2019 Andrea KO       0:36:00 Billable   Review edits to settlement agreement draft.

4/15/2019 Seth Packrone   0:06:00 Billable   Follow up with E. Huertas and R. Moser re: setting up a visit with client

4/15/2019 Seth Packrone   1:30:00 Billable   Revise/edit first draft of settlement agreement

4/15/2019 Seth Packrone   0:36:00 Billable   Add sections about comp ed and DOE monitoring

4/15/2019 Seth Packrone   0:06:00 Billable   Follow up with R. Moser re: plan for visit request sent to Wagner

4/15/2019 Seth Packrone   0:54:00 Billable   Review/edit first of settlement agreement with all comments/redlining

4/15/2019 Seth Packrone   0:06:00 Billable   Correspond with AKO and T. Borden re: update on settlement agreement draft and next steps

4/16/2019 Andrea KO       0:12:00 Billable   Review S. Packrone's revisions to settlement agreement draft.

4/16/2019 Andrea KO       1:30:00 Billable   Work session with S. Packrone and T. Borden re: settlement agreement draft.

4/16/2019 Seth Packrone   0:06:00 Billable   Tc with AKO re: plan for call with T. Borden about settlement agreement

4/16/2019 Seth Packrone   0:06:00 Billable   Review comp ed email from co-counsel

4/16/2019 Seth Packrone   1:30:00 Billable   Tc with T. Borden and AKO re: work session to continue to draft settlement agreement

4/17/2019 Andrea KO       3:36:00 Billable   Revise draft settlement agreement in advance of upcoming settlement conference
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4/17/2019 Maia Goodell    0:24:00 Billable   strategy session with S.Packrone re upcoming settlement conference

4/17/2019 Seth Packrone   0:06:00 Billable   Prep for tomorrow's settlement conference

4/17/2019 Seth Packrone   0:18:00 Billable   Check in with M. Goodell re: plan for tomorrow's settlement conference

4/17/2019 Seth Packrone   0:18:00 Billable   Review DOE 4/16/19 response

4/17/2019 Seth Packrone   0:54:00 Billable   Tc with T. Borden re: agenda and plan for tomorrow's settlement conference

4/17/2019 Seth Packrone   0:30:00 Billable   Tc with T. Borden re: next steps for finalizing first draft of settlement agreement

4/17/2019 Seth Packrone   0:06:00 Billable   Follow up with AKO re: edits to make to settlement agreement

4/17/2019 Seth Packrone   0:06:00 Billable   Prep for settlement conference

4/17/2019 Seth Packrone   0:12:00 Billable   Strategy session with AKO re: finalizing edits to settlement agreement

4/17/2019 Seth Packrone   0:06:00 Billable   Prep for settlement conference by reviewing most recent correspondence between the parties

4/18/2019 Maia Goodell    0:30:00 Billable   prep for settlement conference - review agenda, analyze DOE response letter
                                             strategy session with S.Packrone re upcoming settlement conference, class settlement,
4/18/2019 Maia Goodell    0:30:00 Billable   settlement agreement planning

4/18/2019 Maia Goodell    0:42:00 Billable   travel from NYC to Trenton for settlement conference (total 1.5; bill half)

4/18/2019 Maia Goodell    2:24:00 Billable   settlement conference

4/18/2019 Maia Goodell    0:24:00 Billable   travel from Trenton to NYC after settlement conference (total 1.5; bill half minus time worked)

4/18/2019 Seth Packrone   0:42:00 Billable   Travel to DNJ for settlement conference from Jersey City (total was 1.5, bill half)

4/18/2019 Seth Packrone   3:00:00 Billable   Processing/settlement conference with Defendants with M. Goodell, E. Huertas, and T. Borden

4/18/2019 Seth Packrone   0:06:00 Billable   Travel from DNJ to DOC facility for client visit (total was 20 minutes, bill half)

4/18/2019 Seth Packrone   1:18:00 Billable   Processing/visit with client
                                             Wait at DOC facility because of power outage in the middle of client visit - unable to leave
4/18/2019 Seth Packrone   1:48:00 Billable   facility because it was on lockdown from approximately 2:45 to 4:35

4/18/2019 Seth Packrone   0:36:00 Billable   Travel back to Jersey City from DOC facility after client visit (total was 1.2, bill half)

4/18/2019 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: prep for client visit

4/18/2019 Seth Packrone   0:12:00 Billable   Strategy session with E. Huertas re: plan for client visit

4/19/2019 Andrea KO       0:30:00 Billable   Work session with S. Packrone and T. Borden re: settlement agreement draft.

4/19/2019 Seth Packrone   0:42:00 Billable   Review/edit AKO's draft of settlement agreement

4/19/2019 Seth Packrone   0:30:00 Billable   Tc with T. Borden and AKO re: work session to finalize first draft of settlement

4/19/2019 Seth Packrone   0:06:00 Billable   Follow up with joint monitor candidates

4/19/2019 Seth Packrone   0:06:00 Billable   Tc with potential expert re: decision on external monitor

4/22/2019 Maia Goodell    0:24:00 Billable   analysis of scope of release for settlement agreement

4/22/2019 Seth Packrone   0:06:00 Billable   Prep case work for the week

4/22/2019 Seth Packrone   0:12:00 Billable   Give AKO instructions re: drafting consent order for external monitor

4/22/2019 Seth Packrone   0:06:00 Billable   Follow up with Defendants re: sign in sheet and case law

4/22/2019 Seth Packrone   0:06:00 Billable   Review case law re: language acess

4/22/2019 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re: interview questions and consent order

4/22/2019 Seth Packrone   0:12:00 Billable   Revise student interview questions and send to T. Borden

4/22/2019 Seth Packrone   0:06:00 Billable   Follow up with joint expert candidate

4/22/2019 Seth Packrone   0:18:00 Billable   Review expert report from juvenile facility case re: ADA accommodations/modifications

4/22/2019 Seth Packrone   0:06:00 Billable   Follow up with M. Goodell re: reasonable accomodations in settlement agreement

4/23/2019 Andrea KO       1:06:00 Billable   Draft consent decree re: external monitor
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4/23/2019 Maia Goodell      0:54:00 Billable   review and supplement draft settlement agreement
                                               review settlement agreement and strategy for scope of covered claims and release with
4/23/2019 Maia Goodell      0:54:00 Billable   S.Packrone
                                               legal research re ethical restrictions on agreements not to represent clients to respond to DOE
4/23/2019 Maia Goodell      0:36:00 Billable   request

4/23/2019 Seth Packrone     0:54:00 Billable   Tc with M. Goodell re: work session on settlement agreement

4/23/2019 Seth Packrone     0:30:00 Billable   Edit consent order draft to appoint Roberts as external monitor

4/23/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and E. Huertas re: consent order

4/23/2019 Seth Packrone     0:12:00 Billable   Review/edit interview questions for students

4/23/2019 Seth Packrone     0:18:00 Billable   Review/edit settlement agreement based on initial settlement demand

4/23/2019 Seth Packrone     0:30:00 Billable   Edit settlement agreement draft based on M. Goodell's comments/edits

4/23/2019 Seth Packrone     0:12:00 Billable   Review UPL case law and follow up with Defendants re: same

4/23/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: proposed release language

4/24/2019 Seth Packrone     0:12:00 Billable   Review/compile MG's edits to settlement agreement

4/24/2019 Seth Packrone     0:06:00 Billable   Review settlement file to write CAP section of settlement

4/24/2019 Seth Packrone     0:30:00 Billable   Review DOE 4/16/19 response to write CAP section of settlement draft

4/24/2019 Seth Packrone     0:24:00 Billable   Draft CAP section of settlement draft based on 4/16/19 response from DOE

4/24/2019 Seth Packrone     0:12:00 Billable   Send T. Borden update re: status of settlement and next steps

4/24/2019 Seth Packrone     0:06:00 Billable   Edit release language and send to T. Borden

4/29/2019 Seth Packrone     0:06:00 Billable   Review correspondence with team

4/30/2019 Maia Goodell      0:06:00 Billable   review court stipulation

4/30/2019 Seth Packrone     0:06:00 Billable   Follow up with M. Goodell re: next steps for revising settlement agreement/order

4/30/2019 Seth Packrone     0:06:00 Billable   Review co-counsel's edits to settlement agreement
                                               Tc with T. Borden re: status of consent order and settlement agreement and next steps for
4/30/2019 Seth Packrone     0:30:00 Billable   getting documents to Defendants
                                               Review T. Borden's edits to consent order and send consent order draft to M. Goodell for her
4/30/2019 Seth Packrone     0:06:00 Billable   review

 5/1/2019 Michelle Caiola   0:06:00 Billable   status update from SP

 5/1/2019 Seth Packrone     0:12:00 Billable   Draft follow up email to opposing counsel re: outstanding information requests

 5/1/2019 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of settlement negotiations
                                               Correspond with T. Borden and Defendants re: timeline for expert's review of policies and
 5/1/2019 Seth Packrone     0:06:00 Billable   monitoring tool

 5/2/2019 Andrea KO         0:12:00 Billable   Emails with S. Packrone re: revisions to Adam X settlement agreement.

 5/2/2019 Michelle Caiola   0:24:00 Billable   review settlement agreement - t/c with SP re potential conflict with release

 5/2/2019 Michelle Caiola   0:12:00 Billable   review case re Prisoner Reform Act re: juridiction

 5/2/2019 Seth Packrone     0:06:00 Billable   Follow up with team (AKO/MG) re: edits to settlement agreement

 5/2/2019 Seth Packrone     0:12:00 Billable   Review/analyze edits to settlement agreement

 5/2/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: next steps for settlement agreement

 5/2/2019 Seth Packrone     0:06:00 Billable   Check in with M. Caiola re: plan for settlement agreement

 5/2/2019 Seth Packrone     0:06:00 Billable   Correspond with Defendants and expert

 5/3/2019 Seth Packrone     0:06:00 Billable   Correspond with joint expert re: next steps

 5/6/2019 Maia Goodell      0:12:00 Billable   communication with co-counsel re upcoming settlement work division

 5/6/2019 Maia Goodell      0:12:00 Billable   communication with co-counsel re upcoming settlement work division

 5/6/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and M. Goodell re: plan for consent order and staffing call
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 5/6/2019 Seth Packrone   0:12:00 Billable   Review latest draft of consent order and correspond with T. Borden re: same

 5/6/2019 Seth Packrone   0:12:00 Billable   Tc with T. Borden re: status of consent order and next steps for sharing with Defendants

 5/6/2019 Seth Packrone   0:12:00 Billable   Case planning for next steps in settlement and negotiations

 5/6/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: status of consent order and staffing call

 5/6/2019 Seth Packrone   1:00:00 Billable   Work session with T. Borden re: new draft of settlement agreement

 5/6/2019 Seth Packrone   0:06:00 Billable   Draft cover email to send to team re: next steps for settlement agreement

 5/6/2019 Seth Packrone   0:54:00 Billable   Edit settlement agreement based on T. Borden's edits/comments

 5/7/2019 Andrea KO       0:06:00 Billable   Discuss settlement agreement revisions with S. Packrone.

 5/7/2019 Andrea KO       0:06:00 Billable   Review settlement agreement revisions.

 5/7/2019 Seth Packrone   0:06:00 Billable   Correspond with M. Goodell re: next steps for staffing call and update on rates for expert

 5/7/2019 Seth Packrone   0:06:00 Billable   Check in with AKO re: status of settlement agreement

 5/7/2019 Seth Packrone   0:24:00 Billable   Tc with T. Borden re: next steps for settlement

 5/8/2019 Andrea KO       0:48:00 Billable   Review and revise settlement agreement draft.

 5/8/2019 Andrea KO       1:00:00 Billable   Review recently received documents from DOC.

 5/8/2019 Seth Packrone   0:06:00 Billable   Check in with AKO re: status of settlement draft

 5/8/2019 Seth Packrone   0:06:00 Billable   Follow up with opposing counsel's emails

 5/8/2019 Seth Packrone   0:36:00 Billable   Review/edit final version of settlement agreement

 5/8/2019 Seth Packrone   0:24:00 Billable   Tc with T. Borden re: plan for responding to OC and finalizing draft of settlement agreement

 5/9/2019 Andrea KO       0:30:00 Billable   Further review of recently received documents from DOC.
                                             prepare for settlement conference - review communications with opposing counsel re
 5/9/2019 Maia Goodell    0:12:00 Billable   conference attendance, fee questions
                                             prepare for settlement conference - review communications with opposing counsel re
 5/9/2019 Maia Goodell    0:12:00 Billable   conference attendance, fee questions

 5/9/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: plan for sending settlement agreement to Defendants

 5/9/2019 Seth Packrone   0:06:00 Billable   Correspond with M. Goodell re: plan for Tuesday's settlement conference

5/10/2019 Seth Packrone   0:06:00 Billable   Check in with expert consultant re: status of case

5/10/2019 Seth Packrone   0:06:00 Billable   Start to review policy documents from Defendants

5/10/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: plan for call with joint expert and opposing counsel

5/10/2019 Seth Packrone   0:18:00 Billable   Tc with K. Duran, M. Vomacka and S. Davies re: plan for Tuesday

5/10/2019 Seth Packrone   0:12:00 Billable   Tc with external monitor, T. Borden, and opposing counsel re: next steps for her role

5/10/2019 Seth Packrone   0:24:00 Billable   Tc with T. Borden re: agenda for Tuesday's settlement conference

5/10/2019 Seth Packrone   0:06:00 Billable   send agenda to opposing counsel for Tuesday's settlement conference

5/13/2019 Seth Packrone   0:24:00 Billable   Prep for settlement conference by reviewing student interviews/other relevant documents

5/13/2019 Seth Packrone   0:30:00 Billable   Review/write questions about DOC policies/info about staffing given on 5.8.2019
                                             Review/write questions about DOC policies/info, Att. B-D given on 5.8.2019 (MD policy,
5/13/2019 Seth Packrone   0:30:00 Billable   procedural due process rights, and spec ed audit)
                                             Review/write questions about DOC policies/info in Att. E re: student records and associated
5/13/2019 Seth Packrone   0:18:00 Billable   NJAC provision given on 5.8.2019
                                             Review/write questions about DOC policies/info in Att. F-J (make up classes, teacher training)
5/13/2019 Seth Packrone   0:18:00 Billable   from May 8, 2019 submission

5/13/2019 Seth Packrone   0:42:00 Billable   Compile notes/questions on May 8, 2019 documents to prep for 5/14 settlement conference

5/13/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: notes and plan for settlement conference
                                             strategy session re DOC policy drafts to prepare for court settlement conference with
5/14/2019 Maia Goodell    0:30:00 Billable   S.Packrone and co-counsel

5/14/2019 Maia Goodell    0:12:00 Billable   review S.Packrone memo re DOC policy questions for settlement conference
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5/14/2019 Maia Goodell      2:00:00 Billable   court settlement conference (time reduced for work on other matters)

5/14/2019 Maia Goodell      1:00:00 Billable   travel to Trenton for in-court settlement conference (2 hours total; billed half)

5/14/2019 Maia Goodell      1:00:00 Billable   travel from Trenton to office after in-court settlement conference (2 hours total; billed half)
                                               strategy session re DOC policy drafts to prepare for court settlement conference with
5/14/2019 Maia Goodell      0:30:00 Billable   S.Packrone and co-counsel

5/14/2019 Maia Goodell      0:12:00 Billable   review S.Packrone memo re DOC policy questions for settlement conference

5/14/2019 Seth Packrone     0:36:00 Billable   Travel to settlement meeting at DNJ in Trenton (total was 1.3, bill half)

5/14/2019 Seth Packrone     3:48:00 Billable   Attend settlement conference at DNJ with DOC/DOE

5/14/2019 Seth Packrone     0:36:00 Billable   Travel home from settlement meeting at DNJ in Trenton (total was 1.2, bill half)

5/14/2019 Seth Packrone     0:12:00 Billable   Debrief settlement conference with team

5/15/2019 Maia Goodell      0:24:00 Billable   strategy session with S.Packrone re class certification for settlement

5/15/2019 Maia Goodell      0:06:00 Billable   communication with co-counsel re strategy for class certification for settlement

5/15/2019 Maia Goodell      0:12:00 Billable   call with J.LoCicero re class certification, plan for settlement

5/15/2019 Maia Goodell      0:24:00 Billable   strategy session with S.Packrone re class certification for settlement

5/15/2019 Maia Goodell      0:06:00 Billable   communication with co-counsel re strategy for class certification for settlement

5/15/2019 Maia Goodell      0:12:00 Billable   call with J.LeCicero re class certification, plan for settlement

5/15/2019 Michelle Caiola   0:06:00 Billable   status update from SP re negotiations

5/15/2019 Michelle Caiola   0:06:00 Billable   confer with MG re outside monitor issue that arose in negotiations

5/15/2019 Seth Packrone     0:24:00 Billable   Check in with M. Goodell re: next steps for negotiations and class cert status

5/15/2019 Seth Packrone     0:36:00 Billable   Draft follow up from settlement conference with our positions on latest policies

5/15/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: status of class cert issue

5/16/2019 Seth Packrone     0:12:00 Billable   Revise response to Ds based on T. Borden's comments after settlement conference and send

5/16/2019 Seth Packrone     0:06:00 Billable   Tc with with T. Borden re: site visits with external monitor

5/16/2019 Seth Packrone     0:06:00 Billable   Review Ds' redrafted student interview questions

5/16/2019 Seth Packrone     0:24:00 Billable   Review new version of DOE monitoring tool

5/16/2019 Seth Packrone     0:12:00 Billable   Draft response to Ds and T. Borden re: DOE monitoring tool

5/16/2019 Seth Packrone     0:12:00 Billable   Review new draft of consent order with Ds' edits and look up legal provision they cited

5/16/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: Ds' edits to consent order

5/16/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: Ds' edits to consent order

5/17/2019 Maia Goodell      0:24:00 Billable   call with co-counsel re strategy for workload division

5/17/2019 Maia Goodell      0:06:00 Billable   analysis of next steps for settlement

5/17/2019 Maia Goodell      0:12:00 Billable   review communication from opposing counsel re assessment plan and monitor

5/17/2019 Maia Goodell      0:24:00 Billable   call with co-counsel re strategy for workload division

5/17/2019 Maia Goodell      0:06:00 Billable   analysis of next steps for settlement

5/17/2019 Maia Goodell      0:12:00 Billable   review communication from opposing counsel re assessment plan and monitor

5/17/2019 Seth Packrone     0:30:00 Billable   Tc with consulting expert re: update on case

5/17/2019 Seth Packrone     0:18:00 Billable   Check in with A. Pollioni re: update on settlement

5/17/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: next steps for settlement

5/17/2019 Seth Packrone     0:06:00 Billable   Review emails with Ds and expert re: consent order and monitoring tool
                                               strategy analysis with S.Packrone re response to monitor request and defendant opposition to
5/20/2019 Maia Goodell      0:12:00 Billable   disclosure of prior monitor report
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                                             strategy analysis with S.Packrone re response to monitor request and defendant opposition to
5/20/2019 Maia Goodell    0:12:00 Billable   disclosure of prior monitor report

5/20/2019 Seth Packrone   0:12:00 Billable   Check in with M. Goodell re: our position on sharing expert report with external monitor

5/20/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: follow up with external monitor
                                             Tc with T. Borden re: responding to Ds' request for expert's report and follow up items for
5/21/2019 Seth Packrone   0:18:00 Billable   settlement and outstanding policies

5/21/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and team re: team meetings

5/23/2019 Andrea KO       0:24:00 Billable   Team call re: settlement negotiations.

5/23/2019 Andrea KO       0:06:00 Billable   Follow-up discussion with S. Packrone and M. Goodell re: status of settlement.

5/23/2019 Maia Goodell    0:18:00 Billable   call with co-counsel re settlement, defendant position re monitoring

5/23/2019 Maia Goodell    0:18:00 Billable   call with co-counsel re settlement, defendant position re monitoring

5/23/2019 Seth Packrone   0:06:00 Billable   Draft/circulate agenda for today's team call

5/23/2019 Seth Packrone   0:24:00 Billable   Tc with litigation team re: next steps for case

5/23/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: plan for case next week

5/23/2019 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: expert's report and follow up with opposing counsel re: same

 6/4/2019 Seth Packrone   0:06:00 Billable   Review emails with Defendants and expert re: expert's report

 6/5/2019 Seth Packrone   0:06:00 Billable   Tc with L. Welch re: research on org plaintiffs as class reps

 6/7/2019 Andrea KO       0:48:00 Billable   Review edits and comments to external monitor's monitoring tool.

 6/7/2019 Andrea KO       0:24:00 Billable   Review DOE proposal re: external monitor
                                             review defendants' position re external monitor; strategy session with S.Packrone re response
 6/7/2019 Maia Goodell    0:24:00 Billable   to same

 6/7/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: correspondence with external monitor moving forward

 6/7/2019 Seth Packrone   0:12:00 Billable   Review external monitor's edits/comments to monitoring tool and student interviews

 6/7/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: external monitor's edits/comments to DOE monitoring tool

 6/7/2019 Seth Packrone   0:06:00 Billable   Review DOE proposal re: external monitor's role

 6/7/2019 Seth Packrone   0:18:00 Billable   Check in with M. Goodell re: plan for Monday's meet and confer

 6/7/2019 Seth Packrone   0:12:00 Billable   Send proposal for meet and confer to team with thougths for Monday's call

 6/7/2019 Seth Packrone   0:06:00 Billable   Check in with AKO re: plan for Monday's meet and confer

6/10/2019 Andrea KO       0:18:00 Billable   Team call to prepare for meet and confer re: external monitor's role.

6/10/2019 Andrea KO       0:30:00 Billable   Telephonic meet and confer with DOE and DOC re: external monitor's role.

6/10/2019 Andrea KO       0:06:00 Billable   Follow-up conversation with S. Packrone re: external monitor's role.

6/10/2019 Andrea KO       0:12:00 Billable   Follow-up conversation with S. Packrone and M. Goodell re: external monitor's role.

6/10/2019 Andrea KO       0:12:00 Billable   Confer with S. Packrone re: Adam X joint letter draft.

6/10/2019 Andrea KO       0:54:00 Billable   Draft joint letter re: external monitor's role.

6/10/2019 Maia Goodell    0:12:00 Billable   strategy session with S.Packrone re settlement - monitor and fees

6/10/2019 Seth Packrone   0:12:00 Billable   Prep for call with Defendants re: role of external monitor

6/10/2019 Seth Packrone   0:12:00 Billable   Tc with team re: role of external monitor

6/10/2019 Seth Packrone   0:30:00 Billable   Meet and confer with Defendants re: role of external monitor

6/10/2019 Seth Packrone   0:12:00 Billable   Check in with M. Goodell and AKO re: plan for joint letter draft

6/10/2019 Seth Packrone   0:12:00 Billable   Check in with AKO re: plan for drafting joint letter

6/10/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and AKO re: plan for drafting joint letter

6/10/2019 Seth Packrone   0:36:00 Billable   Revise/edit joint letter re: role for external monitor
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6/10/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: edits to joint letter and plan for submitting

6/11/2019 Andrea KO         0:06:00 Billable   Review finalized joint letter re: external monitor's role.

6/11/2019 Maia Goodell      0:12:00 Billable   review and supplement letter to court re settlement - monitor positions

6/11/2019 Michelle Caiola   0:12:00 Billable   Discuss research issues and settlement class stip requirements with S Packrone

6/11/2019 Seth Packrone     0:06:00 Billable   Review DOE responses to external monitor's comments on monitoring tool

6/11/2019 Seth Packrone     0:06:00 Billable   Tc with A. Pollioni re: edits to joint letter

6/11/2019 Seth Packrone     0:12:00 Billable   Edit/finalize joint letter to send to Defendants

6/11/2019 Seth Packrone     0:06:00 Billable   Correspond with Defendants re: joint letter

6/11/2019 Seth Packrone     0:06:00 Billable   Create attachment about external monitor to send with joint letter

6/11/2019 Seth Packrone     0:12:00 Billable   Correspond with team re: attachment for joint letter and other edits

6/11/2019 Seth Packrone     0:12:00 Billable   Update letter to include Attachment and correspond with team re: same

6/11/2019 Seth Packrone     0:06:00 Billable   Correspond with Defendants re: updated letter

6/11/2019 Seth Packrone     0:06:00 Billable   Tc with M. Caiola re: requirements for class cert

6/11/2019 Seth Packrone     0:12:00 Billable   Follow up with Defendants re: status of Ds' joint letter portion

6/11/2019 Seth Packrone     0:06:00 Billable   Review DOE section of letter and follow up with T. Borden

6/11/2019 Seth Packrone     0:12:00 Billable   Review final joint letter and follow up with team re: same

6/12/2019 Andrea KO         0:12:00 Billable   Receive instructions from S. Packrone re: class certification research.

6/13/2019 Andrea KO         0:30:00 Billable   TC with co-counsel re: next steps in settlement negotiations.

6/13/2019 Andrea KO         0:18:00 Billable   Follow-up with S. Packrone re: next steps in settlement negotiations.

6/13/2019 Andrea KO         0:06:00 Billable   Discuss client outreach with S. Packrone.
                                               follow up to co-counsel strategy session with S.Packrone to plan next steps for upcoming
6/13/2019 Maia Goodell      0:18:00 Billable   settlement court conference
                                               Prep for settlement conference by reviewing and taking notes on all documents exchanged since
6/13/2019 Seth Packrone     0:42:00 Billable   last conference
                                               Team call re: prep for tomorrow's settlement conference (M. Goodell, AKO, E. Kelley, ACLU and
6/13/2019 Seth Packrone     0:30:00 Billable   Proskauer)

6/13/2019 Seth Packrone     0:18:00 Billable   Strategy session with team re: next steps for class cert

6/14/2019 Maia Goodell      1:00:00 Billable   review fee cases for potential response to defendants at settlement conference

6/14/2019 Maia Goodell      0:30:00 Billable   strategy session with S.Packrone re settlement conference

6/14/2019 Maia Goodell      1:00:00 Billable   travel to Trenton for in-court settlement conference (2.0 total; bill half)

6/14/2019 Maia Goodell      1:00:00 Billable   travel from Trenton for in-court settlement conference (2.0 total; bill half)

6/14/2019 Maia Goodell      6:00:00 Billable   in-court settlement conference re monitor role (reduced for work on other cases)

6/14/2019 Michelle Caiola   0:12:00 Billable   update from MG re conference and timeline

6/14/2019 Seth Packrone     0:54:00 Billable   Travel to and from Adam X. court conference (total was 1.8, bill half)

6/14/2019 Seth Packrone     6:54:00 Billable   Settlement conference with M. Goodell and E. Kelley in Trenton, NJ

6/14/2019 Seth Packrone     0:30:00 Billable   Strategy session with M. Goodell re: plan for settlement conference

6/17/2019 Andrea KO         0:06:00 Billable   Discuss settlement next steps with S. Packrone.

6/17/2019 Andrea KO         0:24:00 Billable   Analyze case law re: class certification standing.

6/17/2019 Seth Packrone     0:06:00 Billable   Follow up with team re: next steps for expert process

6/17/2019 Seth Packrone     0:06:00 Billable   Update AKO re: status of settlement and follow up on agreement about phase 1 verification

6/18/2019 Andrea KO         1:12:00 Billable   Further analyze case law re: class certification standing.

6/18/2019 Seth Packrone     0:06:00 Billable   Follow up on emails with external monitor
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6/18/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: update on class cert research

6/19/2019 Andrea KO         1:00:00 Billable   Draft memorandum re: class certification standing.

6/19/2019 Seth Packrone     0:06:00 Billable   Check in with L. Welch re: research on plaintiffs serving as class reps

6/20/2019 Seth Packrone     0:12:00 Billable   Review notes/send to team

6/20/2019 Seth Packrone     0:06:00 Billable   Correspond with external monitor re: plan for call

6/24/2019 Andrea KO         2:30:00 Billable   Analyze case law and draft memorandum re: class certification standing.

6/24/2019 Seth Packrone     0:12:00 Billable   Follow up with team, expert, and defendants re: call with external monitor

6/25/2019 Andrea KO         0:24:00 Billable   Team TC re: external monitor's role.

6/25/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: plan for follow up about settlement response from Defendants

6/25/2019 Seth Packrone     0:06:00 Billable   Review memo re: potential plaintiffs for class cert

6/25/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: class cert memo and next steps

6/25/2019 Seth Packrone     0:12:00 Billable   Review external monitor's further edits/comments and follow up with Defendants re: same

6/25/2019 Seth Packrone     0:30:00 Billable   Review Defendants' edits to settlement agremeent

6/25/2019 Seth Packrone     0:24:00 Billable   Tc with T. Borden, AKO, and A. Pollioni re: next steps for settlement

6/26/2019 Seth Packrone     0:18:00 Billable   Update client re: status of case

6/27/2019 Seth Packrone     0:06:00 Billable   Follow up with client re: settlement draft
                                               Work session with S. Packrone, T. Borden, and A. Pollini re: responding to settlement agreement
6/28/2019 Andrea KO         1:30:00 Billable   revisions from DOE and DOC.
                                               Work session with S. Packrone, T. Borden, and A. Pollini re: responding to settlement agreement
6/28/2019 Andrea KO         0:48:00 Billable   revisions from DOE and DOC.

6/28/2019 Michelle Caiola   0:06:00 Billable   update from MG re Defendants' push back on draft and timeline
                                               Work session with AKO, T. Borden, and A. Pollioni re: responding to Defendants' settlement
6/28/2019 Seth Packrone     1:24:00 Billable   redline

                                               Additional work session with T. Borden and A. Pollioni re: continue to respond to Defendants'
6/28/2019 Seth Packrone     0:54:00 Billable   redline of Settlement Agreement and plan for call with external monitor
                                               Tc with T. Borden, A. Pollioni, Defendants and external monitor re: scope of external monitor's
6/28/2019 Seth Packrone     0:30:00 Billable   role
                                               Follow up work session with T. Borden and A. Pollioni re: finish response to Ds' redline and draft
6/28/2019 Seth Packrone     0:42:00 Billable   agenda and issue list for next settlement conference

6/30/2019 Maia Goodell      1:06:00 Billable   review settlement redline and analyze major outstanding issues

 7/1/2019 Maia Goodell      0:42:00 Billable   draft analysis of major settlement disputes outstanding and potential positions

 7/1/2019 Seth Packrone     0:12:00 Billable   Review MG's list of issues from DOC's response and follow up with MG re: same

 7/1/2019 Seth Packrone     0:06:00 Billable   Plan for next steps in settlement negotiations

 7/1/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: MG's list of issues for settlement

 7/1/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: class cert research

 7/2/2019 Maia Goodell      0:48:00 Billable   analysis of outstanding issues in settlement

 7/2/2019 Seth Packrone     0:12:00 Billable   Send settlement update to Defendants

 7/2/2019 Seth Packrone     0:12:00 Billable   Review MG's case law research on class cert and follow up re: same

 7/3/2019 Maia Goodell      0:48:00 Billable   strategy session with S.Packrone re major outstanding issues in settlement

 7/3/2019 Seth Packrone     0:48:00 Billable   Strategy session with M. Goodell re: comp ed/ps' monitoring in settlement

 7/3/2019 Seth Packrone     0:12:00 Billable   Review L. Welch memo re: org plaintiffs as class reps
                                               strategy session with co-counsel re defendants' settlement responses, prep for upcoming in-
 7/8/2019 Maia Goodell      0:42:00 Billable   court settlement meeting

 7/8/2019 Maia Goodell      0:12:00 Billable   planning with S. Packrone re upcoming in-court settlement meeting

 7/8/2019 Seth Packrone     0:12:00 Billable   Prep for settlement conference by reviewing relevant documents

 7/8/2019 Seth Packrone     0:06:00 Billable   Review 003.007 and follow up re: same
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 7/8/2019 Seth Packrone     0:36:00 Billable   Review settlement draft and our resposnes and prep for settlement conference

 7/8/2019 Seth Packrone     0:48:00 Billable   Review/rewrite summary of case law research on class rep standing
                                               Tc with J. LoCicero, M. Goodell, T. Borden, and A. Pollioni re: plan for next settlement
 7/8/2019 Seth Packrone     0:54:00 Billable   conference

 7/8/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: plan for tomorrow's settlement conference

 7/9/2019 Maia Goodell      0:24:00 Billable   strategy session with S.Packrone re DOE monitoring regulations to prep for settlement meeting
                                               meeting with co-counsel re defendant settlement positions and strategy for response during
 7/9/2019 Maia Goodell      0:30:00 Billable   lunch break

 7/9/2019 Seth Packrone     1:12:00 Billable   Travel to and from Adam X. settlement conference in Trenton, NJ (2.5 total, bill half)

 7/9/2019 Seth Packrone     4:18:00 Billable   Adam X. Settlement conference with all parties

 7/9/2019 Seth Packrone     0:12:00 Billable   Follow up with team re: result of settlement conference

 7/9/2019 Seth Packrone     0:06:00 Billable   Correspond with A. Pollioni and review absenteeism policy for DOE schools

7/10/2019 Michelle Caiola   0:18:00 Billable   update from SP re settlement meeting and status re terms

7/10/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden and team re: next steps for settlement and drafting response to Ds

7/10/2019 Seth Packrone     0:06:00 Billable   Update M. Caiola re: yesterday's settlement conference

7/10/2019 Seth Packrone     0:36:00 Billable   Review/edit ntoes from E. Kelley from settlement conference

7/11/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: next steps for responding to settlement agremeent
                                               Work session with T. Borden, A. Pollioni re: revising settlement agreement based on last
7/12/2019 Seth Packrone     2:00:00 Billable   settlement conference
                                               Follow up work session with T. Borden and A. Pollioni re: finalizing draft of comments/edits to
7/12/2019 Seth Packrone     0:48:00 Billable   settlement agremeent to circulate to team

7/15/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: external monitor's role moving forward

7/16/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: proposal for external monitor and next draft of settlement

7/16/2019 Seth Packrone     0:12:00 Billable   Review case law from L. Welch re: org plaintiffs as class reps

7/16/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for sending settlement proposal

7/17/2019 Andrea KO         0:18:00 Billable   Discuss Adam X. class certification with M. Goodell.
                                               review A.Kozak-Oxnard memo re class representative standing and provide direction for further
7/17/2019 Maia Goodell      0:30:00 Billable   research

7/17/2019 Maia Goodell      0:18:00 Billable   Strategize settlement next steps

7/22/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: checking in with client

7/22/2019 Seth Packrone     0:06:00 Billable   Follow up on correspondence with opposing counsel

7/23/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: plan for call and DOC policies

7/23/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: plan for call and review of policies/developing external monitor proposal
                                               Review policies provided by DOC (transition services, make up classes, referals and records
7/23/2019 Seth Packrone     0:30:00 Billable   requests)

7/23/2019 Seth Packrone     0:12:00 Billable   Review/analyze child find draft policy from the DOC

7/23/2019 Seth Packrone     0:42:00 Billable   Tc with T. Borden, A. Pollioni and defendants re: settlement agreement and DOC policies

7/23/2019 Seth Packrone     0:12:00 Billable   Follow up tc with T. Borden re: next steps for external monitor proposal and DOC policies

7/24/2019 Seth Packrone     0:36:00 Billable   Tc with T. Borden and client re: update on case

7/24/2019 Seth Packrone     2:00:00 Billable   Work session with T. Borden and A. Pollioni re: monitoring proposal for Defendants

7/25/2019 Seth Packrone     0:12:00 Billable   Review proposal for external monitor beyond Period 1 verification

7/25/2019 Seth Packrone     0:24:00 Billable   Draft response on policies from DOC

7/26/2019 Seth Packrone     0:12:00 Billable   Finalize resposne to Defendants re: new policies

7/29/2019 Seth Packrone     0:06:00 Billable   Case planning for next steps for settlement negotiations

7/29/2019 Seth Packrone     0:12:00 Billable   Revise org plaintiff memo
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7/30/2019 Maia Goodell      0:30:00 Billable   review and analyze defendants' proposal for monitoring and draft response to same

7/30/2019 Maia Goodell      0:12:00 Billable   strategy session with S.Packrone re response to defendants' proposal for monitoring

7/30/2019 Seth Packrone     0:18:00 Billable   Correspond with M. Goodell re: external monitor proposal

7/30/2019 Seth Packrone     0:12:00 Billable   Tc with M. Goodell re: changes to external monitor proposal

7/31/2019 Maia Goodell      0:12:00 Billable   review co-counsel edits to proposal for monitor role; analysis over email with S.Packrone

7/31/2019 Seth Packrone     0:12:00 Billable   Input M. Goodell's edits and correspond with T. Borden re: same
                                               Review co-counsel's edits to external monitor's proposal and follow up with M. Goodell and T.
7/31/2019 Seth Packrone     0:18:00 Billable   Borden re: same

7/31/2019 Seth Packrone     0:42:00 Billable   Tc with T. Borden re: edits to defendants' proposal

7/31/2019 Seth Packrone     0:36:00 Billable   Finalize external monitor proposal and send to Ds

 8/1/2019 Seth Packrone     0:18:00 Billable   Review/take notes on DOE response to our settlement proposal

 8/1/2019 Seth Packrone     0:12:00 Billable   Compile summary of DOE positions/comments and send to M. Goodell and T. Borden
                                               review summary of DOE and DOC settlement redline responses from S.Packrone and plan
 8/2/2019 Maia Goodell      0:30:00 Billable   response

 8/2/2019 Seth Packrone     0:06:00 Billable   Prep for next settlement conference

 8/2/2019 Seth Packrone     0:18:00 Billable   Review DOC response to settlement

 8/2/2019 Seth Packrone     0:24:00 Billable   Strategy session with M. Goodell re: plan for Tuesday's settlement conference

 8/5/2019 Andrea KO         0:06:00 Billable   Instructions from S. Packrone re: researching monitoring role & class counsel obligations.

 8/5/2019 Andrea KO         1:54:00 Billable   Analyze case law re: monitoring role & class counsel obligations.

 8/5/2019 Maia Goodell      0:30:00 Billable   review of legal research and strategy analysis with S.Packrone re monitoring

 8/5/2019 Seth Packrone     0:06:00 Billable   Case planning for next steps in case

 8/5/2019 Seth Packrone     0:12:00 Billable   Tc with client re: update on his situation

 8/5/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; plan for settlement conference

 8/5/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: plan for tomorrow's settlement conference

 8/5/2019 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: plan for tomorrow

 8/5/2019 Seth Packrone     0:06:00 Billable   Review LR case decision

 8/5/2019 Seth Packrone     0:06:00 Billable   Prep for tomorrow's settlement conference

 8/5/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: status of negotiations

 8/5/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: plan for negotiations moving forward

 8/6/2019 Andrea KO         1:00:00 Billable   Travel from NYC to Trenton for settlement conference (2 hours total, bill half)

 8/6/2019 Andrea KO         4:18:00 Billable   Attend settlement conference

 8/6/2019 Andrea KO         1:00:00 Billable   Travel from Trenton to NYC for settlement conference (2 hours total, bill half)

 8/6/2019 Michelle Caiola   0:12:00 Billable   update from conference by S Packrone

 8/6/2019 Seth Packrone     0:18:00 Billable   Prep for settlement conference by reviewing most recent settlement proposals

 8/6/2019 Seth Packrone     1:12:00 Billable   Travel to and from Trenton, NJ for settlement conference (total was 2.5, bill half)

 8/6/2019 Seth Packrone     0:30:00 Billable   Prep session with AKO and T. Borden re: plan for settlement conference

 8/6/2019 Seth Packrone     4:18:00 Billable   Settlement conference with Defendants with T. Borden and AKO

 8/6/2019 Seth Packrone     0:06:00 Billable   Review case law on Pls. monitoring obligations and follow up with AKO

 8/7/2019 Andrea KO         0:42:00 Billable   Type up and edit notes from settlement conference.

 8/7/2019 Andrea KO         0:24:00 Billable   Analyze Third Circuit organizational standing case law.

 8/7/2019 Maia Goodell      0:42:00 Billable   strategy session with S.Packrone re settlement - cage, fees, compensatory education
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 8/7/2019 Seth Packrone     0:42:00 Billable   Strategy session with M. Goodell re: next steps for case

 8/7/2019 Seth Packrone     0:12:00 Billable   Get feedback from M. Caiola re: status of settlement

 8/9/2019 Seth Packrone     1:54:00 Billable   Work session with T. Borden and A. Pollioni

8/12/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden, A. Pollioni, and M. Goodell re: settlement draft

8/12/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: client visits
                                               review revised settlement agreement, responses to defendant position; draft analysis of
8/13/2019 Maia Goodell      1:36:00 Billable   potential compromise positions on three outsanding issues

8/13/2019 Seth Packrone     0:06:00 Billable   Correpond with M. Goodell and team re: MG's edits to settlement

8/13/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: follow up about client and plan for other client visits

8/13/2019 Seth Packrone     0:12:00 Billable   Review MG's edits to settlement and correspond with AP and TB re; same

8/14/2019 Michelle Caiola   0:06:00 Billable   update on monitoring issue

8/15/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: finalizing settlement agreement

8/15/2019 Seth Packrone     0:24:00 Billable   Review settlement agreement/edit put in comments
                                               Correspond with T. Borden and A. Pollioni re: edits to settlement agreement and plan for
8/15/2019 Seth Packrone     0:06:00 Billable   sending to Ds

8/15/2019 Seth Packrone     0:36:00 Billable   Tc with client and T. Borden re: update on case

8/15/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: next steps for client meetings

8/15/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: status of settlement agreement

8/19/2019 Andrea KO         0:12:00 Billable   Instructions from S. Packrone re: researching organizational plaintiff standing.

8/19/2019 Seth Packrone     0:12:00 Billable   Check in with AKO re: research for class cert

8/19/2019 Seth Packrone     0:06:00 Billable   Correspond with AKO org plaintiff and class cert research
                                               Review and revise organizational plaintiff standing memorandum; analyze further case law re:
8/20/2019 Andrea KO         1:18:00 Billable   same.

8/20/2019 Andrea KO         1:42:00 Billable   Compile and analyze Third Circuit case law re: organizational standing.

8/20/2019 Seth Packrone     0:18:00 Billable   Draft rough draft of comp ed proposal

8/20/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and A. Pollioni re: draft of comp ed proposal

8/21/2019 Maia Goodell      0:24:00 Billable   strategy session with S.Packrone re settlement - compensatory education structure

8/21/2019 Seth Packrone     0:30:00 Billable   Strategy session with M. Goodell re: comp ed proposals for Defendants

8/21/2019 Seth Packrone     0:12:00 Billable   Correspond with A. Pollioni and T. Borden re: comp ed proposals

8/22/2019 Andrea KO         1:24:00 Billable   Research and analyze case law re: class representative payments in prison cases.

8/22/2019 Andrea KO         1:30:00 Billable   Draft memorandum re: organizational plaintiff standing.
                                               call with co-counsel re DOC and DOE settlement response, compensatory education, class rep
8/22/2019 Maia Goodell      0:30:00 Billable   payments
                                               strategy session with S.Packrone and A.Kozak-Oxnard re class certification issues and class rep
8/22/2019 Maia Goodell      0:30:00 Billable   payments

8/22/2019 Seth Packrone     0:06:00 Billable   Correspond with AKO re: case law on class rep awards

8/22/2019 Seth Packrone     0:06:00 Billable   Correspond with A. Pollioni re: comp ed proposals

8/22/2019 Seth Packrone     0:06:00 Billable   Draft agenda for team meeting

8/22/2019 Seth Packrone     0:18:00 Billable   Review/take notes on Ds' redline of monitoring proposal

8/22/2019 Seth Packrone     0:06:00 Billable   Draft notes on Ds' monitoring proposal
                                               Tc with T. Borden, A. Pollioni, B. Silverman, M. Goodell, and AKO re: status of case and next
8/22/2019 Seth Packrone     0:30:00 Billable   steps

8/22/2019 Seth Packrone     0:30:00 Billable   Strategy session with AKO and M. Goodell re: next steps for case

8/23/2019 Andrea KO         2:36:00 Billable   Revise memo re: organizational plaintiff standing.

8/23/2019 Seth Packrone     0:18:00 Billable   Draft comp ed proposal/agenda/draft email to Defendants
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8/23/2019 Seth Packrone     0:12:00 Billable   Give S. Feldman instructions re: comp ed research, review same, and follow up

8/23/2019 Seth Packrone     0:06:00 Billable   Send draft comp ed proposal and draft agenda to team for consideration

8/23/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and A. Pollioni re: next steps for case

8/23/2019 Seth Packrone     0:06:00 Billable   Review potential comp ed awards

8/23/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: status of class rep research
                                               Review S. Packrone's comments and edits to organizational plaintiff standing memo and revise
8/26/2019 Andrea KO         0:30:00 Billable   accordingly.
                                               Discuss organizational standing memo and next steps for settlement negotiations with S.
8/26/2019 Andrea KO         0:12:00 Billable   Packrone.

8/26/2019 Andrea KO         2:30:00 Billable   Analyze case law and draft memo re: incentive payments to class representatives.

8/26/2019 Andrea KO         0:42:00 Billable   Team call w/co-counsel re: next steps in negotiations and substantive positions.

8/26/2019 Seth Packrone     0:18:00 Billable   Review memo re: org plaintiffs as class reps/edit and send back to AKO

8/26/2019 Seth Packrone     0:12:00 Billable   Check in with AKO re: class rep memo and plan for next settlement conference

8/26/2019 Seth Packrone     0:06:00 Billable   Prep for call with team re: monitoring/comp ed

8/26/2019 Seth Packrone     0:42:00 Billable   Tc with AKO, T. Borden, and A. Pollioni re: plan for next week's settlement conference

8/26/2019 Seth Packrone     0:06:00 Billable   Review case law/memo re: org plaintiffs as class reps

8/26/2019 Seth Packrone     0:06:00 Billable   Correspond team re: comp ed proposal

8/26/2019 Seth Packrone     0:12:00 Billable   Finalize/circulate positions on external monitor coutnerproposal to Defendants

8/27/2019 Andrea KO         0:06:00 Billable   Email to M. Goodell re: incentive payment memo.

8/27/2019 Andrea KO         0:12:00 Billable   Emails with co-counsel re: compensatory education.

8/27/2019 Maia Goodell      0:18:00 Billable   review legal research and analysis re organizational class rep/comp ed

8/27/2019 Michelle Caiola   0:06:00 Billable   check in with SP re compensatory relief term

8/27/2019 Seth Packrone     0:06:00 Billable   Review incentive award case chart and correspond with AKO re: same

8/27/2019 Seth Packrone     0:06:00 Billable   Reivew A. Pollioni's edits to comp ed proposal

8/27/2019 Seth Packrone     0:12:00 Billable   Correspond with A. Pollioni's edits to comp ed re: thoughts about designing process

8/27/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: class reps memo
                                               Check in with M. Goodell re: plan for class cert and follow up with team about the settlement
8/27/2019 Seth Packrone     0:06:00 Billable   draft

8/28/2019 Michelle Caiola   0:12:00 Billable   follow up with SP re compensatory education

8/28/2019 Seth Packrone     0:06:00 Billable   Review DOC's comments/edits

8/29/2019 Andrea KO         1:24:00 Billable   Review DOC's edits to settlement agreement.

8/29/2019 Andrea KO         0:06:00 Billable   Discuss monitoring with M. Goodell.

8/29/2019 Maia Goodell      0:12:00 Billable   strategy session with S.Packrone re compensatory education

8/29/2019 Seth Packrone     0:12:00 Billable   Edit comp ed proposal

8/29/2019 Seth Packrone     0:42:00 Billable   Review Ds' settlement proposal/pull out issues for agenda

8/29/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: comp ed proposal

8/29/2019 Seth Packrone     0:12:00 Billable   Tc with M. Goodell re: comp ed proposal

8/29/2019 Seth Packrone     0:18:00 Billable   Tc with T. Borden re: comp ed proopsal

8/29/2019 Seth Packrone     0:24:00 Billable   Tc with T. Borden and J. LoCicero re: comp ed proposal

8/29/2019 Seth Packrone     0:06:00 Billable   Tc with M. Caiola re: status of comp ed proposal

8/30/2019 Andrea KO         0:06:00 Billable   Review agenda for upcoming settlement conference.

8/30/2019 Andrea KO         0:18:00 Billable   Discuss compensatory education proposal with S. Packrone.
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8/30/2019 Andrea KO         0:12:00 Billable   TC with external consulting expert and S. Packrone re: compensatory education proposal.
                                               report on co-counsel analysis of potential compensatory eduction proposals and plan next steps
8/30/2019 Maia Goodell      0:12:00 Billable   for settlement in light of same

8/30/2019 Seth Packrone     0:06:00 Billable   Follow up with external consulting expert re: comp ed

8/30/2019 Seth Packrone     0:30:00 Billable   Prep for settlement conference by reviewing most recent settlement drafts/monitoring proposal

8/30/2019 Seth Packrone     0:30:00 Billable   Draft talking points for settlement conference

8/30/2019 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: comp ed proposal

8/30/2019 Seth Packrone     0:18:00 Billable   strategy session with AKO re: comp ed proposal

8/30/2019 Seth Packrone     0:12:00 Billable   Tc with external consulting expert and AKO re: comp ed proposal

 9/3/2019 Andrea KO         2:00:00 Billable   Travel from New York City to Trenton for settlement meeting (total 4.0, bill half)

 9/3/2019 Andrea KO         4:00:00 Billable   Attend settlement conference with NJDOE and NJDOC.

 9/3/2019 Seth Packrone     0:12:00 Billable   Prep for settlemetn conference by reviewing talking poitns

 9/3/2019 Seth Packrone     1:36:00 Billable   Travel to and from home to settlemetn conference in Trenton, NJ (total was 3.2, bill half)

 9/3/2019 Seth Packrone     4:00:00 Billable   Settlement conference with Defendants, T. Borden, A. Pollioni, and AKO

 9/3/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: email from Defendants

 9/3/2019 Seth Packrone     0:06:00 Billable   Case planning for next steps in litigation

 9/4/2019 Michelle Caiola   0:06:00 Billable   update from SP re prior day negotiation progress

 9/4/2019 Michelle Caiola   0:06:00 Billable   check in with AKO, confer re DRA role vis a vis monitor

 9/5/2019 Andrea KO         0:24:00 Billable   Discuss next steps with S. Packrone.

 9/5/2019 Andrea KO         1:30:00 Billable   Review settlement conference notes and draft summary and analysis.

 9/5/2019 Maia Goodell      0:18:00 Billable   strategy session with S.Packrone re settlement

 9/5/2019 Seth Packrone     0:24:00 Billable   Check in with AKO re: next steps for editing settlement agreement and monitoring proposal

 9/5/2019 Seth Packrone     0:06:00 Billable   Check in with M. Goodell re: next steps for monitoring proposal

 9/5/2019 Seth Packrone     0:12:00 Billable   Correspond with team re: plan for responding to Ds and next meeting with external monitor

 9/5/2019 Seth Packrone     0:18:00 Billable   Strategy session with M. Goodell re: comp ed and plaintiffs' monitoring role
                                               Work session with S. Packrone and T. Borden re: revising settlement agreement pursuant to
 9/6/2019 Andrea KO         1:30:00 Billable   September 3 conference.

 9/6/2019 Andrea KO         0:42:00 Billable   Work session with S. Packrone re: revising monitoring role agreement.

 9/6/2019 Andrea KO         0:36:00 Billable   Review Defendants' edits to monitoring role agreement.

 9/6/2019 Andrea KO         1:24:00 Billable   Work session with S. Packrone re: further revisions to monitoring tool.

 9/6/2019 Seth Packrone     1:30:00 Billable   Work session with T. Borden and AKO re: editing settlement agreement

 9/6/2019 Seth Packrone     0:42:00 Billable   Work session with AKO re: editing external monitor role document

 9/6/2019 Seth Packrone     0:12:00 Billable   Review/revise settlement agreement and class cert definition

 9/6/2019 Seth Packrone     0:36:00 Billable   Tc with T. Borden and client re: update on case

 9/6/2019 Seth Packrone     0:06:00 Billable   Send settlement draft to team

 9/6/2019 Seth Packrone     1:24:00 Billable   Work session with AKO re; editing monitoring proposal

 9/8/2019 Seth Packrone     0:30:00 Billable   Review policies to send to Dr. Roberts and correspond with T. Borden re: same

 9/8/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: NJDOC policies

 9/8/2019 Seth Packrone     0:12:00 Billable   Send Ds NJDOC policies

 9/9/2019 Andrea KO         0:06:00 Billable   Emails with T. Borden re: revisions to monitoring role agreement.

 9/9/2019 Andrea KO         0:12:00 Billable   Review T. Borden's edits to monitoring role agreement.
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 9/9/2019 Andrea KO       0:36:00 Billable   TC with T. Borden re: monitoring role agreement.

 9/9/2019 Andrea KO       0:06:00 Billable   Emails with T. Borden re: further revisions to monitoring role agreement.

 9/9/2019 Andrea KO       0:06:00 Billable   TC with S. packrone re: edits to settlement documents.

 9/9/2019 Andrea KO       0:06:00 Billable   Review DOC's email to Dr. Roberts.

 9/9/2019 Seth Packrone   0:06:00 Billable   Review TB's edits to monitoring proposal

 9/9/2019 Seth Packrone   0:06:00 Billable   Tc with AKO re: monitoring proposal

9/10/2019 Andrea KO       1:00:00 Billable   TC with co-counsel re: edits to settlement agreement and monitoring role agreement.
                                             Follow-up with M. Goodell and S. Packrone re: edits to settlement agreement and monitoring
9/10/2019 Andrea KO       0:06:00 Billable   role agreement.

9/10/2019 Andrea KO       0:06:00 Billable   Review T. Borden emails re: Dr. Roberts/DOC policies.

9/10/2019 Seth Packrone   0:06:00 Billable   Review correspondence with external monitor

9/10/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: plan for site visits
                                             Tc with Adam X. team (AKO, M. Goodell, B. Silverman, T. Borden, and A. Pollioni) re: comp ed
9/10/2019 Seth Packrone   0:48:00 Billable   and monitoring

9/10/2019 Seth Packrone   0:06:00 Billable   Tc with M. Goodell and AKO re: next steps

9/10/2019 Seth Packrone   0:06:00 Billable   Correspond with AKO re: team call

9/10/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: response about NJSP

9/11/2019 Seth Packrone   0:06:00 Billable   Correspond with Adam X. team re: site visit at EMCF

9/11/2019 Seth Packrone   0:24:00 Billable   Review/edit monitoring proposal and send notes to T. Borden re: same

9/11/2019 Seth Packrone   0:06:00 Billable   Review correspodnence with Defendants and Dr. Roberts and documents sent to her

9/12/2019 Maia Goodell    0:12:00 Billable   discuss monitoring proposal, next steps re compensatory education with S.Packrone

9/12/2019 Seth Packrone   0:12:00 Billable   Check in with M. Goodell re: input on monitoring document

9/12/2019 Seth Packrone   0:12:00 Billable   Draft agenda for Dr. Roberts call and correspond with T. Borden re: same

9/12/2019 Seth Packrone   0:06:00 Billable   Correspond with Defedants re: agenda for call with Dr. Roberts

9/12/2019 Seth Packrone   0:12:00 Billable   Draft response to Defendants and email to T. borden

9/12/2019 Seth Packrone   0:06:00 Billable   Correspond with T. borden re: monitoring agreement and settlement proposal

9/13/2019 Andrea KO       0:18:00 Billable   TC with opposing counsel re: Dr. Roberts.

9/13/2019 Andrea KO       0:54:00 Billable   TC with opposing counsel and Dr. Roberts.

9/13/2019 Andrea KO       0:36:00 Billable   Follow-up TC with co-counsel re: settlement agreement revisions.

9/13/2019 Seth Packrone   0:06:00 Billable   Correspond with Dr. Roberts and Defendants re: plan for call

9/13/2019 Seth Packrone   0:06:00 Billable   Prep for call with Dr. Roberts and Defendants

9/13/2019 Seth Packrone   0:18:00 Billable   Tc with T. Borden, A. Pollioni, and AKO with Defendants re: plan for call with Dr. Roberts
                                             Tc with T. Borden, AKO, A. Pollioni with Defendants and Dr. Roberts re: outstanding issues and
9/13/2019 Seth Packrone   0:54:00 Billable   plans for monitoring
                                             Follow up tc with T. Borden, AKO, and A. Pollioni re: responding to monitoring
9/13/2019 Seth Packrone   0:36:00 Billable   proposal/settlement agreement

9/13/2019 Seth Packrone   0:12:00 Billable   Finalizing response to settlement agreement and monitoring proposal

9/13/2019 Seth Packrone   0:12:00 Billable   Send monitoring proposal and settlement responses to Defendants with notes for next steps

9/16/2019 Seth Packrone   0:36:00 Billable   Travel to DOC facility for client visit (total was 1.2, bill half)

9/16/2019 Seth Packrone   1:48:00 Billable   Meet with client, at DOC facility and wait to be processed

9/16/2019 Seth Packrone   0:24:00 Billable   Travel from DOC facility to second client visit (total was .9, bill half)

9/16/2019 Seth Packrone   1:18:00 Billable   Meet with client #2 re: update on case

9/16/2019 Seth Packrone   0:24:00 Billable   Travel from second client visit back to home after client meeting (total was .8, bill half)
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9/16/2019 Seth Packrone     0:06:00 Billable   Correspond with Ds and T. Borden re: Southwoods Prison

9/17/2019 Andrea KO         1:54:00 Billable   TC with opposing counsel re: settlement negotiations.

9/17/2019 Andrea KO         0:18:00 Billable   Correspond with S. Packrone re: monitoring proposal edits.

9/17/2019 Maia Goodell      0:48:00 Billable   review and analyze comp ed proposal and draft analysis for strategy discussion with co-counsel

9/17/2019 Michelle Caiola   0:06:00 Billable   update re status and fees with MG

9/17/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: SWSP

9/17/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden and correspond re: prep for settlement conference
                                               Settlement teleconference with M. Vomacka, J. Hoff, AKO, and T. Borden re:
9/17/2019 Seth Packrone     1:54:00 Billable   monitoring/settlement agreement drafts

9/17/2019 Seth Packrone     0:06:00 Billable   Review schedule/plan for initial monitoring period

9/17/2019 Seth Packrone     0:12:00 Billable   Review/edit comp ed proposal and send to M. Goodell and AKO

9/17/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Goodell re: comp ed proposal

9/17/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and Defendants re: emails to Dr. Roberts

9/17/2019 Seth Packrone     0:18:00 Billable   Edit/review comp ed prposal and send to T. Borden

9/18/2019 Andrea KO         0:12:00 Billable   Review revised Adam X. comp ed proposal

9/18/2019 Seth Packrone     0:06:00 Billable   Review Dr. Roberts' edits to I&RS policies

9/18/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: follow up with Dr. Roberts about site visits and comp ed proposal

9/19/2019 Andrea KO         0:12:00 Billable   Discuss settlement next steps with S. Packrone.

9/19/2019 Andrea KO         0:06:00 Billable   Emails with S. Packrone re: upcoming team call.

9/19/2019 Maia Goodell      0:12:00 Billable   update and analysis of comp ed proposal with S.Packrone

9/19/2019 Seth Packrone     0:12:00 Billable   Check in with M. Goodell re: edits to comp ed proposal

9/19/2019 Seth Packrone     0:12:00 Billable   Give AKO instructions re: comp ed proposals for individuals and policies to edit

9/19/2019 Seth Packrone     0:06:00 Billable   Update team re: client visits and settlement discussions this week

9/19/2019 Seth Packrone     0:12:00 Billable   Edit/finalize comp ed proposal

9/19/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden and A. Pollioni re: comp ed proposal

9/19/2019 Seth Packrone     0:18:00 Billable   Tc with education attorney re: structure of systemic comp ed awards

9/19/2019 Seth Packrone     0:06:00 Billable   Update M. Goodell re: structure of classwide comp ed proposal

9/19/2019 Seth Packrone     0:12:00 Billable   Draft email to Defendants and prep comp ed proposal to send

9/19/2019 Seth Packrone     0:06:00 Billable   Follow up on emails with Defendants and Dr. Roberts re: editing policies

9/19/2019 Seth Packrone     0:06:00 Billable   Give AKO instructions re: policies to edit and follow up with T. Borden re; client's diploma status

9/19/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: sending Roberts the draft consent order

9/19/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden and DOE counsel re: sending consent order to Dr. Roberts

9/19/2019 Seth Packrone     0:12:00 Billable   Send email and consent order to Dr. Roberts

9/19/2019 Seth Packrone     0:06:00 Billable   Follow up with opposing counsel re: email to send with draft monitoring proposal to Dr. Roberts

9/20/2019 Seth Packrone     0:06:00 Billable   Send draft Dr. Roberts' agreement to team and Dr. Roberts

9/23/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: follow up from Dr. Roberts

9/24/2019 Andrea KO         0:36:00 Billable   Review Ohio child find policy.

9/25/2019 Andrea KO         0:42:00 Billable   Review NJDOC child find policy; reformat as Word document:

9/25/2019 Andrea KO         1:48:00 Billable   Revise NJDOC child find policy

9/25/2019 Andrea KO         0:54:00 Billable   Review additional NJDOC policies
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9/25/2019 Andrea KO       0:24:00 Billable   Draft NJDOC transition policy

9/25/2019 Andrea KO       0:06:00 Billable   Review & analyze IDEA transition planning guide

9/26/2019 Andrea KO       1:00:00 Billable   Research and anlayze local education costs for named plaintiffs.
                                             Further research and calculations re: local education costs and compensatory education for
9/27/2019 Andrea KO       1:06:00 Billable   named plaintiffs.

10/1/2019 Andrea KO       0:54:00 Billable   Review other jurisdictions' child find policies.

10/1/2019 Andrea KO       1:18:00 Billable   Revise DOC's child find policy.

10/1/2019 Andrea KO       0:06:00 Billable   Discuss draft policies with S. Packrone.

10/1/2019 Andrea KO       0:06:00 Billable   Strategy session with S. Packrone re: compensatory education proposals.

10/1/2019 Seth Packrone   0:12:00 Billable   Review/edit comp ed proposal from AKO

10/1/2019 Seth Packrone   0:06:00 Billable   Review Dr. Roberts' comments on policies and correpsond with team re: same

10/1/2019 Seth Packrone   0:06:00 Billable   Tc with AKO re: comp ed proposal changes

10/1/2019 Seth Packrone   0:06:00 Billable   Tc with AKO re: revising DOC policies

10/2/2019 Andrea KO       1:12:00 Billable   Revise first half of child find policy.

10/2/2019 Andrea KO       1:06:00 Billable   Revise second half of child find policy.

10/2/2019 Andrea KO       1:00:00 Billable   Revise transition services policy.

10/2/2019 Andrea KO       0:06:00 Billable   TC with S. Packrone re: NJDOC transition services policy.

10/2/2019 Andrea KO       0:06:00 Billable   Emails with co-counsel re: next steps.

10/2/2019 Seth Packrone   0:12:00 Billable   Tc with client re: update on case
                                             Correspond with T. Borden and team re: next steps for case and follow up on plan for settlement
10/2/2019 Seth Packrone   0:12:00 Billable   conference

10/2/2019 Seth Packrone   0:12:00 Billable   Review/edit chlid find policy based on AKO's edits and send back to her

10/2/2019 Seth Packrone   0:06:00 Billable   Correspond with AKO re: edit to policy

10/2/2019 Seth Packrone   0:06:00 Billable   Tc with AKO re: edits to transition policy

10/2/2019 Seth Packrone   0:12:00 Billable   Revise comp ed proposal for individuals and correspond with M> Goodell re: same

10/3/2019 Andrea KO       0:24:00 Billable   Strategy session with S. Packrone re: NJDOC policies.

10/3/2019 Andrea KO       0:18:00 Billable   Further revisions to child find policy following discussions with S. Packrone.

10/3/2019 Andrea KO       0:18:00 Billable   Draft email to co-counsel re: child find policy revisions and compensatory education proposals.

10/3/2019 Andrea KO       0:24:00 Billable   Review DOE response to external monitoring role.

10/3/2019 Andrea KO       0:06:00 Billable   Review DOE response to settlement agreement draft.

10/3/2019 Seth Packrone   0:06:00 Billable   Tc with client re: update on case

10/3/2019 Seth Packrone   0:06:00 Billable   Get feedback from M. Goodell re: comp ed proposals and transition and child find policies

10/3/2019 Seth Packrone   0:24:00 Billable   Work session with AKO re: child find and transition policies

10/3/2019 Seth Packrone   0:06:00 Billable   Review short memo to team re: update on child find/transition policies and comp ed

10/3/2019 Seth Packrone   0:06:00 Billable   Case planning for next steps in settlement negotiations

10/4/2019 Andrea KO       0:24:00 Billable   Draft and review emails with co-counsel re: compensatory education and child find.

10/7/2019 Andrea KO       0:06:00 Billable   Coordinate next steps with S. Packrone.

10/7/2019 Andrea KO       0:12:00 Billable   Finish revising transition plan policy.
                                             Review correspondence with team re: documents from Defendants and next steps for
10/7/2019 Seth Packrone   0:06:00 Billable   settlement negotiations

10/7/2019 Seth Packrone   0:06:00 Billable   Case planning for next steps and timelines for settlement negotiations

10/7/2019 Seth Packrone   0:18:00 Billable   Review DOC's settlement response from 10.3 and DOE's settlemetn response
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                                              Strategy session with AKO re: plan for tomorrow's call with expert and Thursday's settlement
 10/7/2019 Seth Packrone   0:06:00 Billable   conference

 10/7/2019 Seth Packrone   0:06:00 Billable   revise suggested comments to transition policy

 10/8/2019 Andrea KO       0:06:00 Billable   Review agenda in advance of Dr. Roberts call.

 10/8/2019 Andrea KO       0:06:00 Billable   Review DOC's edits to settlement agreement.

 10/8/2019 Andrea KO       0:24:00 Billable   TC with Dr. Roberts.

 10/8/2019 Andrea KO       1:12:00 Billable   Follow-up call with co-counsel.

 10/8/2019 Maia Goodell    0:06:00 Billable   planning for call with co-counsel re settlement

 10/8/2019 Maia Goodell    1:00:00 Billable   call with co-counsel re settlement, outstanding proposals
                                              Draft agendas/plans for today's calls with Dr. Roberts and internal team call about settlement
 10/8/2019 Seth Packrone   0:12:00 Billable   conference

 10/8/2019 Seth Packrone   0:06:00 Billable   Correspond with M. Goodell and T. Borden re: plan for today's calls
                                              Tc with AKO, T. Borden, A. Pollioni, and J. LoCicero with External Monitor and Defendants re:
 10/8/2019 Seth Packrone   0:24:00 Billable   follow up after initial site visits
                                              Tc with M. Goodell, AKO, T. Borden, J. LoCicero, B. Silverman, and A. Pollioni re: plan for
 10/8/2019 Seth Packrone   1:12:00 Billable   Thursday's settlement conference

 10/8/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: agenda for Thursday

 10/8/2019 Seth Packrone   0:06:00 Billable   Review DOC response and compare to our most recent settlement demand

 10/8/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and draft email to Defendants re: Thursday's settlement conference

 10/8/2019 Seth Packrone   0:12:00 Billable   Correspond with AKO and T. Borden re: surrogate parent issue in CF policy

 10/9/2019 Andrea KO       1:06:00 Billable   Discuss child find policy revisions with S. Packrone.

 10/9/2019 Andrea KO       0:06:00 Billable   Revise child find policy per discussion with S. Packrone.

 10/9/2019 Maia Goodell    0:12:00 Billable   strategy session with S.Packrone re upcoming settlement meeting

 10/9/2019 Seth Packrone   0:06:00 Billable   Send agenda to Defendants and follow up with co-counsel re: transition and child find policies

 10/9/2019 Seth Packrone   0:12:00 Billable   Prep for 10/10 settlement conference with Defendants

 10/9/2019 Seth Packrone   0:12:00 Billable   Tc with A. Pollioni re: changes to child find policy

 10/9/2019 Seth Packrone   0:06:00 Billable   Edit TS and CF policies and send to AKO to finalize

 10/9/2019 Seth Packrone   0:06:00 Billable   Tc with AKO re: finalizing Transition services and CF policies

 10/9/2019 Seth Packrone   0:06:00 Billable   Review DOE response to monitoring role proposal

 10/9/2019 Seth Packrone   0:12:00 Billable   Strategy session with M. Goodell re: response to latest monitoring proposal from Defendants

 10/9/2019 Seth Packrone   0:12:00 Billable   Tc with aKO re: edits to Child Find and Transition policy and finalize and send to Defendants

 10/9/2019 Seth Packrone   0:06:00 Billable   Correspond with co-counsel re: positions on monitoring psoposal

10/10/2019 Seth Packrone   1:24:00 Billable   Travel to and from settlement conference at DNJ (total was 2.8, bill half)

10/10/2019 Seth Packrone   0:12:00 Billable   Strategy sesion with team re; plan for settlement conference

10/10/2019 Seth Packrone   3:42:00 Billable   Settlement conference with J. LoCicero, T. Borden, AKO, and A. Pollioni and Defendants

10/10/2019 Seth Packrone   0:06:00 Billable   Correspond with external monitor

10/11/2019 Seth Packrone   0:06:00 Billable   Check in with T. Atkinson re: child find policy for DOC

10/11/2019 Seth Packrone   0:12:00 Billable   Correspond with T. Borden re: plan for follow up with Defendants about PLRA, comp ed, etc.

10/15/2019 Seth Packrone   0:06:00 Billable   Correspond with A. Pollioni re: comp ed proposal to send to Defendants

10/15/2019 Seth Packrone   0:12:00 Billable   Revise access to information proposal and follow up with AKO re: same

10/15/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden and defense counsel re: high school diploma for client

10/16/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: status of tomorrow's call and next steps for negotiations

10/17/2019 Andrea KO       0:06:00 Billable   TC with S. Packrone re: incentive awards.
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10/21/2019 Seth Packrone   0:18:00 Billable   Draft follow up responses for DOC re: access to information and comp ed and send to team

10/21/2019 Seth Packrone   0:12:00 Billable   Strategy session with M. Goodell re: access to information proposal for Defendants

10/21/2019 Seth Packrone   0:06:00 Billable   Correspond with DOC re; agenda for call with Dr. Roberts

10/21/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: access to information proposal

10/22/2019 Andrea KO       0:06:00 Billable   Discuss compensatory education proposal with S. Packrone.

10/22/2019 Andrea KO       0:12:00 Billable   Review emails with co-counsel re: comp. ed. Proposal.

10/22/2019 Seth Packrone   0:06:00 Billable   Strategy session with AKO re: next stepsf or responses to Defendants

10/22/2019 Seth Packrone   0:12:00 Billable   Prep proposals for Defendants and send to team

10/22/2019 Seth Packrone   0:12:00 Billable   Correspond with T. Borden re; draft agenda/email to send to Dr. Roberts

10/22/2019 Seth Packrone   0:06:00 Billable   Correspond with team re: email to Dr. Roberts and follow up with Defendants re: same

10/23/2019 Andrea KO       0:06:00 Billable   Emails with co-counsel re: proposals to send to Defendants.

10/23/2019 Andrea KO       0:36:00 Billable   Conference call with Dr. Roberts.

10/23/2019 Seth Packrone   0:06:00 Billable   Check in with team re: proposals to send Defendants

10/23/2019 Seth Packrone   0:12:00 Billable   Finalize proposals for Defendants re: comp ed, access to information, etc.

10/23/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re: finalizing settlement proposals for Defendants
                                              Tc with external monitor and Defendants and T. Borden, AKO, and A. Pollioni re; substantial
10/23/2019 Seth Packrone   0:24:00 Billable   compliance for DOC

10/23/2019 Seth Packrone   0:06:00 Billable   Tc with T. Borden re: response to Defendants

10/23/2019 Seth Packrone   0:06:00 Billable   Prep proposals and send to Defendants

10/28/2019 Andrea KO       0:06:00 Billable   Discuss response to letter from DOC with responsive positions with S. Packrone.

10/28/2019 Seth Packrone   0:06:00 Billable   Case planning for next steps in settlement negotiations

10/28/2019 Seth Packrone   0:06:00 Billable   Check in with M. Goodell re: Defendants' latest settlement response

10/28/2019 Seth Packrone   0:18:00 Billable   Review/analyze DOC's latest settlement response

10/28/2019 Seth Packrone   0:06:00 Billable   Give AKO instructions re: fees research

10/28/2019 Seth Packrone   0:12:00 Billable   Draft our positions on Ds' latest settlement proposal

10/29/2019 Seth Packrone   0:06:00 Billable   Review Ds' edits for document to send to Dr. Roberts

10/29/2019 Seth Packrone   0:06:00 Billable   Correspond with T. Borden re; plan for agenda for Thursday's settlement conference

10/29/2019 Seth Packrone   0:24:00 Billable   Review DOC's letter and draft notes for team for settlement conference
                                              analysis of defendant settlement responses and plan for in-court settlement meeting with
10/30/2019 Maia Goodell    0:36:00 Billable   S.Packrone

10/30/2019 Seth Packrone   0:36:00 Billable   Get instruction from M. Goodell re: positions for tomorrow's settlement conference

10/30/2019 Seth Packrone   0:06:00 Billable   Prep for tomorrow's settlement conference by reviewing latest proposals from Defendants
                                              Draft talking points for tomorrow's settlement conference and correspond with T. Broden re:
10/30/2019 Seth Packrone   0:18:00 Billable   same

10/31/2019 Andrea KO       0:54:00 Billable   Travel from NYC to Trenton for settlement conference (1.8 total, bill half)

10/31/2019 Andrea KO       4:00:00 Billable   Attend settlement conference.

10/31/2019 Andrea KO       1:00:00 Billable   Travel from Trenton to NYC for settlement conference (2.0 total, bill half)

10/31/2019 Seth Packrone   1:30:00 Billable   Travel to and from District Court in Trenton for settlement conference (total was 3 hours)

10/31/2019 Seth Packrone   4:00:00 Billable   Attend settlement conference with Defendants with AKO, A. Pollioni, and T. Borden

10/31/2019 Seth Packrone   0:06:00 Billable   Corresond with T. Borden re: next meeting with joint expert and follow up on conferences
                                              Review detailed notes from last settlement conference and draft email to all parties listing all
 11/1/2019 Andrea KO       1:42:00 Billable   action items and other next steps.

 11/1/2019 Maia Goodell    0:24:00 Billable   update on settlement status following conference with S.Packrone; plan next steps
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 11/1/2019 Seth Packrone     0:12:00 Billable   Update M. Caiola re: result of settlement conference yesterday

 11/1/2019 Seth Packrone     0:24:00 Billable   Update M. Goodell re: result of settlement conference and next steps

 11/1/2019 Seth Packrone     0:12:00 Billable   Review update email for DOC and list of outstanding items

 11/4/2019 Andrea KO         1:00:00 Billable   Work session with S. Packrone and T. Borden re: work session on settlement agreement.

 11/4/2019 Andrea KO         0:48:00 Billable   Work session with S. Packrone and T. Borden re: work session on monitoring proposal.

 11/4/2019 Seth Packrone     0:06:00 Billable   Draft next steps for litigation/settlement negotiations

 11/4/2019 Seth Packrone     1:00:00 Billable   Work session with AKO and T. Borden re: revising settlement agreement

 11/4/2019 Seth Packrone     0:48:00 Billable   Work session with AKO and T. Borden re: revising joint monitoring proposal

 11/4/2019 Seth Packrone     0:06:00 Billable   Correspond with co-counsel re: drafting notice for settlement agreement

 11/5/2019 Andrea KO         0:18:00 Billable   Discuss next steps with M. Caiola and M. Weaver.

 11/5/2019 Seth Packrone     0:12:00 Billable   Review Dr. Roberts' draft rubric and follow up with team re: same

 11/5/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: settlement draft sent to Defendants and review same

 11/5/2019 Seth Packrone     0:24:00 Billable   Review external monitoring role document, draft notes for call tomorrow, and send to team

 11/6/2019 Andrea KO         0:24:00 Billable   TC with T. Borden and S. Packrone re: preparing for settlement negotiations call.

 11/6/2019 Andrea KO         0:48:00 Billable   Settlement negotiations call.

 11/6/2019 Michelle Caiola   0:06:00 Billable   review update to counsel re staffing

 11/6/2019 Michelle Caiola   0:12:00 Billable   fees issue with SP, provide drafts of chart from another case

 11/6/2019 Seth Packrone     0:06:00 Billable   Prep for tc with Defense counsel re: external monitoring proposal

 11/6/2019 Seth Packrone     0:18:00 Billable   Tc with T. Borden and AKO re: plan for call with Defendants about external monitoring proposal
                                                Tc with T. Borden, AKO, A. Pollioni, and R. Gorkin with Defense counsel re: next steps for
 11/6/2019 Seth Packrone     0:48:00 Billable   external monitoring proposal
                                                Work session with T. Borden re: revising external monitoring proposal based on call with
 11/6/2019 Seth Packrone     1:00:00 Billable   Defendants

 11/6/2019 Seth Packrone     0:06:00 Billable   Review emails with Defendants re: next steps for working with external monitor

 11/6/2019 Seth Packrone     0:36:00 Billable   Revise external monitor proposal based on call with T. Borden

 11/6/2019 Seth Packrone     0:06:00 Billable   Send external monitoring proposal to T. Borden with notes for next steps

 11/7/2019 Andrea KO         0:06:00 Billable   Check in with S. Packrone re: fee record review.

 11/7/2019 Andrea KO         0:30:00 Billable   TC with co-counsel re: onboarding R. Gorckin.

 11/7/2019 Seth Packrone     0:30:00 Billable   Tc with team re: next steps for case and AKO

 11/7/2019 Seth Packrone     0:06:00 Billable   Correspond with Defendants re: distribution lists

 11/8/2019 Michelle Caiola   0:12:00 Billable   run down with SP re fee review, next steps

 11/8/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: Dr. Roberts' rubrics for evaluting DOC compliance

 11/8/2019 Seth Packrone     1:18:00 Billable   Review next 40 pp of fee records

 11/8/2019 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of settlement negotiations and next steps

11/12/2019 Seth Packrone     0:12:00 Billable   Review T. Borden edits to monitoring proposal and correspond with her re: same

11/12/2019 Seth Packrone     2:00:00 Billable   Work session with T. Borden re: revisions to external monitor proposal

11/12/2019 Seth Packrone     0:12:00 Billable   Review Dr. Roberts' draft rubrics and follow up with T. Borden re: same

11/12/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: rubrics

11/14/2019 Andrea KO         0:06:00 Billable   Discuss BOE next steps with S. Packrone.

11/14/2019 Andrea KO         0:12:00 Billable   Receive update from S. Packrone re: DOE's monitoring tool.

11/14/2019 Andrea KO         0:06:00 Billable   Emails with T. Borden and S. Packrone re: DOE's monitoring tool.
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11/14/2019 Andrea KO         0:06:00 Billable   Email to T. Borden re: notes from last settlement conference.
                                                Team call re: DOE's monitoring tool and next steps (S. Packrone, T. Borden, W. Silverman, and R.
11/14/2019 Andrea KO         0:30:00 Billable   Gorckin).

11/14/2019 Seth Packrone     0:12:00 Billable   Send proposed substantial compliance language to T. Borden with notes re: same

11/14/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: incorporating substantial compliance language into settlement

11/14/2019 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: DOE framework

11/14/2019 Seth Packrone     0:30:00 Billable   Tc with T. Borden re: reactions to framework

11/14/2019 Seth Packrone     0:18:00 Billable   Check in with AKO re: scope of framework

11/14/2019 Seth Packrone     0:06:00 Billable   Follow up with team re: DOE's frameowrk
                                                Tc with AKO and co-counsel re: DOE's framework and plan for next week's settlement
11/14/2019 Seth Packrone     0:30:00 Billable   conference

11/14/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: plan for tomorrow's call with co-counsel

11/14/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: follow up with opposing counsel about framework

11/14/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: call with opposing counsel about framework

11/15/2019 Andrea KO         1:06:00 Billable   Review fee records.
                                                Strategy session with S. Packrone re: DOE monitoring framework and topics for next settlement
11/15/2019 Andrea KO         0:24:00 Billable   conference.

11/15/2019 Andrea KO         0:54:00 Billable   Compile and review relevant IDEA regulations re: discipline procedures.

11/15/2019 Andrea KO         0:18:00 Billable   Update from S. Packrone re: call with DOE about monitoring framework.

11/15/2019 Andrea KO         0:18:00 Billable   Discuss relevant IDEA regulations and DOE monitoring tool guidelines with S. Packrone.
                                                Review and discuss DOC's revisions to settlement agreement and comp. ed. Proposal with S.
11/15/2019 Andrea KO         0:12:00 Billable   Packrone.

11/15/2019 Michelle Caiola   0:12:00 Billable   review of initial monitoring report; follow up with SP re next step

11/15/2019 Seth Packrone     0:06:00 Billable   Correspond with M. Caiola re: next steps for case

11/15/2019 Seth Packrone     0:18:00 Billable   Review DOE submisions and follow up with T. Borden re: same

11/15/2019 Seth Packrone     0:24:00 Billable   Review frameowk from DOE to prep for call with opposing counsel

11/15/2019 Seth Packrone     0:24:00 Billable   Tc with Defendants and T. Borden re: questions about DOE framework

11/15/2019 Seth Packrone     0:12:00 Billable   Check in with AKO re: next steps for responding to DOE's framework

11/15/2019 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for next week's settlement conference

11/15/2019 Seth Packrone     0:24:00 Billable   Review DOE framework with AKO and compare to monitoring tool

11/15/2019 Seth Packrone     0:06:00 Billable   Check in with T. Borden re: DOE monitoring tool

11/15/2019 Seth Packrone     0:06:00 Billable   Case planning for next steps in settlement negotiations and timing re: same

11/15/2019 Seth Packrone     0:06:00 Billable   Follow up about monitoring tool with T. Borden

11/15/2019 Seth Packrone     0:12:00 Billable   Review comp ed proposal from Defendants

11/15/2019 Seth Packrone     0:06:00 Billable   Update M. Caiola re: status of settlement

11/18/2019 Michelle Caiola   0:06:00 Billable   confer with Sp re next steps

11/18/2019 Seth Packrone     0:12:00 Billable   Correspond with team re: plan for settlement conference on Wednesday

11/18/2019 Seth Packrone     0:12:00 Billable   Prep for settlement conference re: reviewing latest documents from Defendants

11/18/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: plan for settlement conference on Wednesday

11/18/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: Ds' latest responses

11/19/2019 Andrea KO         0:18:00 Billable   Prepare for tomorrow's settlement conference.

11/19/2019 Seth Packrone     0:24:00 Billable   Review documents and most recent DOE proposals to prep for settlement conference

11/19/2019 Seth Packrone     0:18:00 Billable   Review DOC settlement response and DOE monitoring response
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11/19/2019 Seth Packrone     0:48:00 Billable   Review/analyze DOE framework and prep questions for tomorrow's settlement conference

11/19/2019 Seth Packrone     0:12:00 Billable   Review/analyze rubrics to prep for settlement conference

11/20/2019 Andrea KO         1:00:00 Billable   Travel from NYC to Trenton for settlement conference (2.0 total, bill half)

11/20/2019 Andrea KO         4:00:00 Billable   Attend settlement conference with DOE and DOC; take detailed notes.

11/20/2019 Andrea KO         1:00:00 Billable   Travel from Trenton to NYC after settlement conference (2.0 total, bill half).

11/20/2019 Michelle Caiola   0:06:00 Billable   update from negotiations from SP

11/20/2019 Seth Packrone     1:30:00 Billable   Travel to and from settlement conference in Trenton, NJ (total was 3, bill half)

11/20/2019 Seth Packrone     4:42:00 Billable   Settlement conference with Defendants in Trenton, NJ

11/20/2019 Seth Packrone     0:06:00 Billable   Send M. Caiola update re: settlement conference

11/20/2019 Seth Packrone     0:06:00 Billable   Draft email to Dr. Roberts on behalf of all parties re: new framework

11/21/2019 Andrea KO         0:18:00 Billable   Strategy session with S. Packrone re: task list email to Defendants.

11/21/2019 Andrea KO         0:12:00 Billable   Edit notes from yesterday's settlement conference and send to S. Packrone and T. Borden.

11/21/2019 Andrea KO         1:00:00 Billable   Draft follow-up email to Defendants re: next steps and task list.

11/21/2019 Andrea KO         0:06:00 Billable   Consult with S. Packrone re: release.

11/21/2019 Andrea KO         0:06:00 Billable   Discuss email re: action items with S. Packrone.

11/21/2019 Andrea KO         0:12:00 Billable   Finalize and send out email to all parties re: action items.

11/21/2019 Michelle Caiola   0:06:00 Billable   review SP release; provide feedback

11/21/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: update for Dr. Roberts

11/21/2019 Seth Packrone     0:12:00 Billable   Correspond with Defendants re: email update for Dr. Roberts

11/21/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: next steps for settlement revisions
                                                Strategy session with AKO re: next steps for settlement and goals for items to complete prior to
11/21/2019 Seth Packrone     0:18:00 Billable   next settlement conference

11/21/2019 Seth Packrone     0:06:00 Billable   Review notes from yesterday's settlement conference to prep for work session with T. Borden

11/21/2019 Seth Packrone     0:42:00 Billable   Work session with T. Borden re: revising settlement agreement and comp ed proposal

11/21/2019 Seth Packrone     0:12:00 Billable   Draft module language for new draft of settlement

11/21/2019 Seth Packrone     1:06:00 Billable   Work session with T. Borden re: revising comp ed proposal and rest of settlement

11/21/2019 Seth Packrone     0:36:00 Billable   Draft release langauge

11/21/2019 Seth Packrone     0:12:00 Billable   Strategy session with T. Atkisnon re: release language

11/21/2019 Seth Packrone     0:12:00 Billable   Revise update email to Defendants and follow up with AKO and T. Borden re; same

11/21/2019 Seth Packrone     0:24:00 Billable   Revise settlement draft with new release langauge

11/22/2019 Seth Packrone     0:06:00 Billable   Correspond with Dr. Roberts re: update on DOE framework

11/22/2019 Seth Packrone     0:30:00 Billable   Revise/finalize settlement draft

11/25/2019 Michelle Caiola   0:06:00 Billable   updated chart on compliance from SP

11/25/2019 Seth Packrone     0:18:00 Billable   Revise settlement with langauge re: school year and release

11/25/2019 Seth Packrone     0:18:00 Billable   Review and analyze second version of framework produced by DOE with corrections noted

11/25/2019 Seth Packrone     0:06:00 Billable   Give S. Feldman instructions re: comparing versions of DOE framework
                                                Revise/edit/comment on DOC monitoring proposal and the rest of T. Borden's comments on
11/26/2019 Seth Packrone     0:42:00 Billable   settlement

11/26/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; scope of release

11/26/2019 Seth Packrone     0:30:00 Billable   Review/edit draft of settlement agreement to send to Defendants

11/26/2019 Seth Packrone     0:48:00 Billable   Work session with T. Borden re: finalize draft settlement to send to Defendants
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                                                Review settlement agremeent to send to Ds and correspond with T. Borden re: reversion
11/26/2019 Seth Packrone     0:12:00 Billable   language

11/26/2019 Seth Packrone     0:06:00 Billable   Follow up with team re: status of settlement negotiations

11/26/2019 Seth Packrone     0:12:00 Billable   Send CAFA research to T. Borden with notes on strategy moving forward

11/26/2019 Seth Packrone     0:06:00 Billable   Tc with T. Borden re: approach with CAFA moving forward

11/27/2019 Seth Packrone     0:12:00 Billable   Review Dr. Roberts comments on framework and follow up with T. Borden re: same

11/27/2019 Seth Packrone     0:06:00 Billable   Draft next steps for settlement negotiations and timelines

 12/2/2019 Andrea KO         0:18:00 Billable   Instructions from S. Packrone re: compensatory education application/worksheet.

 12/2/2019 Andrea KO         1:36:00 Billable   Draft compensatory education worksheet.

 12/2/2019 Seth Packrone     0:18:00 Billable   Give AKO instruction re: drafting comp ed application

 12/3/2019 Andrea KO         0:18:00 Billable   Analyze legislation re: mandatory Loop.

 12/3/2019 Andrea KO         0:18:00 Billable   Review Dr. Roberts' response to DOE framework.

 12/4/2019 Michelle Caiola   0:06:00 Billable   update from Sp

 12/4/2019 Seth Packrone     0:06:00 Billable   Check in with S. Feldman re: review of DOE's framework

 12/5/2019 Andrea KO         1:06:00 Billable   Revise compensatory education application.

 12/5/2019 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re; plan for call with Dr. Roberts

 12/5/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: comp ed worksheet

 12/6/2019 Michelle Caiola   0:06:00 Billable   update from Sp re next conference

 12/9/2019 Andrea KO         0:12:00 Billable   Strategize re: tomorrow's Dr. Roberts call with S. Packrone.

 12/9/2019 Seth Packrone     0:06:00 Billable   Check in with AKO re: plan for call with external monitor

12/10/2019 Andrea KO         0:24:00 Billable   TC with S. Packrone and T. Borden re: prepping for call with Defendants and external monitor.

12/10/2019 Andrea KO         1:24:00 Billable   TC with Defendants and external monitor re: DOE framework.

12/10/2019 Andrea KO         0:12:00 Billable   Follow-up TC with all counsel re: outstanding action items.

12/10/2019 Andrea KO         0:18:00 Billable   Debrief with S. Packrone and T. Borden and discuss next steps.

12/10/2019 Seth Packrone     0:06:00 Billable   Prep for tc with Dr. Roberts and defense counsel

12/10/2019 Seth Packrone     0:24:00 Billable   Tc with with team re: plan for call with Dr. Roberts

12/10/2019 Seth Packrone     1:24:00 Billable   Tc with defense counsel and Dr. Roberts re: next steps for framework and CAP

12/10/2019 Seth Packrone     0:12:00 Billable   Tc with opposing counsel re: status of outstanding items with AKO and T. Borden

12/10/2019 Seth Packrone     0:12:00 Billable   Tc with AKO and T. borden re: plan for weekly call and next week's settlement conference

12/10/2019 Seth Packrone     0:06:00 Billable   Correspond with client re: update

12/10/2019 Seth Packrone     0:06:00 Billable   Correspond with team re: today's conference

12/11/2019 Seth Packrone     0:06:00 Billable   Correspond with client and co-counsel re: upcoming call

12/12/2019 Andrea KO         0:06:00 Billable   Review DOE's comments on external monitoring document.

12/12/2019 Andrea KO         0:18:00 Billable   Team call with T. Borden, S. Packrone, R. Gorkin, and B. Silverman.

12/12/2019 Andrea KO         0:12:00 Billable   Follow-up re: monitoring role with T. Borden and S. Packrone.
                                                Prep for upcoming settlement conference by reviewing DOE response and other most recent
12/12/2019 Seth Packrone     0:30:00 Billable   settlement documents

12/12/2019 Seth Packrone     0:18:00 Billable   Edit comp ed app sheet from AKO
                                                Tc with T. Borden, AKO, R. Gorkin, and B. Silverman re: status of settlement and next steps for
12/12/2019 Seth Packrone     0:18:00 Billable   case
                                                Tc with T. Borden and AKO re: monitor's assessment of DOE vs. DOC and recommendations for
12/12/2019 Seth Packrone     0:12:00 Billable   corrective action

12/16/2019 Michelle Caiola   0:06:00 Billable   update as to status and next steps
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12/16/2019 Seth Packrone     0:06:00 Billable   Case planning for next steps for settlement draft

12/16/2019 Seth Packrone     0:48:00 Billable   Tc with client, Arc of NJ with T. Borden re: update on settlement progress and comp ed lists

12/17/2019 Andrea KO         0:48:00 Billable   Strategy session with S. Packrone and T. Borden re: upcoming settlement conference.

12/17/2019 Andrea KO         0:36:00 Billable   Travel from NYC to Trenton for settlement conference (minus time worked; 1.2 total, bill half)

12/17/2019 Andrea KO         3:48:00 Billable   Attend settlement conference with DOE and DOC.

12/17/2019 Andrea KO         0:24:00 Billable   Follow-up with S. Packrone re: settlement conference.

12/17/2019 Andrea KO         0:48:00 Billable   Travel from Trenton to NYC after settlement conference (minus time worked; 1.6 total, bill half)

12/17/2019 Seth Packrone     1:30:00 Billable   Travel to and from DNJ in Trenton for settlemnet conference (total was 3 hours, bill half)

12/17/2019 Seth Packrone     3:48:00 Billable   Settlemnet conference at DNJ
                                                Review notes from settlement conference and draft follow-up email to all parties re: post-
12/18/2019 Andrea KO         0:36:00 Billable   settlement conference action items.
                                                Review S. Packrone's edits to compensatory education worksheet and make further revisions to
12/18/2019 Andrea KO         0:18:00 Billable   same.

12/18/2019 Seth Packrone     0:06:00 Billable   Follow up with Ds and monitoring re: January 15 call

12/18/2019 Seth Packrone     0:06:00 Billable   Review/edit follow up email to Ds re: deadlines and next steps
                                                Strategy session with S. Packrone re: action items and compensatory education
12/19/2019 Andrea KO         0:48:00 Billable   position/calculations.

12/19/2019 Andrea KO         0:18:00 Billable   Email to all parties re: next steps.

12/19/2019 Andrea KO         0:06:00 Billable   Follow-up with S. Packrone re: comp ed proposal.

12/19/2019 Seth Packrone     0:06:00 Billable   Check in with T. Borden re: edits to follow up list for Ds

12/19/2019 Seth Packrone     0:48:00 Billable   Strategy session with AKO re: next steps for settlement negotiations and scope of comp ed

12/19/2019 Seth Packrone     0:12:00 Billable   Check in with AKO re: researching comp ed awards

12/19/2019 Seth Packrone     0:30:00 Billable   Tc with T. Borden re: follow up with DOE and scope of comp ed award

12/19/2019 Seth Packrone     0:06:00 Billable   Revise/edit comp ed worksheet

12/19/2019 Seth Packrone     0:12:00 Billable   Send comp ed worksheet to T. Borden with notes for next steps and list of outstanding issues

12/20/2019 Seth Packrone     0:06:00 Billable   Follow up with T. Borden and AKO re: comp ed structure

12/20/2019 Seth Packrone     0:48:00 Billable   Check in with R. Serbin re: comp. ed structure

12/20/2019 Seth Packrone     0:24:00 Billable   Review blackmon jones comp ed provisions

12/20/2019 Seth Packrone     0:06:00 Billable   Case planning for next steps in settlement negotiations

12/20/2019 Seth Packrone     0:12:00 Billable   Review latest policy drafts from Ds
                                                Review email from S. Packrone re: revisions to DOE monitoring proposal and emails to T. Borden
  1/7/2020 Andrea KO         0:12:00 Billable   re: same.

  1/8/2020 Andrea KO         0:12:00 Billable   Review case materials from D.C. case re: comp ed relief.

  1/8/2020 Andrea KO         0:30:00 Billable   Research other cases with class-wide comp ed relief.

  1/8/2020 Andrea KO         0:18:00 Billable   TC with T. Borden re: revisions to DOE monitoring proposal and allocation of next steps.

  1/8/2020 Andrea KO         0:18:00 Billable   Review DOC's revisions to policies sent 12/20.

  1/9/2020 Andrea KO         1:36:00 Billable   Revise DOE monitoring document.

 1/10/2020 Andrea KO         1:48:00 Billable   Revise DOE monitoring document.
                                                Work session with S. Packrone re: DOE monitoring document and strategize upcoming
 1/10/2020 Andrea KO         0:54:00 Billable   settlement conference.

 1/10/2020 Andrea KO         0:24:00 Billable   Discuss compensatory education strategy with S. Packrone and M. Caiola.

 1/10/2020 Michelle Caiola   0:24:00 Billable   meet with Seth and AKO to discuss terms re comp ed

 1/10/2020 Seth Packrone     0:12:00 Billable   Follow up with team re: status of issues for next week's settlement conference

 1/10/2020 Seth Packrone     0:54:00 Billable   Work session with AKO re: revising monitoring proposal and plan for comp ed proposal
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1/10/2020 Seth Packrone     0:24:00 Billable   Strategy session with M. Caiola and AKO re: comp ed proposal

1/10/2020 Seth Packrone     0:06:00 Billable   Correspond with client re: status of case

1/13/2020 Andrea KO         0:18:00 Billable   Prep for settlement meeting with S. Packrone.

1/13/2020 Andrea KO         0:12:00 Billable   Check in with S. Packrone re: DOE monitoring proposal.

1/13/2020 Andrea KO         0:06:00 Billable   Emails with T. Borden re: DOE monitoring proposal.

1/13/2020 Michelle Caiola   0:06:00 Billable   scheduling update from SP

1/13/2020 Seth Packrone     0:18:00 Billable   Work session with aKO re: plan for tomorrow's settlement conference

1/13/2020 Seth Packrone     0:06:00 Billable   Correspond with T. Borden re: comp ed worksheet and DOE monitoring document

1/14/2020 Andrea KO         0:12:00 Billable   Finalize DOE monitoring proposal and circulate to all parties.

1/14/2020 Andrea KO         0:06:00 Billable   Review and print child find policy redline for tomorrow.

1/14/2020 Andrea KO         1:00:00 Billable   Team TC re: prep for tomorrow's settlement conference (T. Borden, S. Packrone, and R. Gorkin).

1/14/2020 Seth Packrone     0:36:00 Billable   Review DOC's latest responses to prep for settlement conference

1/14/2020 Seth Packrone     0:54:00 Billable   Team call with R. Gorkin, AKO, and T. Borden re; plan for tomorrow's settlement conference

1/14/2020 Seth Packrone     0:06:00 Billable   Tc with client, J. Oppenheim re: update on case

1/14/2020 Seth Packrone     0:12:00 Billable   Tc with T. Borden re: plan for settlement conference

1/14/2020 Seth Packrone     0:06:00 Billable   Review Defendants' latest settlement proposal

1/15/2020 Andrea KO         1:00:00 Billable   Travel from NYC to Trenton for settlement conference (2 total, bill half)

1/15/2020 Andrea KO         4:00:00 Billable   Attend settlement conference in Trenton.

1/15/2020 Andrea KO         1:00:00 Billable   Travel from Trenton to NYC after settlement conference (2 total, bill half)

1/15/2020 Seth Packrone     1:18:00 Billable   Travel to and from settlement confernece in Trenton (total was 2.6)

1/15/2020 Seth Packrone     4:00:00 Billable   Settlement conference with DOC and DOE with AKO and T. Borden

1/15/2020 Seth Packrone     0:06:00 Billable   Review DOC list of rubric edits to send to Dr. Roberts

1/16/2020 Andrea KO         0:30:00 Billable   TC with S. Packrone and T. Borden re: Plaintiffs' next steps and action items.

1/16/2020 Andrea KO         0:00:00 Billable   Draft action item email to all parties.

1/16/2020 Andrea KO         0:06:00 Billable   Review S. Packrone's edits to action item email and send to co-counsel for review.

1/16/2020 Andrea KO         0:18:00 Billable   Review S. Packrone's and T. Borden's edits to DOC policies and make further revisions.

1/16/2020 Andrea KO         0:12:00 Billable   Review T. Borden's edits to compensatory education worksheet.

1/16/2020 Andrea KO         0:12:00 Billable   Discuss further revisions to compensatory education worksheet with S. Packrone.

1/16/2020 Andrea KO         0:36:00 Billable   Further revisions to compensatory education worksheet.
                                               Tc with AKO and T. Borden re: next steps in settlement negotiations and edits to settlement
1/16/2020 Seth Packrone     0:24:00 Billable   proposal

1/16/2020 Seth Packrone     0:06:00 Billable   Check in with AKO re: edits to policies

1/16/2020 Seth Packrone     0:30:00 Billable   Edit policies to send to DOC

1/16/2020 Seth Packrone     0:12:00 Billable   Correspond with T. Borden re: edits to policies

1/16/2020 Seth Packrone     0:06:00 Billable   Review TB's edits to child find application form

1/16/2020 Seth Packrone     0:06:00 Billable   Correspond with client re: update on case

1/16/2020 Seth Packrone     0:12:00 Billable   Check in with AKO re: edits to comp ed application form

1/16/2020 Seth Packrone     0:06:00 Billable   Correspond with AKO and T. Borden re: sending policies to DOC

1/16/2020 Seth Packrone     0:06:00 Billable   Review emails with expert and with co-counsel and defendants

1/17/2020 Andrea KO         0:18:00 Billable   Strategy session with S. Packrone re: ongoing negotiations.
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1/17/2020 Andrea KO       0:12:00 Billable   Run redline for S. Packrone to show edits to comp ed worksheet.

1/17/2020 Andrea KO       1:30:00 Billable   Work session with S. Packrone and T. Borden re: settlement agreement.

1/17/2020 Seth Packrone   0:18:00 Billable   Check in with AKO re: next steps for settlement agreement revisions
                                             Tc with AKO and T. Borden, Defendants and external monitor, Susan Roberts re: status of CAP
1/17/2020 Seth Packrone   0:42:00 Billable   and next steps

1/17/2020 Seth Packrone   1:36:00 Billable   Work session with T. Borden and AKO re: revisions to settlement agreemen t

1/17/2020 Seth Packrone   0:18:00 Billable   Tc with T. Zito re: release in case and comp ed system

1/21/2020 Seth Packrone   0:06:00 Billable   Correspond with team re: proposal for class member comp ed awards

1/21/2020 Seth Packrone   0:12:00 Billable   Correspond with team and Court re: call with Court today

1/21/2020 Seth Packrone   0:06:00 Billable   Follow up with team re: scheduling logistics for the call

1/21/2020 Seth Packrone   0:06:00 Billable   Tc with Court re: administrative termination of caes

1/21/2020 Seth Packrone   0:06:00 Billable   Update team re: call with court

1/21/2020 Seth Packrone   0:06:00 Billable   Follow up with T. Borden and DOE re: informing dr. Roberts about next steps in process

1/21/2020 Seth Packrone   0:12:00 Billable   Correspond with T. Borden re: release language for org plaintiffs

1/21/2020 Seth Packrone   0:06:00 Billable   Correspond with T. Zito re: release language and comp ed language

1/22/2020 Andrea KO       0:06:00 Billable   Review emails between DOE and Dr. Roberts re: Period I Verification.

1/22/2020 Seth Packrone   0:06:00 Billable   Review correspondence with Ds re: follow up with expert

1/23/2020 Andrea KO       0:06:00 Billable   Discuss next steps on our task list with S. Packrone.
                                             Team call re: incentive award negotiation strategy and next steps for revising settlement
1/23/2020 Andrea KO       0:30:00 Billable   agreement.

1/23/2020 Andrea KO       0:06:00 Billable   Follow-up discussion with S. Packrone re: incentive awards.

1/23/2020 Andrea KO       0:06:00 Billable   TC with T. Borden and S. Packrone re: incentive award negotiation strategy.

1/23/2020 Seth Packrone   0:06:00 Billable   Check in with AKO re: next steps for settlement revisions and plan for today's call

1/23/2020 Seth Packrone   0:30:00 Billable   Tc with T. Borden, Proskauer, and AKO re: next steps for settlement response

1/23/2020 Seth Packrone   0:06:00 Billable   Tc with T. Borden and AKO re: incentive award counteroffer

1/23/2020 Seth Packrone   0:06:00 Billable   Follow up strategy session with AKO re: next steps for settlement response
                                             TC with S. Packrone and J. Oppenheimer re: update on compensatory education negotiations
1/24/2020 Andrea KO       1:00:00 Billable   and consultation re: external vendors.

1/24/2020 Andrea KO       0:12:00 Billable   Discuss final edits to comp ed worksheet with S. Packrone.

1/24/2020 Andrea KO       0:06:00 Billable   Finalize comp ed worksheet and send to co-counsel for final review.

1/24/2020 Seth Packrone   1:00:00 Billable   Tc with AKO and client (Arc of NJ) re: update on settlement status and next steps

1/27/2020 Andrea KO       0:06:00 Billable   Review T. Borden's further edits to compensatory education worksheet.

1/27/2020 Andrea KO       0:12:00 Billable   Discuss edits to comp ed worksheet with S. Packrone.

1/27/2020 Andrea KO       0:18:00 Billable   Email to T. Borden re: response on comp ed worksheet edits.

1/27/2020 Seth Packrone   0:12:00 Billable   Check in with AKO re: comp ed worksheet and read emails re: same

1/28/2020 Andrea KO       0:12:00 Billable   Emails with co-counsel re: settlement agreement and release language.

1/28/2020 Seth Packrone   0:12:00 Billable   Correspond with T. Zito re: release language and comp ed language

1/28/2020 Seth Packrone   0:18:00 Billable   Revise settlement agreement and correspond with T. Borden and AKO re: same

1/28/2020 Seth Packrone   0:18:00 Billable   Review settlement redline and correspond with T. Borden re: same

1/29/2020 Andrea KO       1:42:00 Billable   Review case law re: opt-in vs opt-out classes.

1/29/2020 Andrea KO       0:06:00 Billable   Check in with S. Packrone re: upcoming action items.

1/29/2020 Andrea KO       0:30:00 Billable   Review Contra Costa County notice to class.
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1/29/2020 Seth Packrone   0:06:00 Billable   Follow up on latest settlement draft with T. Borden and review what was sent to Ds

1/30/2020 Seth Packrone   0:06:00 Billable   Follow up with T. Borden re: responding to Ds

1/31/2020 Andrea KO       0:12:00 Billable   Strategy session with S. Packrone re: next steps for negotiation.

1/31/2020 Andrea KO       0:18:00 Billable   Review CAPs from DOE.

1/31/2020 Seth Packrone   0:06:00 Billable   Review correspondence with opposing counsel

1/31/2020 Seth Packrone   0:12:00 Billable   Check in with AKO re: plan for drafting notice

1/31/2020 Seth Packrone   0:06:00 Billable   Check in with T. Borden re: status of notice and outreach to opposing counsel

1/31/2020 Seth Packrone   0:06:00 Billable   Check in with AKO re: DOE CAPs

 2/3/2020 Andrea KO       0:30:00 Billable   Review Period I Monitoring CAPs.

 2/3/2020 Andrea KO       0:06:00 Billable   Discuss CAPs with S. Packrone.

 2/3/2020 Andrea KO       0:12:00 Billable   Draft notice to class.

 2/3/2020 Andrea KO       1:00:00 Billable   Draft notice to class.

 2/3/2020 Seth Packrone   0:12:00 Billable   Check in with AKO re: plan for Friday's settlement conference and status of DOE CAPs

 2/3/2020 Seth Packrone   0:06:00 Billable   Case planning for next steps

 2/3/2020 Seth Packrone   0:12:00 Billable   Correspond with T. Borden re: plan for settlement confernece

 2/3/2020 Seth Packrone   0:06:00 Billable   Follow up with Defendants re: incentive payments and status of policies

 2/3/2020 Seth Packrone   0:12:00 Billable   Tc with client, Arc of NJ re: status of provider list

 2/4/2020 Andrea KO       0:42:00 Billable   Draft notice to class.

 2/4/2020 Seth Packrone   0:30:00 Billable   Review latest round of proposals from Defendants and follow up with co-counsel re: same

 2/5/2020 Andrea KO       0:12:00 Billable   Review DOC's revised policies.

 2/5/2020 Andrea KO       0:30:00 Billable   Review DOE's revisions to external monitoring proposal and certification.

 2/5/2020 Andrea KO       0:12:00 Billable   Review DOE's draft timeline for monitoring periods.

 2/5/2020 Andrea KO       0:18:00 Billable   Emails from S. Packrone re: responses to Defendants' recent revisions.

 2/5/2020 Seth Packrone   0:24:00 Billable   Prep for settlement conference

 2/5/2020 Seth Packrone   0:06:00 Billable   Correpsond with team re: prep for settlement conference

 2/5/2020 Seth Packrone   0:24:00 Billable   Review and take notes on CAPs

 2/6/2020 Andrea KO       0:06:00 Billable   Emails with co-counsel re: agenda for tomorrow.

 2/6/2020 Andrea KO       0:06:00 Billable   Compile documents to prep for settlement conference tomorrow.

 2/6/2020 Andrea KO       0:54:00 Billable   Finish reviewing CAPs.

 2/6/2020 Seth Packrone   0:06:00 Billable   Correspond with team re: plan for settlement conference

 2/6/2020 Seth Packrone   0:06:00 Billable   Check in with AKO re: follow up on DOE's CAPs

 2/6/2020 Seth Packrone   0:06:00 Billable   Check in with T. Atkinson re: status of case

 2/6/2020 Seth Packrone   0:06:00 Billable   Draft agenda for tomorrow's settlemetn conference

 2/6/2020 Seth Packrone   0:06:00 Billable   Prep for settlement conference

 2/6/2020 Seth Packrone   0:12:00 Billable   Check in with AKO re: plan for Friday's settlement conference

 2/6/2020 Seth Packrone   1:00:00 Billable   Review CAPs to prep for tomorrow's settlement conference

 2/7/2020 Andrea KO       1:00:00 Billable   Travel from NYC to Trenton for settlement conference (2.0 total, bill half)

 2/7/2020 Andrea KO       3:48:00 Billable   Attended settlement conference in Trenton

 2/7/2020 Andrea KO       1:00:00 Billable   Travel from Trenton to NYC after settlement conference (2.0 total, bill half)
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 2/7/2020 Seth Packrone     1:24:00 Billable   Travel to and from Trenton for Adam X. Settlement conference (total was 2.8, bill half)

 2/7/2020 Seth Packrone     3:48:00 Billable   Settlement conference with Defendants and AKO

 2/9/2020 Seth Packrone     0:06:00 Billable   Tc with M. Caiola re: status of complaint

2/10/2020 Michelle Caiola   0:06:00 Billable   updates from SP re progess on negotiation and monetary relief for names P's

2/11/2020 Andrea KO         1:18:00 Billable   Draft action item email to follow up on settlement conference.

2/11/2020 Andrea KO         0:42:00 Billable   Draft notice to class.

2/11/2020 Andrea KO         0:06:00 Billable   Discuss class definition with S. Packrone.

2/11/2020 Seth Packrone     0:06:00 Billable   Check in with AKO re: task list to send to Defendants

2/11/2020 Seth Packrone     0:12:00 Billable   Correspond with AKO re: revising task list and response to Defendants

2/11/2020 Seth Packrone     0:24:00 Billable   Draft revised class definition and follow up with AKO and T. Borden re: same

2/11/2020 Seth Packrone     0:12:00 Billable   Follow up with T. Borden re: draft of class definition

2/12/2020 Andrea KO         0:06:00 Billable   TC with S. Packrone re: site visits.

2/12/2020 Andrea KO         1:06:00 Billable   Draft notice to class.

2/12/2020 Seth Packrone     0:12:00 Billable   Correspond with T. Borden and Defendants re: class cert defintion

2/13/2020 Andrea KO         0:06:00 Billable   TC with M. Caiola re: update and next steps.

2/13/2020 Michelle Caiola   0:06:00 Billable   next steps re prison visits with AKO

2/13/2020 Seth Packrone     0:18:00 Billable   Correspond with T. Borden and Defendants re: issues and client visits

2/13/2020 Seth Packrone     0:06:00 Billable   Check in with AKO re: next steps

2/13/2020 Seth Packrone     0:06:00 Billable   Follow up with T. Borden re: client visits

2/14/2020 Andrea KO         0:12:00 Billable   Emails with co-counsel re: setting up upcoming prison visits.

2/14/2020 Andrea KO         0:06:00 Billable   Check in with S. Packrone re: notice and child find.

2/14/2020 Andrea KO         0:06:00 Billable   Emails with co-counsel re: child find policy.

2/14/2020 Andrea KO         0:12:00 Billable   Review memo from client re: vendor list.

2/14/2020 Andrea KO         0:12:00 Billable   Draft letter to client re: adding me to attorney list.

2/14/2020 Andrea KO         0:30:00 Billable   Research applicability of CAFA to federal question cases.

2/14/2020 Seth Packrone     0:06:00 Billable   Check in with team re: visits

2/18/2020 Andrea KO         0:06:00 Billable   Strategy session with S. Packrone re: compensatory education worksheet.

2/18/2020 Andrea KO         0:24:00 Billable   TC with S. Packrone and T. Borden re: compensatory education worksheet.

2/18/2020 Andrea KO         0:06:00 Billable   Follow-up TC with S. Packrone re: next steps.

2/18/2020 Seth Packrone     0:06:00 Billable   Case planning for next steps in settlement negotiations

2/18/2020 Seth Packrone     0:06:00 Billable   Correpsond with T. Borden re: next steps for comp ed form

2/18/2020 Seth Packrone     0:06:00 Billable   Correspond with AKO re: comp ed worksheet

2/18/2020 Seth Packrone     0:18:00 Billable   Tc with AKO and T. Borden re: comp ed worksheet

2/19/2020 Andrea KO         0:06:00 Billable   Review email from M. Vomacka re: DVR list.

2/19/2020 Andrea KO         0:06:00 Billable   Emails with co-counsel re: coordinate child support lien searches.

2/19/2020 Andrea KO         0:06:00 Billable   Review co-counsel's edits to compensatory education worksheet.

2/19/2020 Seth Packrone     0:06:00 Billable   Follow up with AKO re: comp ed draft

2/20/2020 Andrea KO         0:12:00 Billable   Review vendor list memo from client.

2/20/2020 Andrea KO         0:06:00 Billable   Emails with opposing counsel re: delay of action items.
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2/20/2020 Andrea KO       0:18:00 Billable   Review S. Packrone's edits to notice to class members.

2/20/2020 Andrea KO       1:00:00 Billable   Strategy session with S. Packrone re: comp ed worksheet, notice, case files, and next steps.

2/20/2020 Andrea KO       0:12:00 Billable   TC with S. Packrone and J. Oppenheimer re: update.

2/20/2020 Andrea KO       0:18:00 Billable   Team call re: settlement updates and strategy.

2/20/2020 Andrea KO       0:18:00 Billable   Finalize comp ed worksheet and send to co-counsel.

2/20/2020 Andrea KO       0:12:00 Billable   Review DOC's email re: class definition edits and discuss same with S. Packrone.

2/20/2020 Seth Packrone   0:24:00 Billable   Review/revise notice from AKO and send back comments to AKO

2/20/2020 Seth Packrone   0:06:00 Billable   Review emails with co-counsel

2/20/2020 Seth Packrone   0:06:00 Billable   Prep materials for AKO's review

2/20/2020 Seth Packrone   0:48:00 Billable   Work session with AKO re: outstanding items for settlement

2/20/2020 Seth Packrone   0:12:00 Billable   Tc with AKO and client, Arc of NJ re: update on settlement status

2/20/2020 Seth Packrone   0:18:00 Billable   Tc with team with AKO re: next steps for settlement negotiations

2/20/2020 Seth Packrone   0:06:00 Billable   Follow up strategy session with aKO re: next steps for case

2/20/2020 Seth Packrone   0:12:00 Billable   Correspond with T. Borden re: class definition issues and follow up with AKO re: same

2/21/2020 Andrea KO       0:18:00 Billable   Begin drafting pro hac vice motion and instructions to S. Feldman re: same.

2/21/2020 Andrea KO       0:06:00 Billable   Discuss comp ed worksheet with S. Packrone.

2/21/2020 Andrea KO       0:06:00 Billable   TC with T. Borden re: final edits to comp ed worksheet.

2/21/2020 Seth Packrone   0:06:00 Billable   Follow up with team re: next steps

2/21/2020 Seth Packrone   0:06:00 Billable   Review emails with team

2/21/2020 Seth Packrone   0:06:00 Billable   Check in with AKO re: plan for next week

2/24/2020 Andrea KO       0:06:00 Billable   Emails with S. Packrone and T. Borden re: call with client.

2/24/2020 Andrea KO       0:06:00 Billable   Emails with opposing counsel re: revisions to class definition.

2/24/2020 Andrea KO       0:12:00 Billable   Attempt to call client; await prison administration's response with T. Borden and S. Packrone.

2/24/2020 Andrea KO       0:24:00 Billable   TC with T. Borden, S. Packrone, and client re: update to case, settlement offers, staffing changes.

2/24/2020 Andrea KO       0:24:00 Billable   TC with DOC and DOE re: class definition and other updates prior to settlement conference.

2/24/2020 Andrea KO       0:06:00 Billable   Emails with T. Borden and S. Packrone re: upcoming client meetings.

2/24/2020 Andrea KO       0:24:00 Billable   Revise notice to class members.

2/24/2020 Seth Packrone   0:06:00 Billable   Correspond with team re: plan for call

2/24/2020 Seth Packrone   0:36:00 Billable   Tc with client, AKO, and T. Borden re: update

2/24/2020 Seth Packrone   0:24:00 Billable   Tc with Defendants re: plan for class definition

2/25/2020 Andrea KO       0:06:00 Billable   Emails with co-counsel re: DOC's settlement agreement revisions.

2/25/2020 Andrea KO       0:18:00 Billable   Check in with S. Packrone re: upcoming client visits and transitioning client contact.

2/25/2020 Andrea KO       0:12:00 Billable   Emails from DOC re: class definition.

2/25/2020 Seth Packrone   0:06:00 Billable   Follow up with team re: plan for tomorrow

2/25/2020 Seth Packrone   0:06:00 Billable   Prep for tomorrow's settlement conference

2/25/2020 Seth Packrone   0:06:00 Billable   Check in with AKO re: status of settlement draft

2/26/2020 Andrea KO       1:00:00 Billable   Travel from NYC to DOC facility to meet with client (total was 2.0, bill half).
                                             Meet with client at DOC facility (includes time spent waiting for DOC officers to bring client to
2/26/2020 Andrea KO       1:18:00 Billable   meeting room).

2/26/2020 Andrea KO       0:06:00 Billable   Travel from DOC facility to court for settlement conference.
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2/26/2020 Andrea KO       3:30:00 Billable   Attend settlement conference (total was .2, bill half).

2/26/2020 Andrea KO       0:36:00 Billable   Travel from settlement conference to DOC facility to meet with client (total was 1.2, bill half).

2/26/2020 Andrea KO       0:54:00 Billable   Meet with client at DOC facility.

2/26/2020 Andrea KO       1:06:00 Billable   Travel from DOC facility to NYC after client visit (total was 2.2, bill half).
                                             Travel to visit clients (at two DOC facilities), court for settlement conference, and back home
2/26/2020 Seth Packrone   1:54:00 Billable   (total was 3.9, bill half)

2/26/2020 Seth Packrone   3:30:00 Billable   Settlement conference with AKO, T. Borden, and Defendants

2/26/2020 Seth Packrone   1:18:00 Billable   Meet with client at prison and update him on case with AKO and T. Borden

2/26/2020 Seth Packrone   0:54:00 Billable   Meet with second client at prison

2/26/2020 Seth Packrone   0:06:00 Billable   Update M. Caiola re: status of case

2/27/2020 Andrea KO       0:30:00 Billable   Instructions to S. Feldman re: PHV motion documents and review drafts of same.

2/27/2020 Andrea KO       0:06:00 Billable   Emails with co-counsel and Dr. Roberts re: scheduling upcoming call.

2/27/2020 Andrea KO       1:00:00 Billable   Team meeting with S. Packrone and R. Rodgers re: transition.

2/27/2020 Seth Packrone   1:00:00 Billable   Strategy session with R. Rodgers and AKO re: next steps for case

2/27/2020 Seth Packrone   0:30:00 Billable   Expand exit memo

2/28/2020 Andrea KO       0:06:00 Billable   Review S. Packrone's exit memo re: transitioning case.
                                             Review email from M. Vomacka re: lien searches; discuss same with S. Packrone, T. Borden, and
2/28/2020 Andrea KO       0:18:00 Billable   R. Rodgers.

 3/2/2020 Andrea KO       0:06:00 Billable   Instructions to S. Feldman re: CAP spot-check and pro hac vice payment paperwork.

 3/2/2020 Andrea KO       0:24:00 Billable   Emails with co-counsel re: task list.

 3/2/2020 Andrea KO       0:06:00 Billable   Circulate calendar invite for work session.

 3/3/2020 Andrea KO       0:30:00 Billable   Analyze Third Circuit caselaw and procedures re: preliminary approval.

 3/3/2020 Andrea KO       0:06:00 Billable   Review emails from DOC re: liens.

 3/3/2020 Andrea KO       0:48:00 Billable   Review motion for preliminary approval exemplars.

 3/3/2020 Andrea KO       0:06:00 Billable   TC with T. Borden re: DOC liens.
                                             Update to R. Rodgers re: attorney fee negotiation strategy, settlement agreement draft, and
 3/3/2020 Andrea KO       0:12:00 Billable   preliminary approval.

 3/4/2020 Andrea KO       0:12:00 Billable   Save lien information to server.

 3/4/2020 Andrea KO       1:00:00 Billable   TC/work session with T. Borden re: settlement agreement and motion for preliminary approval.

 3/4/2020 Andrea KO       0:12:00 Billable   TC with T. Borden re: public defender liens.

 3/5/2020 Andrea KO       1:12:00 Billable   Review updated settlement agreement draft with co-counsel's additional edits.

 3/5/2020 Andrea KO       0:36:00 Billable   Review email and revisions from DOC re: rubrics.

 3/5/2020 Andrea KO       0:12:00 Billable   Emails with co-counsel re: DOC's revisions to rubrics.

 3/5/2020 Andrea KO       0:12:00 Billable   TC with T. Borden re: DOC's revisions to rubrics.

 3/6/2020 Andrea KO       0:54:00 Billable   Finalize edits to settlement agreement and send to R. Rodgers for review.

 3/9/2020 Andrea KO       0:12:00 Billable   Review email from DOC re: revised policies.

 3/9/2020 Andrea KO       0:06:00 Billable   TC with T. Borden re: DOC revised policies.

 3/9/2020 Andrea KO       0:18:00 Billable   TC with DOC and T. Borden re: revised policies and rubrics.

 3/9/2020 Andrea KO       0:12:00 Billable   Follow-up TC with T. Borden re: revised policies and settlement agreement next steps.

 3/9/2020 Andrea KO       0:06:00 Billable   Check in with R. Rodgers re: draft policies, whether to attach as exhibits.

 3/9/2020 Andrea KO       1:12:00 Billable   Draft motion for preliminary approval outline.

 3/9/2020 Andrea KO       0:18:00 Billable   Review Contra Costa motion for preliminary approval.
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3/10/2020 Andrea KO         0:06:00 Billable   Update to M. Caiola re: next steps.

3/10/2020 Andrea KO         0:12:00 Billable   Emails with co-counsel re: revisions to settlement agreement.

3/10/2020 Michelle Caiola   0:18:00 Billable   status update from AKO, plan for next steps

3/11/2020 Andrea KO         0:18:00 Billable   Prep for Adam X. call, review action item task list, etc.

3/11/2020 Andrea KO         0:30:00 Billable   Review DOC policies

3/11/2020 Andrea KO         1:24:00 Billable   Adam X. Telephonic settlement conference

3/11/2020 Andrea KO         0:36:00 Billable   TC with T. Borden re: class definition, MPA

3/11/2020 Andrea KO         0:12:00 Billable   Email to R. Rodgers re: class definition
                                               Revise transition services policy and send email to DOC re: comp ed worksheet and policies for
3/11/2020 Andrea KO         0:30:00 Billable   Dr. Roberts

3/11/2020 Andrea KO         0:12:00 Billable   Review email from DOC re: draft email to Dr. Roberts.

3/11/2020 Andrea KO         0:06:00 Billable   Email to S. Feldman re: pro hac vice payment.

3/11/2020 Andrea KO         0:18:00 Billable   Further emails with co-counsel re: class definition.

3/11/2020 Andrea KO         0:24:00 Billable   TC with T. Borden re: class definition.

3/12/2020 Andrea KO         0:06:00 Billable   Discuss settlement agreement with R. Rodgers.

3/12/2020 Andrea KO         0:18:00 Billable   TC with DOC and DOE re: class definition.

3/12/2020 Andrea KO         0:36:00 Billable   TC with all counsel and Dr. Roberts.

3/12/2020 Andrea KO         0:06:00 Billable   Follow-up TC with R. Rodgers re: compensatory education.

3/12/2020 Andrea KO         0:18:00 Billable   TC with T. Borden re: settlement agreement and motion for preliminary approval.

3/12/2020 Andrea KO         0:06:00 Billable   Emails with co-counsel re: pro hac vice payment.

3/17/2020 Andrea KO         0:06:00 Billable   Emails with T. Borden re: plan for tomorrow's settlement call.

3/18/2020 Andrea KO         0:18:00 Billable   Review email from DOC re: update on settlement positions.

3/18/2020 Andrea KO         0:36:00 Billable   Telephonic settlement call.

3/18/2020 Andrea KO         0:06:00 Billable   Review DOE's draft expert certification.

3/19/2020 Andrea KO         0:36:00 Billable   Review S. Feldman's findings re: CAP discrepancies.

3/23/2020 Andrea KO         0:06:00 Billable   Review news update from DOC re: NJ prison teachers working from home.

3/23/2020 Andrea KO         0:06:00 Billable   Emails with all parties re: attendance at upcoming settlement conference.

3/23/2020 Andrea KO         0:06:00 Billable   Review standing order re: COVID-19.

3/23/2020 Andrea KO         0:06:00 Billable   Update R. Rodgers on settlement status.

3/24/2020 Andrea KO         0:06:00 Billable   Review attorney fee summary.

3/24/2020 Andrea KO         0:24:00 Billable   Email to DOE re: CAP discrepancies.

3/25/2020 Andrea KO         0:12:00 Billable   Review research re: attorney's fees and rates in DNJ.

3/25/2020 Andrea KO         0:06:00 Billable   Update M. Caiola re: status of negotiations, timeline.

3/25/2020 Andrea KO         0:12:00 Billable   TC check-in with T. Borden re: prep for settlement call.

3/25/2020 Andrea KO         0:24:00 Billable   TC with all counsel and Judge Goodman re: update on settlement negotiations.

3/25/2020 Andrea KO         0:24:00 Billable   Follow-up call with DOC and DOE re: scheduling next steps.

3/25/2020 Andrea KO         0:06:00 Billable   Emails with T. Borden re: update to the Court.

3/25/2020 Michelle Caiola   0:06:00 Billable   update from AKO re negotiations

3/26/2020 Andrea KO         0:12:00 Billable   Discuss fee negotiation with R. Rodgers.

3/26/2020 Andrea KO         1:06:00 Billable   Review DOC's revisions to rubrics.
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3/27/2020 Andrea KO       0:36:00 Billable   Draft email response to DOC re: rubrics.

3/27/2020 Andrea KO       0:12:00 Billable   Follow-up emails with DOC re: rubrics.

3/30/2020 Andrea KO       0:42:00 Billable   Review co-counsel's revisions to notice and revise accordingly.

3/30/2020 Andrea KO       0:12:00 Billable   Emails with co-counsel re: notice to class.

3/31/2020 Andrea KO       0:24:00 Billable   Outline class certification section of motion for preliminary approval.
                       1886:54:00
